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                 23-303
 United States Court of Appeals for the Second Circuit

                                 Benzor Shem Vidal,
                                  Plaintiff-Appellee,
                                          v.
                         Advanced Care Staffing, LLC,
                            Defendant-Appellant.
             On Appeal from the United States District Court
   for the Eastern District of New York, No. 1:22-cv-05535-NRM-MMH
                        ________________________
               JOINT APPENDIX VOL. I OF III (A-1—A-274)
                       ________________________

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                          Query    Reports      Utilities   Help    Log Out

                                                                                                APPEAL,ACO

                                    U.S. District Court
                          Eastern District of New York (Brooklyn)
                  CIVIL DOCKET FOR CASE #: 1:22-cv-05535-NRM-MMH


Vidal v. Advanced Care Staffing, LLC                               Date Filed: 09/16/2022
Assigned to: Judge Nina R. Morrison                                Jury Demand: None
Referred to: Magistrate Judge Marcia M. Henry                      Nature of Suit: 790 Labor: Other
Cause: 28:2201 Declaratory Judgement                               Jurisdiction: Federal Question
Plaintiff
Benzor Shem Vidal                                  represented by Anna P Prakash
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                Case 23-303, Document 49, 07/05/2023, 3537568, Page13 of 285
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                                                          Craig Thomas Dickinson
                                                          FordHarrison LLP

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                 Case 23-303, Document 49, 07/05/2023, 3537568, Page14 of 285
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                                                                 TERMINATED: 06/27/2023
                                                                 ATTORNEY TO BE NOTICED


Date Filed   #    Docket Text
09/16/2022   1 COMPLAINT against Advanced Care Staffing, LLC filing fee $ 402, receipt number
               ANYEDC-15945861 Was the Disclosure Statement on Civil Cover Sheet completed -NO,,
               filed by Benzor Shem Vidal. (Attachments: # 1 Civil Cover Sheet Civil Cover Sheet, # 2
               Proposed Summons Proposed Summons) (Baran, Hugh) (Entered: 09/16/2022)
09/16/2022        Case Assigned to Judge Carol Bagley Amon and Magistrate Judge Marcia M. Henry.
                  Please download and review the Individual Practices of the assigned Judges, located on
                  our website. Attorneys are responsible for providing courtesy copies to judges where their
                  Individual Practices require such. (Bowens, Priscilla) (Entered: 09/16/2022)
09/16/2022   2 Summons Issued as to Advanced Care Staffing, LLC. (Bowens, Priscilla) (Entered:
               09/16/2022)
09/16/2022   3 In accordance with Rule 73 of the Federal Rules of Civil Procedure and Local Rule 73.1,
               the parties are notified that if all parties consent a United States magistrate judge of this
               court is available to conduct all proceedings in this civil action including a (jury or
               nonjury) trial and to order the entry of a final judgment. Attached to the Notice is a blank
               copy of the consent form that should be filled out, signed and filed electronically only if
               all parties wish to consent. The form may also be accessed at the following link:
               http://www.uscourts.gov/uscourts/FormsAndFees/Forms/AO085.pdf. You may withhold
               your consent without adverse substantive consequences. Do NOT return or file the
               consent unless all parties have signed the consent. (Bowens, Priscilla) (Entered:
               09/16/2022)
09/16/2022   4 This attorney case opening filing has been checked for quality control. See the attachment
               for corrections that were made, if any. (Bowens, Priscilla) (Entered: 09/16/2022)
09/16/2022   5 NOTICE of Appearance by Patricia C. Kakalec on behalf of Benzor Shem Vidal (aty to be
               noticed) (Kakalec, Patricia) (Entered: 09/16/2022)
09/17/2022   6 Proposed Summons. by Benzor Shem Vidal (Baran, Hugh) (Entered: 09/17/2022)
09/19/2022   7 Summons Issued as to Advanced Care Staffing, LLC. (Fernandez, Erica) (Entered:
               09/19/2022)
10/20/2022   8 SUMMONS Returned Executed by Benzor Shem Vidal. Advanced Care Staffing, LLC
               served on 10/3/2022, answer due 10/24/2022. (Baran, Hugh) (Entered: 10/20/2022)

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10/20/2022    9 NOTICE of Appearance by Sami Asaad on behalf of Advanced Care Staffing, LLC (aty to
                be noticed) (Asaad, Sami) (Entered: 10/20/2022)
10/20/2022   10 MOTION to Appear Pro Hac Vice by Anna P. Prakash Filing fee $ 150, receipt number
                ANYEDC-16059010. by Benzor Shem Vidal. (Attachments: # 1 Affidavit of Anna P.
                Prakash in support of Motion for Admission pro hac vice, # 2 Certificate of Good Standing
                for Anna P. Prakash for the State of Minnesota) (Prakash, Anna) (Entered: 10/20/2022)
10/20/2022   11 Letter MOTION for pre motion conference re 1 Complaint, by Advanced Care Staffing,
                LLC. (Asaad, Sami) (Entered: 10/20/2022)
10/20/2022   12 MOTION to Appear Pro Hac Vice by Matthew C. Helland Filing fee $ 150, receipt number
                ANYEDC-16059054. by Benzor Shem Vidal. (Attachments: # 1 Affidavit of Matthew C.
                Helland in support of Motion for Admission pro hac vice, # 2 Certificate of Good Standing
                for Matthew C. Helland for the State of California, # 3 Certificate of Good Standing for
                Matthew C. Helland for the State of Minnesota) (Helland, Matthew) (Entered: 10/20/2022)
10/27/2022   13 RESPONSE to Motion re 11 Letter MOTION for pre motion conference re 1 Complaint,
                filed by Benzor Shem Vidal. (Attachments: # 1 Exhibit Ex. 1, Pl.'s Ltr. to AAA Seeking
                Stay, # 2 Exhibit Ex. 2, AAA Commercial Rules) (Baran, Hugh) (Entered: 10/27/2022)
10/28/2022       Case Reassigned to Judge Nina Morrison. Judge Carol Bagley Amon no longer assigned to
                 the case. Please download and review the Individual Practices of the assigned Judges,
                 located on our website. Attorneys are responsible for providing courtesy copies to judges
                 where their Individual Practices require such. (AM) (Entered: 10/28/2022)
11/01/2022   14 NOTICE of Appearance by Juno Turner on behalf of All Plaintiffs (aty to be noticed)
                (Turner, Juno) (Entered: 11/01/2022)
11/02/2022       ORDER GRANTING 12 Motion for Leave to Appear Pro Hac Vice. Attorney Matthew
                 C. Helland is granted permission to appear pro hac vice on behalf of Plaintiff Benzor Shem
                 Vidal. The attorney shall register for ECF at www.pacer.gov. Once registered, the attorney
                 shall file a notice of appearance and ensure that s/he receives electronic notification of
                 activity in this case. So Ordered by Magistrate Judge Marcia M. Henry on 11/02/2022.
                 (RC) (Entered: 11/02/2022)
11/02/2022       ORDER GRANTING 10 Motion for Leave to Appear Pro Hac Vice. Attorney Anna P
                 Prakash is granted permission to appear pro hac vice on behalf of Plaintiff Benzor Shem
                 Vidal. The attorney shall register for ECF at www.pacer.gov. Once registered, the attorney
                 shall file a notice of appearance and ensure that s/he receives electronic notification of
                 activity in this case. So Ordered by Magistrate Judge Marcia M. Henry on 11/02/2022.
                 (RC) (Entered: 11/02/2022)
11/04/2022   15 MOTION to Appear Pro Hac Vice by David Seligman Filing fee $ 150, receipt number
                ANYEDC-16110698. by Benzor Shem Vidal. (Attachments: # 1 Affidavit of David
                Seligman in support of Motion for Admission pro hac vice, # 2 Certificate of Good
                Standing for David Seligman for the State of New York, # 3 Certificate of Good Standing
                for David Seligman for the State of Colorado, # 4 Certificate of Good Standing for David
                Seligman for the Commonwealth of Massachusetts) (Seligman, David) (Entered:
                11/04/2022)
11/07/2022       ORDER GRANTING 15 Motion for Leave to Appear Pro Hac Vice. Attorney David
                 Seligman is granted permission to appear pro hac vice on behalf of Plaintiff Benzor Shem
                 Vidal. The attorney shall register for ECF at www.pacer.gov. Once registered, the attorney
                 shall file a notice of appearance and ensure that s/he receives electronic notification of
                 activity in this case. So Ordered by Magistrate Judge Marcia M. Henry on 11/07/2022.
                 (RC) (Entered: 11/07/2022)

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11/15/2022   16 NOTICE of Appearance by David Seligman on behalf of Benzor Shem Vidal (notification
                declined or already on case) (Seligman, David) (Entered: 11/15/2022)
11/16/2022   17 MOTION to Appear Pro Hac Vice by Valerie Collins Filing fee $ 150, receipt number
                ANYEDC-16147079. by Benzor Shem Vidal. (Attachments: # 1 Affidavit, # 2 Certificate
                of Good Standing for the State of Colorado, # 3 Certificate of Good Standing for the State
                of Maryland) (Collins, Valerie) (Entered: 11/16/2022)
11/22/2022   18 NOTICE of Appearance by Anna P Prakash on behalf of Benzor Shem Vidal (notification
                declined or already on case) (Prakash, Anna) (Entered: 11/22/2022)
11/22/2022   19 NOTICE of Appearance by Matthew C. Helland on behalf of Benzor Shem Vidal
                (notification declined or already on case) (Helland, Matthew) (Entered: 11/22/2022)
11/22/2022       ORDER GRANTING 17 Motion for Leave to Appear Pro Hac Vice. Attorney Valerie
                 Collins is granted permission to appear pro hac vice on behalf Plaintiff Benzor Shem
                 Vidal. The attorney shall register for ECF at www.pacer.gov. Once registered, the attorney
                 shall file a notice of appearance and ensure that s/he receives electronic notification of
                 activity in this case. So Ordered by Magistrate Judge Marcia M. Henry on 11/22/2022.
                 (Entered: 11/22/2022)
11/28/2022   20 NOTICE of Appearance by Marissa Vitolo on behalf of Advanced Care Staffing, LLC (aty
                to be noticed) (Vitolo, Marissa) (Entered: 11/28/2022)
11/29/2022   21 NOTICE of Appearance by Valerie Collins on behalf of Benzor Shem Vidal (notification
                declined or already on case) (Collins, Valerie) (Entered: 11/29/2022)
01/20/2023   22 Letter Regarding Motion for Preliminary Injunction and Expedited Briefing by Benzor
                Shem Vidal (Seligman, David) (Entered: 01/20/2023)
01/23/2023       SCHEDULING ORDER: Plaintiff's request 22 for an expedited briefing schedule on its
                 motion for a preliminary injunction is granted. The Court also waives its bundling practice,
                 see Individual Rule 5.2.3.1, and directs the parties to adhere to the following briefing
                 schedule: Plaintiff shall file its motion for a preliminary injunction--previously served on
                 Defendant--and any supporting documentation on the docket immediately. Defendant shall
                 file its opposition to the motion for a preliminary injunction motion on or before January
                 30, 2023. Plaintiff shall file his reply, if any, on or before February 6, 2023.

                 A video status conference will be held on February 7, 2023 at 2:00 PM, at which time the
                 parties should be prepared to discuss scheduling for proceeding on the preliminary
                 injunction motion, as well as the status of Defendant's earlier request 11 for leave file a
                 motion to dismiss the complaint. The parties will be provided with Zoom access
                 information by email prior to the conference. Ordered by Judge Nina R. Morrison on
                 1/23/2023. (LK) (Entered: 01/23/2023)
01/23/2023   23 MOTION for Preliminary Injunction by Benzor Shem Vidal. (Attachments: # 1
                Memorandum in Support Pl.'s Mem. of Law in Support of Mot. for Prelim. Injunction, # 2
                Declaration Decl. of David Seligman in Support of Pl.'s Mot. for Prelim. Injunction, # 3
                Exhibit Ex. 1 to Seligman Decl. - Decl. of Pl. Benzor Vidal, # 4 Exhibit Ex. 2 to Seligman
                Decl. - 2019 Contract & Addenda, # 5 Exhibit Ex. 3 to Seligman Decl. - 2022.01.04 Letter,
                # 6 Exhibit Ex. 4 to Seligman Decl. - 2022 Contract, # 7 Exhibit Ex. 5 to Seligman Decl. -
                2022.06.22 Letter, # 8 Exhibit Ex. 6 to Seligman Decl. - Demand for Arbitration, # 9
                Exhibit Ex. 7 to Seligman Decl. - 2022.08.01 Email from TJ, # 10 Exhibit Ex. 8 to
                Seligman Decl. - 2022.08.10 Email from Vidal, # 11 Exhibit Ex. 9 to Seligman Decl. -
                2022.09.08 Email from Vidal, # 12 Exhibit Ex. 10 to Seligman Decl. - 2022.09.02 Email
                from Vidal, # 13 Exhibit Ex. 11 to Seligman Decl. - 2022.09.07 Letter from AAA, # 14
                Exhibit Ex. 12 to Seligman Decl. - 2022.09.19 Email, # 15 Exhibit Ex. 13 to Seligman

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                Decl. - 2022.10.06 Email, # 16 Exhibit Ex. 14 to Seligman Decl. - 2022.10.20 Letter from
                ACS, # 17 Exhibit Ex. 15 to Seligman Decl. - 2022.10.28 Letter from TJ, # 18 Exhibit Ex.
                16 to Seligman Decl. - 2022.11.10 Letter from TJ, # 19 Exhibit Ex. 17 to Seligman Decl. -
                2022.12.01 Letter from TJ, # 20 Exhibit Ex. 18 to Seligman Decl. - 2022.10.24 Email from
                Kula, # 21 Exhibit Ex. 19 to Seligman Decl. - 2022.12.09 Order, # 22 Exhibit Ex. 20 to
                Seligman Decl. - 2023.01.04 NYAG Letter, # 23 Exhibit Ex. 21 to Seligman Decl. -
                2023.01.04 Email from TJ, # 24 Exhibit Ex. 22 to Seligman Decl. - 2023.01.09 Letter from
                AAA to AG, # 25 Exhibit Ex. 23 to Seligman Decl. - 2023.01.09 Letter from AAA to
                parties, # 26 Exhibit Ex. 24 to Seligman Decl. - AAA Commercial Rules, # 27 Exhibit Ex.
                25 to Seligman Decl. - 2023.01.04 Letter from ACS) (Seligman, David) (Entered:
                01/23/2023)
01/23/2023   24 Letter Regarding Arbitration Schedule by Benzor Shem Vidal (Seligman, David) (Entered:
                01/23/2023)
01/26/2023   25 Letter MOTION for Extension of Time to File Response/Reply as to 23 MOTION for
                Preliminary Injunction by Advanced Care Staffing, LLC. (Asaad, Sami) (Entered:
                01/26/2023)
01/26/2023       ORDER granting in part 25 Defendant's Motion for extension of time to file its opposition
                 to Plaintiff's motion for a preliminary injunction. The Court observes that Plaintiff does not
                 consent to Defendant's request in light of Defendant's opposition to a stay of the arbitration
                 proceedings pending resolution of the motion. Defendant's request for a twenty-one day
                 extension is denied. However, the Court will modify the prior briefing and argument
                 schedule as follows to give Defendant additional time to prepare and file its brief.
                 Defendant's opposition shall be due on or before February 8, 2023. Plaintiff's reply shall be
                 due on or before February 15, 2023. Rather than scheduling a status conference, the Court
                 will hear oral argument on the motion for a preliminary injunction on February 22, 2023 at
                 2:00 PM. The parties are requested to inform the Court by February 16, 2023 if they
                 consent to have oral argument in person or would prefer video. Ordered by Judge Nina R.
                 Morrison on 1/26/2023. (LK) (Entered: 01/26/2023)
02/01/2023   26 NOTICE of Appearance by Craig Thomas Dickinson on behalf of Advanced Care Staffing,
                LLC (aty to be noticed) (Dickinson, Craig) (Entered: 02/01/2023)
02/06/2023   27 MOTION to Adjourn Conference (Request to Reschedule Oral Argument on Plaintiff's
                Motion for Preliminary Injunction from 2/22/23 to 2/21/23) by Benzor Shem Vidal.
                (Baran, Hugh) (Entered: 02/06/2023)
02/06/2023   28 Letter Regarding Arbitration Proceedings before AAA by Benzor Shem Vidal (Seligman,
                David) (Entered: 02/06/2023)
02/08/2023   29 MEMORANDUM in Opposition re 23 MOTION for Preliminary Injunction filed by
                Advanced Care Staffing, LLC. (Asaad, Sami) (Entered: 02/08/2023)
02/08/2023   30 AFFIDAVIT/DECLARATION in Opposition re 23 MOTION for Preliminary Injunction
                filed by Advanced Care Staffing, LLC. (Attachments: # 1 Exhibit A - Original Agreement,
                # 2 Exhibit B1 - 2022-01-04 Email re Amended Agreement, # 3 Exhibit B2 - 2022-01-04
                Letter to Vidal, # 4 Exhibit B3 - Waiver of Promissory Note - PCS, # 5 Exhibit B4 - ACS
                Quick Guide for Sponsored Nurses, # 6 Exhibit B5 - Introductory Guide to Skilled Nursing
                Facility, # 7 Exhibit B6 - Amended and Restated Employment Agreement with Schedule
                A, # 8 Exhibit B7 - Schedule B to the Amended And Restated Employment Agreement -
                Dispute Resolution Provision, # 9 Exhibit C - Signed Amended and Restated Employment
                Agreement, # 10 Exhibit D - 2022-01-04 Email to BV Re Signed Agreement, # 11 Exhibit
                E - 2022-01-06 Email regarding conference call to discuss Amended Agreement, # 12
                Exhibit F - 2022-01-13 Email from BV, # 13 Exhibit G - Resignation Email and
                Response_Redacted, # 14 Exhibit H - BenzorShem Vidal - Resume_Redacted, # 15

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                 Exhibit I - Vidal Transcript and Diplomas_Redacted, # 16 Exhibit J - Application for
                 Prevailing Wage Determination_Redacted, # 17 Exhibit K - Wage Report_Redacted)
                 (Asaad, Sami) (Entered: 02/08/2023)
02/08/2023   31 AFFIDAVIT/DECLARATION in Opposition re 23 MOTION for Preliminary Injunction
                filed by Advanced Care Staffing, LLC. (Attachments: # 1 Exhibit 1 - 2022-06-22 Letter to
                Benzor Shem Vidal, # 2 Exhibit 2 - 2022-07-08 Emails with Vidal Counsel, # 3 Exhibit 3 -
                2022-07-08 Demand for Arbitration_30113289, # 4 Exhibit 4 - 2022-07-08 Commercial
                Demand Form_30113288, # 5 Exhibit 5 - August 2022 Emails Re Seligman
                Representation, # 6 Exhibit 6 - September Extension Emails, # 7 Exhibit 7 - 2022-09-22
                Stay Request Response with Attachment, # 8 Exhibit 8 - 2022-09-23 Preliminary
                Conference Scheduling Order, # 9 Exhibit 9 - 2022-10-06 Respondent's Letter with
                Exhibit, # 10 Exhibit 10 - 2022-10-20 Claimant's Letter to Arbitrator Kula, # 11 Exhibit 11
                - 2022-10-24 Arbitrator-s Order Regarding Request for a Stay, # 12 Exhibit 12 - 2022-10-
                28 Letter from Benzor Vidal to AAA, # 13 Exhibit 13 - 2022-11-01 Respondent's Email to
                AAA, # 14 Exhibit 14 - 2022-11-10 Respondent's Letter to Arbitrator, # 15 Exhibit 15 -
                2022-11-20 Claimant's Letter to Arbitrator Kula with Exhibits, # 16 Exhibit 16 - 2022-11-
                23 Email from AAA with Attachments, # 17 Exhibit 17 - 2022-12-02 Claimant's Letter to
                Arbitrator Kula, # 18 Exhibit 18 - 2022-12-02 Respondent's Letter, # 19 Exhibit 19 - 2022-
                12-06 Respondent's Email to AAA, # 20 Exhibit 20 - 2022-12-15 Order Re Request for
                Stay Corrected, # 21 Exhibit 21 - 2022-12-09 Respondent's Letter to AAA, # 22 Exhibit 22
                - 2022-12-19 Emails Regarding Discovery, # 23 Exhibit 23 - 2023-01-04 Claimant's Letter
                to Lesser, # 24 Exhibit 24 - 2023-01-04 Respondent's Email Re AG Letter with
                Attachment, # 25 Exhibit 25 - 2023-01-09 AAA Letter to NYAG, # 26 Exhibit 26 - 2023-
                01-09 AAA Letter to Respondent) (Asaad, Sami) (Entered: 02/08/2023)
02/09/2023       ORDER granting 27 Motion to Adjourn Conference. The oral argument previously
                 scheduled for February 22, 2023 at 2:00 PM is rescheduled to February 21, 2023 at 11:00
                 AM in Courtroom 6E North. Ordered by Judge Nina R. Morrison on 2/9/2023. (LK)
                 (Entered: 02/09/2023)
02/10/2023   32 Letter regarding Arbitration Proceedings before AAA by Advanced Care Staffing, LLC
                (Asaad, Sami) (Entered: 02/10/2023)
02/14/2023   33 Letter regarding arbitration proceedings before AAA and new correspondence from AAA
                by Benzor Shem Vidal (Baran, Hugh) (Entered: 02/14/2023)
02/15/2023   34 REPLY in Support re 23 MOTION for Preliminary Injunction filed by Benzor Shem Vidal.
                (Baran, Hugh) (Entered: 02/15/2023)
02/15/2023   35 AFFIDAVIT/DECLARATION in Support re 23 MOTION for Preliminary Injunction
                (Declaration of Hugh Baran) filed by Benzor Shem Vidal. (Attachments: # 1 Exhibit Ex.
                26 - Supp. Decl. of Benzor Vidal, # 2 Exhibit Ex. 27 - Letter from U.S. Department of
                Labor Regional Solicitor Jeffrey Rogoff) (Baran, Hugh) (Entered: 02/15/2023)
02/17/2023   36 Letter regarding proposed division of oral argument pursuant to the Court's Individual
                Practice Rules 4.2 and 5.7 by Benzor Shem Vidal (Baran, Hugh) (Entered: 02/17/2023)
02/21/2023       Minute Entry Oral argument on Plaintiff's 23 Motion for Preliminary Injunction was held
                 before Judge Nina Morrison on February 21, 2023. David Seligman and Hugh Baran
                 appeared on behalf of Plaintiff. Craig Thomas Dickinson and Sami Asaad appeared on
                 behalf of Defendant. The Court heard the parties' arguments on Plaintiff's preliminary
                 injunction motion. The court authorized the parties to submit letter briefs containing
                 supplemental authorities relevant to certain matters discussed on the record. To the extent
                 that either party is inclined to do so, those submissions shall be filed on or before February
                 23, 2023. Ordered by Judge Nina R. Morrison on 2/21/2023. (Court Reporter Charleane
                 Heading.) (LK) (Entered: 02/21/2023)

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02/23/2023   37 Letter with Supplemental Authority by Benzor Shem Vidal (Seligman, David) (Entered:
                02/23/2023)
02/23/2023   38 Letter with Supplemental Authority by Advanced Care Staffing, LLC (Asaad, Sami)
                (Entered: 02/23/2023)
02/24/2023   39 ORDER GRANTING PRELIMINARY INJUNCTION: Pursuant to the attached Order,
                Plaintiff's 23 motion for a preliminary injunction is granted and Defendant's 11 request for
                a pre-motion conference for a motion to compel arbitration is denied as moot. Ordered by
                Judge Nina R. Morrison on 2/24/2023. (LK) (Entered: 02/24/2023)
03/07/2023   40 NOTICE OF APPEAL as to 39 Order on Motion for Pre Motion Conference,, Order on
                Motion for Preliminary Injunction,,, by Advanced Care Staffing, LLC. Appeal Record due
                by 3/21/2023. (Asaad, Sami) (Entered: 03/07/2023)
03/07/2023       APPEAL FILING FEE DUE re 40 Notice of Appeal Payment in the amount of $505.00,
                 can be made in person to the clerks office, or mailed in or paid online with the event Civil
                 Case Appeal Filing Fee. (VJ) (Entered: 03/07/2023)
03/07/2023       Electronic Index to Record on Appeal sent to US Court of Appeals. 40 Notice of Appeal
                 Documents are available via Pacer. For docket entries without a hyperlink or for
                 documents under seal, contact the court and we'll arrange for the document(s) to be made
                 available to you. (VJ) (Entered: 03/07/2023)
03/07/2023       CIVIL CASE APPEAL FILING FEE: $ 505, receipt number ANYEDC-16475219 (Asaad,
                 Sami) (Entered: 03/07/2023)
03/07/2023       Supplemental Electronic Index to Record on Appeal sent to US Court of Appeals. 40
                 Notice of Appeal Documents are available via Pacer. For docket entries without a
                 hyperlink or for documents under seal, contact the court and we'll arrange for the
                 document(s) to be made available to you. (VJ) (Entered: 03/07/2023)
03/20/2023   41 Letter regarding newly filed lawsuit by Benzor Shem Vidal (Attachments: # 1 Exhibit Ex.
                1 - USDOL Complaint, Su v. Advanced Care Staffing, LLC et al.) (Baran, Hugh) (Entered:
                03/20/2023)
04/04/2023   42 OPINION AND ORDER: The Court issues the attached opinion pursuant to its earlier
                Order 39 granting Plaintiff's motion for a preliminary injunction. Ordered by Judge Nina
                R. Morrison on 4/4/2023. (LK) (Entered: 04/04/2023)
04/27/2023   43 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings held on February 21,
                2023, before Judge Morrison. Court Reporter/Transcriber Charleane M. Heading,
                Telephone number 718-613-2643. Email address: cheading@aol.com. Transcript may be
                viewed at the court public terminal or purchased through the Court Reporter/Transcriber
                before the deadline for Release of Transcript Restriction. After that date it may be obtained
                through PACER.File redaction request using event "Redaction Request - Transcript"
                located under "Other Filings - Other Documents". Redaction Request due 5/18/2023.
                Redacted Transcript Deadline set for 5/29/2023. Release of Transcript Restriction set for
                7/26/2023. (Heading, Charleane) (Entered: 04/27/2023)
06/23/2023   44 MOTION to Withdraw as Attorney for Advanced Care Staffing, LLC by Advanced Care
                Staffing, LLC. (Vitolo, Marissa) (Entered: 06/23/2023)
06/26/2023       ORDER re 44 : By 07/06/2023, attorney Marissa Vitolo and/or the law firm of
                 FordHarrison, LLP shall clarify whether she is asserting a charging or retaining lien. See
                 Local Civ. R. 1.4. So Ordered by Magistrate Judge Marcia M. Henry on 06/26/2023. (MY)
                 (Entered: 06/26/2023)


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06/26/2023   45 Letter to Magistrate Judge Marcia M. Henry regarding response to Court's Order, dated
                June 26, 2023 by Advanced Care Staffing, LLC (Vitolo, Marissa) (Entered: 06/26/2023)
06/27/2023       ORDER granting 44 , as supplemented by 45 : Attorney Marissa Vitolo is terminated as
                 counsel of record for Defendant. So Ordered by Magistrate Judge Marcia M. Henry on
                 06/27/2023. (MY) (Entered: 06/27/2023)



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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


 BENZOR SHEM VIDAL,

                                    Plaintiff,               COMPLAINT FOR
                                                             DECLARATORY JUDGMENT
                        v.                                   & INJUNCTIVE RELIEF

 ADVANCED CARE STAFFING, LLC,                                Civ. Action No.: 22-cv-5535

                                    Defendant.


       Plaintiff Benzor Shem Vidal, by his undersigned attorneys for his Complaint, alleges as

follows:

                                       INTRODUCTION

       1.       Plaintiff Benzor Shem Vidal (“Mr. Vidal” or “Plaintiff”) is an immigrant nurse

who came to the United States from the Philippines on a visa sponsored by his former employer

Advanced Care Staffing, LLC (“Advanced Care Staffing” or “Defendant”). After entering the

United States in 2022, he confronted grueling and unsafe working conditions that threatened his

nursing license—including unmanageable patient loads of more than forty patients at a time. Mr.

Vidal believed it was impossible for him to provide adequate care to patients but was also

terrified to resign. He knew that his contract with Advanced Care Staffing purported to allow the

company to pursue legal action against him, with potentially ruinous financial consequences, if

he decided to terminate his employment.

       2.      After months working for Advanced Care Staffing, he decided that he could no

longer work under these dangerous conditions. He decided to quit his job. Advanced Care

Staffing characterized his termination as a “breach of contract,” and—after sending him a letter

threatening legal action in which it would seek to recover tens of thousands of dollars and all of




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its attorney’s fees and arbitration costs if he did not return to his employment—Advanced Care

Staffing filed a demand for arbitration before the American Arbitration Association, pursuing its

purported damages ( including its supposed “lost profits”), its attorney’s fees, and the costs of

arbitration.

        3.     With this case, Mr. Vidal seeks a declaratory judgment under the Declaratory

Judgment Act, 28 U.S.C. § 2201, that the arbitration provision Advanced Care Staffing seeks to

enforce against him (the “Arbitration Provision”) is illegal and unenforceable.

        4.      First, the Arbitration Provision is a contract for illegal purposes. The Arbitration

Provision and its “loser pays” term—which would require Mr. Vidal to pay all Advanced Care

Staffing’s attorney’s fees and arbitration costs if the arbitrator awarded Advanced Care Staffing

even a dollar in purported damages—are a threat of serious harm designed to coerce Mr. Vidal to

stay in his job. That threat violates federal and state trafficking laws. Additionally, Advanced

Care Staffing seeks to recoup costs, including lost profits, that federal and state minimum wage

laws prevent it from forcing Mr. Vidal to bear. Advanced Care Staffing’s recovery of attorney’s

fees and costs accrued would be an illegal kickback under federal and state wage and hour laws.

Because it is black letter law that contracts for illegal purposes cannot be enforced, the

Arbitration Provision is unenforceable.

        5.     The Arbitration Provision is also unenforceable on its face. Its substantively

unconscionable and illegal “loser pays” provision threatens to bury Mr. Vidal in tens of

thousands of dollars of attorney’s fees and arbitration costs and conflicts with the one-way fee

shifting mechanism set out in the trafficking and minimum wage laws.

        6.     As the United States Supreme Court has recently reaffirmed, the Federal

Arbitration Act’s policy “is to make ‘arbitration agreements as enforceable as other contracts, but



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not more so.’” Morgan v. Sundance, Inc., No. 21-328, __ U.S. __, slip op. at 6 (2022) (citation

omitted). “The federal policy is about treating arbitration contracts like all others, not about

fostering arbitration.” Id. (citation omitted).

        7.      For all these reasons, this Court should declare the Arbitration Provision

unenforceable under federal and state law and enjoin the currently pending arbitration against

Mr. Vidal.

                                           THE PARTIES

        8.      Plaintiff Benzor Shem Vidal is a Registered Nurse who was formerly employed

by Defendant. He is a citizen of the Republic of the Philippines and a legal permanent resident of

the United States. He lives in New York.

        9.      Defendant Advanced Care Staffing, LLC is a limited liability company with its

principal place of business in New York.

        10.     At all times relevant to this action, Defendant has been an enterprise engaged in

interstate commerce within the meaning of the FLSA, 29 U.S.C. § 203(r)–(s).

        11.     Upon information and belief, Defendant had gross sales made or business done in

excess of $500,000 annually for each of the years from 2018 through 2021.

        12.     Throughout his employment, Defendant was an “employer” of Plaintiff as defined

by the FLSA and NYLL.

        13.     Throughout his employment, Plaintiff was a non-exempt “employee” of

Defendant as defined by the FLSA and NYLL.

        14.     Throughout his employment, Defendant “employed” Plaintiff within the meaning

of the FLSA and NYLL.




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                                JURISDICTION AND VENUE

       15.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331. Plaintiff seeks a declaration under the Declaratory Judgment Act, 28 U.S.C. § 2201, that

Defendant’s Arbitration Provision is a contract for illegal purposes in violation of the Trafficking

Victims Protection Act (“TVPA”), 18 U.S.C. § 1589, and the Fair Labor Standards Act

(“FLSA”), 29 U.S.C. § 201 et seq., and that the enforcement of the Arbitration Provision would

violate Plaintiff’s rights under the TVPA and the FLSA.

       16.     The Court has subject matter jurisdiction over Mr. Vidal’s request for a

declaration that Defendant’s Arbitration Provision is a contract for illegal purposes and

unconscionable in violation of state law, and that the enforcement of the Arbitration Provision

would violate Plaintiff’s rights under state laws, pursuant to 28 U.S.C. § 1367, as they form part

of the same case or controversy.

       17.     This Court has personal jurisdiction over Defendant because Defendant initiated

the AAA proceeding in New York, is based in New York, and employed Plaintiff in New York.

       18.     Venue is proper in this district pursuant to and 28 U.S.C. § 1391 because this

action seeks a declaration affecting the rights of Plaintiff who was employed in Brooklyn, New

York with respect to an arbitration initiated in New York.

       19.     A declaratory judgment is appropriate because the facts alleged show that there is

a substantial controversy between parties having adverse legal interests—Mr. Vidal and

Advanced Care Staffing—of sufficient immediacy and reality to warrant the issuance of a

declaratory judgment.




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                                         BACKGROUND

   I.          DEFENDANT’S BUSINESS

         20.     Defendant recruits trained nurses from the Philippines and elsewhere, bringing

them to the United States, and selling their labor to healthcare facilities, including nursing

homes.

         21.     Defendant profits by charging healthcare facilities more for healthcare workers’

labor than it pays the workers in wages. Therefore, the longer healthcare workers work, the more

Defendant can profit from their labor. Defendant’s clients (the healthcare facilities) benefit from

the arrangement through, among other things, obtaining the labor of expert healthcare workers at

a time when providers across the country face increasingly serious challenges attracting qualified

healthcare workers. Defendant and similar companies that recruit foreign healthcare workers can

provide labor that is less expensive than domestic travel nurse companies, a common source of

healthcare workers.

   II.         PLAINTIFF’S RECRUITMENT

         22.     Mr. Vidal is an experienced Registered Nurse. He worked in a hospital setting for

four years in the Philippines and the United Kingdom prior to immigrating to the United States.

         23.     Like many healthcare workers in the Philippines, Mr. Vidal had dreamed about

becoming a nurse in the United States. Mr. Vidal thought it would allow him to advance his

career because he could work for top-notch healthcare providers. He also thought it would allow

him to save a little money to send home to his family in the Philippines. Mr. Vidal’s father is the

sole caretaker for his nonverbal autistic brother, who cannot care for himself. Mr. Vidal’s father

must feed, bathe, and attend to all of his brother’s needs, which means that Mr. Vidal’s father

cannot work to support himself. Mr. Vidal is thus a crucial source of support for his family back

home.

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       24.     Lured by the possibility of a more prosperous future, Mr. Vidal contacted

Advanced Care Staffing, which recruited nurses from the Philippines with promises of achieving

the “American Dream.” Eventually, Defendant offered to help him obtain an EB-3, legal

permanent resident visa to take up work for Advanced Care Staffing in the United States.

       25.     In May 2019, Advanced Care Staffing required Mr. Vidal to sign a nonnegotiable

form contract (the “2019 Contract”) for nurses that included several pages of fine print, legalese

in English that he could barely understand. Advanced Care Staffing presented the contract to Mr.

Vidal on a take-it-or-leave-it basis.

       26.     Mr. Vidal had to sign the 2019 Contract if he wanted to come to the United States.

Mr. Vidal did not understand the 2019 Contract at the time he signed it, but the contract included

several unfair terms. For example, the 2019 Contract included a promissory note that required

Mr. Vidal to work for Advanced Care Staffing for three years, and, if he left the company before

his three-year term ended, to pay a $20,000 fee, in addition to all costs and expenses (including

legal costs and attorney’s fees) to enforce the promissory note. That was far more money than he

had ever had in savings.

       27.     The 2019 Contract also said that Mr. Vidal would not be able to sue Advanced

Care Staffing in court but had to bring any claim in arbitration. And even though arbitration can

cost tens of thousands of dollars in fees and costs, not including the fees Mr. Vidal might have to

pay his own lawyer, the contract said that he would have to split those arbitration costs with

Advanced Care Staffing. Mr. Vidal did not have the money to pay those costs.

       28.     After he signed the 2019 Contract, Advanced Care Staffing required Mr. Vidal to

spend several months fulfilling administrative requirements for placement, including licensure,




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English proficiency exams, birth certificates, transcripts, visa screening certificates, and medical

examination.

          29.     While waiting for Advanced Care Staffing to help him with his visa, Mr. Vidal

could not look for any other jobs working in the United States because had promised Advanced

Care Staffing that he would not seek other employment there. Instead, Mr. Vidal located a

healthcare staffing company that placed nurses in the United Kingdom and worked at a London

hospital for two years.

          30.     While in the U.K., Mr. Vidal earned approximately $3,000 a month, but about

half of his earnings went directly to housing. If he worked overtime shifts, he was able to send a

few hundred dollars a month to his family in the Philippines to help support his father and

brother.

          31.     Despite paying a $1200 out-of-pocket fee for expedited visa processing—almost

half of what he earned in a month—Mr. Vidal waited well over two years before Advanced Care

Staffing assigned him to work at a rehabilitation facility in New York.

   III.         ADVANCED CARE STAFFING IMPOSES A NEW CONTRACT

          32.     In late 2021, Mr. Vidal discovered that his visa paperwork had come through and

that he would be moving in the United States to begin work for Defendant.

          33.     In January 2022, when he was still in the United Kingdom but on the verge of

flying to the United States to begin work, Advanced Care Staffing told Mr. Vidal that he had to

sign a new contract to work for the company. This contract is the “Amended and Restated

Employment Agreement” (the “2022 Contract”), and it states that it supersedes all prior

contracts.

          34.     In correspondence accompanying the 2022 Contract, Advanced Care Staffing told

Mr. Vidal the new contract contained two key updates: (1) greater clarity; and (2) the elimination
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of the promissory note because Defendant had received feedback that it could be viewed as a

“buy out” which would allow him to leave his employment if he just paid the note amount.

       35.     As with the 2019 Contract, Defendant presented Mr. Vidal the 2022 Contract on a

take-it-or-leave-it basis. At the time Mr. Vidal signed the 2022 Contract, he believed he would

not be able to come to the United States if he did not sign, because Advanced Care Staffing

presented the contract as a condition of sponsoring his visa application. Mr. Vidal had also

already given notice to his UK employer and arranged his travel to the United States.

       36.     Mr. Vidal also feared that if he did not sign the 2022 Contract, Defendant would

seek the $20,000 in liquidated damages outlined in the original contract, which would not be

revoked unless he signed the 2022 Contract. Mr. Vidal had no way of paying such a sum. In

addition, Advanced Care Staffing had not reimbursed him for the expenses he had already

incurred in anticipation of his travel to the United States, so that money would be lost as well.

       37.     While Mr. Vidal did not understand the 2022 Contract at the time he signed it, it

includes even more unfair and aggressive provisions than the 2019 Contract with Advanced Care

Staffing. First, although it no longer includes a specifically-labeled “breach fee,” it nevertheless

states that if Mr. Vidal were to leave his employment with Defendant early “without good

reason,” he would owe Advanced Care Staffing “all damages and other relief to redress the

harm,” meaning that there remains a significant breach fee, except under the 2022 Contract this

fee is of an unknown magnitude.

       38.     Advanced Care Staffing told Mr. Vidal that if he left his job, he would be

responsible for purported damages that far exceed the hard costs it expended in bringing Plaintiff

to the United States.




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         39.     The 2022 Contract states that Defendant’s purported damages in the event of a

breach by Mr. Vidal would include “significant loss of profits (reflecting not only loss of

anticipated profits under this Agreement but also resulting from the impact on [Advanced Care

Staffing’s] relationship with its Clients).”

         40.     That is not the only financial harm that Defendant suggested it could inflict on

Mr. Vidal if he left his job early. In addition to its purported damages, the 2022 Contract

suggests in two different places that Mr. Vidal could be on the hook for all Advanced Care

Staffing’s attorney’s fees and costs.

         41.     First, Section 14 of the 2022 Contract specifies that Mr. Vidal is responsible for

reimbursing Defendant for all “reasonable costs, including all attorney’s fees” that it “incurs in

enforcing its rights and remedies under the Agreement.”

         42.     Second, the 2022 Contract’s Schedule B, the Dispute Resolution Provision—

described in this action as the Arbitration Provision—specifies that the prevailing party in

arbitration, including Advanced Care Staffing if it prevailed in any arbitration against Mr. Vidal

for leaving his employment before the end of the contract term, would be “reimbursed for its

reasonable attorney’s fees as well as all costs and fees charged by the AAA and the arbitrator.”

   IV.         WORKING CONDITIONS IN THE UNITED STATES

         43.     In February 2022, Mr. Vidal entered the United States.

         44.     Defendant assigned Plaintiff to work at Downtown Brooklyn Nursing &

Rehabilitation Center, and he began working there on March 8, 2022.

         45.     Mr. Vidal’s life in the United States working for Advanced Care Staffing was

nothing like what he had envisioned or been promised.




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         46.     Prior to Mr. Vidal signing the 2022 Contract, Advanced Care Staffing told Mr.

 Vidal that, once placed in a facility, he would be assigned manageable patient loads of twenty to

 thirty patients at a time.

         47.     But in the United States, he was required to work under brutal and dangerous

 conditions, caring for as many as forty patients at a time. This patient load meant that Mr. Vidal

 rarely took a break and ran constantly from one patient to the next, unable to take the time he

 believed was necessary to provide them with adequate care.

         48.     The facility where Defendant placed Mr. Vidal also failed to adequately staff

 Certified Nursing Assistants, which meant Mr. Vidal was not only doing the work of two nurses

 but was also performing duties that would typically be the responsibility of assistants, such as

 sanitary cleaning, hygiene care, and feeding assistance for residents unable to feed themselves.

         49.     As a result of his working conditions, Mr. Vidal suffered repeated bouts of illness,

 including COVID-19, which he contracted while working at the facility.

         50.     On the rare occasion Mr. Vidal was able to take a break, they rarely lasted longer

 than 10-15 minutes due to the severe staffing shortages and excessive number of patients in his

 care.

         51.     Mr. Vidal’s breakneck work pace was not only dangerous and exhausting for

 him—it also endangered his patients. Despite his best efforts, he often could not physically get to

 patients fast enough to give them their medications or protect them against falls. Mr. Vidal

 commonly heard his patients moaning in agony as they waited for him or anyone else to provide

 them with care. Patients being fed often had to wait hours to eat because Mr. Vidal did not have

 the capacity to assist them. Patients frantically used their call buttons, ringing them repeatedly, to




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 alert staff of their medical needs, including issues with feeding tubes, oxygen lines, and bed

 sores.

          52.     As a result of the dangerous staffing practices, Mr. Vidal was terrified he would

 lose the license he had worked so hard to train for and obtain.

          53.     Although Mr. Vidal’s pay of around $36 per hour was more than he had ever

 made, it was far below market wages for nurses in the region, and he could barely make ends

 meet in New York City after sending a little money home to support his father and his brother

 with severe disabilities.

     V.         PLAINTIFF’S RESIGNATION, THREATS FROM ADVANCED CARE
                STAFFING, AND THE RESULTING ARBITRATION DEMAND AGAINST
                PLAINTIFF

          54.     After months of exhausting work and persistent fears of losing his license, on

 June 15, 2022, Mr. Vidal informed Defendant that he felt compelled to resign from his role.

          55.     On June 22, 2022, Defendant, through its attorneys, commenced a campaign of

 threatening and aggressive communications demanding that Mr. Vidal return to work for

 Advanced Care Staffing.

          56.     Those communications claimed that Defendant had suffered “significant

 damages.” If Mr. Vidal “proceeded with [his] resignation,” Defendant’s lawyers said, Advanced

 Care Staffing would “seek to be made whole” through an “arbitration.” They explained that

 Defendant would provide evidence that its purported damages were “at least $20,000” (emphasis

 in original).

          57.     Defendant’s lawyers suggested that those costs would include the costs

 Advanced Care Staffing would incur in trying to find a new nurse to replace Mr. Vidal, which

 they said would be $9,000 for each year remaining in his contract.



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           58.    But that was not the extent of the financial harm confronting Mr. Vidal.

 Defendant’s letter also claimed that Mr. Vidal would be on the hook for “attorney’s fees and

 costs incurred in the arbitration” unless he returned to work. Mr. Vidal did not know how much

 those fees and costs could be but, based on what little he knew about the American legal system,

 he feared they would far exceed the wages he could earn in many months working as a nurse.

           59.     At least one court in New York and the New York Attorney General’s Office

 have concluded that luring nurses into the United States and then coercing them to continue

 working under threat of financial penalties less substantial than those at issue in this case violates

 federal and state anti-trafficking laws. See Paguirigan v. Prompt Nursing Emp’t Agency, 286 F.

 Supp 3d 430, 535 (E.D.N.Y. 2017) ($25,000 contract termination fee unenforceable penalty

 designed to compel performance); see also Assurance of Discontinuance, In re: Albany Med

 Health System f/k/a Albany Medical Center (settlement agreement between New York Attorney

 General and Albany Med Health System for unlawfully including a $20,000 repayment fee in

 employment contracts for nurses recruited from foreign nations).1

           60.    Defendant has already threatened Mr. Vidal with “at least” $20,000 in purported

 damages and has indicated he could be responsible for tens of thousands more after factoring in

 attorney’s fees and arbitration costs, including arbitrator compensation.

           61.    Mr. Vidal did not know what to do in response to Defendant’s threats. He was

 terrified by the crippling financial burdens threatened by Advanced Care Staffing, including its

 purported damages. These purported damages seemingly included not just the amounts

 Defendant paid for his travel to the United States, but also tens of thousands in dollars in “lost

 profits” and the costs of hiring a replacement.


 1   https://ag.ny.gov/sites/default/files/albany_med_aod_21-040_fully_executed_6.11.21.pdf

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           62.     Mr. Vidal was terrified to quit his job, but he felt that his working conditions were

 too dangerous and presented a genuine risk to his nursing license. If Mr. Vidal lost his license, he

 would end up even more helpless. Notwithstanding the substantial risks, he declined to return to

 work for Defendant.

           63.     On July 8, 2022—just weeks after Mr. Vidal left his employment—Advanced

 Care Staffing initiated an arbitration against Mr. Vidal before the American Arbitration

 Association (“AAA”). The arbitration is titled Advanced Care Staffing, LLC v. Benzor Vidal,

 AAA Case Number: 01-22-0002-9008.

           64.     In its demand for arbitration, Advanced Care Staffing seeks expansive relief that

 includes aggressive and harsh financial penalties from Mr. Vidal, including “all available

 damages, including, without limitation, [Advanced Care Staffing’s] [c]osts and lost profits,”

 “reasonable attorney’s fees,” and the “cost of arbitration.”

     VI.         PLAINTIFF’S INABILITY TO PAY ATTORNEY’S FEES AND THE COSTS
                 OF THE PENDING ARBITRATION PROCEEDING

           65.     Plaintiff cannot afford to pay Defendant’s attorney’s fees and the costs of the

 pending arbitration.

           66.     When he was working for Advanced Care Staffing, Plaintiff earned around

 $3,600 a month. Nearly all of his salary went to paying rent and basic living expenses. He could

 barely provide his family in the Philippines with any additional support.

           67.     Plaintiff currently takes home approximately $5,000 per month. Half of his

 earnings go directly to rent. The remainder goes to basic living expenses such as household bills,

 food, and transportation costs.

           68.     Most of what is left, Plaintiff uses to support his family in the Philippines,

 including his father and brother.


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        69.     Mr. Vidal cannot afford to pay the arbitration costs of the pending arbitration

 proceeding, let alone Advanced Care Staffing’s attorney’s fees.

        70.     In July, the AAA sent a list of potential arbitrators to Advanced Care Staffing and

 Mr. Vidal, and said that the parties had until August 4, 2022, to strike potential arbitrators.

        71.     On August 10, 2022, Mr. Vidal, who was unrepresented in the arbitration and

 seeking counsel, sought an extension of time to respond to the arbitration demand.

        72.     On August 25, 2022, Mr. Vidal, who was still unrepresented in the arbitration,

 sought an additional two weeks to respond to the arbitration demand. The AAA denied this

 request, granting him only a one-week extension.

        73.     On September 2, 2022, Mr. Vidal informed the AAA that he did not believe he

 should be in arbitration because he did not believe the arbitration provision was legal, and also

 requested an additional two weeks to evaluate the potential arbitrators, given that he lacked the

 assistance of counsel in doing so.

        74.     But the AAA denied his request for additional time to evaluate the arbitrators,

 without informing Mr. Vidal that it was doing so. Instead, the AAA barreled ahead and on

 September 7, 2022, unilaterally (though presumably with Advanced Care Staffing’s input)

 informed the parties that it had appointed an arbitrator, Sara Kula.

        75.     Arbitrator Kula’s rate is $450 per hour, for both time in a hearing and for “study”

 time reviewing the parties’ briefs and evidentiary submissions prior to a hearing.

        76.     In addition, the costs of arbitration due to the AAA also include a filing fee of

 $1,900, and a case management fee of $750, all of which Advanced Care Staffing could recover

 from Mr. Vidal if it were to prevail in the arbitration.




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         77.     Under the Arbitration Provision, Mr. Vidal would also be required to pay

 Advanced Care Staffing’s attorney’s fees and costs. Those fees could easily run into the tens of

 thousands of dollars or more.

         78.     Mr. Vidal lacks the means to pay an attorney to represent him in the arbitration—

 let alone the potentially enormous attorney’s fees and costs incurred by Defendant.

         79.     In its letter appointing the arbitrator, the AAA informed Mr. Vidal that he had to

 provide his availability within several time slots for a “case management conference call.” All

 the time slots AAA suggested were during Mr. Vidal’s working hours.

         80.     On September 8, 2022, Mr. Vidal wrote the AAA to inform them he was not

 available at any of the times indicated. He also asked, among other things, how many other

 arbitrations the AAA was administering for Advanced Care Staffing because it seemed that

 Defendant understood the process much better than him.

         81.     On September 9, the AAA informed Mr. Vidal that it could not tell him “any

 information regarding any case you are not a party/representative to.” The AAA thus refused to

 disclose whether it had a potential financial conflict of interest in its administration of the

 arbitration because of Defendant’s potential repeat player role in filing arbitrations.

          COUNT I: THE ARBITRATION PROVISION IS INVALID UNDER THE
            TRAFFICKING VICTIM PROTECTIONS ACT, 18 U.S.C. § 1589
                       (Declaratory Relief Under 28 U.S.C. § 2201)
         82.     Plaintiff realleges and incorporates by reference the foregoing allegations as if

 fully set forth here.

         83.     The Arbitration Provision is intended to achieve purposes that are illegal under

 the TVPA, as it aims to procure the labor of services of Mr. Vidal by threatening Mr. Vidal that

 he will have to pay Defendant’s attorney’s fees and the costs of arbitration, including arbitrator

 compensation, if he leaves his job.

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         84.     These threats constitute the “threatened abuse of legal process” and/or a threat of

 “serious harm,” in violation of 18 U.S.C. § 1589(a)(2)–(3).

         85.     Defendant knowingly used such threats to exert pressure on Plaintiff to continue

 working for Advanced Care Staffing and to prevent him from seeking employment elsewhere,

 telling him that he would be on the hook for “attorney’s fees and costs incurred in the

 arbitration” unless he returned to work. This was done with the purpose of obtaining Plaintiff’s

 continued labor for Advanced Care Staffing.

         86.     Additionally, the Arbitration Provision’s requirement that Plaintiff pay

 Defendant’s attorney’s fees and the costs of arbitration if Defendant prevails is inconsistent with

 the one-way fee shifting provision in the TVPA, which allows the victims of trafficking to

 recover their attorney’s fees in civil actions brought under the TVPA.

         87.     Accordingly, Mr. Vidal seeks a declaratory judgment under the Declaratory

 Judgment Act, 28 U.S.C. § 2201, that the Arbitration Provision is unenforceable.

    COUNT II: THE ARBITRATION PROVISION IS INVALID UNDER NEW YORK’S
       PROHIBITION ON LABOR TRAFFICKING, N.Y. PENAL LAW § 135.35
                     (Declaratory Relief Under 28 U.S.C. § 2201)
         88.     Plaintiff realleges and incorporates by reference the foregoing allegations as if

 fully set forth here.

         89.     The Arbitration Provision is intended to achieve purposes that are illegal under

 N.Y. Penal Law § 135.35, as it was intended to force Mr. Vidal into continued labor for

 Advanced Care Staffing through threats of serious harm and abuse of legal process.

         90.     The Arbitration Provision violates N.Y. Penal Law § 135.35’s prohibitions

 against forced labor and attempted forced labor.

         91.     Through the Arbitration Provision, Defendant compelled or induced Plaintiff’s

 labor by requiring him to work in order to retire, repay, or service a purported debt, in the form

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 of Defendant’s attorney’s fees and arbitration costs, including arbitrator compensation, that could

 run into the tens of thousands of dollars.

         92.     Defendant engaged in an ongoing course of conduct with intent to defraud

 Plaintiff by recruiting Plaintiff from the Philippines and intentionally deceiving him as to the

 nature of his work in the United States. Specifically, Defendant represented that Plaintiff could

 achieve his “American Dream” and would have a manageable patient caseload, when in fact

 Defendant knew that Plaintiff would be assigned 40 or more patients—a caseload that placed

 Plaintiff’s nursing license and the health of those patients at risk.

         93.     Furthermore, Defendant fraudulently induced Plaintiff to come to the United

 States and work in unbearable conditions by inducing Plaintiff to enter into an unenforceable and

 unlawful contract, as set forth in detail above.

         94.     Defendant knew or should have known that its Arbitration Provision is illegal and

 unenforceable, but nonetheless used the Arbitration Provision to intimidate Plaintiff and coerce

 him to continue working for Defendant. Representing that the contract is enforceable is also

 fraudulent conduct.

         95.     Accordingly, Mr. Vidal seeks a declaratory judgment under the Declaratory

 Judgment Act, 28 U.S.C. § 2201, that the Arbitration Provision is unenforceable.

    COUNT III: THE ARBITRATION PROVISION IS INVALID UNDER THE FAIR
  LABOR STANDARDS ACT, 29 U.S.C. § 201, ET SEQ. BECAUSE IT WOULD REDUCE
        PLAINTIFF’S WAGES BELOW THE FEDERAL MINIMUM WAGE
                    (Declaratory Relief Under 28 U.S.C. § 2201)
         96.     Plaintiff realleges and incorporates by reference the foregoing allegations as if

 fully set forth here.

         97.     When he worked for Defendant, Plaintiff was an employee pursuant to the FLSA.

         98.     Defendant was Plaintiff’s employer under the FLSA.


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         99.    The Arbitration Provision is intended to achieve purposes that are illegal under

 the FLSA, as it is aims to force Mr. Vidal to pay Advanced Care Staffing’s attorney’s fees and

 costs of arbitration, including arbitrator compensation—costs that are principally for its own

 benefit—and thus reduce Mr. Vidal’s wages in his last workweek below the federal minimum

 wage.

         100.   The Arbitration Provision is thus illegal and unenforceable, under the FLSA

 because it would, if enforced, permit Defendant to pay its workers wages that are below the

 federal minimum wage.

         101.   In his last workweek of work, Plaintiff worked approximately 40 hours and was

 paid approximately $1,440. His hourly wage for that week was approximately $36 per hour.

         102.   In satisfying its federal minimum wage obligations, Defendant may not seek to

 recover costs or damages that are primarily for its own benefit. In this case, such costs include,

 among other purported damages, Defendant’s purported “lost profits” and the costs of hiring a

 replacement employee, costs that Defendant has suggested will amount to $9,000 per year over

 each of the years remaining on Plaintiff’s contract, plus Defendant’s attorney’s fees and the costs

 of arbitration, including arbitrator compensation.

         103.   Defendant’s attempt to recoup costs that are for the benefit of Advanced Care

 Staffing violates the FLSA because Defendant did not pay Mr. Vidal’s wages “free and clear.”

         104.   Because the recovery of damages such as “lost profits,” attorney’s fees, or costs

 of arbitration would reduce Mr. Vidal’s wages in the last week of his employment below the

 federal minimum wage, the enforcement of the Arbitration Provision would violate the FLSA.

         105.   Additionally, the Arbitration Provision’s requirement that Plaintiff pay

 Defendant’s attorney’s fees and the costs of arbitration if Defendant prevails in the arbitration, is



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 inconsistent with the one-way fee shifting provision in the FLSA, which allows prevailing

 employees, but not employers, to recover their reasonable attorney’s fees in actions brought

 under the FLSA.

         106.    Accordingly, Mr. Vidal seeks a declaratory judgment under the Declaratory

 Judgment Act, 28 U.S.C. § 2201, that the Arbitration Provision is unenforceable.

   COUNT IV: THE ARBITRATION PROVISION IS INVALID UNDER NYLL § 650 ET
   SEQ. BECAUSE IT WOULD REDUCE PLAINTIFF’S WAGES BELOW THE STATE
                               MINIMUM WAGE
                    (Declaratory Relief Under 28 U.S.C. § 2201)
         107.    Plaintiff realleges and incorporates by reference the foregoing allegations as if

 fully set forth here.

         108.    When Mr. Vidal worked for Advanced Care Staffing, he was employed within the

 meaning of NYLL §§ 2 and 651.

         109.    At all relevant times, Advanced Care Staffing was an employer within the

 meaning of the NYLL.

         110.    The Arbitration Provision is intended to achieve purposes that are illegal under

 the NYLL, as it is aims to force Mr. Vidal to pay Advanced Care Staffing’s attorney’s fees and

 costs of arbitration, including arbitrator compensation—costs that are principally for its own

 benefit—and thus reduce Mr. Vidal’s wages in his last workweek below the state minimum

 wage.

         111.    The Arbitration Provision is thus illegal and unenforceable, under the NYLL

 because it would, if enforced, permit Defendant to pay its workers wages that are below the state

 minimum wage.

         112.    In his last workweek of work, Plaintiff worked approximately 40 hours and was

 paid approximately $1,440. His hourly wage for that week was approximately $36 per hour.


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         113.    In satisfying its state minimum wage obligations, Defendant may not seek to

 recover costs or damages that are primarily for its own benefit. In this case, such costs include,

 among other purported damages, Defendant’s purported “lost profits” and the costs of hiring a

 replacement employee, costs that Defendant has suggested will amount to $9,000 per year over

 each of the years remaining on Plaintiff’s contract, plus Defendant’s attorney’s fees and the costs

 of arbitration, including arbitrator compensation.

         114.    Accordingly, because the recovery of damages such as “lost profits,” attorney’s

 fees, or costs of arbitration would reduce Mr. Vidal’s wages in the last week of his employment

 below the state minimum wage, the enforcement of the Arbitration Provision would violate the

 NYLL.

         115.    Additionally, the Arbitration Provision’s requirement that Plaintiff pay

 Defendant’s attorney’s fees and the costs of arbitration if Defendant prevails in the arbitration, is

 inconsistent with the one-way fee shifting provision in the NYLL, which allows prevailing

 employees, but not employers, to recover their reasonable attorney’s fees in actions brought

 under the NYLL.

         116.    Accordingly, Mr. Vidal seeks a declaratory judgment under the Declaratory

 Judgment Act, 28 U.S.C. § 2201, that the Arbitration Provision is unenforceable.

   COUNT V: THE ARBITRATION PROVISION IS INVALID UNDER NYLL § 198-b
  BECAUSE IT WOULD FORCE PLAINTIFF TO PROVIDE AN ILLEGAL KICKBACK
                  (Declaratory Relief Under 28 U.S.C. § 2201)
         117.    Plaintiff realleges and incorporates by reference the foregoing allegations as if

 fully set forth here.

         118.    When Mr. Vidal worked for Advanced Care Staffing, he was employed within the

 meaning of NYLL §§ 2 and 651.



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        119.    At all relevant times, Advanced Care Staffing was an employer within the

 meaning of the NYLL.

        120.    The Arbitration Provision is illegal under the NYLL, as it was intended to force

 Mr. Vidal to provide a kickback against his wages to his employer if he left his employment

 before the end of the contract term, thus resulting in him being paid below the legally-required

 wage for his hours worked.

        121.    The Arbitration Provision’s terms are illegal and unenforceable, under the NYLL

 because they permit Defendant to force workers to make kickbacks from their wages that are

 illegal under the NYLL.

        122.    In his last workweek of work, Plaintiff worked approximately 40 hours and was

 paid approximately $1,440. His hourly wage for that week was approximately $36 per hour.

        123.    In satisfying its minimum wage obligations, Defendant may not seek to recover

 costs or damages that are primarily for its own benefit. In this case, such costs include, among

 other costs and purported damages, Defendant’s purported “lost profits” and the costs of hiring a

 replacement employee, costs that Defendant has suggested will amount to $9,000 per year over

 each of the years remaining on Plaintiff’s contract.

        124.    Any attorney’s fees or arbitration costs incurred in seeking to collect an illegal

 kickback under the NYLL are themselves illegal kickbacks under the NYLL. Thus, the provision

 allowing Defendant to recover its attorney’s fees and arbitration costs is invalid under the NYLL.

        125.    Additionally, the Arbitration Provision’s requirement that Plaintiff pay

 Defendant’s attorney’s fees and the costs of arbitration if Defendant prevails in the arbitration, is

 inconsistent with the one-way fee shifting provision in the NYLL, which allows prevailing




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 employees, but not employers, to recover their reasonable attorney’s fees in actions brought

 under the NYLL.

         126.    Accordingly, Mr. Vidal seeks a declaratory judgment under the Declaratory

 Judgment Act, 28 U.S.C. § 2201, that the Arbitration Provision is unenforceable.

    COUNT VI: THE ARBITRATION PROVISION IS INVALID UNDER NYLL § 193
    BECAUSE IF ENFORCED IT WOULD RESULT IN AN ILLEGAL DEDUCTION
                         FROM PLAINTIFF’S WAGES
                    (Declaratory Relief Under 28 U.S.C. § 2201)
         127.    Plaintiff realleges and incorporates by reference the foregoing allegations as if

 fully set forth here.

         128.    When Mr. Vidal worked for Advanced Care Staffing, he was employed within the

 meaning of NYLL §§ 2 and 651.

         129.    At all relevant times, Advanced Care Staffing was an employer within the

 meaning of the NYLL.

         130.    The Arbitration Provision is illegal and unenforceable under the NYLL, as it was

 intended to allow Defendant to make illegal deductions from the pay of Mr. Vidal if he left his

 employment before the end of the contract term.

         131.    The arbitration purports to permit Defendant to recover attorney’s fees and

 arbitration costs in conjunction with the recovery of an illegal deduction that is not authorized in

 writing under the NYLL.

         132.    In the course of satisfying its obligations under the NYLL, Defendant may only

 deduct from Plaintiff’s wages those deductions that are expressly authorized in writing by

 Plaintiff, as required by statute, and that are for the benefit of Plaintiff.

         133.    Defendant seeks to deduct from Plaintiff’s wages its lost profits as well as

 arbitration costs and attorney’s fees. Such deductions are unlawful under NYLL § 193.


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         134.    Any attorney’s fees or arbitration costs incurred in seeking to collect an illegal

 deduction under the NYLL are themselves illegal deductions under the NYLL. Thus, the

 Arbitration Provision is invalid under the NYLL.

         135.    Additionally, the Arbitration Provision requires that Plaintiff pay Defendant’s

 attorney’s fees and the costs of arbitration if Defendant prevails in the arbitration. This provision

 is invalid under the NYLL, which allows prevailing employees, but not employers, to recover

 their reasonable attorney’s fees in actions brought under the NYLL.

         136.    Accordingly, Mr. Vidal seeks a declaratory judgment under the Declaratory

 Judgment Act, 28 U.S.C. § 2201, that the Arbitration Provision is illegal and unenforceable.

      COUNT VII: THE ARBITRATION PROVISION IS UNCONSCIONABLE AND
            UNENFORCEABLE UNDER NEW YORK COMMON LAW
                     (Declaratory Relief Under 28 U.S.C. § 2201)
         137.    Plaintiff realleges and incorporates by reference the foregoing allegations as if

 fully set forth here.

         138.    The Arbitration Provision is unconscionable as a matter of New York law.

         139.    Mr. Vidal was forced to enter into the Arbitration Provision on a take-it-or-leave-

 it basis and faced substantial economic harm if he did not sign the contract, including potentially

 $20,000 in penalties, an amount that far exceeded his savings and that would be financially

 ruinous. Mr. Vidal lacked meaningful choice about whether to enter into the contract.

         140.    The Arbitration Provision is also unreasonably favorable to Defendant. Among

 other things, it requires Mr. Vidal, who is of limited financial means to bear costs that could run

 into the tens of thousands or hundreds of thousands of dollars if he does not prevail in the

 arbitration.

         141.    The Arbitration Provision unreasonably prevents Mr. Vidal from vindicating his

 own contractual and statutory rights under federal and New York law in the arbitration forum, as

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 they would require him to spend tens of thousands or hundreds of thousands of dollars if he does

 not prevail in arbitration. This risk effectively chills Mr. Vidal from raising his own claims

 against Defendant, and thus precludes him from vindicating his rights in arbitration.

        142.    Accordingly, Mr. Vidal seeks a declaratory judgment under the Declaratory

 Judgment Act, 28 U.S.C. § 2201, that the Arbitration Provision is unenforceable.


                                     PRAYER FOR RELIEF
 WHEREFORE, Plaintiff prays for relief as follows:

     (a) A declaration that the Arbitration Provision is unenforceable;

     (b) An order enjoining the arbitration brought by Defendant against Plaintiff before the

        American Arbitration Association.

 DATED:         September 16, 2022
                Brooklyn, New York
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                                            October 20, 2022



 The Honorable Carol Bagley Amon
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

           Re:     Benzor Shem Vidal v. Advanced Care Staffing, LLC
                   Civil Action No.: 22-CV-5535

 Your Honor:

        This firm represents defendant Advanced Care Staffing, LLC (“ACS”). Pursuant to Rule
 3 (A) of Your Honor’s Individual Motion Practices and Rules, ACS respectfully requests a pre-
 motion conference with respect to its proposed Fed. R. Civ. P. 12(b)(1) motion to dismiss plaintiff
 Benzor Shem Vidal’s (“Mr. Vidal”) Complaint or, in the alternative, to compel arbitration.

   I.      The Parties’ Arbitration Agreement and Pre-Existing Arbitration Proceeding

        On May 8, 2019, Mr. Vidal and ACS entered into an employment agreement. On January
 4, 2022, the parties executed an Amended and Restated Employment Agreement (the
 “Agreement”) containing a broad arbitration provision. Schedule B to the Agreement, titled
 Dispute Resolution Provision, provides, in relevant part:

           As a condition of my employment with Advanced Care Staffing, LLC
           (“Employer”), except for Employer’s enforcement of restrictive covenants as
           provided for in Section 6(c) of the Agreement, I agree that any dispute, controversy
           or claim arising between me and Employer (including a dispute, controversy or
           claim arising out of, in connection with or relating to, this Agreement, or other
           interpretation, performance or breach, termination or validity thereof) shall be
           resolved by arbitration pursuant to this dispute resolution provision (the
           “Provision”). …. I, therefore, waive my right to sue in court and have a jury trial.

           I agree that arbitration will be administered by the American Arbitration
           Association (“AAA”) and that the AAA’s Commercial Arbitration Rules in effect
           at the time of the dispute will govern, except as modified by this Provision. I
           understand that the AAA’s Commercial Arbitration Rules are available online at
           www.adr.org.




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        On July 8, 2022, ACS filed a Demand for Arbitration with the American Arbitration
 Association seeking damages for breach of the Agreement (Doc. 1), and in August, Mr. Vidal
 formally appeared. On September 7, 2022, the AAA appointed Sara D. Kula, Esq. as Arbitrator.
 On September 12, 2022, absent any objection by either party, the AAA confirmed the appointment
 of Arbitrator Kula and scheduled a Management Conference.

       On September 16, 2022, Mr. Vidal filed the Complaint before this Court but did not serve
 ACS until October 3 (via Secretary of State).

        On September 22, 2022, Mr. Vidal and ACS appeared for the Arbitrator’s Management
 Conference and agreed to a number of dates, including a deadline of October 6 for Mr. Vidal to
 submit a letter contesting arbitrability.

         On October 6, 2022, Mr. Vidal submitted a letter contesting the AAA proceedings, making
 the same arguments contained in his Complaint and attaching a copy of the Complaint. Today,
 October 20, 2022, ACS filed its letter in opposition to Mr. Vidal’s request for a stay of the
 arbitration. Against this background, we are seeking permission to move to dismiss the action
 pending before this Court.

  II.     Grounds for Dismissal or in the Alternative Compelling Arbitration

             a. The Federal Arbitration Act Mandates Enforcement of the Arbitration
                Agreement.

        The Federal Arbitration Act (“FAA”) provides that arbitration agreements “shall be valid,
 irrevocable and enforceable, save upon such grounds as exist at law or in equity for the revocation
 of any contract.” 9 U.S.C. § 2. There is a strong presumption in favor of enforcing arbitration
 agreements under the FAA. See AT&T Mobility LLC v. Concepcion, 131 S. Ct. 1740, 1742 (2011).

             b. Threshold Questions of Arbitrability Must Be Decided by the Arbitrator.

          An arbitration agreement is determinative in dictating whether the arbitrability of a dispute
 is to be resolved by the court or the arbitrator. DDK Hotels, LLC v. Williams-Sonoma, Inc., 6 F.4th
 308, 318 (2d Cir. 2021); citing First Options, 514 U.S. at 943, 115 S. Ct. 1920. In DDK Hotels,
 the Second Circuit noted that Rule 7(a) of the AAA’s Commercial Arbitration Rules (the “AAA
 Rules”) provides that “[t]he arbitrator shall have the power to rule on his or her own jurisdiction,
 including any objections with respect to the existence, scope or validity of the arbitration
 agreement,” and found that “incorporation of [the AAA Rules] into an arbitration agreement to be
 relevant in evaluating whether there is clear and unmistakable evidence of the parties’ intent to
 delegate the question of arbitrability to the arbitrator.” Id. At 318 (quoting the AAA Rules, found
 at https://adr.org/sites/default/files/Commercial%20Rules.pdf). The court stated that “where the
 arbitration agreement is broad and expresses the intent to arbitrate all aspects of all disputes, this
 – coupled with incorporation of rules that expressly empower an arbitrator to decide issues of
 arbitrability – constitutes clear and unmistakable evidence of the parties’ intent to delegate the
 question of arbitrability to the arbitrator.” Id. at 318-19.




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         Here, the arbitration agreement is broad and expresses the parties’ intent to arbitrate “any
 dispute, controversy or claim arising between [the employee] and Employer (including a dispute,
 controversy or claim arising out of, in connection with or relating to, this Agreement, or other
 interpretation, performance or breach, termination or validity thereof).” (Emphasis added). The
 broad language of agreement, coupled with the incorporation of the AAA’s rules (including Rule
 7(a)), constitutes clear and unmistakable evidence of the parties' intent to delegate the question of
 arbitrability to the arbitrator.

         Furthermore, not only did the parties in this case agree to submit questions of arbitrability
 to the arbitrator, they have already done so. Pursuant to Arbitrator Kula’s scheduling order, Mr.
 Vidal filed a letter on October 6 contesting arbitrability, and ACS filed its opposition today.

            c. If the Court Were to Determine that It Must Decide Arbitrability, The Parties’
               Agreement Warrants an Order Compelling Arbitration

        In deciding whether a motion to compel arbitration should be granted, the Court must
 determine: (1) whether an agreement to arbitrate exists, (2) whether the agreement to arbitrate
 encompasses the dispute at issue, and (3) whether the agreement to arbitrate is otherwise valid.
 See 9 U.S.C. § 4; see also Howsam v. Dean Winter Reynolds, Inc., 537 U.S. 79, 84 (2002).

         Here, as described above, the Amended and Restated Employment Agreement contains
 (and Mr. Vidal does not dispute) an agreement to arbitrate all claims, and ACS’s breach of contract
 claim against Mr. Vidal is squarely within its scope. Mr. Vidal appears to only dispute the validity
 of the arbitration agreement, asserting in various ways that the terms of the agreement are
 substantively unconscionable. Mr. Vidal’s arguments, however, are without merit, having
 previously been considered and rejected by courts. See e.g., Gilmer v. Interstate/Johnson Lane
 Corp., 500 U.S. 20, 33 (1991) (“Mere inequality in bargaining power... is not a sufficient reason
 to hold that arbitration agreements are never enforceable in the employment context ....”); NetJets
 Aviation, Inc. v. LHC Commc'ns, LLC, 537 F.3d 168, 175 (2d Cir. 2008)(“Under New York law,
 a contract that provides for an award of reasonable attorneys' fees to the prevailing party in an
 action to enforce the contract is enforceable if the contractual language is sufficiently clear.”);
 Saizhang Guan v. Uber Techs., Inc., 236 F. Supp. 3d 711, 732 (E.D.N.Y. 2017)(rejecting an attack
 on arbitration based on fee-splitting because the challenge was limited to a review of the potential
 costs for “the arbitration of enforceability”)(quoting Rent–A–Center, West, Inc. v. Jackson, 561
 U.S. 63, 74 (2010)).

          For all of the reasons stated above, ACS intends to move to dismiss Mr. Vidal’s Complaint
 or, in the alternative, compel arbitration.

                                                   Sincerely,


                                                   Sami Asaad




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  KAKALEC
              LAW                                              Hugh Baran (he/him)
                                                               Hugh@KakalecLaw.com
                                                               October 27, 2022
 Via ECF
 The Hon. Carol Bagley Amon, United States District Judge
 United States District Court, Eastern District of New York
 225 Cadman Plaza East, Brooklyn, NY 11201
        Re:      Benzor Shem Vidal v. Advanced Care Staffing, LLC, 22-cv-5535 (CBA)(MMH)
 Dear Judge Amon:
         Kakalec Law PLLC, along with Towards Justice, Nichols Kaster, PLLP, and Nichols
 Kaster, LLP, represents Plaintiff Benzor Shem Vidal in the above-referenced matter. I write to
 briefly respond to Defendant Advanced Care Staffing, LLC’s request for a pre-motion conference
 regarding its proposed motion to dismiss and/or compel arbitration. As discussed below,
 Defendant’s proposed motion is without merit. Moreover, because Plaintiff disputes that there was
 a genuine meeting of the minds with respect to the arbitration provision here, there is a contract
 formation issue that will require factual development. The Court should thus not permit
 Defendant’s proposed motion to be made at this time, but should instead permit the parties to
 engage in discovery concerning formation issues prior to the filing of any such motion.
         This case is not a routine dispute about an employer’s arbitration provision, but is instead
 about an employer weaponizing arbitration to coerce a worker’s labor. Courts around the country,
 including in this District, have determined that threats to collect debts from workers similar to the
 threats underlying Defendant’s arbitration demand amount to a violation of the Trafficking
 Victims Protection Act (“TVPA”). See, e.g., Paguirigan v. Prompt Nursing Emp’t Agency, 286 F.
 Supp. 3d 430, 535 (E.D.N.Y. 2017) ($25,000 contract termination fee an unenforceable penalty
 designed to compel performance); see also Assurance of Discontinuance, In re: Albany Med
 Health System (settlement agreement between NY Attorney General & Albany Med Health
 System for unlawfully including $20,000 repayment fee in employment contracts for nurses from
 foreign nations) (cited in Compl. ¶ 59). Mr. Vidal seeks an order from this Court that Defendant
 may not use arbitration and the additional costs it seeks to impose as part of its illegal scheme.
         Defendant is a healthcare staffing company that recruits foreign nurses and sells their labor
 to healthcare facilities in the United States. Mr. Vidal is one such nurse. Among other things,
 Defendant promised to sponsor Mr. Vidal’s visa, bring him to the U.S., and give him a job at a
 healthcare facility. But this promise was contingent on Mr. Vidal signing a non-negotiable, lawyer-
 drafted contract that purported to allow Defendant to recover $20,000 in liquidated damages if Mr.
 Vidal were to leave his employment with Defendant. A subsequent contract, which Defendant sent
 to Mr. Vidal after he had signed the first contract and given notice at his prior job, contained an
 arbitration provision containing an aggressive loser pays provision. Fearing the severe financial
 penalties described in the first contract, and fearing that he would be jobless in London (as he had
 given his notice) if he did not sign the agreement, Mr. Vidal signed and came to the U.S., and

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 Defendant assigned him to a facility in Brooklyn. However, as detailed in the Complaint, Mr. Vidal
 eventually resigned his position, despite his fear of legal action and costly fees.
         Mr. Vidal’s fear was not unfounded. After threatening legal action against Mr. Vidal if he
 did not return to his employment, Defendant filed an arbitration demand against Mr. Vidal with
 the American Arbitration Association (“AAA”), seeking to recover its purported damages
 (including supposed “lost profits”), attorney’s fees, and costs of arbitration. Despite Mr. Vidal
 informing the AAA that the arbitration provision was not legal and requesting more time to
 evaluate potential arbitrators, the AAA denied that request and unilaterally informed the parties it
 had appointed an arbitrator. Mr. Vidal then filed this action.
         Defendant now argues that any challenge to the viability of arbitration is itself subject to
 arbitration because the arbitration provision incorporates the AAA’s “Commercial Rules,” which
 Defendant contends constitutes a delegation of issues of arbitrability to the arbitrator.1 But
 Defendant is wrong, for three reasons: (1) Plaintiff signed the arbitration provision under economic
 duress and therefore could not have assented to it or to its purported delegation clause as a matter
 of New York law—a question that cannot be delegated to the arbitrator; (2) the incorporation of
 the Commercial Rules in this case does not constitute a “clear and unmistakable” delegation of
 issues of arbitrability to the arbitrator, in part because those Rules do not seem to apply to any
 potential arbitration here; and (3) even if the Court were to find Plaintiff meaningfully assented to
 a clear and unmistakable delegation provision, that provision is itself illegal and unenforceable.
         1. Mr. Vidal Did Not Meaningfully Assent to the Arbitration Provision or Purported
 Delegation Clause. The threshold question of whether there was a genuine meeting of the minds
 with respect to an arbitration provision such that a valid arbitration provision was formed and
 exists is always for the court to decide. See, e.g., Meyer v. Uber Techs., Inc., 868 F.3d 66, 73 (2d
 Cir. 2017) (“[B]efore an agreement to arbitrate can be enforced, the district court must first
 determine whether such agreement exists[.]”) (citing Schnabel v. Trilegiant Corp., 697 F.3d 110,
 118 (2d Cir. 2012)). If no valid agreement to arbitrate was ever formed, then no delegation
 provision exists, and it would be improper to send any part of the dispute to arbitration. See
 Schnabel, 697 F.3d at 118 (“noting that the question of whether such an [arbitration] agreement
 “exists and is effective is necessarily for the court and not the arbitrator.”) (citations omitted).
         Under New York law, a contract is unenforceable on grounds of economic duress when a
 party “was forced to agree to it by means of a wrongful threat precluding the exercise of his free
 will.” Austin Instrument, Inc. v. Loral Corp., 29 N.Y.2d 124, 130 (1971). Here, Mr. Vidal has
 alleged that he was under substantial economic duress at the time the contract containing the
 arbitration provision was presented to him. Because of Defendant’s prior contract with him, Mr.
 Vidal feared that, if he did not sign the contract containing the arbitration provision, aggressive
 loser pays term, and purported delegation clause, he would be required to pay $20,000 in liquidated
 damages. He also feared that he would be jobless in London. This formation issue—which goes to
 both the enforceability of the arbitration provision as a whole and to the delegation clause in
 particular—must be adjudicated by this Court with the benefit of further factual development.


 1 Defendant contends that Mr. Vidal has submitted issues of arbitrability to the arbitrator, but that is not so. Mr. Vidal has repeatedly

 objected to the AAA proceedings, and has simply requested that the AAA follow its procedures and past practices by
 administratively staying its proceedings pending the resolution of this litigation. See Ex. 1, attached. The arbitrator construed that
 request as a submission on the arbitrability issue and denied it. However, Plaintiff is renewing that request for an administrative
 pause of the proceedings to the AAA itself—not the arbitrator—tomorrow.




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         2. There is No “Clear and Unmistakable” Delegation of Arbitrability to the
 Arbitrator. Questions regarding the validity of an arbitration provision are referrable to arbitration
 only if the arbitration provision includes a delegation clause that “clearly and unmistakably
 provide[s]” delegates arbitrability issues to the arbitrator. AT&T Techs., Inc. v. Commc’ns Workers
 of Am., 475 U.S. 643, 649 (1986). While in some commercial contexts the Second Circuit has
 concluded that a mere reference to AAA rules may constitute such a “clear and unmistakable”
 delegation, the Circuit has also emphasized that “context matters” and that “[i]ncorporation of such
 rules into an arbitration agreement does not, per se, demonstrate clear and unmistakable evidence
 of the parties’ intent to delegate threshold questions of arbitrability to the arbitrator where other
 aspects of the contract create ambiguity as to the parties’ intent.” DDK Hotels, LLC v. Williams-
 Sonoma, Inc., 6 F.4th 308, 318 (2d Cir. 2021). Here, the context shows ambiguity, not clarity.
         First, the AAA’s Commercial Rules themselves indicate that the Commercial Rules do not
 apply to this dispute because it is a dispute arising out of an “employment plan.” See AAA
 Commercial Rules, Ex. 2 (attached), at 10, n.*. Because the Commercial Rules should not apply
 to a AAA arbitration under this agreement—Commercial Rule 7(a) has not clearly and
 unmistakably been incorporated by reference. See Castedo v. Permanent Mission of Thailand to
 the U.N., 114 N.Y.S.3d 70, 71 (2019) (incorporation by reference ineffective where contract did
 not “clearly reflect an intention to incorporate”). Concluding that a reference to the Commercial
 Rules amounts to an incorporation by reference in an arbitration subject to the Employment
 Rules—solely because the reference occurs in an arbitration provision—would violate the FAA’s
 equal footing principle. See Morgan v. Sundance, Inc., No. 21-328, __ U.S. __, slip op. at 6 (2022).
         Second, the arbitration provision at issue also contains a clause that specifically
 contemplates judicial review. It says that “in the event that any court of competent jurisdiction
 shall determine that any portion of this Provision exceeds the scope permitted by applicable law,
 the court shall have the authority to modify or ‘blue pencil’ such portion so as to render it
 enforceable . . . .” This provision creates further ambiguity about the intent of the agreement by
 suggesting that a court can rule on the enforceability of the arbitration provision.
         Finally, unlike many cases where such incorporation by reference has been adjudged a
 clear and unmistakable delegation, Mr. Vidal is not a sophisticated commercial party who can be
 assumed to have knowledge of the detailed AAA Commercial Rules and the extent to which they
 might apply in an employment context. The textual ambiguities here—and the fact Mr. Vidal is
 not a sophisticated commercial party presumed to know the import of a passing reference to the
 Commercial Rules—negate a finding of a “clear and unmistakable” intent to delegate arbitrability.
         3. The Purported Delegation Clause is Not Enforceable. Finally, assuming arguendo
 that that Mr. Vidal voluntarily assented to the arbitration provision and its purported delegation
 clause, and that the delegation clause was “clear and unmistakable,” the Court should still deny
 Defendant’s motion because the delegation clause itself would be illegal and unenforceable under
 the TVPA, the FLSA, state statutes, and common law. Delegating questions of arbitrability to the
 arbitrator would require Mr. Vidal to submit to an arbitration that would threaten to bury him in
 extraordinary costs and legal fees. Even litigating the question of arbitrability could cost tens of
 thousands of dollars. The Court should not require Mr. Vidal to submit to an illegal and
 unconscionable arbitral process for the purpose of establishing that that same process is illegal and
 unconscionable. See, e.g., Lim v. TForce Logistics, LLC, 8 F.4th 992, 1003 (9th Cir. 2021).
        We thank the Court for its attention to this matter.




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                                               Respectfully submitted,




                                           l
                                     ~
                                               Hugh Baran
                                               KAKALEC LAW PLLC

                                               David Seligman
                                               TOWARDS JUSTICE
                                               (pro hac vice motion forthcoming)

                                               Anna P. Prakash
                                               NICHOLS KASTER, PLLP
                                               (pro hac vice motion pending)

                                               Counsel for Plaintiff

 cc:   All counsel (via ECF)




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                       EXHIBIT 1
    Plaintiff’s October 6, 2022 Letter to the AAA
       Seeking a Stay of Arbitral Proceedings




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justice
   October 6, 2022
   By Email
   Michele Gomez
   Manager of ADR Services
   American Arbitration Association
   1301 Atwood Ave, Suite 211N
   Johnston, RI 02919

            Re: Advanced Care Staffing, LLC v. Benzor Vidal (Case No. 01-22-0002-9008)
   Dear Ms. Gomez:
             Towards Justice represents Respondent Benzor Vidal for the limited purpose of requesting a
   stay of this arbitration pending resolution of Mr. Vidal’s action for declaratory and injunctive relief
   in the United States District Court for Eastern District of New York. See Vidal v. Advanced Care
   Staffing, LLC, 22-cv-5535 (E.D.N.Y.), attached as Ex. A (“Compl.”). We write now to formally
   request a stay of the pending arbitration.
            As explained in detail below, Mr. Vidal seeks this stay because: (1) the arbitration provision
   that Claimant Advanced Care Staffing seeks to enforce in this case is unenforceable and illegal under
   federal and state trafficking and wage and hour laws and is unconscionable as a matter of New York
   common law; (2) AAA’s rules and practices support a stay pending judicial resolution of the
   enforceability of the arbitration provision; (3) conducting this arbitration, even on the question of
   whether a stay is appropriate, conflicts with the AAA’s moratorium on the administration of debt
   collection arbitrations involving vulnerable consumers; and (4) this case involves conduct by
   Advanced Care Staffing that implicates laws prohibiting the exploitation of foreign workers, and
   AAA’s administration of this arbitration before a federal court has had the opportunity to address
   the critical issues posed by Advanced Care Staffing’s conduct in seeking to enforce the arbitration
   provision, risks furthering that exploitation.
           AAA—not the arbitrator—should make this decision as an administrative matter. Even a
   limited proceeding before the arbitrator to determine whether a stay is appropriate would exacerbate
   the harm of the arbitration provision by burdening Mr. Vidal with the risks of increased costs
   pursuant to the arbitration provision’s loser pays term.
       I.      BACKGROUND
             Mr. Vidal is registered nurse from the Philippines. Advanced Care Staffing is a healthcare
   staffing business that recruits foreign nurses, sponsors their visas, and sells their labor to healthcare
   facilities in the United States. Compl. ¶¶ 8-31.
            In late 2021, Mr. Vidal signed the contract that includes the arbitration provision and loser
   pays term that Advanced Care Staffing seeks to enforce in this arbitration. Compl. ¶¶ 32-44. That
   contract purported to allow Advanced Care Staffing to recover potentially tens of thousands of
   dollars in “lost profits” if Mr. Vidal left his employment with Advanced Care Staffing before the
   completion of his contractual term of employment. Mr. Vidal feared that if he did not sign the




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  contract, he would owe $20,000 in liquidated damages under an earlier contract with the company.
  Compl. ¶ 36.
          Mr. Vidal’s life in the United States working for Advanced Care Staffing was nothing like
  what the company had promised him. Mr. Vidal’s work was grueling and unsafe for him and the
  patients he was responsible for at the facility where he worked. Fearing that his working conditions
  threatened his nursing license, he resigned, despite his fear that the contract purported to allow
  Advanced Care Staffing to pursue legal action. Compl. ¶¶ 34-64.
          After sending Mr. Vidal a letter threatening legal action in which Claimant would seek to
  recover tens of thousands of dollars and its attorney’s fees and arbitration costs if he did not return
  to his employment, Advanced Care Staffing filed its arbitration demand on July 8, 2022. In its
  demand, Advanced Care Staffing sought to recover purported damages (including its supposed “lost
  profits”), its attorney’s fees, and the costs of arbitration. Compl. ¶¶ 62-64.

            On September 16, 2022, Mr. Vidal sued Advanced Care Staffing in the U.S. District Court
  for the Eastern District of New York, seeking a declaratory judgment that the arbitration provision
  is illegal and unenforceable and accompanying injunctive relief.

     II.     AAA SHOULD STAY THE ARBITRATION PROCEEDINGS

         Mr. Vidal requests the AAA formally stay all further arbitral proceedings in this matter until
  his complaint is adjudicated in federal court. A stay is necessary and appropriate for the following
  reasons:
     (A) The arbitration provision is a contract for illegal purposes in violation of federal and state
         law, and the AAA’s continued administration of this action exacerbates the unfairness and
         illegality of the arbitration provision.
           A stay is necessary because continuing these proceedings would undermine important
  federal and state legal protections. As detailed in the complaint, the arbitration provision and its
  “loser pays” provision would require Mr. Vidal to pay all Advanced Care Staffing’s attorney’s fees
  and arbitration costs, including the arbitrator’s compensation, if the arbitrator awarded Advanced
  Care Staffing even a dollar in purported damages—a threat of serious harm designed to coerce Mr.
  Vidal to stay in his job. See Compl. ¶¶ 54-81. Even after Mr. Vidal resigned, Advanced Care Staffing
  explicitly used the arbitration provision to coerce Mr. Vidal to return to work. Id. ¶ 58. By
  maintaining these proceedings—even by accruing arbitrator costs to consider the stay request—
  AAA would be exacerbating the threat of serious harm looming over Mr. Vidal. Id. ¶ 54-81.

          Furthermore, in satisfying its minimum wage obligations, Advanced Care Staffing may not
  seek to recover costs that are primarily for its own benefit. Compl. ¶ 102. In this case, such costs
  include Advanced Care Staffing’s purported “lost profits”—meaning the amount of surplus profits
  Advanced Care Staffing would have recouped for its own benefit had Mr. Vidal completed his
  contract term—and the costs of hiring a replacement employee, costs that Advanced Care Staffing
  has suggested will amount to $9,000 per year over each of the years remaining on Mr. Vidal’s
  contract. Id.
          Debt collection costs incurred in seeking to collect an illegal kickback—including attorney’s
  fees and arbitration costs—are inherently also an illegal kickback under wage and hour laws. Id. ¶
  104. As a result, the arbitration provision is illegal under the Fair Labor Standards Act (“FLSA”),



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  Compl. ¶¶ 96-106 (citing 29 U.S.C. § 201, et seq.), and New York minimum wage and wage payment
  laws, Compl. ¶¶ 107-36 (citing NYLL § 650, et seq., § 198-b, § 193). Conducting even a limited
  arbitration proceeding to evaluate the proprietary of a stay would increase the risks of further costs
  being imposed on Mr. Vidal in violation of the wage and hour laws.
          The arbitration provision is also unconscionable. Its substantively unconscionable and illegal
  “loser pays” provision threatens to bury Mr. Vidal in tens of thousands of dollars of attorney’s fees
  and arbitration costs and conflicts with the one-way fee shifting mechanism set out in the trafficking
  and minimum wage laws. Furthermore, Advanced Care Staffing required Mr. Vidal to accept the
  provision on a take-it-or-leave-it basis, and he faced substantial financial harm if he did not sign the
  contract, including potentially $20,000 in penalties, an amount that far exceeded his savings and that
  would be financially ruinous. As a result, Mr. Vidal lacked meaningful choice about whether to sign
  the contract. Conducting the arbitration would thus conflict with New York common law
  protections against unconscionable contracts. Compl. ¶¶ 137-42.

      (B) A stay is consistent with AAA’s rules and practices.

           The stay is also consistent with AAA’s rules and practices. The AAA is empowered to refuse
  to administer arbitrations for lack of due process protocol compliance. See Searle Civil Justice
  Institute, Preliminary Report on Consumer Arbitration, available at https://tinyurl.com/538kzkxr
  (detailing cases in which AAA refused to administer the arbitration in consumer cases). And AAA
  rules authorize postponement at the request of a party or upon the arbitrator’s own initiative. AAA
  Commercial R. 31; Employment R. 24 (same). Additionally, if the AAA does not think a stay is
  warranted here, AAA’s Employment Rules require the AAA to grant a stay for 60 days so that Mr.
  Vidal may seek an order from the federal court mandating such a stay. Employment R. 1.

          Consistent with this scheme, AAA grants stays in similar contexts. For example, in matters
  filed by Strategic Delivery Solutions, LLC against Blanca Alulema and Maria Tacoaman, the AAA
  paused proceedings, upon request from Ms. Alulema and Ms. Tacoaman, pending federal court
  resolution of a pending motion to lift the stay on their federal court case. See Case Nos. 01-02-0015-
  6896 & 01-20-0015-6897.

      (C) A stay is required by AAA’s moratorium on debt collection arbitrations.

           The stay is also required pursuant to the AAA’s moratorium on consumer debt collection
  arbitrations. In 2009, the AAA implemented a moratorium on the administration of debt collection
  arbitration programs and noted that “a series of important fairness and due process concerns must
  be addressed and resolved before [it] will proceed with the administration of any future debt
  collection arbitrations.”1 The moratorium came in the wake of an enforcement action brought
  against the National Arbitration Forum (NAF) by the Minnesota Attorney General related to NAF’s
  alleged corrupt administration of debt collection arbitrations brought against credit card consumers.2
  The moratorium was motivated by concerns that AAA’s arbitration procedures would not

  1 Arbitration or ‘Arbitrary’: The Misuse of Mandatory Arbitration to Collect Consumer Debts, Hearing Before
  the House Subcommittee on Domestic Policy, Committee on Oversight and Government Reform,
  111th Congress (July 22, 2009) (Testimony of Richard W. Naimark on behalf of the American
  Arbitration Association).
  2
    https://library.nclc.org/sites/default/files/Arb10_Appx_O-1.pdf.


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  adequately ensure due process, including sufficient notice and arbitrator neutrality, and that
  arbitrators would not be sufficiently equipped to protect the interests of debtors, including by
  ensuring that creditors do not seek to recover inappropriate interest or unreasonable attorney’s fees.

           Here, Advanced Care Staffing seeks to collect a debt purportedly owed because Mr. Vidal,
  an immigrant worker, terminated his employment due to allegedly poor working conditions. Mr.
  Vidal’s experience within arbitration demonstrates why AAA’s reasoned and important moratorium
  on debt collection proceedings should apply to this case. Mr. Vidal has been confused about and
  intimidated by these arbitration proceedings since Advanced Care Staffing’s initial demand.
  Furthermore, AAA’s concerns about creditors seeking unreasonable attorney’s fees apply with
  special force here, as Mr. Vidal may be required to pay for nearly every aspect of the arbitration,
  including Advanced Care Staffing’s attorney’s fees and costs. The same concerns AAA has about the
  fairness of debt collection arbitrations brought against credit card consumers should apply to debt
  collection arbitrations brought against vulnerable foreign workers subject to debt designed to coerce
  them to continue working.

          That the arbitration at issue here does not involve a traditional consumer debt collection
  proceeding does not change the analysis. The use of debt to keep workers trapped in their jobs is an
  urgent problem that has received the attention of federal consumer protection agencies like the
  Consumer Financial Protections Bureau.3 Furthermore, the underlying debt obligation imposed by
  Advanced Care Staffing may constitute credit under federal or state law. See, e.g., 15 U.S.C. § 1691 et
  seq. The consumer debt collection arbitration moratorium should apply in this case.

      (D) This case raises important issues implicating critical protections for vulnerable workers. AAA
          should not proceed with the arbitration until the court has ruled on its legality.

           Finally, the arbitration proceeding raises profoundly important issues regarding the
  exploitation of immigrant workers. The underlying facts of this case substantially overlap with
  trafficking cases involving other foreign nurses in New York. Indeed, at least one court in New
  York and the New York Attorney General’s Office have concluded that luring nurses into the
  United States and then coercing them to continue working under threat of financial penalties less
  substantial than those at issue in this case violates federal and state anti-trafficking laws. See Paguirigan
  v. Prompt Nursing Emp’t Agency, 286 F. Supp 3d 430, 535 (E.D.N.Y. 2017) ($25,000 contract
  termination fee unenforceable penalty designed to compel performance); see also Assurance of
  Discontinuance, In re: Albany Med Health System f/k/a Albany Medical Center (settlement agreement
  between New York Attorney General and Albany Med Health System for unlawfully including a
  $20,000 repayment fee in employment contracts for nurses recruited from foreign nations).

          The most notable difference between those cases and this one is that in this case, Advanced
  Care Staffing has weaponized the arbitration forum as a tool of its scheme, designed to impose
  further costs and fees on workers like Mr. Vidal who terminate their employment agreement before
  the end of their term of employment. The AAA should not allow itself to be used in this manner. It




  3
   CFPB Launches Inquiry into Practices that Leave Workers Indebted to Employers, Consumer Financial Protection
  Bureau, June 9, 2022.


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  should stay this arbitration proceeding until, at the very earliest, the federal court has ruled on the
  enforceability of the arbitration provision.

          We thank the AAA for its attention to this matter.


                                                                           TOWARDS JUSTICE


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  cc:
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                       EXHIBIT 2
             American Arbitration Association’s
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                                      Commercial
                                      Arbitration Rules and Mediation Procedures

                                      Including Procedures for Large, Complex Commercial Disputes




                                      e                AMERICAN ARBITRATION ASSOCIATION'




                                      Available online at adr.org/commercial

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           Commercial Arbitration Rules
           and Mediation Procedures
          (Including Procedures for Large, Complex Commercial Disputes)




      Important Notice

      These rules and any amendment of them shall apply in the form in effect at the
      time the administrative filing requirements are met for a demand for arbitration
      or submission agreement received by the AAA®. To ensure that you have the
      most current information, see our web site at www.adr.org.


      Introduction

      Each year, many millions of business transactions take place. Occasionally,
      disagreements develop over these business transactions. Many of these disputes
      are resolved by arbitration, the voluntary submission of a dispute to an impartial
      person or persons for final and binding determination. Arbitration has proven to be
      an effective way to resolve these disputes privately, promptly, and economically.

      The American Arbitration Association® (AAA), a not-for-profit, public service
      organization, offers a broad range of dispute resolution services to business
      executives, attorneys, individuals, trade associations, unions, management,
      consumers, families, communities, and all levels of government. Services are
      available through AAA headquarters in New York and through offices located in
      major cities throughout the United States. Hearings may be held at locations
      convenient for the parties and are not limited to cities with AAA offices. In
      addition, the AAA serves as a center for education and training, issues
      specialized publications, and conducts research on various forms of alternative
      dispute resolution.




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      Standard Arbitration Clause

      The parties can provide for arbitration of future disputes by inserting the
      following clause into their contracts:

            Any controversy or claim arising out of or relating to this contract, or the
            breach thereof, shall be settled by arbitration administered by the
            American Arbitration Association under its Commercial Arbitration Rules,
            and judgment on the award rendered by the arbitrator(s) may be entered
            in any court having jurisdiction thereof.

      Arbitration of existing disputes may be accomplished by use of the following:

            We, the undersigned parties, hereby agree to submit to arbitration
            administered by the American Arbitration Association under its
            Commercial Arbitration Rules the following Controversy: (describe briefly).
            We further agree that the above controversy be submitted to (one) (three)
            arbitrator(s). We further agree that we will faithfully observe this
            agreement and the rules, that we will abide by and perform any award
            rendered by the arbitrator(s), and that a judgment of any court having
            jurisdiction may be entered on the award.

      The services of the AAA are generally concluded with the transmittal of the
      award. Although there is voluntary compliance with the majority of awards,
      judgment on the award can be entered in a court having appropriate jurisdiction
      if necessary.


      Administrative Fees

      The AAA charges a filing fee based on the amount of the claim or counterclaim.
      This fee information, which is included with these rules, allows the parties to
      exercise control over their administrative fees. The fees cover AAA administrative
      services; they do not cover arbitrator compensation or expenses, if any, reporting
      services, or any post-award charges incurred by the parties in enforcing the award.


      Mediation

      Subject to the right of any party to opt out, in cases where a claim or counterclaim
      exceeds $100,000, the Rules provide that the parties shall mediate their dispute
      upon the administration of the arbitration or at any time when the arbitration
      is pending. In mediation, the neutral mediator assists the parties in reaching a
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       settlement but does not have the authority to make a binding decision or award.
       Mediation is administered by the AAA in accordance with its Commercial
       Mediation Procedures. There is no additional filing fee where parties to a
       pending arbitration attempt to mediate their dispute under the AAA’s auspices.

       Although these rules include a mediation procedure that will apply to many
       cases, parties may still want to incorporate mediation into their contractual dispute
       settlement process. Parties can do so by inserting the following mediation clause
       into their contract in conjunction with a standard arbitration provision:

            If a dispute arises out of or relates to this contract, or the breach thereof,
            and if the dispute cannot be settled through negotiation, the parties
            agree first to try in good faith to settle the dispute by mediation
            administered by the American Arbitration Association under its
            Commercial Mediation Procedures before resorting to arbitration,
            litigation, or some other dispute resolution procedure.

       If the parties want to use a mediator to resolve an existing dispute, they can
       enter into the following submission agreement:

            The parties hereby submit the following dispute to mediation
            administered by the American Arbitration Association under its
            Commercial Mediation Procedures. (The clause may also provide for the
            qualifications of the mediator(s), method of payment, locale of meetings,
            and any other item of concern to the parties.)

       Large, Complex Cases

       Unless the parties agree otherwise, the Procedures for Large, Complex Commercial
       Disputes, which appear in this pamphlet, will be applied to all cases administered
       by the AAA under the Commercial Arbitration Rules in which the disclosed claim
       or counterclaim of any party is at least $1,000,000 exclusive of claimed interest,
       arbitration fees and costs. The key features of these Procedures include:

       >    A highly qualified, trained Roster of Neutrals;
       >    A mandatory preliminary hearing with the arbitrators, which may be conducted by
            teleconference or other electronic means;
       >    Broad arbitrator authority to order and control the exchange of information,
            including depositions;
       >    A presumption that hearings will proceed on a consecutive or block basis.



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       Commercial Arbitration Rules

       R-1. Agreement of Parties*

       (a) The parties shall be deemed to have made these Rules a part of their arbitration
           agreement whenever they have provided for arbitration by the American Arbitration
           Association (“AAA”) under its Commercial Arbitration Rules or for arbitration by
           the AAA of a domestic commercial dispute without specifying particular rules.
           These Rules and any amendment to them shall apply in the form in effect at the
           time the administrative requirements are met for a Demand for Arbitration or
           Submission Agreement received by the AAA. Any disputes regarding which AAA
           rules shall apply shall be decided by the AAA. The parties, by written agreement,
           may vary the procedures set forth in these Rules. After appointment of the
           arbitrator, such modifications may be made only with the consent of the arbitrator.
       (b) Unless the parties agree or the AAA determines otherwise, the Expedited
           Procedures shall apply in any case in which no disclosed claim or counterclaim
           exceeds $100,000, exclusive of interest, attorneys’ fees, and arbitration fees and
           costs. Parties may also agree to use these Procedures in larger cases. Unless the
           parties agree otherwise, these Procedures will not apply in cases involving more
           than two parties. The Expedited Procedures shall be applied as described in
           Procedures E-1 through E-10, in addition to any other portion of these Rules that
           is not in conflict with the Expedited Procedures.
       (c) Unless the parties agree otherwise, the Procedures for Large, Complex
           Commercial Disputes shall apply to all cases in which the disclosed claim or
           counterclaim of any party is at least $1,000,000, exclusive of claimed interest,
           attorneys’ fees, arbitration fees and costs. Parties may also agree to use the
           Procedures in cases involving claims or counterclaims under $1,000,000 or in
           nonmonetary cases. The Procedures for Large, Complex Commercial Disputes
           shall be applied as described in Procedures L-1 through L-3 in addition to any
           other portion of these Rules that is not in conflict with the Procedures for Large,
           Complex Commercial Disputes.
       (d) Parties may, by agreement, apply the Expedited Procedures; the Procedures for
           Large, Complex Commercial Disputes; or the Procedures for the Resolution of
           Disputes Through Document Submission (Procedure E-6) to any dispute.
       (e) All other cases shall be administered in accordance with Rules R-1 through R-60 of
           these Rules.

       * The AAA will apply the Employment Fee Schedule to any dispute between an individual employee or an
         independent contractor (working or performing as an individual and not incorporated) and a business or
         organization and the dispute involves work or work-related claims, including any statutory claims and including
         work-related claims under independent contractor agreements. A dispute arising out of an employment plan will
         be administered under the AAA’s Employment Arbitration Rules and Mediation Procedures. A dispute arising out
         of a consumer arbitration agreement will be administered under the AAA’s Consumer Arbitration Rules.

       * Beginning June 1, 2021, the AAA will apply the Consumer Arbitration Fee Schedule to any dispute between an
         online marketplace or platform and an individual user or subscriber (using or subscribed to the service as an
         individual and not incorporated) and the dispute does not involve work or work-related claims.



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       R-2. AAA, Delegation of Duties, Conduct of Parties, Administrative Review Council

       (a) When parties agree to arbitrate under these Rules, or when they provide for
           arbitration by the AAA and an arbitration is initiated under these Rules, they
           thereby authorize the AAA to administer the arbitration.
       (b) The authority and duties of the AAA are prescribed in the agreement of the
           parties and in these Rules, and may be carried out through such of the AAA’s
           representatives as it may direct. The AAA may, in its discretion, assign the
           administration of an arbitration to any of its offices. Arbitrations administered
           under these Rules shall only be administered by the AAA or by an individual or
           organization authorized by the AAA to do so.
       (c) The AAA requires that parties and their representatives conduct themselves in
           accordance with the AAA’s Standards of Conduct for Parties and Representatives
           when utilizing the AAA’s services. Failure to do so may result in the AAA’s declining
           to further administer a particular case or caseload.
       (d) For cases proceeding under the Procedures for Large, Complex Commercial
           Disputes, and for other cases where the AAA, in its sole discretion, deems it
           appropriate, the AAA may act through its Administrative Review Council to take
           the following administrative actions:
             i)   determine challenges to the appointment or continuing service of an
                  arbitrator;
             ii) make an initial determination as to the locale of the arbitration, subject to the
                 power of the arbitrator to make a final determination; or
             iii) decide whether a party has met the administrative requirements to file an
                  arbitration under these Rules.

       R-3. National Roster of Arbitrators

       The AAA shall establish and maintain a National Roster of Arbitrators (“National
       Roster”) and shall appoint arbitrators as provided in these Rules. The term
       “arbitrator” in these Rules refers to the arbitration panel, constituted for a
       particular case, whether composed of one or more arbitrators, or to an individual
       arbitrator, as the context requires.

       R-4. Filing Requirements and Procedures

       (a) Filing Requirements
             i)   Arbitration under an arbitration provision in a contract shall be initiated by the
                  initiating party (“claimant”) filing with the AAA a Demand for Arbitration, the
                  administrative filing fee, and a copy of the applicable arbitration agreement
                  from the parties’ contract which provides for arbitration. The filing fee must
                  be paid before a matter is considered properly filed.


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             ii) Arbitration pursuant to a court order shall be initiated by the initiating party
                 filing with the AAA a Demand for Arbitration, the administrative filing fee,
                 and a copy of any applicable arbitration agreement from the parties’ contract
                 which provides for arbitration.
                  a) The filing party shall include a copy of the court order.
                  b) The filing fee must be paid before a matter is considered properly filed.
                     If the court order directs that a specific party is responsible for the filing
                     fee, it is the responsibility of the filing party to either make such payment
                     to the AAA and seek reimbursement as directed in the court order or to
                     make other such arrangements so that the filing fee is submitted to the
                     AAA with the Demand.
                  c)   The party filing the Demand with the AAA is the claimant and the
                       opposing party is the respondent regardless of which party initiated the
                       court action. Parties may request that the arbitrator alter the order of
                       proceedings if necessary pursuant to Rule R-33.
             iii) Parties to any existing dispute who have not previously agreed to use these
                  Rules may commence an arbitration under these Rules by filing a written
                  Submission Agreement and the administrative filing fee. To the extent that
                  the parties’ Submission Agreement contains any variances from these Rules,
                  such variances should be clearly stated in the Submission Agreement.
             iv) Information to be included with any arbitration filing includes:
                  a) the name of each party;
                  b) the address of each party and, if known, the telephone number and email
                     address;
                  c)   if applicable, the name, address, telephone number, and email address of
                       any known representative for each party;
                  d) a statement setting forth the nature of the claim including the relief
                     sought and the amount involved; and
                  e) the locale requested if the arbitration agreement does not specify one.
       (b) Filing Procedures
             i)   The initiating party may file or submit a dispute to the AAA in the following
                  manner:
                  a) through AAA WebFile®, located at www.adr.org;
                  b) by filing the complete Demand or Submission with any AAA office,
                     regardless of the intended locale of hearing; or
                  c)   by emailing the complete Demand or Submission to casefiling@adr.org,
                       with payment to follow as directed by the AAA.
             ii) The filing party shall simultaneously provide a copy of the Demand and any
                 supporting documents to the opposing party.




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             iii) Any papers, notices, or process necessary or proper for the initiation of an
                  arbitration under this Rule may be served on a party:
                  a) by mail addressed to the party or its authorized representative at their last
                     known address;
                  b) by electronic service/email, with the prior agreement of the party being
                     served;
                  c)    by personal service; or
                  d) by any other service methods provided for under the applicable
                     procedures of the courts of the state where the party to be served is
                     located.
             iv) The AAA shall provide notice to the parties (or their representatives if so named)
                 of the receipt of a Demand or Submission when the administrative filing
                 requirements have been satisfied. The date on which the filing requirements
                 are satisfied shall establish the date of filing the dispute for administration.
                 However, all disputes in connection with the AAA’s determination of the date
                 of filing may be decided by the arbitrator.
             v) It is the responsibility of the filing party to ensure that any conditions precedent
                to the filing of a case are met prior to filing an arbitration, as well as any time
                requirements associated with the filing. Any dispute regarding whether a
                condition precedent has been met may be raised with the arbitrator for
                determination.
             vi) The AAA has the authority to make an administrative determination whether
                 the filing requirements set forth in this Rule have been met.
             vii) If the filing does not satisfy the filing requirements set forth in Section (a)
                  above, the AAA shall acknowledge to all named parties receipt of the
                  incomplete filing, and the filing may be returned to the initiating party.
       (c) Authority of arbitrator. Any decision made by the AAA regarding filing
           requirements and procedures shall not interfere with the arbitrator’s authority to
           determine jurisdiction pursuant to Rule R-7.

       R-5. Answers and Counterclaims

       (a) A respondent may file an answering statement with the AAA within 14 calendar
           days after notice of the filing of the Demand is sent by the AAA. The respondent
           shall, at the time of any such filing, send a copy of any answering statement to
           the claimant and to all other parties to the arbitration. If no answering statement
           is filed within the stated time, the respondent will be deemed to deny the claim.
           Failure to file an answering statement shall not operate to delay the arbitration.
       (b) A respondent may file a counterclaim at any time after notice of the filing of the
           Demand is sent by the AAA, subject to the limitations set forth in Rule R-6. The
           respondent shall send a copy of the counterclaim to the claimant and all other
           parties to the arbitration. If a counterclaim is asserted, it shall include a statement
           setting forth the nature of the counterclaim including the relief sought and the

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             amount involved. The filing fee as specified in the applicable AAA Fee Schedule
             must be paid at the time of filing. The claimant may file an answering statement
             or reply in response to the counterclaim with the AAA within 14 calendar days
             after notice of the filing of the counterclaim is sent by the AAA.
       (c) If the respondent alleges that a different arbitration provision is controlling, the
           matter will be administered in accordance with the arbitration provision submitted
           by the initiating party subject to a final determination by the arbitrator.
       (d) If the counterclaim does not meet the requirements for filing a claim and the
           deficiency is not cured by the date specified by the AAA, it may be returned to the
           filing party.

       R-6. Changes of Claim

       (a) A party may at any time prior to the close of the hearing or by any earlier date
           established by the arbitrator increase or decrease the amount of its claim or
           counterclaim. Written notice of the change of claim amount must be provided
           to the AAA and all parties. If the change of claim amount results in an increase in
           the administrative fee, the balance of the fee is due before the change of claim
           or counterclaim amount may be accepted by the arbitrator. After the arbitrator is
           appointed, however, a party may increase the amount of its claim or counterclaim,
           or alter its request for non-monetary relief, only with the arbitrator’s consent.
       (b) Any new or different claim or counterclaim, as opposed to an increase or decrease
           in the amount of a pending claim or counterclaim, shall be made in writing and
           filed with the AAA, and a copy shall be provided to the other party, who shall have
           14 calendar days from the date of such transmittal within which to file an answer to
           the proposed change of claim or counterclaim with the AAA. After the arbitrator is
           appointed, however, no new or different claim or counterclaim may be submitted
           except with the arbitrator’s consent.
       (c) A party that filed a claim or counterclaim of an undisclosed or undetermined
           amount must specify the amount of the claim or counterclaim to the AAA, all
           parties, and the arbitrator at least seven calendar days prior to the commencement
           of the hearing or by any other date established by the arbitrator. If the disclosed
           amount of the claim or counterclaim results in an increased filing fee, that fee
           must be paid at the time the claim or counterclaim amount is disclosed. For good
           cause shown and with the consent of the arbitrator, a party may proceed to the
           hearing with an undisclosed or undetermined claim or counterclaim, provided that
           the final amount of the claim or counterclaim is set forth in a post-hearing brief or
           submission and any appropriate filing fee is paid.

       R-7. Jurisdiction

       (a) The arbitrator shall have the power to rule on his or her own jurisdiction, including
           any objections with respect to the existence, scope, or validity of the arbitration
           agreement or to the arbitrability of any claim or counterclaim, without any need to
           refer such matters first to a court.

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       (b) The arbitrator shall have the power to determine the existence or validity of a
           contract of which an arbitration clause forms a part. Such an arbitration clause
           shall be treated as an agreement independent of the other terms of the contract.
           A decision by the arbitrator that the contract is null and void shall not for that
           reason alone render invalid the arbitration clause.
       (c) A party must object to the jurisdiction of the arbitrator or to the arbitrability of a
           claim or counterclaim no later than the filing of the answering statement to the
           claim or counterclaim that gives rise to the objection. The arbitrator may rule on
           such objections as a preliminary matter or as part of the final award.

       R-8. Consolidation and Joinder

       (a) Consolidation
             i)   Two or more arbitrations may be consolidated if all parties to all of the
                  arbitrations to be consolidated so agree.
             ii) Unless all parties agree to consolidation, the party requesting consolidation
                 of two or more arbitrations must file with the AAA and serve on all other
                 parties a written request for consolidation with the supporting reasons for
                 such request within 90 days of the date the AAA determines that all
                 administrative filing requirements were satisfied for the last-filed case that is
                 part of the consolidation request. Such time limit may be extended by the
                 arbitrator appointed in the first-filed case upon a showing of good cause for
                 the late request. The other parties to the arbitrations shall provide their
                 written responses to the consolidation request within 10 calendar days after
                 the AAA sends notice of receipt of the request.
             iii) At its discretion, the AAA either may direct that the consolidation request be
                  decided by the arbitrator appointed in the first-filed case or may appoint a
                  consolidation arbitrator for the sole purpose of deciding the consolidation
                  request.
             iv) The arbitrator deciding consolidation may order consolidation of two or more
                 cases for all purposes or for such limited purposes and under such conditions
                 as the arbitrator may direct.
             v) Absent agreement of all parties, an arbitrator appointed for the sole purpose
                of deciding the consolidation request shall have no further power to act, and
                shall be removed from the case, after the consolidation request is decided.
             vi) In deciding whether to consolidate, the arbitrator or consolidation arbitrator
                 shall take into account all relevant circumstances, including:
                  a) the terms and compatibility of the agreements to arbitrate,
                  b) applicable law,
                  c)    the timeliness of the request to consolidate and the progress already
                        made in the arbitrations,
                  d) whether the arbitrations raise common issues of law and/or fact, and


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                  e) whether consolidation of the arbitrations would serve the interests of
                     justice and efficiency.
       (b) Joinder
             i)   Additional parties may be joined to an arbitration if all parties to the
                  arbitration and the parties proposed to be joined so agree.
             ii) Absent such consent, all requests for joinder must be submitted to the AAA
                 prior to the appointment of an arbitrator pursuant to these Rules or within
                 90 days of the date the AAA determines that all administrative filing
                 requirements have been satisfied. The arbitrator may extend this deadline on
                 a showing of good cause for the late request.
             iii) If the existing parties and the parties proposed to be joined are unable to
                  agree to the joinder of those additional parties to an ongoing arbitration, the
                  arbitrator shall decide whether parties should be joined. If an arbitrator has
                  not yet been appointed in the case, the AAA may appoint an arbitrator for the
                  sole purpose of deciding the joinder request. Absent agreement of all parties,
                  the arbitrator appointed for the sole purpose of deciding the joinder request
                  shall have no further power to act, and shall be removed from the case, after
                  the joinder request is decided.
             iv) The party requesting the joinder of one or more parties to a pending
                 arbitration must file with the AAA a written request that provides the names
                 and contact information for such parties; the names and contact information
                 for the parties’ representatives, if known; and the supporting reasons for such
                 request, including applicable law. The requesting party must provide a copy
                 of the joinder request to all parties in the arbitration and all parties it seeks
                 to join at the same time it files the request with the AAA. The other parties to
                 the arbitration and the parties sought to be joined shall provide their written
                 responses to the joinder request within 14 days after the AAA sends notice of
                 receipt of the request for joinder.
             v) The requesting party shall comply with the provisions of Rule R-4(a) as to all
                parties sought to be joined.
       (c) If an arbitrator determines that separate arbitrations shall be consolidated or that
           the joinder of additional parties is permissible, that arbitrator may also determine:
             i)   whether any arbitrator previously appointed to an existing case that was
                  consolidated shall remain on the newly constituted case;
             ii) whether any arbitrator previously appointed to a case where additional parties
                 have been joined shall remain;
             iii) if appropriate, a process for selecting the arbitrator(s) to fill any vacancies; and
             iv) unless agreed otherwise by the parties, the allocation among the parties of
                 arbitrator compensation and expenses, subject to reapportionment by the
                 arbitrator appointed to the ongoing or newly constituted case in the final
                 award.




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       (d) The AAA may take reasonable administrative actions to accomplish any
           consolidation or joinder ordered by the arbitrator or as agreed to by the parties.
           Pending the determination on a consolidation or joinder request, the AAA shall
           have the authority to stay the arbitration or arbitrations impacted by the
           consolidation or joinder request, at its sole discretion.

       R-9. Interpretation and Application of Rules

       The arbitrator shall interpret and apply these Rules insofar as they relate to the
       arbitrator’s powers and duties. When there is more than one arbitrator and a
       difference arises among them concerning the meaning or application of these
       Rules, it shall be decided by a majority vote. If that is not possible, either an
       arbitrator or a party may refer the question to the AAA for final decision. All other
       rules shall be interpreted and applied by the AAA.

       R-10. Mediation

       In all cases where a claim or counterclaim exceeds $100,000, upon the AAA’s
       administration of the arbitration or at any time while the arbitration is pending,
       the parties shall mediate their dispute pursuant to the applicable provisions of
       the AAA’s Commercial Mediation Procedures, or as otherwise agreed by the
       parties. Absent an agreement of the parties to the contrary, the mediation shall
       take place concurrently with the arbitration and shall not serve to delay the
       arbitration proceedings. However, any party to an arbitration may unilaterally
       opt out of this Rule upon notification to the AAA and the other parties to the
       arbitration. The parties shall confirm the completion of any mediation or any
       decision to opt out of this Rule to the AAA. Unless agreed to by all parties and
       the mediator, the mediator shall not be appointed as an arbitrator to the case.

       R-11. Administrative Conference

       At the request of any party or upon the AAA’s own initiative, the AAA may conduct
       an administrative conference, in person, by videoconference or by telephone,
       with the parties and/or their representatives. The conference may address such
       issues as arbitrator selection, mediation of the dispute, potential exchange of
       information, a timetable for hearings, and any other administrative matters.

       R-12. Fixing of Locale

       The parties may mutually agree on the locale where the arbitration is to be held.
       When the parties’ arbitration agreement requires a specific locale, absent the
       parties’ agreement to change it, or a determination by the arbitrator that

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       applicable law requires a different locale, the locale shall be that specified in the
       arbitration agreement.

       Any disputes regarding the locale that are to be decided by the AAA must be
       submitted to the AAA and all other parties within 14 calendar days after the AAA
       sends notice of the filing of the Demand or by the date established by the AAA.
       Disputes regarding locale shall be determined in the following manner:

       (a) When the parties’ arbitration agreement is silent with respect to locale, and if the
           parties disagree as to the locale, the AAA shall initially determine the locale of
           arbitration, subject to the power of the arbitrator after appointment to make a
           final determination on the locale.
       (b) If the reference to a locale in the arbitration agreement is ambiguous, and the
           parties are unable to agree to a specific locale, the AAA shall determine the
           locale, subject to the power of the arbitrator to finally determine the locale.
       (c) If the parties’ arbitration agreement specifies more than one possible locale, the
           filing party may select any of the specified locales at the time of filing, subject to
           the power of the arbitrator to finally determine the locale.


       The arbitrator, at the arbitrator’s sole discretion, shall have the authority to
       conduct special hearings for document production purposes or otherwise at
       other locations if reasonably necessary and beneficial to the process.

       R-13. Appointment from National Roster

       If the parties have not appointed an arbitrator and have not provided any
       other method of appointment, the arbitrator shall be appointed in the following
       manner:

       (a) The AAA shall send simultaneously to each party to the dispute an identical list
           of 10 (unless the AAA decides that a different number is appropriate) names of
           persons chosen from the National Roster. The parties are encouraged to agree to
           an arbitrator from the submitted list and to advise the AAA of their agreement.
       (b) If the parties are unable to agree upon an arbitrator, each party to the dispute
           shall have 14 calendar days from the transmittal date in which to strike names
           objected to, number the remaining names in order of preference, and return the
           list to the AAA. At its discretion, the AAA may limit the number of strikes permitted.
           The parties are not required to exchange selection lists. If a party does not return
           the list within the time specified, all persons named therein shall be deemed
           acceptable to that party. From among the persons who have been approved on
           both lists, and in accordance with the designated order of mutual preference, the
           AAA shall invite the acceptance of an arbitrator to serve. If the parties fail to agree
           on any of the persons named, or if acceptable arbitrators are unable to act, or if


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            for any other reason the appointment cannot be made from the submitted lists,
            the AAA shall have the power to make the appointment from among other
            members of the National Roster without the submission of additional lists.
       (c) Unless the parties agree otherwise, when there are two or more claimants or two
           or more respondents, the AAA may appoint all the arbitrators.

       R-14. Direct Appointment by Party

       (a) If the agreement of the parties names an arbitrator or specifies a method of
           appointing an arbitrator, that designation or method shall be followed. If a party
           selects an arbitrator for appointment, it shall file the name, address, telephone
           number, and email address of the arbitrator with the AAA. Upon the request of
           any appointing party, the AAA shall submit a list of members of the National
           Roster from which the party may, if it so desires, make the appointment.
       (b) Where the parties have agreed that each party is to name one arbitrator, the
           arbitrators so named must meet the standards of Rule R-19 with respect to
           impartiality and independence unless the parties have specifically agreed pursuant
           to Rule R-19(b) that the party-appointed arbitrators are to be non-neutral and
           need not meet those standards.
       (c) If the agreement specifies a period of time within which an arbitrator shall be
           appointed and any party fails to make the appointment within that period, the
           AAA shall make the appointment.
       (d) If no period of time is specified in the agreement, the AAA shall notify the party
           to make the appointment. If within 14 calendar days after such notice has been
           sent, an arbitrator has not been appointed by a party, the AAA shall make the
           appointment.

       R-15. Appointment of Chairperson by Party-Appointed Arbitrators, Parties, or
       the AAA

       (a) Where there is a panel of three or more arbitrators, one arbitrator will be
           designated as the panel chairperson. Such designation will be according to the
           terms of the parties’ arbitration agreement. However, if the parties’ arbitration
           agreement does not specify how the chairperson is to be selected, the chairperson
           can be designated, at the AAA’s discretion, by the party-appointed arbitrators, the
           parties, the panel, or the AAA.
       (b) If the arbitration agreement specifies a period of time for appointment of the
           chairperson and no appointment is made within that period or any agreed
           extension, the AAA may appoint the chairperson. If no period of time is specified
           for appointment of the chairperson, and the party-appointed arbitrators or the
           parties do not make the appointment within 14 calendar days from the date of
           the appointment of the last party-appointed arbitrator, the AAA may appoint the
           chairperson.




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       (c) Absent the agreement of the parties, the chairperson shall be appointed from the
           National Roster, and the AAA shall furnish to the party-appointed arbitrators, in
           the manner provided in Rule R-13, a list selected from the National Roster, and the
           appointment of the chairperson shall be made as provided in that Rule.

       R-16. Nationality of Arbitrator

       Where the parties are nationals of different countries, the AAA, at the request of
       any party or on its own initiative, may appoint as arbitrator a national of a country
       other than that of any of the parties. The request must be made before the time
       set for the appointment of the arbitrator as agreed by the parties or set by these
       Rules.

       R-17. Number of Arbitrators

       (a) The parties may agree on the number of arbitrators to hear and determine the
           case. If the arbitration agreement does not specify the number of arbitrators or
           is ambiguous, and the parties do not otherwise agree, the dispute shall be heard
           and determined by one arbitrator, unless the AAA, in its discretion, directs
           that three arbitrators be appointed. A party may request three arbitrators in the
           Demand or Answer, which request the AAA will consider in exercising its
           discretion regarding the number of arbitrators appointed to the dispute.
       (b) Use of terms such as “the arbitrator”, “an arbitrator”, or “the arbitrators” in the
           arbitration agreement, without further specifying the number of arbitrators,
           shall not be deemed by the AAA to reflect an agreement as to the number of
           arbitrators.
       (c) Any request for a change in the number of arbitrators as a result of an increase or
           decrease in the amount of a claim or a new or different claim must be made to the
           AAA and other parties to the arbitration no later than seven calendar days after
           receipt of the Rule R-6-required notice of change of claim amount. If the parties
           are unable to agree with respect to the request for a change in the number of
           arbitrators, the AAA shall make that determination.

       R-18. Disclosure

       (a) Any person appointed or to be appointed as an arbitrator, as well as the parties
           and their representatives, shall disclose to the AAA any circumstance likely to give
           rise to justifiable doubt as to the arbitrator’s impartiality or independence,
           including any bias or any financial or personal interest in the result of the arbitration
           or any past or present relationship with the parties or their representatives. Such
           obligation shall remain in effect throughout the arbitration. Failure on the part of a
           party or a representative to comply with the requirements of this Rule may result in
           the waiver of the right to object to an arbitrator in accordance with Rule R-42.




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       (b) Upon receipt of such information from the arbitrator or another source, the AAA
           shall communicate the information to the parties and, if it deems it appropriate to
           do so, to the arbitrator and others.
       (c) Disclosure of information pursuant to this Rule R-18 is not an indication that the
           arbitrator considers the disclosed circumstance likely to affect impartiality or
           independence.

       R-19. Disqualification of Arbitrator

       (a) Any arbitrator shall be impartial and independent and shall perform his or her
           duties with diligence and in good faith, and shall be subject to disqualification for:
             i)   partiality or lack of independence,
             ii) inability or refusal to perform his or her duties with diligence and in good
                 faith, and
             iii) any grounds for disqualification provided by applicable law.
       (b) The parties may agree in writing, however, that arbitrators directly appointed by
           a party pursuant to Rule R-14 shall be non-neutral, in which case such arbitrators
           need not be impartial or independent and shall not be subject to disqualification
           for partiality or lack of independence.
       (c) Upon objection of a party to the continued service of an arbitrator, or on its own
           initiative, the AAA shall determine whether the arbitrator should be disqualified
           on the grounds set out above, and shall inform the parties of its decision, which
           decision shall be conclusive.

       R-20. Communication with Arbitrator

       (a) No party and no one acting on behalf of any party shall communicate ex parte
           with an arbitrator or a candidate for arbitrator concerning the arbitration, except
           that a party, or someone acting on behalf of a party, may communicate ex parte
           with a candidate for direct appointment pursuant to Rule R-14 in order to advise
           the candidate of the general nature of the controversy and of the anticipated
           proceedings and to discuss the candidate’s qualifications, availability, or
           independence in relation to the parties or to discuss the suitability of candidates
           for selection as a third arbitrator where the parties or party-designated arbitrators
           are to participate in that selection.
       (b) Rule R-20(a) does not apply to arbitrators directly appointed by the parties who,
           pursuant to Rule R-19(b), the parties have agreed in writing are non-neutral.
           Where the parties have so agreed under Rule R-19(b), the AAA shall as an
           administrative practice suggest to the parties that they agree further that
           Rule R-20(a) should nonetheless apply prospectively.
       (c) As set forth in Rule R-44, unless otherwise instructed by the AAA, in the Rules,
           or by the arbitrator, any documents submitted by any party to the AAA or to the
           arbitrator shall simultaneously be provided to the other party or parties to the
           arbitration.

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       R-21. Vacancies

       (a) If for any reason an arbitrator is unable or unwilling to perform the duties of the
           office, the AAA may, on proof satisfactory to it, declare the office vacant. Vacancies
           shall be filled in accordance with the applicable provisions of these Rules.
       (b) In the event of a vacancy in a panel of neutral arbitrators after the hearings have
           commenced, the remaining arbitrator or arbitrators may continue with the hearing
           and determination of the controversy, unless the parties agree otherwise.
       (c) In the event of the appointment of a substitute arbitrator, the panel of arbitrators
           shall determine in its sole discretion whether it is necessary to repeat all or part of
           any prior hearings.

       R-22. Preliminary Hearing

       (a) At the discretion of the arbitrator, and depending on the size and complexity of
           the arbitration, a preliminary hearing should be scheduled as soon as practicable
           after the arbitrator has been appointed. The parties should be invited to attend
           the preliminary hearing along with their representatives. The preliminary hearing
           may be conducted in person, by video conference or by telephone.
       (b) At the preliminary hearing, the parties and the arbitrator should be prepared
           to discuss and establish a procedure for the conduct of the arbitration that is
           appropriate to achieve a fair, efficient, and economical resolution of the dispute.
           Procedures P-1 and P-2 of these Rules address the issues to be considered at the
           preliminary hearing.

       R-23. Pre-Hearing Exchange and Production of Information

       (a) Authority of arbitrator. The arbitrator shall manage any necessary exchange of
           information among the parties with a view to achieving an efficient and
           economical resolution of the dispute, while at the same time promoting equality
           of treatment and safeguarding each party’s opportunity to fairly present its claims
           and defenses.
       (b) Documents. The arbitrator may, on application of a party or on the arbitrator’s own
           initiative:
             i)   require the parties to exchange documents in their possession or custody on
                  which they intend to rely;
             ii) require the parties to update their exchanges of the documents on which they
                 intend to rely as such documents become known to them;
             iii) require the parties, in response to reasonable document requests, to make
                  available to the other party documents in the responding party’s possession
                  or custody, not otherwise readily available to the party seeking the documents,
                  and reasonably believed by the party seeking the documents to exist and to
                  be relevant and material to the outcome of disputed issues; and


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             iv) require the parties, when documents to be exchanged or produced are
                 maintained in electronic form, to make such documents available in the form
                 most convenient and economical for the party in possession of such documents,
                 unless the arbitrator determines that there is good cause for requiring the
                 documents to be produced in a different form. The parties should attempt to
                 agree in advance upon, and the arbitrator may determine, reasonable search
                 parameters to balance the need for production of electronically stored
                 documents relevant and material to the outcome of disputed issues against
                 the cost of locating and producing them.

       R-24. Enforcement Powers of Arbitrator

       The arbitrator shall have the authority to issue any orders necessary to enforce
       the provisions of Rules R-22 and R-23 and any other rule or procedure and to
       otherwise achieve a fair, efficient and economical resolution of the case,
       including, without limitation:

       (a) conditioning any exchange or production of confidential documents and
           information, and the admission of confidential evidence at the hearing, on
           appropriate orders to preserve such confidentiality;
       (b) imposing reasonable search parameters for electronic and other documents if the
           parties are unable to agree;
       (c) allocating costs of producing documentation, including electronically stored
           documentation;
       (d) in the case of willful non-compliance with any order issued by the arbitrator,
           drawing adverse inferences, excluding evidence and other submissions, and/or
           making special allocations of costs or an interim award of costs arising from such
           non-compliance; and
       (e) issuing any other enforcement orders which the arbitrator is empowered to issue
           under applicable law.

       R-25. Date, Time, Place, and Method of Hearing

       The arbitrator shall set the date, time, place, and method (including video, audio
       or other electronic means when appropriate) for each hearing. The parties shall
       respond to requests for hearing dates in a timely manner, be cooperative in
       scheduling the earliest practicable date, and adhere to the established hearing
       schedule. The AAA shall send a notice of hearing to the parties at least 10 calendar
       days in advance of the hearing date, unless otherwise agreed by the parties.




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       R-26. Attendance at Hearing

       The arbitrator and the AAA shall maintain the privacy of the hearings unless the
       law provides to the contrary. Any person having a direct interest in the arbitration
       is entitled to attend hearings. The arbitrator shall otherwise have the power to
       require the exclusion of any witness, other than a party or other essential person,
       during the testimony of any other witness. It shall be discretionary with the
       arbitrator to determine the propriety of the attendance of any other person.

       R-27. Representation

       Any party may participate without representation (pro se), or by counsel or any
       other representative of the party’s choosing, unless such choice is prohibited by
       applicable law. A party intending to be so represented shall notify the other party
       and the AAA of the name, telephone number and address, and email address if
       available, of the representative at least seven calendar days prior to the date set
       for the hearing at which that person is first to appear. When such a representative
       initiates an arbitration or responds for a party, notice is deemed to have been
       given.

       R-28. Oaths

       Before proceeding with the first hearing, each arbitrator may take an oath of
       office and, if required by law, shall do so. The arbitrator may require witnesses to
       testify under oath administered by any duly qualified person and, if it is required
       by law or requested by any party, shall do so.

       R-29. Official Record of Proceedings

       (a) Any party desiring a transcribed record of a hearing shall make arrangements
           directly with a transcriber or transcription service and shall notify the arbitrator and
           the other parties of these arrangements at least seven calendar days in advance of
           the hearing. The requesting party or parties shall pay the cost of the record.
       (b) No other means of recording any proceeding will be permitted absent the
           agreement of the parties or per the direction of the arbitrator.
       (c) If the transcript or any other recording is agreed by the parties or determined
           by the arbitrator to be the official record of the proceeding, it must be provided
           to the arbitrator and made available to the other parties at the direction of the
           arbitrator.
       (d) The arbitrator may resolve any disputes with regard to apportionment of the costs
           of the transcription or other recording.



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       R-30. Interpreters

       Any party wishing an interpreter shall make all arrangements directly with the
       interpreter and shall assume the costs of the service.

       R-31. Postponements

       The arbitrator may postpone any hearing upon agreement of the parties, upon
       request of a party for good cause shown, or upon the arbitrator’s own initiative.

       R-32. Arbitration in the Absence of a Party or Representative

       Unless the law provides to the contrary, the arbitration may proceed in the
       absence of any party or representative who, after due notice, fails to be present
       or fails to obtain a postponement. An award shall not be made solely on the
       default of a party. The arbitrator shall require the party who is present to submit
       such evidence as the arbitrator may require for the making of an award.

       R-33. Conduct of Proceedings

       (a) The claimant shall present evidence to support its claim. The respondent shall
           then present evidence to support its defense. Witnesses for each party shall also
           submit to questions from the arbitrator and the adverse party. The arbitrator has
           the discretion to vary this procedure, provided that the parties are treated with
           equality and that each party has the right to be heard and is given a fair
           opportunity to present its case.
       (b) The arbitrator, exercising his or her discretion, shall conduct the proceedings with
           a view to expediting the resolution of the dispute and may direct the order of
           proof, bifurcate proceedings and direct the parties to focus their presentations on
           issues the decision of which could dispose of all or part of the case.
       (c) The arbitrator may also allow for some or all of the presentation of evidence by
           alternative means including video, audio or other electronic means other than an
           in-person presentation. Such alternative means must afford a full opportunity for
           all parties to present any evidence that the arbitrator deems material and relevant
           to the resolution of the dispute and, when involving witnesses, provide an
           opportunity for cross-examination.
       (d) The parties may agree to waive oral hearings in any case and may also agree to
           utilize the Procedures for Resolution of Disputes Through Document Submission,
           found in Procedure E-6.




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       R-34. Dispositive Motions

       (a) The arbitrator may allow the filing of and make rulings upon a dispositive motion
           only if the arbitrator determines the moving party has shown that the motion is
           likely to succeed and to dispose of or narrow the issues in the case.
       (b) Consistent with the goal of achieving an efficient and economical resolution of the
           dispute, the arbitrator shall consider the time and cost associated with the briefing
           of a dispositive motion in deciding whether to allow any such motion.
       (c) Fees, expenses, and compensation associated with a motion or an application to
           make a motion may be assessed as provided for in Rule R-49(c).

       R-35. Evidence

       (a) The parties may offer such evidence as is relevant and material to the dispute
           and shall produce such evidence as the arbitrator may deem necessary to an
           understanding and determination of the dispute. Conformity to legal rules of
           evidence shall not be necessary. All evidence shall be taken in the presence of all
           of the arbitrators and all of the parties, except where any of the parties is absent,
           in default, or has waived the right to be present.
       (b) The arbitrator shall determine the admissibility, relevance, and materiality of the
           evidence offered and may exclude evidence deemed by the arbitrator to be
           cumulative or irrelevant.
       (c) The arbitrator shall take into account applicable principles of legal privilege, such
           as those involving the confidentiality of communications between a lawyer and
           client.
       (d) An arbitrator or other person authorized by law to subpoena witnesses or
           documents may do so upon the request of any party or independently.

       R-36. Evidence by Written Statements and Post-Hearing Filing of Documents or
       Other Evidence

       (a) At a date agreed upon by the parties or ordered by the arbitrator, the parties shall
           give written notice for any witness or expert witness who has provided a written
           witness statement to appear in person at the arbitration hearing for examination.
           If such notice is given, and the witness fails to appear, the arbitrator may disregard
           the written witness statement and/or expert report of the witness or make such
           other order as the arbitrator may consider to be just and reasonable.
       (b) If a witness whose testimony is represented by a party to be essential is unable or
           unwilling to testify at the hearing, either in person or through electronic or other
           means, either party may request that the arbitrator order the witness to appear
           in person for examination before the arbitrator at a time and location where the
           witness is willing and able to appear voluntarily or can legally be compelled to do
           so. Any such order may be conditioned upon payment by the requesting party of
           all reasonable costs associated with such examination.

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       (c) If the parties agree or the arbitrator directs that documents or other evidence be
           submitted to the arbitrator after the hearing, the documents or other evidence
           shall be filed with the AAA for transmission to the arbitrator. All parties shall be
           afforded an opportunity to examine and respond to such documents or other
           evidence.

       R-37. Inspection or Investigation

       An arbitrator finding it necessary to make an inspection or investigation in
       connection with the arbitration shall direct the AAA to so advise the parties. The
       arbitrator shall set the date and time and the AAA shall notify the parties. Any
       party who so desires may be present at such an inspection or investigation. In the
       event that one or all parties are not present at the inspection or investigation, the
       arbitrator shall make an oral or written report to the parties and afford them an
       opportunity to comment.

       R-38. Interim Measures

       (a) The arbitrator may take whatever interim measures he or she deems necessary,
           including injunctive relief and measures for the protection or conservation of
           property and disposition of perishable goods.
       (b) Such interim measures may take the form of an interim award, and the arbitrator
           may require security for the costs of such measures.
       (c) A request for interim measures addressed by a party to a judicial authority shall
           not be deemed incompatible with the agreement to arbitrate or a waiver of the
           right to arbitrate.

       R-39. Emergency Measures of Protection

       (a) Unless the parties agree otherwise, the provisions of this Rule shall apply to
           arbitrations conducted under arbitration clauses or agreements entered on or
           after October 1, 2013. This Rule shall not apply to cases administered pursuant to
           the Expedited Procedures.
       (b) A party in need of emergency relief prior to the constitution of the panel shall
           notify the AAA and all other parties in writing of the nature of the relief sought
           and the reasons why such relief is required on an emergency basis. The application
           shall also set forth the reasons why the party is entitled to such relief. Such notice
           may be given by facsimile or email or other reliable means, but must include a
           statement certifying that all other parties have been notified or an explanation of
           the steps taken in good faith to notify other parties.




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       (c) Within one business day of receipt of notice from the AAA initiating the request
           referenced in section (b), the AAA shall appoint a single emergency arbitrator
           designated to rule on emergency applications. The emergency arbitrator shall
           expeditiously disclose any circumstance likely, on the basis of the facts disclosed
           on the application, to affect such arbitrator’s impartiality or independence. Any
           challenge to the appointment of the emergency arbitrator must be made within
           one business day of the communication by the AAA to the parties of the
           appointment of the emergency arbitrator and the circumstances disclosed.
       (d) The emergency arbitrator shall as soon as possible, but in any event within two
           business days of appointment, establish a schedule for consideration of the
           application for emergency relief. Such a schedule shall provide a reasonable
           opportunity to all parties to be heard, but may provide for proceeding by
           telephone or video conference or on written submissions as alternatives to a
           formal hearing. The emergency arbitrator shall have the authority vested in the
           tribunal under Rule R-7, including the authority to rule on her or his own
           jurisdiction, and shall resolve any disputes over the applicability of this Rule R-39.
       (e) If, after consideration, the emergency arbitrator is satisfied that the party seeking
           the emergency relief has shown that immediate and irreparable loss or damage
           shall result in the absence of emergency relief, and that such party is entitled to
           such relief under applicable law, the emergency arbitrator may enter an interim
           order or award granting the relief and stating the reason therefore.
       (f) Any application to modify an interim award of emergency relief must be based
           on changed circumstances and may be made to the emergency arbitrator until
           the non-emergency (“merits”) arbitrator is appointed; thereafter such a request
           shall be addressed to the merits arbitrator. The emergency arbitrator shall have no
           further power to act after the merits arbitrator is appointed unless the emergency
           arbitrator is named as the merits arbitrator or as a member of the panel.
       (g) Any interim award of emergency relief may be conditioned on provision by the
           party seeking such relief for appropriate security.
       (h) A request for interim measures addressed by a party to a judicial authority shall
           not be deemed incompatible with this Rule, the agreement to arbitrate or a waiver
           of the right to arbitrate. If the AAA is directed by a judicial authority to nominate a
           special master to consider and report on an application for emergency relief, the
           AAA shall proceed as provided in this Rule, and the references to the emergency
           arbitrator shall be read to mean the special master, except that the special master
           shall issue a report rather than an interim award.
       (i) The costs associated with applications for emergency relief shall initially be
           apportioned by the emergency arbitrator or special master, subject to the power
           of the merits arbitrator to determine finally the apportionment of such costs.
           The emergency arbitrator may take into consideration whether the request for
           emergency relief was made in good faith.




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       R-40. Closing of Hearing

       (a) The arbitrator shall specifically inquire of all parties whether they have any further
           proofs to offer or witnesses to be heard. Upon receiving negative replies or if
           satisfied that the record is complete, the arbitrator shall declare the hearing
           closed.
       (b) If documents or responses are to be filed as provided in Rule R-36, or if briefs are
           to be filed, the hearing shall be declared closed as of the date the arbitrator is
           satisfied that the record is complete, and such date shall occur no later than seven
           calendar days from the date of receipt of the last such submissions or hearing
           transcript.
       (c) The time limit within which the arbitrator is required to make the award shall
           commence, in the absence of other agreements by the parties, upon the closing
           of the hearing. The AAA may extend the time limit for rendering of the award only
           in unusual and extreme circumstances.

       R-41. Reopening of Hearing

       The hearing may be reopened on the arbitrator’s initiative, or by the direction of
       the arbitrator upon application of a party, at any time before the award is made. If
       reopening the hearing would prevent the making of the award within the specific
       time agreed to by the parties in the arbitration agreement, the matter may not
       be reopened unless the parties agree to an extension of time. When no specific
       date is fixed by agreement of the parties, the arbitrator shall have 30 calendar
       days from the closing of the reopened hearing within which to make an award
       (or 14 calendar days if the case is governed by the Expedited Procedures).

       R-42. Waiver of Rules

       Any party who proceeds with the arbitration after knowledge that any provision
       or requirement of these Rules has not been complied with and who fails to state
       an objection in writing shall be deemed to have waived the right to object.

       R-43. Extensions of Time

       The parties may modify by mutual agreement any period of time established by
       these Rules or the parties’ arbitration agreement. The AAA or the arbitrator may
       for good cause extend any period of time established by these Rules, except the
       time for making the award. The AAA shall notify the parties of any extension.




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       R-44. Serving of Notice and Communications

       (a) The service methods set forth in Rule R-4(b)(iii) may also be used for the delivery
           of any filing, notice or communication throughout the course of the arbitration
           proceeding.
       (b) The AAA, the arbitrator, and the parties may also use alternative methods of
           communication or other platforms as directed by the AAA or as agreed by the
           parties or directed by the arbitrator to exchange any communication or other
           notice required by these Rules during the course of the arbitration.
       (c) Unless otherwise instructed by the AAA or by the arbitrator, any party submitting
           any document or written communication to another party, the AAA or the
           arbitrator, shall simultaneously provide that material to all other participants,
           including the AAA.
       (d) Failure to provide the other party with copies of communications provided to the
           AAA or the arbitrator may prevent the AAA or the arbitrator from acting on any
           requests or objections contained therein.
       (e) The AAA may direct that any oral or written communications sent by a party or
           their representative shall be sent in a particular manner. The failure of a party or
           their representative to comply with any such direction may result in the AAA’s
           refusal to consider the issue raised in the communication
       (f) The AAA may initiate administrative communications with the parties or their
           representatives either jointly or individually.
       (g) Any method of service on or notice to a party must be made in such a manner
           to provide that party with reasonable opportunity to be heard with regard to the
           dispute.

       R-45. Confidentiality

       (a) Unless otherwise required by applicable law, court order, or the parties’ agreement,
           the AAA and the arbitrator shall keep confidential all matters relating to the
           arbitration or the award.
       (b) Upon the agreement of the parties or the request of any party, the arbitrator may
           make orders concerning the confidentiality of the arbitration proceedings or of
           any other matters in connection with the arbitration and may take measures for
           protecting trade secrets and confidential information.

       R-46. Majority Decision

       (a) When the panel consists of more than one arbitrator, unless required by law or by
           the arbitration agreement or section (b) of this Rule, a majority of the arbitrators
           must make all decisions.
       (b) Where there is a panel of three arbitrators, absent an objection of a party or
           another member of the panel, the chairperson of the panel is authorized to


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            resolve any disputes related to the exchange of information or procedural matters
            without the need to consult the full panel.
       (c) Absent an objection of a party or another member of the panel, the chairperson
           may sign any order on behalf of the panel.

       R-47. Time of Award

       The award shall be made promptly by the arbitrator and, unless otherwise agreed
       by the parties or specified by law, no later than 30 calendar days from the date of
       closing the hearing, or, if oral hearings have been waived, from the due date set
       for receipt of the parties’ final statements and proofs.

       R-48. Form of Award

       (a) Any award shall be in writing and signed by a majority of the arbitrators. Signatures
           may be executed in electronic or digital form. The award shall be executed in the
           form and manner required by law.
       (b) The arbitrator need not render a reasoned award unless the parties request such
           an award in writing prior to appointment of the arbitrator or unless the arbitrator
           determines that a reasoned award is appropriate.

       R-49. Scope of Award

       (a) The arbitrator may grant any remedy or relief that the arbitrator deems just and
           equitable and within the scope of the agreement of the parties, including, but not
           limited to, specific performance of a contract.
       (b) In addition to a final award, the arbitrator may make other decisions, including
           interim, interlocutory, or partial rulings, orders, and awards. In any interim,
           interlocutory, or partial award, the arbitrator may assess and apportion the fees,
           expenses, and compensation related to such award as the arbitrator determines is
           appropriate.
       (c) In the final award or any order disposing of all of the case, the arbitrator shall
           assess the fees, expenses, and compensation provided in Rules R-55, R-56, and
           R-57. The arbitrator may also assess such fees, expenses, and compensation in
           any order or award disposing of part of the case. The arbitrator may apportion
           such fees, expenses, and compensation among the parties in such amounts as the
           arbitrator determines is appropriate.
       (d) The award of the arbitrator may include:
             i)   interest at such rate and from such date as the arbitrator may deem
                  appropriate; and
             ii) an award of attorneys’ fees if all parties have requested such an award or it is
                 authorized by law or the parties’ arbitration agreement.



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       R-50. Award Upon Settlement – Consent Award

       (a) If the parties settle their dispute during the course of the arbitration and if the
           parties so request, the arbitrator may set forth the terms of the settlement in a
           “consent award.” A consent award must include an allocation of arbitration costs,
           including administrative fees and expenses as well as arbitrator fees and expenses
           as set forth in Rule R-49(c).
       (b) The consent award shall not be released to the parties until all administrative fees
           and all arbitrator compensation have been paid in full.

       R-51. Delivery of Award to Parties

       Parties shall accept as notice and delivery of the award the placing of the award or
       a true copy thereof in the mail addressed to the parties or their representatives
       at their last known addresses, personal or electronic service of the award, or the
       filing of the award in any other manner that is permitted by law.

       R-52. Modification of Award

       (a) Within 20 calendar days after the transmittal of any award, any party, upon notice
           to the other parties, may request the arbitrator, through the AAA, interpret the
           award or correct any clerical, typographical, or computational errors in the award.
           The arbitrator is not empowered to re-determine the merits of any claim already
           decided. The other parties shall be given 10 calendar days to respond to the
           request. The arbitrator shall dispose of the request within 20 calendar days after
           transmittal by the AAA to the arbitrator of the request and any response thereto.
       (b) If the arbitrator has established a different schedule for such requests, responses,
           and disposition, the arbitrator’s schedule will supersede the deadlines set forth in
           this Rule.

       R-53. Release of Documents for Judicial Proceedings

       The AAA shall, upon the written request of a party to the arbitration, furnish to
       the party, at its expense, copies or certified copies of any papers in the AAA’s
       possession that are not determined by the AAA to be privileged or confidential.

       R-54. Applications to Court and Exclusion of Liability

       (a) No judicial proceeding by a party relating to the subject matter of the arbitration
           shall be deemed a waiver of the party’s right to arbitrate.
       (b) Neither the AAA nor any arbitrator in a proceeding under these Rules is a
           necessary or proper party in any judicial proceedings relating to the arbitration or
           any other services provided by the AAA.


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       (c) Parties to an arbitration under these Rules shall be deemed to have consented
           that judgment upon the arbitration award may be entered in any federal or state
           court having jurisdiction thereof.
       (d) Parties to an arbitration under these Rules shall be deemed to have consented
           that the AAA shall not be liable to any party in any action for damages, or
           injunctive or other relief, for any act or omission in connection with any arbitration
           administered in whole or in part by the AAA or conducted under these Rules.
           Parties shall also be deemed to have consented that the arbitrator shall not be
           liable to any party in any action for damages, or injunctive or other relief, for an
           act or omission in connection with any arbitration administered in whole or in part
           by the AAA.
       (e) Parties to an arbitration under these Rules may not call the arbitrator, the AAA, or
           AAA employees as a witness in litigation or any other proceeding relating to the
           arbitration. The arbitrator, the AAA and AAA employees are not competent to
           testify as witnesses in any such proceeding.

       R-55. Administrative Fees

       As a not-for-profit organization, the AAA shall prescribe administrative fees to
       compensate it for the cost of providing administrative services. The fee schedule
       in effect when the Demand is filed will apply throughout the pendency of the
       case. The administrative fees shall be paid initially by the party or parties making
       a claim or counterclaim, subject to final apportionment by the arbitrator in the
       award. The AAA may, in the event of extreme hardship on the part of any party,
       defer or reduce the administrative fees.

       R-56. Expenses

       The expenses of witnesses for either side shall be paid by the party producing
       such witnesses. All other expenses of the arbitration, including required travel
       and other expenses of the arbitrator, AAA representatives, and any witness and
       the cost of any proof produced at the direct request of the arbitrator, shall be
       borne equally by the parties, unless they agree otherwise or unless the arbitrator
       in the award assesses such expenses or any part thereof against any specified
       party or parties.

       R-57. Neutral Arbitrator’s Compensation

       (a) Arbitrators shall be compensated at a rate consistent with the arbitrator’s stated
           rate of compensation at the time their AAA resume is presented to the parties for
           consideration pursuant to Rule R-13, unless otherwise determined by the AAA.
           Such compensation will be consistent with the provisions of the arbitrator’s
           executed Notice of Compensation Arrangements.


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       (b) If there is disagreement concerning the terms of compensation, an appropriate
           rate shall be established with the arbitrator by the AAA and confirmed to the
           parties.
       (c) Any arrangement for the compensation of a neutral arbitrator shall be made
           through the AAA and not directly between the parties and the arbitrator.

       R-58. Deposits

       (a) The AAA will require the parties to deposit in advance of any hearings such sums
           of money as it deems necessary to cover the expense of the arbitration, including
           the arbitrator’s compensation and expenses, if any, and shall render an accounting
           to the parties and return any unexpended balance at the conclusion of the case. A
           party’s failure to make the requested deposits by the date established by the AAA
           may result in the AAA’s or the arbitrator’s taking any appropriate steps as set forth
           in Rule R-59.
       (b) Other than in cases where the arbitrator serves for a flat fee, deposit amounts
           requested will be based on estimates provided by the arbitrator. The arbitrator will
           determine the estimated amount of deposits using the information provided by
           the parties with respect to the complexity of each case.
       (c) The AAA shall request from the arbitrator an itemization or explanation for the
           arbitrator’s request for deposits.
       (d) The AAA will allocate the deposits requested among the parties and will establish
           due dates for the collection of those deposits.


       R-59. Remedies for Nonpayment

       If arbitrator compensation or expenses or the AAA’s administrative fees have not
       been paid in full, the AAA may so inform the parties so that one of them may
       advance the required payment.

       (a) Upon receipt of information from the AAA that payment for administrative fees or
           deposits for arbitrator compensation or expense have not been paid in full, to the
           extent the law allows, a party may request that the arbitrator take specific measures
           relating to a party’s non-payment. Such measures may include, but are not limited
           to:
             i)   limiting a party’s ability to assert or pursue its claim, and
             ii) prohibiting a non-paying party from filing any motion.
       (b) In no event, however, shall a party be precluded from defending a claim or
           counterclaim.
       (c) The arbitrator must provide the party opposing a request for such measures with
           the opportunity to respond prior to making any ruling regarding the same.



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       (d) In the event that the arbitrator grants any request for relief which limits any party’s
           participation in the arbitration, the arbitrator shall require the party who is making
           a claim and who has made appropriate payments to submit such evidence as the
           arbitrator may require for the making of an award.
       (e) Upon receipt of information from the AAA that full payments have not been
           received, the arbitrator, on the arbitrator’s own initiative or at the request of the
           AAA or a party, may order the suspension of the arbitration. If no arbitrator has yet
           been appointed, the AAA may suspend the proceedings.
       (f) If the arbitration has been suspended by either the AAA or the arbitrator and the
           parties have failed to make the full payments requested within the time provided
           after the suspension, the arbitrator, or the AAA if an arbitrator has not been
           appointed, may terminate the proceedings.

       R-60. Sanctions

       (a) The arbitrator may, upon a party’s request, order appropriate sanctions where a
           party fails to comply with its obligations under these Rules or with an order of the
           arbitrator. In the event that the arbitrator enters a sanction that limits any party’s
           participation in the arbitration or results in an adverse determination of an issue
           or issues, the arbitrator shall explain that order in writing and shall require the
           submission of evidence and legal argument prior to making of an award. The
           arbitrator may not enter a default award as a sanction.
       (b) The arbitrator must provide a party that is subject to a sanction request with the
           opportunity to respond prior to making any determination regarding the sanctions
           application.




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      Preliminary Hearing Procedures

      P-1. General

      (a) In all but the simplest cases, holding a preliminary hearing as early in the process
          as possible will help the parties and the arbitrator organize the proceeding in a
          manner that will maximize efficiency and economy, and will provide each party a
          fair opportunity to present its case.
      (b) Care must be taken to avoid importing procedures from court systems, as such
          procedures may not be appropriate to the conduct of arbitrations as an alternative
          form of dispute resolution that is designed to be simpler, less expensive and more
          expeditious.

      P-2. Checklist

      (a) The following checklist suggests subjects that the parties and the arbitrator should
          address at the preliminary hearing, in addition to any others that the parties or the
          arbitrator believe to be appropriate to the particular case. The items to be addressed
          in a particular case will depend on the size, subject matter, and complexity of the
          dispute, and are subject to the discretion of the arbitrator:
           i)     the possibility of other non-adjudicative methods of dispute resolution,
                  including mediation pursuant to Rule R-10;
           ii)    whether all necessary or appropriate parties are included in the arbitration;
           iii)   whether a party will seek a more detailed statement of claims, counterclaims
                  or defenses;
           iv)    whether there are any anticipated amendments to the parties’ claims,
                  counterclaims, or defenses;
           v)     which
                  a) arbitration rules;
                  b) procedural law; and
                  c) substantive law govern the arbitration;
           vi)    issues related to cybersecurity, privacy and data protection to provide for
                  an appropriate level of security and compliance in connection with the
                  proceeding;
           vii)   whether there are any threshold or dispositive issues that can efficiently be
                  decided without considering the entire case, including without limitation,
                  a) any preconditions that must be satisfied before proceeding with the
                     arbitration;
                  b) whether any claim or counterclaim falls outside the arbitrator’s jurisdiction
                     or is otherwise not arbitrable;



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                  c) consolidation of the claims or counterclaims with another arbitration; or
                  d) bifurcation of the proceeding.
          viii) whether the parties will exchange documents, including electronically stored
                documents, on which they intend to rely in the arbitration, and/or make
                written requests for production of documents within defined parameters;
          ix)     whether to establish any additional procedures to obtain information that is
                  relevant and material to the outcome of disputed issues;
          x)      how costs of any searches for requested information or documents that
                  would result in substantial costs should be borne;
          xi)     whether any measures are required to protect confidential information;
          xii)    Whether the parties shall disclose:
                  a) whether any non-party (such as a third-party funder or an insurer) has
                     undertaken to pay or to contribute to the cost of a party’s participation in
                     the arbitration, and if so, to identify the person or entity concerned and to
                     describe the nature of the undertaking; and
                  b) whether any non-party (such as a funder, insurer, parent company, or
                     ultimate beneficial owner) has an economic interest in the outcome of the
                     arbitration, and if so, to identify the person or entity concerned and to
                     describe the nature of the interest;
          xiii) whether the parties intend to present evidence from expert witnesses, and
                if so, whether to establish a schedule for the parties to identify their experts
                and exchange expert reports;
          xiv) whether, according to a schedule set by the arbitrator, the parties will:
                  a) identify all witnesses, the subject matter of their anticipated testimonies,
                     exchange written witness statements, and determine whether written
                     witness statements will replace direct testimony at the hearing;
                  b) exchange and pre-mark documents that each party intends to submit;
                     and
                  c) exchange pre-hearing submissions, including exhibits;
          xv)     the date, time and place of the arbitration hearing;
                  a) whether, at the arbitration hearing,
                  b) testimony may be presented in person, in writing, by videoconference,
                     via the internet, telephonically, or by other reasonable means;
          xvi) there will be a stenographic transcript or other record of the proceeding and,
               if so, who will make arrangements to provide it;
          xvii) whether any procedure needs to be established for the issuance of subpoenas;
          xviii) the identification of any ongoing, related litigation or arbitration;
          xix) whether post-hearing submissions will be filed;



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           xx)    the form of the arbitration award; and
           xxi) any other matter the arbitrator considers appropriate or a party wishes to
                raise.
      (b) The arbitrator shall issue a written order memorializing decisions made and
          agreements reached during or following the preliminary hearing.




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      Expedited Procedures

      E-1. Limitation on Extensions

      (a) Except in extraordinary circumstances, the AAA or the arbitrator may grant a party
          no more than one seven-day extension of time to respond to the Demand for
          Arbitration or counterclaim as provided in Rule R-5.
      (b) Any other extension requests may be granted only after consideration of
          Procedure E-7.

      E-2. Changes of Claim or Counterclaim

      A claim or counterclaim may be increased in amount, or a new or different claim
      or counterclaim added, any time prior to the appointment of the arbitrator.
      However, after the arbitrator is appointed, no new or different claim or
      counterclaim may be submitted except with the arbitrator’s consent. If an
      increased claim or counterclaim exceeds $100,000, the case will be administered
      under the regular Commercial Arbitration Rules unless all parties and the
      arbitrator agree that the case may continue to be administered under the
      Expedited Procedures.

      E-3. Serving of Notice

      In addition to notice provided by Rule R-44, the parties shall also accept notice
      by telephone. Telephonic notices by the AAA shall subsequently be confirmed
      in writing to the parties. Should there be a failure to confirm in writing any such
      oral notice, the proceeding shall nevertheless be valid if notice has, in fact, been
      given by telephone.

      E-4. Appointment and Qualifications of Arbitrator

      (a) The AAA shall simultaneously submit to each party an identical list of five
          proposed arbitrators drawn from its National Roster from which one arbitrator
          shall be appointed.
      (b) The parties are encouraged to agree to an arbitrator from this list and to advise
          the AAA of their agreement. If the parties are unable to agree upon an arbitrator,
          each party may strike two names from the list and return it to the AAA within
          seven days from the date of the AAA’s mailing to the parties. If for any reason the
          appointment of an arbitrator cannot be made from the list, the AAA may make
          the appointment from other members of the panel without the submission of
          additional lists.
      (c) The parties will be given notice by the AAA of the appointment of the arbitrator,
          who shall be subject to disqualification for the reasons specified in Rule R-19.

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            The parties shall notify the AAA within seven calendar days of any objection to the
            arbitrator appointed. Any such objection shall be for cause and shall be confirmed
            in writing to the AAA with a copy to the other party or parties.

      E-5. Discovery, Motions, and Conduct of Proceedings

      (a) At least two business days prior to the hearing, the parties shall exchange copies
          of all exhibits they intend to submit at the hearing. The arbitrator shall resolve
          disputes concerning the exchange of exhibits.
      (b) No other discovery shall be permitted except as allowed by the arbitrator for good
          cause shown. If the arbitrator allows additional discovery, the AAA, in consultation
          with the arbitrator, may remove the case from the Expedited Procedures.
      (c) There shall be no motions except as allowed by the arbitrator for good cause
          shown.

      E-6. Proceedings on Documents and Procedures for the Resolution of Disputes
      Through Document Submission

      Where no party’s claim exceeds $25,000, exclusive of interest, attorneys’ fees and
      arbitration costs, and other cases in which the parties agree, the dispute shall be
      resolved by submission of documents, unless any party requests an oral hearing,
      or the arbitrator determines that an oral hearing is necessary. Where cases are
      resolved by submission of documents, the following procedures may be utilized
      at the agreement of the parties or the discretion of the arbitrator:

      (a) Within 14 calendar days of confirmation of the arbitrator’s appointment, the
          arbitrator may convene a preliminary management hearing, via conference call,
          video conference, or internet, to establish a fair and equitable procedure for the
          submission of documents, and, if the arbitrator deems appropriate, a schedule for
          one or more telephonic or electronic conferences.
      (b) The arbitrator has the discretion to remove the case from the documents-only
          process if the arbitrator determines that an in-person hearing is necessary.
      (c) If the parties agree to in-person hearings after a previous agreement to proceed
          under this Procedure, the arbitrator shall conduct such hearings. If a party seeks
          to have in-person hearings after agreeing to this Procedure, but there is not
          agreement among the parties to proceed with in-person hearings, the arbitrator
          shall resolve the issue after the parties have been given the opportunity to provide
          their respective positions on the issue.
      (d) The arbitrator shall establish the date for either written submissions or a final
          telephonic or electronic conference. Such date shall operate to close the hearing
          and the time for the rendering of the award shall commence.
      (e) Unless the parties have agreed to a form of award other than that set forth in Rule
          R-48, when the parties have agreed to resolve their dispute by this Procedure, the

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           arbitrator shall render the award within 14 calendar days from the date the hearing
           is closed.
      (f) If the parties agree to a form of award other than that described in Rule R-48, the
          arbitrator shall have 30 calendar days from the date the hearing is declared closed
          in which to render the award.
      (g) The award is subject to all other provisions of the regular Commercial Arbitration
          Rules which pertain to awards.

      E-7. Date, Time, Place, and Method of Hearing

      In cases in which a hearing is to be held, the arbitrator shall set the date, time,
      place, and method of the hearing, to be scheduled to take place no more than
      60 days after the preliminary hearing or as otherwise mutually agreed to between
      the parties and the arbitrator. The AAA will notify the parties in advance of the
      hearing date.

      E-8. The Hearing

      (a) Absent good cause shown, the hearing shall not exceed one day. Each party shall
          have equal opportunity to submit its proofs and complete its case. The arbitrator
          shall determine the order of the hearing, and may require further submission of
          documents within two business days after the hearing.
      (b) For good cause shown, the arbitrator may schedule one additional day of hearings
          to be completed within seven business days after the initial day of hearing or as
          soon as practicable as determined by the arbitrator. In cases where the hearing
          is scheduled to exceed one day, the AAA, in consultation with the arbitrator, may
          remove the case from the Expedited Procedures.
      (c) Generally, there will be no stenographic record. Any party desiring a transcribed
          record of the hearing may arrange for one pursuant to the provisions of Rule R-29.

      E-9. Time of Award

      Unless otherwise agreed by the parties and arbitrator, the award shall be
      rendered not later than 14 calendar days from the date of the closing of the
      hearing or, if oral hearings have been waived, from the due date established for
      the receipt of the parties’ final statements and proofs.

      E-10. Arbitrator’s Compensation

      (a) Arbitrators will receive compensation at a rate to be suggested by the AAA
          regional office.
      (b) For cases that are removed from the Expedited Procedures after the preliminary
          hearing is held, the arbitrator shall be compensated pursuant to Rule R-57.

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      Procedures for Large, Complex Commercial Disputes

      L-1. Administrative Conference

      Prior to the dissemination of a list of potential arbitrators, the AAA may, unless
      the parties agree otherwise, conduct an administrative conference with the
      parties and/or their attorneys or other representatives by conference call or
      video conference. The conference will take place as soon as practicable after the
      commencement of the arbitration. In the event the parties are unable to agree
      on a mutually acceptable time for the conference, the AAA may contact the
      parties individually to discuss the issues contemplated herein. Such administrative
      conference shall be conducted for the following purposes and for such additional
      purposes as the parties or the AAA may deem appropriate:

      (a) to obtain additional information about the nature and magnitude of the dispute
          and the anticipated length of hearing and scheduling;
      (b) to discuss the views of the parties about the technical and other qualifications of
          the arbitrators;
      (c) to obtain conflicts statements from the parties; and
      (d) to consider, with the parties, whether mediation or other non-adjudicative
          methods of dispute resolution might be appropriate.

      L-2. Arbitrators

      (a) Large, complex commercial cases shall be heard and determined by either one
          or three arbitrators, as may be agreed upon by the parties. With the exception in
          paragraph (b) below, if the parties do not agree upon the number of arbitrators
          and a claim or counterclaim involves at least $3,000,000 then three arbitrators shall
          hear and determine the case; otherwise one arbitrator shall hear and determine
          the case.
      (b) In cases involving the financial hardship of a party or other circumstance, the AAA
          at its discretion may require that only one arbitrator hear and determine the case,
          regardless of the amount of the claim and counterclaim.
      (c) The AAA shall appoint the arbitrator as agreed by the parties. If they are unable
          to agree on a method of appointment, the AAA shall appoint arbitrators from the
          Large, Complex Commercial Case Panel, in the manner provided in the regular
          Commercial Arbitration Rules. Absent agreement of the parties, the arbitrator
          shall not have served as the mediator in the mediation phase of the instant
          proceeding.




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      L-3. Management of Proceedings

      (a) The arbitrator shall take such steps as deemed necessary or desirable to avoid
          delay and to achieve a fair, speedy and cost-effective resolution of a Large,
          Complex Commercial Dispute.
      (b) As promptly as practicable after the selection of the arbitrator(s), a preliminary
          hearing shall be scheduled in accordance with Procedures P-1 and P-2 of these
          rules.
      (c) The parties shall exchange copies of all exhibits they intend to submit at the
          hearing at least 10 calendar days prior to the hearing unless the arbitrator
          determines otherwise.
      (d) The parties and the arbitrator shall address issues pertaining to the pre-hearing
          exchange and production of information in accordance with Rule R-23 of the AAA
          Commercial Rules, and the arbitrator’s determinations on such issues shall be
          included within a scheduling order.
      (e) The arbitrator, or any single member of the panel, shall be authorized to resolve
          any disputes concerning the pre-hearing exchange and production of documents
          and information by any reasonable means within their discretion, including,
          without limitation, the issuance of orders set forth in Rules R-23 and R-24 of the
          AAA Commercial Rules.
      (f) In exceptional cases, at the discretion of the arbitrator, upon good cause shown
          and consistent with the expedited nature of arbitration, the arbitrator may order
          depositions to obtain the testimony of a person who may possess information
          determined by the arbitrator to be relevant and material to the outcome of the
          case. The arbitrator may allocate the cost of taking such a deposition.
      (g) Generally, hearings will be scheduled on consecutive days or in blocks of
          consecutive days in order to maximize efficiency and minimize costs.


      Administrative Fee Schedules (Standard and Flexible Fees)

      FOR THE CURRENT ADMINISTRATIVE FEE SCHEDULE, PLEASE VISIT
      www.adr.org/feeschedule.




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      Commercial Mediation Procedures

      M-1. Agreement of Parties

      Whenever, by stipulation or in their contract, the parties have provided for
      mediation or conciliation of existing or future disputes under the auspices of the
      American Arbitration Association or under these procedures, the parties and
      their representatives, unless agreed otherwise in writing, shall be deemed to
      have made these procedural guidelines, as amended and in effect as of the date
      of filing of a request for mediation, a part of their agreement and designate the
      AAA as the administrator of their mediation.

      The parties by mutual agreement may vary any part of these procedures
      including, but not limited to, agreeing to conduct the mediation via telephone or
      other electronic or technical means.

      M-2. Initiation of Mediation

      Any party or parties to a dispute may initiate mediation under the AAA’s auspices
      by making a request for mediation to any of the AAA’s regional offices or case
      management centers via telephone, email, regular mail or fax. Requests for
      mediation may also be filed online via AAA WebFile at www.adr.org.

      The party initiating the mediation shall simultaneously notify the other party or
      parties of the request. The initiating party shall provide the following information
      to the AAA and the other party or parties as applicable:

            (i) A copy of the mediation provision of the parties’ contract or the parties’
                stipulation to mediate.
            (ii) The names, regular mail addresses, email addresses, and telephone numbers
                 of all parties to the dispute and representatives, if any, in the mediation.
            (iii) A brief statement of the nature of the dispute and the relief requested.
            (iv) Any specific qualifications the mediator should possess.

      M-3. Representation

      Subject to any applicable law, any party may be represented by persons of the
      party’s choice. The names and addresses of such persons shall be communicated
      in writing to all parties and to the AAA.




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      M-4. Appointment of the Mediator

      If the parties have not agreed to the appointment of a mediator and have not
      provided any other method of appointment, the mediator shall be appointed in
      the following manner:

            (i) Upon receipt of a request for mediation, the AAA will send to each party a list
                of mediators from the AAA’s Panel of Mediators. The parties are encouraged
                to agree to a mediator from the submitted list and to advise the AAA of their
                agreement.
            (ii) If the parties are unable to agree upon a mediator, each party shall strike
                 unacceptable names from the list, number the remaining names in order of
                 preference, and return the list to the AAA. If a party does not return the list
                 within the time specified, all mediators on the list shall be deemed
                 acceptable. From among the mediators who have been mutually approved
                 by the parties, and in accordance with the designated order of mutual
                 preference, the AAA shall invite a mediator to serve.
            (iii) If the parties fail to agree on any of the mediators listed, or if acceptable
                  mediators are unable to serve, or if for any other reason the appointment
                  cannot be made from the submitted list, the AAA shall have the authority to
                  make the appointment from among other members of the Panel of Mediators
                  without the submission of additional lists.

      M-5. Mediator’s Impartiality and Duty to Disclose

      AAA mediators are required to abide by the Model Standards of Conduct for
      Mediators in effect at the time a mediator is appointed to a case. Where there
      is a conflict between the Model Standards and any provision of these Mediation
      Procedures, these Mediation Procedures shall govern. The Standards require
      mediators to (i) decline a mediation if the mediator cannot conduct it in an
      impartial manner, and (ii) disclose, as soon as practicable, all actual and potential
      conflicts of interest that are reasonably known to the mediator and could
      reasonably be seen as raising a question about the mediator’s impartiality.

      Prior to accepting an appointment, AAA mediators are required to make a
      reasonable inquiry to determine whether there are any facts that a reasonable
      individual would consider likely to create a potential or actual conflict of interest
      for the mediator. AAA mediators are required to disclose any circumstance likely
      to create a presumption of bias or prevent a resolution of the parties’ dispute
      within the time-frame desired by the parties. Upon receipt of such disclosures,
      the AAA shall immediately communicate the disclosures to the parties for their
      comments.


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      The parties may, upon receiving disclosure of actual or potential conflicts of
      interest of the mediator, waive such conflicts and proceed with the mediation.
      In the event that a party disagrees as to whether the mediator shall serve, or in
      the event that the mediator’s conflict of interest might reasonably be viewed as
      undermining the integrity of the mediation, the mediator shall be replaced.

      M-6. Vacancies

      If any mediator shall become unwilling or unable to serve, the AAA will appoint
      another mediator, unless the parties agree otherwise, in accordance with section
      M-4.

      M-7. Duties and Responsibilities of the Mediator

            (i) The mediator shall conduct the mediation based on the principle of party
                self-determination. Self-determination is the act of coming to a voluntary,
                uncoerced decision in which each party makes free and informed choices as
                to process and outcome.
            (ii) The mediator is authorized to conduct separate or ex parte meetings and
                 other communications with the parties and/or their representatives, before,
                 during, and after any scheduled mediation conference. Such communications
                 may be conducted via telephone, in writing, via email, online, in person or
                 otherwise.
            (iii) The parties are encouraged to exchange all documents pertinent to the relief
                  requested. The mediator may request the exchange of memoranda on issues,
                  including the underlying interests and the history of the parties’ negotiations.
                  Information that a party wishes to keep confidential may be sent to the
                  mediator, as necessary, in a separate communication with the mediator.
            (iv) The mediator does not have the authority to impose a settlement on the
                 parties but will attempt to help them reach a satisfactory resolution of their
                 dispute. Subject to the discretion of the mediator, the mediator may make
                 oral or written recommendations for settlement to a party privately or, if the
                 parties agree, to all parties jointly.
            (v) In the event a complete settlement of all or some issues in dispute is not
                achieved within the scheduled mediation session(s), the mediator may
                continue to communicate with the parties, for a period of time, in an ongoing
                effort to facilitate a complete settlement.
            (vi) The mediator is not a legal representative of any party and has no fiduciary
                 duty to any party.




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      M-8. Responsibilities of the Parties

      The parties shall ensure that appropriate representatives of each party, having
      authority to consummate a settlement, attend the mediation conference.

      Prior to and during the scheduled mediation conference session(s) the parties
      and their representatives shall, as appropriate to each party’s circumstances,
      exercise their best efforts to prepare for and engage in a meaningful and
      productive mediation.

      M-9. Privacy

      Mediation sessions and related mediation communications are private
      proceedings. The parties and their representatives may attend mediation
      sessions. Other persons may attend only with the permission of the parties and
      with the consent of the mediator.

      M-10. Confidentiality

      Subject to applicable law or the parties’ agreement, confidential information
      disclosed to a mediator by the parties or by other participants (witnesses) in the
      course of the mediation shall not be divulged by the mediator. The mediator
      shall maintain the confidentiality of all information obtained in the mediation,
      and all records, reports, or other documents received by a mediator while serving
      in that capacity shall be confidential.

      The mediator shall not be compelled to divulge such records or to testify in
      regard to the mediation in any adversary proceeding or judicial forum.

      The parties shall maintain the confidentiality of the mediation and shall not rely
      on, or introduce as evidence in any arbitral, judicial, or other proceeding the
      following, unless agreed to by the parties or required by applicable law:

            (i) Views expressed or suggestions made by a party or other participant with
                respect to a possible settlement of the dispute;
            (ii) Admissions made by a party or other participant in the course of the
                 mediation proceedings;
            (iii) Proposals made or views expressed by the mediator; or
            (iv) The fact that a party had or had not indicated willingness to accept a proposal
                 for settlement made by the mediator.



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      M-11. No Stenographic Record

      There shall be no stenographic record of the mediation process.

      M-12. Termination of Mediation

      The mediation shall be terminated:

            (i) By the execution of a settlement agreement by the parties; or
            (ii) By a written or verbal declaration of the mediator to the effect that further
                 efforts at mediation would not contribute to a resolution of the parties’
                 dispute; or
            (iii) By a written or verbal declaration of all parties to the effect that the mediation
                  proceedings are terminated; or
            (iv) When there has been no communication between the mediator and any party
                 or party’s representative for 21 days following the conclusion of the mediation
                 conference.

      M-13. Exclusion of Liability

      Neither the AAA nor any mediator is a necessary party in judicial proceedings
      relating to the mediation. Neither the AAA nor any mediator shall be liable to
      any party for any error, act or omission in connection with any mediation
      conducted under these procedures.

      M-14. Interpretation and Application of Procedures

      The mediator shall interpret and apply these procedures insofar as they relate
      to the mediator’s duties and responsibilities. All other procedures shall be
      interpreted and applied by the AAA.

      M-15. Deposits

      Unless otherwise directed by the mediator, the AAA will require the parties to
      deposit in advance of the mediation conference such sums of money as it, in
      consultation with the mediator, deems necessary to cover the costs and expenses
      of the mediation and shall render an accounting to the parties and return any
      unexpended balance at the conclusion of the mediation.




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      M-16. Expenses

      All expenses of the mediation, including required traveling and other expenses
      or charges of the mediator, shall be borne equally by the parties unless they
      agree otherwise. The expenses of participants for either side shall be paid by the
      party requesting the attendance of such participants.

      M-17. Cost of the Mediation

      FOR THE CURRENT ADMINISTRATIVE FEE SCHEDULE, PLEASE VISIT
      www.adr.org/feeschedule.




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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NEW YORK

      BENZOR SHEM VIDAL,
                                                       Civ. Action No.: 22-cv-5535 (NM)(MMH)
              Plaintiff,
              v.                                       NOTICE OF MOTION FOR
                                                       PRELIMINARY INJUNCTION
      ADVANCED CARE STAFFING, LLC,
              Defendant.


              PLEASE TAKE NOTICE that upon the January 20, 2023 Declaration of David H.

     Seligman and the exhibits attached thereto, the accompanying Memorandum of Law, and

     all other pleadings and filings in this action, Plaintiff Benzor Shem Vidal, by and through

     his undersigned counsel, hereby moves this Court, before the Honorable Nina Morrison,

     United States District Judge for the Eastern District of New York, at the United States

     Courthouse for the Eastern District of New York, 225 Cadman Plaza East, Brooklyn, NY

     11201, at a date and time to be determined by the Court, for an order preliminarily

     enjoining further proceedings in the arbitration brought by Defendant against Plaintiff

     before the American Arbitration Association, captioned ACS, LLC v. Benzor Vidal, AAA

     Case Number: 01-22-0002-9008, until this Court can determine whether the arbitration

     provision in this case contains a clear and unmistakable delegation clause, and whether

     that clause is valid and enforceable.

     Dated:          January 20, 2023

                                                  /s/
                                                  David H. Seligman
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                                                  David H. Seligman (pro hac vice)
                                                  Juno Turner
                                                  Valerie Collins (pro hac vice)
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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK


     BENZOR SHEM VIDAL,

            Plaintiff,
                                                Civ. Action No.: 22-cv-5535
            v.                                  (NM)(MMH)

     ADVANCED CARE STAFFING, LLC,

            Defendant.



            MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION FOR
                       PRELIMINARY INJUNCTION


                           ORAL ARGUMENT REQUESTED




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                                          INTRODUCTION

           Plaintiff Benzor Vidal seeks preliminary relief to pause an arbitration brought against

    him by Advanced Care Staffing (“ACS”) to punish him for leaving his job. ACS has

    weaponized the arbitration requirement in its employment contract, which requires Mr. Vidal

    to pay all ACS’s alleged “lost profits,” arbitration costs, and attorney’s fees if the company

    succeeds in arbitration.

           The New York State Attorney General’s office has taken action, urging that the

    arbitration proceedings be paused because ACS’s employment contract implicates forced

    labor concerns. Mr. Vidal has objected strenuously to the arbitrator’s jurisdiction, raising

    threshold challenges about the circumstances under which he signed the contract, as well as

    challenges about the enforceability of the contract. These are questions that have not been

    delegated to the arbitrator and which are for this Court to resolve in the course of this

    declaratory judgment action. Nonetheless, the American Arbitration Association and the

    arbitrator have declined to even pause the arbitration, and ACS has refused to agree to a

    pause in the proceeding through the pendency of this action.

           Accordingly, Mr. Vidal seeks a narrow injunction to stay the ongoing arbitration

    proceedings pending judicial resolution of his threshold challenges. Such relief would protect

    Plaintiff from the irreparable harm of being subject to the unauthorized acts of the arbitrator,

    would not harm Defendant, and would broadly serve the public interest by putting a halt to a

    proceeding that is perpetuating forced labor in the Court’s backyard.

                               FACTUAL AND PROCEDURAL HISTORY

    I.     ACS’s Business Model

           ACS is a healthcare staffing company based in New York that recruits trained nurses

    from the Philippines and sends them to work for healthcare facilities, including nursing

    homes around New York City. ECF No. 1 (“Compl.”) ¶¶ 9, 20. ACS profits off the difference


                                                    1


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    between the payments it receives from its clients and the wages it pays its nurses. Id. ¶ 21.

            The wages ACS pays nurses are substantially less than market wages for similar

    nurses. Compl. ¶ 53. ACS requires nurses like Mr. Vidal to work with challenging staffing

    ratios under difficult conditions. Id. ¶¶ 47-51; Ex. 1 (Vidal Decl.) ¶¶ 27-32. 1 In theory, nurses

    like Mr. Vidal would pressure ACS to pay decent wages and treat nurses fairly by seeking

    work with other employers that would pay more and treat them better. And because ACS’s

    nurses are recruited on Legal Permanent Resident visas, not guest worker visas that bind an

    employee to their employer, see id. ¶ 24, as an immigration law matter, these nurses should

    be able to leave ACS if they were dissatisfied with their wages or treatment.

            So that it can continue to subject them to low wages and deplorable staffing ratios

    without fear that they will seek out work elsewhere, however, ACS’s contracts with

    immigrant nurses include harsh and abusive financial penalties if nurses leave their jobs

    before the end of a purported commitment period. See, e.g., Compl. ¶¶ 32-37. Exacerbating

    the coercive force of these penalties, the contract includes a forced arbitration provision,

    which ACS uses to threaten nurses with being respondents in arbitrations and facing ACS’s

    legal bills and thousands of dollars in arbitration costs in the event they decide to leave their

    jobs. See, e.g., Compl. ¶¶ 54-58, 63-64; Ex. 1 (Vidal Decl.) ¶¶34-41.

            Similar business models have already been the subject of public enforcement and

    litigation in New York state. At least one court in the Eastern District, as well as the New

    York Attorney General’s Office, have concluded that luring nurses into the United States and

    then coercing them to continue working under threat of financial penalties less substantial

    than those at issue in this case violates federal and state anti-trafficking laws. See Paguirigan

    v. Prompt Nursing Emp’t Agency, 286 F. Supp 3d 430, 535 (E.D.N.Y. 2017) (granting




            1
             All exhibits are attached to the Declaration of David H. Seligman in Support of Plaintiff’s
    Motion for Preliminary Injunction.

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     summary judgment to plaintiff and holding that a $25,000 contract termination fee was an

     unenforceable penalty designed to compel performance, in violation of the TVPA); see also

     Assurance of Discontinuance, In re: Albany Med Health System f/k/a Albany Medical Center

     (settlement between N.Y. Attorney General and Albany Med Health System for unlawfully

     including a $20,000 repayment fee in contracts for nurses recruited from foreign nations). 2

     II.     Plaintiff Vidal’s Recruitment from the Philippines and ACS’s Contracts

             Benzor Vidal grew up in the Philippines. When he was a child, his parents frequently

     had to borrow money to feed their family. Ex. 1 (Vidal Decl.) ¶ 1. To this day, Mr. Vidal’s

     father cannot work because he needs to provide constant care to Mr. Vidal’s autistic and

     nonverbal brother. Compl. ¶ 23. It has always fallen on Mr. Vidal to support his family, but it

     was hard for Mr. Vidal to make enough money in the Philippines. Id.; Ex. 1 (Vidal Decl.) ¶ 9.

             Hoping to find more lucrative opportunities in the United States, Mr. Vidal contacted

     ACS in 2019. Compl. ¶ 24; Ex. 1 (Vidal Decl.) ¶¶ 11-12. ACS offered to help Mr. Vidal

     obtain an EB-3 legal permanent resident visa to work in the United States and required Mr.

     Vidal to sign a nonnegotiable form contract in May 2019 (“2019 Contract”). Compl. ¶ 25;

     Ex. 1 (Vidal Decl.) ¶¶12-13; Ex. 2 (2019 Contract). The 2019 Contract included pages of fine

     print legalese with several unfair terms, including a so-called “promissory note” that required

     Mr. Vidal to work for ACS for three years and, if he left before his term ended, pay a $20,000

     fee in addition to all costs and expenses. Compl. ¶ 26; see also Ex. 2 (2019 Contract) at 6.

             After Mr. Vidal signed the 2019 Contract, it took years to fulfill the administrative

     requirements for placement, including licensure, English proficiency exams, birth certificates,

     transcripts, visa screening certificates, and medical examination. Compl. ¶¶ 28-31; Ex. 1

     (Vidal Decl.) ¶¶ 14-16. During that time, ACS forbade Mr. Vidal from working any other job




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             Available at https://ag.ny.gov/aod/matter-investigation-letitia-james-attorney-general-state-
     new-york-albany-med-health-system-fka (last visited January 20, 2023).

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     in the United States. Compl. ¶ 29; Ex. 2 (2019 Contract) at 2. Instead, Mr. Vidal worked at a

     London hospital for two years, making barely enough to afford basic living expenses and to

     send a little money home to his family. Compl. ¶¶ 29-31; Ex. 1 (Vidal Decl.) ¶ 18.

            In 2021, ACS informed Mr. Vidal that his visa had been approved and he should plan

     to move to the United States in 2022. Compl. ¶ 32; Ex. 1 (Vidal Decl.) ¶ 20. Mr. Vidal

     resigned from his UK job, and ACS then informed him that he had to sign a new contract (the

     “2022 Contract”) to move to the United States. Compl. ¶ 33; Ex. 1 (Vidal Decl.) ¶ 21. The

     2022 Contract superseded the 2019 Contract but was similarly presented on a take-it-or

     leave-it basis and contained terms written in legalese Mr. Vidal did not understand. Compl. ¶

     35; Ex. 1 (Vidal Decl.) ¶ 21. Although ACS stated that 2022 Contract removed the $20,000

     promissory note, it repackaged that penalty by broadening its scope: if Mr. Vidal left his

     employment before the contract term ended, the 2022 Contract required him to pay “all

     damages and other relief to redress the harm” allegedly resulting from his early departure,

     including “lost profits” ACS would have recouped through Mr. Vidal’s work for ACS’s

     clients. Compl. ¶¶ 34, 37-38; Ex. 3 (Jan. 4, 2022 let.); see also Ex. 4 (2022 Contract) at 6.

            ACS’s 2022 Contract also stated that any dispute between Mr. Vidal and the company

     had to be resolved in arbitration. Ex. 4 (2022 Contract) at 7 & Sched. B. Forced arbitration

     was designed to further coerce Mr. Vidal’s labor. It includes a “loser pays” provision, which

     entitles the prevailing party in the arbitration to reimbursement of its attorney’s fees and costs

     and fees charged by the American Arbitration Association (“AAA”) and arbitrator. Id. at

     Sched. B. In short, any arbitration would bury Mr. Vidal in further debt to ACS.

            When ACS presented Mr. Vidal with the 2022 Contract, it did not disclaim potential

     liability for Mr. Vidal under the 2019 Contract for failing to sign the 2022 Contract. Compl.

     ¶ 36; see Ex. 3 (Jan. 4, 2022 let.). As a result, Mr. Vidal believed that, if he did not sign the

     new contract, ACS would attempt to collect the $20,000 promissory note contained in the


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     then-applicable 2019 Contract. Compl. ¶ 36; Ex. 1 (Vidal Decl.) ¶ 25. Mr. Vidal had no way

     of paying ACS $20,000. Id. With no other viable options, Mr. Vidal signed the 2022 Contract

     and came to the United States in early 2022. Compl. ¶¶ 35-36; Ex. 1 (Vidal Decl.) ¶ 26.

     III.   Mr. Vidal’s Intolerable Working Conditions

            On March 8, 2022, Mr. Vidal began working at ACS’s client facility, Downtown

     Brooklyn Nursing & Rehabilitation Center, located at 727 Classon Avenue in Crown Heights.

     Compl. ¶ 44. But Mr. Vidal’s working conditions were nothing like ACS had led him to

     believe. Compl. ¶ 45; Ex. 1 (Vidal Decl.) ¶¶ 26-27. Most notably, prior to entering the United

     States, ACS told Mr. Vidal he would have a manageable patient load of 20-30 patients.

     Compl. ¶ 46; Ex. 1 (Vidal Decl.) ¶ 26. Instead, Mr. Vidal juggled up to forty patients at a

     time. Compl ¶ 47; Ex. 1 (Vidal Decl.) ¶ 27. Mr. Vidal often heard his patients moaning in

     agony as they waited for him, or anyone else, to care for them. Ex. 1 (Vidal Decl.) ¶¶ 27-29,

     32-33; see also Compl. ¶ 51. Patients frantically rang their call buttons repeatedly to alert

     staff of their medical needs, including with feeding tubes, oxygen lines, and painful bed

     sores. Compl ¶ 51; Ex. 1 (Vidal Decl.) ¶ 28. Due to the dangerous staffing practices, Mr.

     Vidal feared he would lose the nursing license he had worked so hard for. Compl ¶ 52; Ex. 1

     (Vidal Decl.) ¶¶ 32-35. Without it, he feared he would no longer be able to send money to his

     family. Ex. 1 (Vidal Decl.) ¶ 33.

            After months of exhausting work and persistent fears of losing his license, Mr. Vidal

     resigned on June 15, 2022. Compl ¶ 54; Ex. 1 (Vidal Decl.) ¶ 35. Mr. Vidal was terrified to

     leave his job. Ex. 1 (Vidal Decl.) ¶ 35. He knew that his contract included harsh penalties for

     leaving, and he knew that he did not have the money to pay those penalties, especially if he

     wanted to have any money to support his family. See id. ¶¶ 37-42. But Mr. Vidal felt that he

     had no choice because of how horrible his working conditions were. Id. ¶¶ 34-35.

            Shortly after he resigned, ACS commenced a campaign of threatening and aggressive


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     communications and demanded that Mr. Vidal return to work. Ex. 1 (Vidal Decl.) ¶¶ 36-37,

     40-41; Ex. 5 (June 22, 2022 let.). In a June 2022 letter from its lawyers, ACS claimed it had

     suffered “significant damages” and threatened it would “seek to be made whole” through

     arbitration, which would include ACS’s “attorney’s fees and costs incurred in the

     arbitration.” Ex. 5 (June 22, 2022 let.). ACS also warned Mr. Vidal that he would be

     responsible for “at least $20,000 [in damages] (not counting attorney’s fees and costs that

     would be incurred in the arbitration).” Id. (emphasis original). ACS also told Mr. Vidal that

     he would be responsible for the cost of recruiting and hiring a replacement nurse, which it

     estimated would be “over $9,000 per year over the remainder” of his contract. Id. (emphasis

     in original). Finally, ACS stated that Mr. Vidal would also be on the hook for ACS’s costs,

     “including all attorney’s fees.” Id. ACS asked Mr. Vidal to “reconsider” his resignation in

     response to its threats made under loser pays term in the arbitration requirement. Id.

            Mr. Vidal did not know how to respond. Compl. ¶ 61. He was terrified by the

     threatened crippling financial burdens, including ACS’s purported damages and fees. Id.; Ex.

     1 (Vidal Decl.) ¶¶ 41-43. Mr. Vidal feared the ramifications of quitting his job, but felt that

     his working conditions were too dangerous and presented a genuine risk to his nursing

     license. Compl. ¶ 62; Ex. 1 (Vidal Decl.) ¶¶ 34-35, 42. If Mr. Vidal lost his license, he would

     end up even more helpless. Compl. ¶ 62; Ex. 1 (Vidal Decl.) ¶ 64. So, despite the substantial

     risks, he declined to return to work for ACS. Compl. ¶ 62; Ex. 1 (Vidal Decl.) ¶ 56.

     IV.    ACS’s Weaponized Arbitration

                A. ACS’s Arbitration Demand

            On July 8, 2022—just weeks after Mr. Vidal left his employment—ACS initiated an

     arbitration against Mr. Vidal before AAA. Compl. ¶ 63; see Ex. 6 (Arb. Demand). In its

     demand, ACS sought expansive relief, including “all available damages, including, without

     limitation, [ACS’s] [c]osts and lost profits,” “reasonable attorney’s fees,” and the “cost of


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     arbitration.” Id. ¶ 64; Ex. 6 (Arb. Demand). Mr. Vidal would owe these amounts, apparently,

     based on the contract’s loser pays provision.

            Mr. Vidal knew little about how arbitration worked, though based on ACS’s lawyer-

     drafted threatening letter, he was terrified that arbitration costs and attorney’s fees would

     bury him in more debt, devastating him financially and endangering his family. Ex. 1 (Vidal

     Decl.) ¶¶ 38-42. Throughout July and August 2022, Mr. Vidal attempted to alert AAA that he

     needed additional time to respond to the arbitration demand and attempt to find legal counsel

     who would represent him in arbitration. Compl. ¶¶ 70-72; Ex. 1 (Vidal Decl.) ¶¶ 55-56; Ex. 7

     (Aug. 1, 2022 email); Ex. 8 (Aug. 10, 2022 email). Mr. Vidal expressed concern about his

     inability to pay for the arbitration. See, e.g., Ex. 9 (Sept. 8, 2022 email). Nonetheless, AAA

     barreled ahead and notified Mr. Vidal that it had selected an arbitrator on September 7, even

     after Mr. Vidal informed AAA he needed additional time to evaluate the list of arbitrators.

     Compl. ¶ 74; Ex. 10 (Sept. 2, 2022 email); Ex. 11 (Sept. 7, 2022 let.).

                B. Mr. Vidal’s Repeated Pleas to AAA to Pause the Arbitration Pending
                   Litigation Due to the Extraordinary Costs of Arbitration

            After AAA assigned an arbitrator, Mr. Vidal again informed AAA that he could not

     afford arbitration and any of the costs of ACS’s attorney’s fees. Id. ¶ 80; Ex. 1 (Vidal Decl.)

     44-45. The arbitrator’s hourly rate is $450 per hour. Compl. ¶ 75; Ex. 11 (Sept. 7, 2022 let.).

     Mr. Vidal was unable to afford even one hour of her time, let alone the entire proceeding. Ex.

     1 (Vidal Decl.) ¶¶ 44-45. In addition, the costs of arbitration owed to the AAA include a

     filing fee of $1,900, and a case management fee of $750, all of which ACS could potentially

     recover from Mr. Vidal if it were to prevail. Compl. ¶ 76. Given this, even a preliminary

     hearing on delegation—i.e., whether a court or arbitrator can decide whether the arbitration

     provision is valid—would likely cost thousands. And, as ACS repeatedly emphasized, Mr.

     Vidal would also be required to pay its attorney’s fees and costs. Id. ¶ 77; Ex. 5 (June 22,

     2022 let.). Those fees could easily be tens of thousands of dollars or more. Compl. ¶ 77.

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             On September 16, 2022, Mr. Vidal, through the undersigned counsel, filed the instant

     lawsuit against ACS, seeking a declaration that the arbitration provision in his contract is

     invalid because it penalizes him with costs and fees that violate his rights under trafficking

     laws and minimum wage laws, and because it is unconscionable. See generally Compl.

             In the fall of 2022, Mr. Vidal, through his counsel in this case, repeatedly informed

     AAA that he had filed this case, requested that AAA stay the arbitration pending this case’s

     resolution, and made clear that the arbitration requirement was illegal and unenforceable. Ex.

     12 (Sept. 19, 2022 email); Ex. 13 (Oct. 6, 2022 email). In response, ACS argued that this

     Court does not have authority to decide whether ACS’s arbitration provision is illegal

     because, in ACS’s view, the provision includes a “delegation clause” delegating questions of

     the arbitration provision’s validity to the arbitrator. Ex. 14 (Oct. 20, 2022 let.).

             In truth, the arbitration provision failed to “clearly and unmistakably” delegate such

     questions to the arbitrator. Mr. Vidal asserted this and further asserted that any purported

     delegation clause was illegal and unenforceable under state and federal trafficking laws,

     federal and state wage and hour laws, and is unconscionable, including because Mr. Vidal

     signed under economic duress. See Ex. 15 (Oct. 28, 2022 let.); Ex. 16 (Nov. 10, 2022 let.).

             In several letters filed with the arbitrator and the AAA in late 2022, Mr. Vidal

     explained that the arbitrator lacks authority to maintain the arbitration pending judicial

     resolution of this action because challenges to the delegation provision—the sole purported

     contractual basis to decide the validity of the arbitration provision—are necessarily for this

     Court to decide. 3 Ex. 16 (Nov. 10, 2022 let.); Ex. 17 (Dec. 2, 2022 let.). Mr. Vidal urged that,

     at the very least, the arbitrator should stay the arbitration pending judicial resolution of the




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               These letters were filed with the aid of pro bono counsel Towards Justice, which appeared in
     the arbitration for the limited purpose of challenging the authority of the arbitrator. Towards Justice
     does not represent Mr. Vidal for any other purpose in the arbitration, and Mr. Vidal has no other
     counsel there.

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     delegation question. Ex. 17 (Dec. 2, 2022 let.).

            Again, however, AAA barreled ahead. In an October 24, 2022 order, the arbitrator

     concluded—without engaging with the substance of whether there was a delegation clause—

     that “I have the authority to rule on my own jurisdiction, including with respect to the validity

     of the arbitration agreement or the arbitrability of any claim.” Ex. 18 (Oct. 24, 2022 email).

     On December 9, the arbitrator denied Mr. Vidal’s request to stay the arbitration. Ex. 19 (Dec.

     9, 2022 order). The arbitrator held that Mr. Vidal’s submissions did not provide “sufficient

     factual or legal support for the argument that the arbitration agreement is unconscionable

     under New York law” and that Mr. Vidal’s “other arguments can be addressed during the

     proceedings in this matter.” Id. That is, the arbitrator decided to defer concerns over the

     validity of the purported delegation clause to the end of the arbitration process, thus ensuring

     that the cost of resolving that question will be virtually the same as the cost of the entire

     arbitration, thus compounding the harm to Mr. Vidal effected by ACS’s loser pays provision.

            To avoid burdening the judicial resources of this Court with a motion for preliminary

     relief pending resolution of this declaratory judgment action, Mr. Vidal has repeatedly sought

     relief from the AAA. He has continued to reinforce to the arbitrator that the arbitration

     requirement is unenforceable and illegal, that she may not proceed until those arguments are

     resolved, and that she has no authority to rule on the enforceability of the arbitration

     requirement because challenges to the delegation clause are necessarily for the Court. See,

     e.g., Ex. 15 (Oct. 28, 2022 let.); Ex. 16 (Nov. 10, 2022 let.); Ex. 17 (Dec. 2, 2022 let.). The

     arbitrator ignored substantive engagement with most of these arguments. She has instead set

     an aggressive schedule, including a deadline for service of discovery requests in December

     2022, responses to which are due January 20, and completion of all discovery by mid-March.

     Ex. 19 (Dec. 9, 2022 order). Meanwhile, the arbitrator’s work on this case—mounting at a

     cost of $450 per hour—and ACS’s likely spiraling attorney’s fees related to the arbitration,


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     continue to impose even greater costs on Mr. Vidal.

                C. The New York Attorney General Urges AAA to Stop the Arbitration

            On January 4, 2023, the New York State Office of Attorney General, Labor Bureau

     (the “OAG”) sent AAA a letter expressing “grave concerns” regarding the use of arbitration

     proceedings to enforce oppressive contract provisions that “compel forced labor” in violation

     of the Trafficking Victims Protection Act (“TVPA”). Ex. 20 (OAG let.) at 1. Specifically, the

     OAG reviewed the provisions in the ACS 2022 Contract and determined that the provisions

     “appear invalid and unlawful under the TVPA.” Id. at 2.

            The OAG expressed specific concerns about AAA administering arbitrations like this

     one, brought by employers like ACS. AAA should “exercise caution” before administering

     arbitrations “concer[ning] unlawful contract provisions that violate the TVPA,” lest the

     AAA’s arbitration program be “used as a tool by employers to further labor trafficking

     violations.” Id. at 3. The OAG also asked the AAA to stay the Vidal arbitration in particular

     “because it is an undue burden on the worker to defend this matter, especially while the

     legality of the contract provision at issues is pending” before the Court. Id.

            Following this letter, Mr. Vidal renewed his request that AAA stay the arbitration

     pending the resolution of the declaratory judgment action in federal court. Ex. 21 (Jan. 4,

     2023 email). Mr. Vidal also informed AAA that if it refused to stay the proceeding, it would

     necessitate him filing a motion for preliminary injunction in the federal court case. Id.

            In response to the OAG, AAA explained it had “no authority to vacate or overturn an

     arbitrator’s order.” Ex. 22 (Jan. 9, 2023 let.). For that reason, AAA informed the OAG that it

     would not stay the arbitration absent a court order. Id. AAA told Mr. Vidal the same. Ex. 23

     (Jan. 9, 2023 let. to D. Seligman).

                                                  ARGUMENT

     I.     The Court Should Preliminarily Enjoin the Arbitration until this Court Rules on
            the Enforceability of the Purported Delegation Clause.

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             Mr. Vidal requests that the Court preliminarily enjoin the arbitration so the Court can

     decide the threshold issue of whether the arbitration provision contains a clear and

     unmistakable delegation clause, and if it does, whether that clause is valid and enforceable.

     Absent a valid delegation clause, the arbitrator does not have the authority to arbitrate the

     underlying dispute because Mr. Vidal has raised threshold questions regarding the

     enforceability of the arbitration requirement.

             Mr. Vidal satisfies the Rule 65 criteria for a preliminary injunction: (1) he is likely to

     succeed in his challenges to the delegation clause; (2) he faces the irreparable harm of being

     forced to endure lengthy legal proceedings in arbitration when he has not assented to those

     proceedings; (3) the balance of equities between ACS’s interests and Plaintiff’s interests tips

     in favor of Plaintiff; and (4) an injunction is in the public interest to help restrain ACS from

     launching other arbitrations that will keep workers laboring for ACS against their will. See

     Citigroup Glob. Markets, Inc. v. VCG Special Opportunities Master Fund Ltd., 598 F.3d 30,

     34 (2d Cir. 2010) (quoting Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20 (2008)).

             Regardless, a preliminary injunction is appropriate because “serious questions” about

     the arbitrator’s lack of authority are sufficient to justify issuing an injunction. See Trump v.

     Vance, 941 F.3d 631, 639 (2d Cir. 2019); Gingras v. Think Fin., Inc., 922 F.3d 112, 126 (2d

     Cir. 2019) (“That specific attack on the delegation provision is sufficient to make the issue of

     arbitrability one for a federal court.”).

                 A. This Court Has Authority to Enjoin an Arbitration That is Not
                    Authorized by an Enforceable Agreement to Arbitrate.

             Arbitration is a creature of contract. Starke v. SquareTrade, Inc., 913 F.3d 279, 288

     (2d Cir. 2019). Thus, while the Federal Arbitration Act may embody a “liberal federal policy

     favoring arbitration agreements,” Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460

     U.S. 1, 24 (1983), the mere invocation of arbitration does not strip this Court of its authority.

     An arbitrator has “no authority of any kind with respect to a matter at issue absent an

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     agreement to arbitrate,” and “the question of whether such an agreement exists and is

     effective is necessarily for the court and not the arbitrator.” Schnabel v. Trilegiant Corp., 697

     F.3d 110, 118 (2d Cir. 2012).

            The Second Circuit has been clear that federal courts may enjoin pending arbitrations

     that are not authorized pursuant to a binding and enforceable agreement to arbitrate. See In re

     Am. Exp. Fin. Advisors Secs. Litig., 672 F.3d 113, 139 (2d Cir.2011); see also Allstate Ins.

     Co. v. Elzanaty, 929 F. Supp. 2d 199, 219 (E.D.N.Y. 2013). “[A]t least where the court

     determines . . . that the parties have not entered into a valid and binding arbitration

     agreement, the court has the authority to enjoin the arbitration proceedings.” In re Am. Exp.,

     672 F.3d at 140. For these same reasons, the Second Circuit has also concluded that a district

     court may issue a preliminary injunction to “freeze [an] arbitration without destroying” the

     responding party’s “ability to continue that arbitration in the event that the district court”

     determines that the dispute is arbitrable. Citigroup Glob. Markets, Inc. v. VCG Special

     Opportunities Master Fund Ltd., 598 F.3d 30, 34 (2d Cir. 2010).

                B. Mr. Vidal Only Seeks a Preliminary Injunction against the Arbitration
                   Pending Judicial Resolution on the Delegation Issue.

            Because an arbitrator does not have authority to decide a dispute absent an

     enforceable agreement to arbitrate, Schnabel, 697 F.3d at 119, questions regarding the

     enforceability of an arbitration provision are generally for a court to decide. See Rent-A-

     Center, W., Inc. v. Jackson, 560 U.S. 63 (2010). There is a narrow exception, however, where

     the parties have “clearly and unmistakably” agreed to arbitrate questions regarding the

     validity of an arbitration provision—in other words, where they have contractually delegated

     to the arbitrator the authority to decide disputes regarding the enforceability of an arbitration

     provision. Id. Where such a delegation is “clear and unmistakable,” questions regarding the

     enforceability of an arbitration provision are for the arbitrator. See, e.g., Chen-Oster v.

     Goldman, Sachs & Co., 785 F. Supp. 2d 394 (S.D.N.Y. 2011).

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             ACS has argued that such a delegation clause exists here in two places: first in the

     incorporation by reference of AAA’s “Commercial Rules,” and second in language of the

     arbitration provision purportedly mandating that disputes regarding the “validity” of the

     arbitration provision are themselves subject to arbitration. Ex. 14 (Oct. 20, 2022 let.). The

     arbitrator has continually declined to pause the arbitration proceedings—which continue to

     impose substantial costs on Mr. Vidal—and presumed that she has the authority to decide his

     challenges to the validity of the arbitration provision. Indeed, she has explained that such

     challenges shall be addressed through the development of evidence in the arbitration, along

     with the merits of ACS’s action. Ex. 19 (Dec. 9, 2022 order).

             But the mere invocation of arbitration does not divest a court of jurisdiction absent an

     enforceable agreement to arbitrate. And mere invocation of a delegation requirement does not

     divest this Court of the authority to decide whether the arbitration requirement is enforceable.

     Again, to delegate questions of validity to an arbitrator, there must be “clear and

     unmistakable” delegation. Whether there is a “clear and unmistakable” delegation clause, and

     the enforceability of any such clause, is necessarily for the Court to decide. See, e.g., Gingras

     v. Think Fin., Inc., 922 F.3d 112, 126 (2d Cir. 2019) (“[An] attack on the delegation provision

     is sufficient to make the issue of arbitrability one for a federal court.”).

             At this stage, all Mr. Vidal seeks is a preliminary injunction against the arbitration

     pending judicial resolution of the preliminary question of the enforceability of any delegation

     clause in ACS’s arbitration requirement. So, although this case challenges the validity of

     ACS’s arbitration requirement as a whole, the instant motion is narrower. It simply requests a

     preliminary injunction against the arbitration pending judicial resolution of the preliminary

     question of the enforceability of any delegation clause in ACS’s arbitration requirement. This

     is consistent with the purpose of Rule 65(a), which allows for an injunction to issue “to

     protect plaintiff from irreparable injury and to preserve the court’s power to render a


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     meaningful decision after a trial on the merits.” Wright & Miller, 11A Fed. Prac. & Proc. Civ.

     § 2947 (3d ed.); Kane v. De Blasio, 19 F.4th 152, 163 (2d Cir. 2021) (“The ‘purpose’ of a

     preliminary injunction ‘is not to award the movant the ultimate relief sought in the suit but is

     only to preserve the status quo by preventing during the pendency of the suit the occurrence

     of that irreparable sort of harm which the movant fears will occur.’”) (quoting New York v.

     Nuclear Regulatory Comm’n, 550 F.2d 745, 754 (2d Cir. 1977). 4

                 C. Mr. Vidal Is Likely to Succeed on the Merits.

             Mr. Vidal’s contract does not include a clear and unmistakable delegation clause. And

     even if it did, that clause would not be valid and enforceable because: (1) Mr. Vidal signed it

     and the arbitration provision in which it is situated under economic duress; and (2) the clause

     is unenforceable and illegal because it violates labor trafficking laws, state and federal wage

     and hour laws, and because it is unconscionable.

                         1) There is No Clear and Unmistakable Delegation Clause.

             Questions regarding the validity of an arbitration provision (“arbitrability”) are

     referrable to an arbitrator only if there is a clear and unmistakable delegation clause. AT&T

     Techs., Inc. v. Commc’ns Workers of Am., 475 U.S. 643, 649 (1986); see also Chen-Oster,

     785 F. Supp. 2d 394. There is a presumption that the court should decide issues of

     arbitrability, and that presumption can be overcome only by clear contractual language to the

     contrary. See DDK Hotels, LLC v. Williams-Sonoma, Inc., 6 F.4th 308, 317 (2d Cir. 2021).

             Here, there has been no clear and unmistakable delegation of issues of arbitrability to

     the arbitrator. ACS points to two clauses in the 2022 Contract that it claims amount to such a

     delegation: A statement that the arbitration “shall proceed in accordance with Rule E-6 of the

     AAA’s Commercial Arbitration rules,” Ex. 4 (2022 Contract), Schedule B at 2, and a clause



             4
              See also Wright & Miller, 11A Fed. Prac. & Proc. Civ. § 2947 (3d ed.) (“the most
     compelling reason in favor of entering a Rule 65(a) order is the need to prevent the judicial process
     from being rendered futile by defendant’s action or refusal to act”).

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     purporting to require arbitration of all claims, including those about the “validity” of the

     arbitration provision. Id. Schedule B, at 1.

            The contractual reference to the AAA Commercial Rules is insufficient to constitute a

     “clear and unmistakable” delegation. Although Commercial Rule 7(a) provides that an

     arbitrator has the power to rule on her own jurisdiction, the Commercial Rules themselves

     indicate that they do not apply to this dispute because it is a dispute arising out of an

     “employment plan.” See Ex. 24 (AAA Commercial Rules), at 10, n*. Because the

     Commercial Rules by definition do not apply to a AAA arbitration under this agreement,

     which indisputably arises out of Mr. Vidal’s employment, the Commercial Rules have not

     been clearly and unmistakably been incorporated by reference.

            While incorporation of AAA’s Commercial Rules may in some cases amount to a

     clear and unmistakable delegation to the arbitrator of the authority to rule on matters of

     arbitrability, Mr. Vidal is not a sophisticated commercial party who can be assumed to have

     knowledge of the detailed AAA Commercial Rules and the extent to which those rules might

     apply in an employment context. Cf. First Options of Chi., Inc. v. Kaplan, 514 U.S. 938, 945

     (1995) (unwise to “interpret silence or ambiguity on the ‘who should decide arbitrability’

     point as giving the arbitrators that power” in cases involving employees or consumers).

            Furthermore, under New York law, the arbitration requirement does not incorporate

     AAA’s Commercial Rules by reference. See Castedo v. Permanent Mission of Thailand to

     the U.N., 114 N.Y.S.3d 70, 71 (2019) (incorporation by reference ineffective where contract

     did not “clearly reflect an intention to incorporate”). And concluding that a reference to the

     Commercial Rules, which themselves disclaim applicability to this dispute, amounts to an

     incorporation by reference in an arbitration subject to the Employment Rules—solely because

     the reference occurs in an arbitration provision—would violate the FAA’s equal footing

     principle. See Morgan v. Sundance, Inc., 142 S. Ct. 1708, 1713-14 (2022).


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            Finally, the language ACS points to stating that disputes regarding the “validity” of

     the contract should be compelled into arbitration is also far from clear and unmistakable. The

     arbitration provision at issue also contains a clause that specifically contemplates judicial

     review of enforceability matters. Specifically, it states that “in the event that any court of

     competent jurisdiction shall determine that any portion of this Provision exceeds the scope

     permitted by applicable law, the court shall have the authority to modify or ‘blue pencil’ such

     portion so as to render it enforceable . . . .” Ex. 4 (2022 Contract), Sched. B, at 2. This

     provision creates further ambiguity about the intent of the agreement by suggesting that a

     court can rule on the enforceability of the arbitration provision.

                        2) Mr. Vidal signed the arbitration requirement, including its delegation
                           provision, under economic duress.

            The delegation provision is also unenforceable because Mr. Vidal signed it, and the

     arbitration provision in which it is situated, under economic duress. Whether a party

     voluntarily entered into an agreement to arbitrate is always for the court to decide. See, e.g.,

     Meyer v. Uber Techs., Inc., 868 F.3d 66, 73 (2d Cir. 2017) (“[B]efore an agreement to

     arbitrate can be enforced, the district court must first determine whether such agreement

     exists[.]”); Fedor v. United Healthcare, Inc., 976 F.3d 1100, 1106–07 (10th Cir. 2020)

     (questions of formation “cannot be delegated to the arbitrator”). If no valid agreement to

     arbitrate was ever formed, then no delegation provision exists, and it would be improper to

     send any part of the dispute to arbitration. See Schnabel, 697 F.3d at 118.

            Under New York law, a contract is unenforceable on grounds of economic duress

     when a party “was forced to agree to it by means of a wrongful threat precluding the exercise

     of his free will.” Austin Instrument, Inc. v. Loral Corp., 29 N.Y.2d 124, 130 (1971). Here,

     Mr. Vidal alleges that he was under substantial economic duress at the time the contract

     containing the arbitration provision was presented to him. Pursuant to the harsh liquidated

     damages clause in ACS’s first contract with him, if Mr. Vidal did not sign the 2022 contract

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     containing the arbitration provision and its purported delegation clause, he would have been

     contractually required to pay $20,000 in liquidated damages. Ex. 1 (Vidal Decl.) ¶ 25; see

     also Ex. 2 (2019 Contract) at 4, 6. He also feared that he would be left jobless in London. Ex.

     1 (Vidal Decl.) ¶ 25. Especially in light of his circumstances at the time, he could not

     voluntarily enter into the agreement in the face of this extraordinary financial pressure. Id. ¶¶

     20-26. This formation challenge—which goes to both the enforceability of the arbitration

     provision as a whole and to the delegation clause in particular—must be adjudicated by this

     Court with the benefit of further factual development.

                        3) The delegation provision is illegal and unconscionable.

            Even if the delegation clause were clear and unmistakable and even if Mr. Vidal had

     voluntarily entered into the arbitration requirement and its delegation provision, he would

     still be likely to succeed on the merits because the delegation clause is illegal and

     unenforceable for the same reasons that the arbitration requirement in which it is situated is

     unenforceable: It violates state and federal trafficking laws, state and federal wage and hour

     laws, and is unconscionable as a matter of law.

            Again, delegating questions of arbitrability to the arbitrator would require Mr. Vidal

     to submit to an arbitration regarding matters that, by virtue of the “loser pays” provision,

     could bury him in extraordinary costs and legal fees. Although the precise fees and costs

     associated with ACS’s collection activities are not known at this time, they already likely

     exceed $3,000, including the attorney’s fees and arbitration costs, and the only issues raised

     by the parties to date concern the arbitrability of ACS’s claims. See Vidal Decl. ¶¶ 43-47. At

     the arbitrator’s rate of $450 per hour, even litigating the question of arbitrability could cost

     tens of thousands of dollars, particularly given that the arbitrator has apparently decided to

     defer ruling on arbitrability until resolution of the merits of the case. See supra § IV.B. Those

     costs could be ruinous to Mr. Vidal should the loser pays provision be invoked against him.


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     See Vidal Decl. ¶¶ 2, 3, 46; see also Andersen v. InePros Federal, Inc., 240 F.Supp.3d 143

     (D.D.C. 2017) (“$7,500 filing fee, standing alone, is more than sufficient to demonstrate cost-

     prohibitiveness when measured against [plaintiff’s] modest financial circumstances”).

             The Court should not require Mr. Vidal to submit to an illegal arbitral process for the

     purpose of establishing that that same process is illegal and unconscionable. See, e.g., Lim v.

     TForce Logistics, LLC, 8 F.4th 992, 1003 (9th Cir. 2021).

                         a) The arbitration provision and delegation clause violate trafficking
                            laws.

             ACS’s conduct—using threats of financial penalties obtained through a weaponized

     arbitration—violates federal prohibitions on forced labor. The TVPA prohibits labor obtained

     through threats of “serious harm,” including “psychological, financial, or reputational harm” that is

     sufficiently serious under the circumstances to compel a reasonable person “to perform or to continue

     performing labor or services in order to avoid incurring that harm.” 18 U.S.C. § 1589(c)(1). The

     TVPA also prohibits extracting labor through the “abuse or threatened abuse of legal process.” 18

     U.S.C. § 1589(c)(1). Under these circumstances, the extraordinary costs that could be imposed

     on Mr. Vidal as a consequence of an arbitration even over threshold issues of arbitrability,

     fall squarely within these prohibitions.

             Federal courts in New York have concluded that it is a violation of federal labor

     trafficking laws to require immigrant nurses like Mr. Vidal to pay steep financial penalties if

     they leave their employment before the end of a contractual commitment period. See, e.g.,

     Paguirigan v. Prompt Nursing Emp’t Agency, 286 F. Supp. 3d 430, 535 (E.D.N.Y. 2017)

     ($25,000 contract termination fee an unenforceable penalty designed to compel performance).

     The OAG has come to a similar conclusion. See Assurance of Discontinuance, In re: Albany

     Med Health System (settlement agreement between NY Attorney General & Albany Med

     Health System for unlawfully including $20,000 repayment fee in employment contracts for

     nurses from foreign nations); see also Ex. 20 (OAG let.) at 1 & n.2.


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             As made clear by the OAG in its letter to AAA, this case involves similar, but even

     more troubling, facts. See Ex. 20 (OAG let.) at 2 (facts and circumstances here “strikingly

     similar” to cited cases). In all three cases, an employer threatened an immigrant nurse from

     the Philippines with tens of thousands of dollars in debt for leaving their job. But in

     Pagurigan and In re: Albany Med Health System, the employers defended their conduct

     based on a “liquidated damages” provision which they argued was enforceable. ACS has no

     such defense here (and in fact has specifically disclaimed any right to pursue liquidated

     damages), Ex. 25 (Jan. 4, 2023 let.). Instead, ACS seeks unspecified damages (including

     $9,000 per year for the remainder of Mr. Vidal’s contract), costs, and fees of “at least”

     $20,000, but likely much more. See Ex. 5 (June 22, 2022 let.).

             Worse still, unlike Paguarigan and In re: Albany Med Health System, ACS has

     weaponized the financial burdens of its arbitration requirement to further coerce Mr. Vidal to

     continue working for ACS. That is the issue before the Court now. In this case, it is not just

     the costs of the penalty, but the costs of arbitration fees, the arbitrator’s hourly rates,

     attorney’s fees, and other related costs that ACS has used to coerce Mr. Vidal into staying in

     his job. These costs—even just those costs flowing from an arbitration over matters of

     arbitrability—amount to a threat of “serious harm” that ACS used to coerce Mr. Vidal to

     continue working for the company. 18 U.S.C. § 1589(a)(2).

             ACS clearly intended for the costs of arbitration and related attorney’s fees to coerce

     Mr. Vidal into staying in his job. In its letter to Mr. Vidal on June 22, 2022, shortly after Mr.

     Vidal indicated his intent to quit, ACS specifically told Mr. Vidal that, if he did not return to

     work, the company would sue him in arbitration. It also highlighted that, if he left before his

     contract term, Mr. Vidal would owe “attorney’s fees and costs incurred in the arbitration” and

     that he would, pursuant to the loser pays provision, need to “reimburse” ACS “for all

     reasonable costs, including all attorneys’ fees” that it “incur[red] in enforcing its rights and


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     remedies” under the contract. Immediately after asserting those threats, ACS invited Mr.

     Vidal to “reconsider” his “course of action.” Ex. 5 (June 22, 2022 let.). ACS thus explicitly

     threatened Mr. Vidal with the potentially devastating costs of its collection activities and the

     costs of the arbitration itself to coerce him into returning to work. 5 A contract, in this case the

     delegation provision, intended to be used, and in fact used, for such illegal purposes is illegal

     and unenforceable under the TVPA.

             Furthermore, the unenforceable arbitration provision and its purported delegation

     clause amount to a “threatened abuse of legal process” to keep Mr. Vidal trapped in his job.

     New York courts have concluded that the threat of suing workers for leaving a job, even

     without forcing them to bear the costs of attorney’s fees and private dispute resolution,

     amounts to the threatened abuse of legal process. See, e.g., Magtoles v. United Staffing

     Registry, Inc., No. 21 Civ. 1850, 2021 WL 6197063, at *8 (E.D.N.Y. Dec. 30, 2021). 6

             By threatening arbitration—even over the threshold matter of arbitrability—against

     Mr. Vidal and using the threat of that arbitration and its related costs to coerce Mr. Vidal’s

     continued work, ACS unlawfully coerced Mr. Vidal’s work, using the arbitration scheme in a

     manner for which it was surely “not designed.” See 18 U.S.C. § 1589(c)(1). ACS’s arbitration

     provision also contravenes the stated purposes and protections of the AAA’s Employment

     Due Process Protocols and employment fee schedules, which purport to prohibit abusive

     contract terms like ACS’s loser pays provision. 7


             5
                That Mr. Vidal ultimately stopped working for Advanced Care Staffing does not make the
     coercive arbitration requirement permissible under the TVPA. Mr. Vidal was terrified to quit his job,
     but felt he had no choice because of the risks to him and his patients created by Advanced Care
     Staffing’s conduct. Vidal Decl. ¶¶ 32-37. Moreover, attempted forced labor also violates the TVPA,
     18 U.S.C. § 1594(a), and Advanced Care Staffing clearly used the arbitration requirement to attempt
     to coerce Mr. Vidal to continue working.
              6
                For similar reasons, ACS’s conduct violates New York’s anti-trafficking statute, Penal Law
     § 135.35. See ECF No. 1 (Complaint) ¶¶ 88-95.
              7
                For example, the Employment/Workplace Fee Schedule provides that “the company shall
     pay the arbitrator’s compensation unless the individual, post dispute, voluntarily elects to pay a
     portion of the arbitrator’s compensation” and that “arbitrator compensation, expenses, and
     administrative fees are not subject to reallocation by the arbitrator(s) except upon the arbitrator’s

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                         b) The arbitration requirement and delegation provision violate wage and
                            hour laws.

             Under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et seq., an employer

     like ACS may not require an employee like Mr. Vidal to pay costs or damages that are

     “primarily for the benefit of the employer” when those costs take the employee’s wages

     below applicable federal minimum wage or required overtime in the relevant workweek. He

     v. Home on 8th Corp., No. 09 Civ. 5630, 2014 WL 3974670, at *9 (S.D.N.Y. Aug. 13, 2014).

             In the underlying arbitration here, ACS seeks such an illegal kickback: ACS seeks to

     recover its purported “lost profits” and the costs of hiring a replacement employee. Those

     costs are not primarily for the employee’s benefit. The profit from an employee’s work is

     inherently for the employer’s benefit. See, e.g., 29 C.F.R. § 53.13(b) (where an employer

     does seek to recoup costs paid for the employee’s benefit, such costs may not include a

     “profit” for the employer). In a fair and competitive marketplace, employers recoup that

     value (and avoid the costs of hiring a replacement) through competitive wages and benefits.

     Allowing employers like ACS to recover these types of costs would eviscerate the minimum

     wage laws. Because the costs ACS seeks are an illegal kickback, the costs of attempting to

     collect that illegal kickback are an illegal kickback too.

             Because ACS seeks to recover an illegal kickback through arbitration, the loser pays

     term requiring Mr. Vidal to bear the costs of the arbitration, even merely over the threshold

     issue of arbitrability, also effects an illegal kickback. And because those costs must be

     measured against Mr. Vidal’s last week of wages—for which he earned less than $1,500 for

     35-40 hours of work—they result in a minimum wage violation. Vidal Decl. ¶ 53; see

     Arriaga, 305 F.3d at 1236. 8 The delegation provision is thus unenforceable because it


     determination that a claim or counterclaim was filed for purposes of harassment or is patently
     frivolous.” AAA, Employment Fee Sched.,
     https://www.adr.org/sites/default/files/Employment_Fee_Sched..pdf (emphasis added).
              8
                It makes no difference to the analysis that Advanced Care Staffing did not directly deduct
     the alleged damages from Mr. Vidal’s wages. There is no difference between deducting a cost from a

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     requires a violation of Mr. Vidal’s federal minimum wage rights.

             Finally, the loser pays term in the arbitration provision and delegation clause is also

     inconsistent with the one-way fee shifting provisions in state and federal wage and hour law.

     See, e.g., 29 U.S.C. § 216(b). In enacting a one-way fee shifting statute, Congress did not

     intend to permit employers to contract for the recovery of their own fees and costs when they

     prevail in disputes under the FLSA. See, e.g., Alexander v. Anthony Int’l, L.P., 341 F.3d 256,

     268–269 (3d Cir. 2003) (provision requiring losing party in employment discrimination case

     to pay all arbitrator fees and costs unenforceable); Santich v. VCG Holding Corp., 2018 WL

     3968879, at *7 (D. Colo. Aug. 20, 2018); Smith v. AHS Okla. Heart, L.L.C., No. 11 Civ. 691,

     2012 WL 3156877, at *4-5 (N.D. Okla. Aug. 3, 2012) (invalidating loser pays provision in

     arbitration clause covering employee’s Title VII and Equal Pay Act claims, but severing

     provision and enforcing remainder of arbitration clause). 9

                         c) The delegation clause is unconscionable as a matter of New York law.

             The delegation clause is also unconscionable as a matter of New York law. Under

     New York law, unconscionability involves both procedural and substantive components. See,

     e.g., Ragone v. Atl. Video at Manhattan Ctr., 595 F.3d 115, 121 (2d Cir. 2010). Procedural

     unconscionability concerns the circumstances of contract formation and the degree of choice

     provided to the non-drafting party. Substantive unconscionability concerns the substantive

     fairness of the terms of a contract.

             A contract or clause is unconscionable when there is an “absence of meaningful

     choice on the part of one of the parties together with contract terms which are unreasonably


     worker’s wages and shifting a cost to an employee to bear directly. Arriaga v. Florida Pacific Farms,
     L.L.C., 305 F.3d 1228, 1236 (11th Cir. 2002) (citations omitted).
              9
                For all these same reasons, the arbitration requirement violates state minimum wage and
     anti-kickback laws. See N.Y. Lab. Law § 198-b. New York prohibits an employer from conditioning
     employment on the employee agreeing to kick back “any part or all of said employee’s wages.” Id.
     That is precisely what the Advanced Care Staffing’s contract and arbitration requirement do here.



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     favorable to the other party.” Desiderio v. Nat'l Ass'n of Sec. Dealers, Inc., 191 F.3d 198, 207

     (2d Cir. 1999). And while procedural unconscionability always bears on the

     unconscionability analysis, substantive unconscionability alone may be enough to establish a

     contract as unconscionable if the terms of the contract are sufficiently unfair. Ragone, 595

     F.3d at 122. “In general, it can be said that procedural and substantive unconscionability

     operate on a ‘sliding scale’; the more questionable the meaningfulness of choice, the less

     imbalance in a contract’s terms should be tolerated and vice versa.” State v. Wolowitz, 96

     A.D.2d 47, 68 (N.Y. App. Div. 1983). In this case, the arbitration provision and the

     delegation clause are strongly procedurally and substantively unconscionable.

            The arbitration provision, including the purported delegation clause, has a strong

     degree of procedural unconscionability. ACS forced Mr. Vidal to sign the arbitration

     requirement as a condition of his employment, without any meaningful opportunity to

     negotiate, and Mr. Vidal had an imperfect understanding of the contents of the contract he

     was signing. Vidal Decl. ¶¶ 20-26.

            But this case also includes exceptionally coercive contracting circumstances that are

     unlike those typically arising in the employment context. Ragone, 595 F.3d at 122. Most

     importantly, ACS required Mr. Vidal to sign the arbitration provision when he was in a

     foreign country, had already quit his job, and had no way of supporting himself or paying rent

     unless he signed the contract and began his employment with ACS. Id. Even more

     significantly, because Mr. Vidal had already signed a prior agreement with the company that

     required him to pay $20,000 if he did not work for ACS, he reasonably believed that if he did

     not sign the new contract, which included the delegation clause, he would have to pay ACS

     thousands of dollars he did not have. Id. This amounted to an extraordinary “inequality of

     bargaining power” resulting in “lack of meaningful choice.” Wolowitz, 96 A.D.2d at 66.

            The degree of procedural unconscionability evident in this case is so substantial that


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     under the “sliding scale” framework Mr. Vidal should face a lower burden for establishing

     substantive unconscionability. Nonetheless, there is also a high degree of substantive

     unconscionability present in the delegation clause. Most importantly, the requirement

     includes a loser pays term that provides that the prevailing party “shall be entitled” to its

     attorney’s fees and the costs of the arbitration, including the arbitrator’s fees, even over an

     arbitration regarding preliminary matters of arbitrability.

            Although there is minimal New York case law on the enforceability of loser pays

     provisions in employment contracts, some courts around the country find such terms to be

     per se unconscionable. See, e.g., Tompkins v. 23andMe, Inc., 840 F.3d 1016, 1025 (9th Cir.

     2016) (as a matter of California law, “when an employer imposes mandatory arbitration as a

     condition of employment, the arbitration agreement or arbitration process cannot generally

     require the employee to bear any type of expense that the employee would not be required to

     bear if he or she were free to bring the action in court” (internal quotation marks omitted)).

     However, even under an analysis that looks to the circumstances of the party challenging the

     contract, this contract is substantively unconscionable under New York law because it

     prevents Mr. Vidal from vindicating his rights or defending himself in arbitration. See, e.g.,

     Valle v. ATM Nat., LLC, No. 14 Civ. 7993, 2015 WL 413449, at *7 (S.D.N.Y. Jan. 30, 2015)

     (loser pays provision in arbitration agreement covering low-wage workers is substantively

     unconscionable where the costs of arbitration could amount to tens of thousands of dollars).

            The loser pays term effectively prevents Mr. Vidal from even being able to challenge

     the arbitrator’s authority to administer this case. Mr. Vidal came to the United States from the

     Philippines, where he grew up in poverty. Ex. 1 (Vidal Decl.) ¶¶ 1-4. He is a critical source of

     support for his family back home, including his brother who has a severe disability, is non-

     verbal, and requires the constant care and attention of Mr. Vidal’s father, who cannot work

     outside of the house. See id. ¶¶ 2, 10, 13, 33, 48-49. Mr. Vidal cannot afford to pay the over


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     $2,000 in filing fees already at issue here, let alone the arbitrator’s time, which costs $450 per

     hour. Id. ¶¶ 44-45. He certainly cannot afford to pay tens of thousands of dollars in attorney’s

     fees for the several attorneys that ACS has retained to pursue this purported debt. Paying

     even some of those costs would prevent him from sending any money home to his father and

     brother who rely on him to put food on the table and pay rent. Id. ¶ 45.

                        d) The loser pays term cannot be severed from the arbitration requirement
                           and delegation clause.

            ACS cannot avoid the conclusion that the delegation provision is unenforceable by

     urging the court to sever the loser pays term and enforce the purported delegation provision

     in its absence. First, the loser pays term is integral to the arbitration requirement here, and the

     arbitrator cannot re-write the provision without fundamentally altering the nature of the

     agreement. See, e.g., MacDonald v. CashCall, Inc, 883 F.3d 220, 230 (3d Cir. 2018). The

     purpose of the contract to shift the costs of arbitration and collection onto Mr. Vidal is

     evident in several provisions of the contract, including in the “loser pays” term in Schedule B

     of the requirement’s “Dispute Resolution Provision,” and in Section 14 of the contract, which

     purports to require Mr. Vidal to bear all the costs and attorney’s fees associated with ACS’s

     collection activities. See, e.g., Alexander v. Anthony Int’l, L.P., 341 F.3d 256, 271 (3d Cir.

     2003) (“The cumulative effect of such illegality prevents us from enforcing the arbitration

     agreement. Because the sickness has infected the trunk, we must cut down the entire tree.”)

            Second, ACS’s own conduct has revealed that the fee-shifting aspects of the

     requirement are integral to the agreement. In its communications with Mr. Vidal, it repeatedly

     emphasized that he would bear the costs of collection and arbitration and all ACS’s attorney’s

     fees. Ex. 5 (June 22, 2022 let.). The loser pays term was clearly critical to ACS.

            Third, particularly in light of ACS’s conduct and threats, severing the loser pays

     provision would create incentives for contract drafters like ACS to overreach and pack their

     contracts with unfair and unenforceable terms. See, e.g., Lim v. TForce Logistics, LLC, 8

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     F.4th 992, 1006 (9th Cir. 2021); Hayes v. Delbert Services Corp., 811 F.3d 666 (4th Cir.

     2016); Lowden v. T-Mobile, USA, Inc., No. 05 Civ. 1482, 2006 WL 1009279, at *9 (W.D.

     Wash. Apr. 13, 2006). If such terms were routinely severed in cases like this one, then

     drafting parties like ACS would have every incentive to pack their arbitration requirements

     with fee-shifting provisions and loser pays terms, then use those terms to threaten workers

     while attempting to coerce their labor, knowing that—at worst—the arbitrator will sever or

     blue pencil the aspects of the requirement that she finds most concerning.

                D. Even if the Court Cannot Resolve Whether Mr. Vidal Is Likely to
                   Succeed on the Merits, Mr. Vidal Raises a Serious Question Regarding
                   the Arbitrator’s Authority, Which Warrants Injunctive Relief.

            The Court need not definitively resolve whether or not Mr. Vidal is likely to succeed

     on the merits of the enforceability of the delegation clause. Because “[p]reliminary

     injunctions should not be mechanically confined to cases that are simple or easy,” a

     preliminary injunction is appropriate even when a plaintiff’s chance of success is uncertain so

     long as the balance of hardships tilts strongly enough in her favor. See Citigroup, 598 F.3d at

     35 (affirming district court order preliminarily enjoining arbitration). This flexibility “permits

     a district court to grant a preliminary injunction in situations where it cannot determine with

     certainty that the moving party is more likely than not to prevail on the merits of the

     underlying claims, but where the costs outweigh the benefits of not granting the injunction.”

     Id. Disputes over the merits of a plaintiff’s claim that “simply raise a question of fact,” for

     example, do not prevent a court from entering an injunction while those serious questions are

     resolved. See Gov’t Emps. Ins. Co. v. Wellmart RX, Inc., No. 19 Civ. 04414, 2020 WL

     249020, at *9 (E.D.N.Y. Jan. 16, 2020).

            The Second Circuit has specifically invoked the “serious question” standard in

     upholding a preliminary injunction against a potentially unauthorized arbitration. Citigroup

     598 F.3d at 35. The Citigroup court explained that even where “uncertainty” about the


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     arbitrability of a dispute “poses a serious question,” a district court may preliminarily enjoin

     the arbitration. Id. at 39. After all, doing so does not strip the party seeking arbitration of the

     right to arbitrate. All it does is “freeze” the arbitration pending judicial resolution of the

     arbitrability of the dispute. Id. at 32. For the same reasons that Plaintiff meets the higher

     threshold of establishing a likelihood of success on the merits, Plaintiff also presents “serious

     questions” about the arbitrator’s authority to proceed with this arbitration. And, as explained

     below, the balance of hardships overwhelmingly favors Plaintiff.

                 E. Mr. Vidal Will Suffer Irreparable Harm Absent Immediate Relief.

             Absent a preliminary injunction, Mr. Vidal faces the irreparable harm of being

     subjected to an arbitration before an arbitrator without any authority to rule even on threshold

     questions of arbitrability. Courts in this Circuit recognize that being subjected to an

     unauthorized arbitration constitutes an irreparable harm sufficient to support preliminary

     injunctive relief. See Citigroup Global Mkts. Inc. v. VCG Special Opportunities Master Fund

     Ltd., No. 08 Civ. 5520, 2008 WL 4891229, at *2 (S.D.N.Y. Nov. 12, 2008) (“Compelling

     arbitration of a matter not properly subject to arbitration constitutes ‘per se irreparable

     harm.’) (citation omitted), aff’d, 598 F.3d 30, 41 (2d Cir. 2010); Mount Ararat Cemetery v.

     Cemetery Workers & Greens Attendants Union, 975 F. Supp. 445, 447 (E.D.N.Y. 1997).

             Absent a preliminary injunction staying the arbitration—at least until the Court

     decides whether the parties delegated arbitrability to the arbitrator—Mr. Vidal will be forced

     to expend time and substantial resources seeking to protect his rights in arbitration. See

     Tellium, Inc. v. Corning Inc., No. 03 Civ. 8487, 2004 WL 307238, at *3 (S.D.N.Y. Feb. 13,

     2004); see also Port Drivers Fed’n 18, Inc. v. All Saints Express, 757 F. Supp. 2d 443, 460–

     61 (D.N.J. 2010). And as the Second Circuit has acknowledged, “the time and resources [a

     party] would expend in arbitration is not compensable by any monetary award of attorneys’

     fees or damages . . ..” Maryland Casualty Co. v. Realty Advisory Bd. on Labor


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     Relations, 107 F.3d 979, 985 (2d Cir. 1997) (citing Int’l Dairy Foods Ass’n v. Amestoy, 92

     F.3d 67, 71 (2d Cir. 1996)).

            This harm is not speculative—it is already occurring as the arbitrator has commenced,

     and refused to halt, proceedings, despite Mr. Vidal’s attempts to persuade her that she was

     not delegated the authority to decide questions of arbitrability, and despite the Attorney

     General’s office urging AAA to consider staying the arbitration. The threatened harm is thus

     more than a mere possibility. See Winter, 555 U.S. at 22.

            Moreover, this harm cannot be redressed by challenging an arbitration award

     following the proceeding. To get to that point, Mr. Vidal would have to go through the entire

     arbitration, expending considerable time and resources in doing so. See Maryland Casualty

     Co., 107 F.3d at 985. And he could only challenge the outcome of the arbitration through a

     separate proceeding seeking vacatur of the arbitral order, an exceptionally high standard to

     meet. See 9 U.S.C. § 10.

                F. The Balance of Harms Tips Decidedly in Mr. Vidal’s Favor.

            The harm to ACS from granting a preliminary injunction is only a small delay in a

     potential monetary recovery through arbitration. That harm is minimal, particularly given that

     ACS is a large company that likely earns millions of dollars every year. And any harm that

     may result from the delay could be compensated by the arbitrator if the Court determines that

     the arbitration here may lawfully proceed. By contrast, the harm to Mr. Vidal of having to

     expend further time and resources on the unauthorized arbitration before the Court has ruled

     on whether issues of arbitrability were validly delegated to the arbitrator would be, as the

     Second Circuit has recognized, “not compensable by any monetary award of attorneys’ fees

     or damages.” Maryland Casualty Co., 107 F.3d at 985 (cleaned up).

                G. A Preliminary Injunction Is in the Public Interest.

            That a preliminary injunction is squarely in the public interest is evident from the


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     New York Attorney General’s interest in this case. See supra section IV.C. The Attorney

     General expressed “grave concerns” that circumstances like those experienced by Mr. Vidal

     “compel forced labor” in violation of the TVPA. Ex. 20 (OAG Let.) at 1. The OAG also

     noted that the legal and financial harms threatened against vulnerable immigrant workers like

     Mr. Vidal are likely to result in coerced work. Id. The public has a strong interest in

     preventing forced labor, as reflected in the adoption of the TVPA. See Wright & Miller, 11A

     Fed. Prac. & Proc. Civ. § 2948.4 (3d ed.) (federal statute prohibiting threatened acts that are

     subject of litigation “strong factor in favor of granting a preliminary injunction.”).

             In addition, the incentives created by allowing ACS’s conduct to proceed unchecked

     militate in favor of a preliminary injunction to protect the public interest in a fair dispute

     resolution process. Allowing ACS to weaponize the arbitration process and aggressively seek

     judgment against Mr. Vidal while his allegations go unexamined would undermine that

     interest. See Ex. 20 (OAG Let.) at 2.

     II.     The Court Can Enjoin the Arbitration Pursuant to the All Writs Act.

             The Court also has the authority to preliminarily enjoin this arbitration pursuant to the

     All Writs Act. The All Writs Act provides federal courts with the authority to issue all writs

     “necessary or appropriate in aid of their respective jurisdictions.” 28 U.S.C. § 1651(a). The

     Act specifically allows courts to issue orders directed toward non-parties. United States v.

     Int'l Bhd. of Teamsters, Chauffeurs, Warehousemen & Helpers of Am., AFL-CIO, 907 F.2d

     277, 281 (2d Cir. 1990). In this case, that would include an order directed toward the AAA

     and the arbitrator requiring that the underlying arbitration be stayed, at least preliminarily,

     until this Court can rule on the arbitrator’s authority to decide issues of arbitrability.

             The continued administration of ACS’s arbitration against Mr. Vidal constitutes a

     direct threat to this Court’s jurisdiction. As explained above, whether the arbitrator has the

     authority under the purported delegation requirement to decide the enforceability of the


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     arbitration provision is necessarily for the Court to decide in the first instance. The Second

     Circuit and courts around the country have reasoned that the All Writs Act gives federal

     courts authority to enjoin arbitrations that threaten their jurisdiction. See, e.g., In re Am. Exp.,

     672 F.3d at 141 n.20; In re Am. Honda Motor Co., Inc., Dealerships Rels. Litig., 315 F.3d

     417, 438-40 (4th Cir. 2003); Allstate Ins., 929 F. Supp. 2d at 220. The administration of an

     arbitration regarding issues that are not arbitrable and that fall within a court’s jurisdiction

     presents a sufficiently serious threat to that court’s jurisdiction to justify application of the All

     Writs Act. In re Am. Honda Motor Co., 315 F.3d at 438. 10

             The Court need not decide now whether a clear and unmistakable delegation clause

     exists or whether the arbitration requirement or the putative delegation clause is enforceable.

     All Plaintiff requests here is a preliminary injunction staying arbitration until the Court can

     address those issues. The Court should preliminarily enjoin the arbitration if it concludes that

     there are serious questions whether the administration of the arbitration, before the Court has

     had a chance to decide the applicability and enforceability of the delegation provision,

     presents a threat to this Court’s jurisdiction. Citigroup Glob. Markets, Inc., 598 F.3d at 33.

     There should be no question that such questions are present here.

                                                   CONCLUSION

             For the foregoing reasons, the Court should grant Plaintiff’s requested injunction and

     enjoin further proceedings in arbitration until this Court can determine whether the arbitration

     provision contains a clear and unmistakable delegation clause, and whether that clause is

     valid and enforceable.



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                Although some courts have refused to enjoin arbitrations under the All Writs Act and
     permitted arbitrators to rule on their own authority to decide the dispute before them, in those cases
     there was no dispute that the underlying substantive question was covered by an enforceable
     arbitration agreement. See, e.g., Citigroup, Inc. v. Abu Dhabi Inv. Auth., 776 F.3d 126, 128 (2d Cir.
     2015); Loc. 1814, Int'l Longshoremen’s Ass’n, AFL-CIO v. N.Y. Shipping Ass’n, Inc., 965 F.2d
     1224,1233 (2d Cir. 1992). Here, Plaintiff challenges the purported delegation clause, a challenge that
     the Court must decide. See supra § I.B.

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      Dated: January 20, 2023                Respectfully submitted,
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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

  Benzor Shem Vidal,

                       Plaintiff,           Civ. Action. No. 1:22-cv-05535-NRM-MMH
        -against-

  ACS Staffing, LLC

                       Defendant.




                  DEFENDANT’S MEMORANDUM IN OPPOSITION
             TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION




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  INTRODUCTION

         Plaintiff Benzor Vidal (“Plaintiff”) walks a well-worn path of employees challenging

  lawful arbitration agreements with their employers. In that connection, Plaintiff attempts to portray

  himself as an unfortunate victim. He is not.

         While he may have family financial obligations, he is not an unsophisticated, illiterate

  victim of “coyotes” who bilked him out of his life savings to smuggle him across the border. Nor

  is he the victim of any manner of “forced labor” or human trafficking. To the contrary, he is an

  educated nurse who has a command of the English language and a lawful permanent resident of

  the United States. Unlike actual victims of human trafficking coerced into exploitive work

  arrangements, he leveraged his skill set against a high demand for his services in this country to

  negotiate assistance securing the right to work in this country legally. In exchange for lengthy and

  costly assistance from ACS Staffing (“ACS”) navigating the immigration system to secure a Green

  Card, as well as support securing a nursing license and other credentials to work in New York,

  Plaintiff agreed to remain employed with ACS for a three-year period. After securing his Green

  Card and New York nursing license, he was not smuggled here in the back of a truck or in the hold

  of a cargo ship; he was provided company-paid airfare. Upon his arrival, he was not left to his own

  devices for food, transportation, and shelter, or, worse yet, imprisoned; he was provided grocery

  money, a transit card, and a rent subsidy. Finally, during his agreed upon period he was not

  relegated to working in a back alley sweat shop, a remote lettuce field, or a massage parlor for

  substandard wages; he was lawfully employed as a licensed registered nurse at an authorized

  healthcare facility, paid more than prevailing wage, and provided paid vacation, sick time, and

  other benefits.




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          If Plaintiff had satisfied the terms of his agreement and completed the agreed upon 3 year

  term, he would have been free to negotiate a new agreement with ACS or enter the labor market

  as an “unrestricted free agent.” He did not do so. Instead, after he received the benefit of his bargain

  – particularly assistance securing the invaluable benefit of lawful permanent residency in this

  country – he shirked his obligations to ACS under their agreement. Having brazenly breached his

  agreement, he now quarrels with the consequences of his actions. This should not be permitted.

          Unlike the cases he references, he faces no punitive consequences. He only faces the legal

  damages that ACS can prove at arbitration flow from his breach. He now claims that facing those

  consequences is unconscionable. He was not coerced into signing the agreement; he received

  valuable consideration. If Plaintiff did not want to face the potential damages flowing from his

  breach, he should have abided by the terms of his agreement. He should not now look to the court

  to excuse him from his contractual obligations while he enjoys the benefit of his bargain.

          Plaintiff’s assertions about weaponized arbitration fly in the face of controlling, well-

  settled, and unequivocal authority. The United States Supreme Court has repeatedly recognized

  that the Federal Arbitration Act (“FAA”) establishes a liberal policy favoring arbitration when the

  parties contract for that mode of dispute resolution. See, e.g., AT&T Mobility, LLC v. Concepcion,

  563 U.S. 333, 337 (2011); see also Moses H. Cone Memorial Hosp. v. Mercury Const. Corp., 460

  U.S. 1, 24 (1983) (referring to the “liberal federal policy favoring arbitration”). Further, the policy

  favoring arbitration extends and applies to arbitration agreements between employers and

  employees. Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20, 26-27 (1991); Epic Systems

  Corp. v. Lewis, 138 S. Ct. 1612, 1619, 200 L. Ed. 2d 889 (2018). Nothing Plaintiff presents

  warrants deviation from well-settled Supreme Court precedent.




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          As set forth more fully herein and in the accompanying exhibits, the record amply refutes

   Plaintiff’s factual assertions and legal arguments. In view of the record before the court and

   controlling case law, Plaintiff’s motion should be denied and the already pending arbitration

   permitted to proceed without further delay.


   FACTUAL BACKGROUND

          A. Plaintiff’s Employment with Defendant

          Plaintiff Benzor Vidal (“Plaintiff”) is a Registered Professional Nurse. (See Declaration of

   Maureen Luy (“Luy Decl.”), Ex. G and Ex. I). In addition to his nursing credentials, he has a

   demonstrated proficiency with the English language. (Luy Decl., Ex. H and Ex. I)

          In order to access the more lucrative labor market for nurses in the United States, Plaintiff

   entered into an Employment Agreement with Defendant Advanced Care Staffing, LLC (“ACS”)

   on May 7, 2019 (the “Original Agreement”). (Luy Decl., Ex. A). Pursuant to the Original

   Agreement, Mr. Vidal agreed to provide nursing services for ACS’s clients at a rate of pay at least

   as high as that specified by the National Prevailing Wage of the United States Department of

   Labor. (Luy Decl., Ex. A, para. 9). Pursuant to the Original Agreement, ACS also agreed to provide

   one way air fare, a rent subsidy for 2 months, and a one-month MTA card. (Luy Decl., Ex. A,

   Addendum B).

          In consideration for Mr. Vidal’s services, ACS agreed, inter alia, to sponsor Mr. Vidal for

   an employment-based Immigrant Visa, which allows non-residents to obtain Permanent Residency

   (“Green Card”) status in the United States. (Luy Decl., Ex. A). In that connection, ACS agreed to

   pay all costs and legal fees associated with sponsoring Mr. Vidal’s visa. (Luy Decl., Ex. A, p. 1

   and ¶ 16). Not only did they agree to fund his immigration process, they also agreed to pay his

   costs associated with getting licensed and credentialed to work in the United States. Id. In view



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   of that outlay, the Original Agreement expressly states: “the Employee agrees that the Employer

   has spent a considerable sum of money in recruiting costs, licensure/certification review and

   credentialing costs, exam costs, Visa Screen costs, attorney's fees, petition filing costs, flight

   and/or transportation costs, housing costs, etc. to enable him/her to work with Employer in the

   United States.” (Luy Decl., Ex. A, ¶ 19). In exchange for this lengthy and expensive undertaking

   by ACS, Mr. Vidal agreed to remain employed by ACS for a period of three years. (Luy Decl., Ex.

   A, ¶ 18). Upon completion of that 3 year term, Plaintiff would have been free to negotiate a new

   agreement with ACS or enter the labor market to work where he felt best suited his needs.

          The Original Agreement also included an agreement to arbitrate disputes arising out of the

   Employment Agreement. (Luy Decl., Ex. A, ¶ 20). Notably, the Original Agreement states:

          All disputes arising out of this Agreement or Employee's employment, including
          but not limited to Employee's recruitment, hiring, termination, and/or failure to
          complete/fully perform paragraph 18 with the Employer, shall be resolved
          exclusively by mandatory arbitration of the dispute . . . . Employee and Employer
          both understand and agree that they are knowingly and voluntarily waiving, to the
          extent permitted by law, any rights they might have to a trial by jury on any
          discrimination, contractual, employment, or other claims under federal, state, or
          local law, . . . . Id.

          Although Mr. Vidal signed the Original Agreement on May 7, 2019, the process for him

   to secure his Green Card took time. During that process, ACS assisted him with completing and

   submitting a visa application, amongst other things. In that submission, the parties make clear:

         Plaintiff will be employed full time as a registered nurse earning the prevailing wage of
          $68,058 per year. (Luy Decl., Ex. J);
         Plaintiff can read and understand English (Doc. No. 23-3); and, inter alia,
         Plaintiff has a Bachelor’s degree in Nursing (Luy Decl., Ex. H & Ex. I);

          On January 4, 2022, well in advance of him commencing actual employment, ACS sent

   Mr. Vidal an email providing him guidance for his upcoming US Embassy Visa Application

   interview. (Luy Decl., Exs. B1-B7). In addition, the email attached a cover letter (Luy Decl., Ex.

   B2), letter waiving a prior promissory note (Luy Decl., Ex. B3), Introductory Guide to Skilled-


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   Nursing Facility (Luy Decl., Ex. B4), Nurses Quick Guide (Luy Decl., Ex. B5), and an Amended

   and Restated Employment Agreement (“Amended Agreement”) (Luy Decl., Ex. B6 & B7).

          The January 4, 2022 cover letter attached to the email explained that ACS had updated

   their Employment Agreement in accordance with industry best practices and team member

   feedback. (Luy Decl., Ex. B2). ACS specifically explained that one of the key updates in the

   Amended Agreement from the Original Agreement was that the new version provides greater

   clarity of the parties’ expectations, obligations, and rights, including that the nursing assignments

   would be at skilled nursing facilities and nursing homes. (Luy Decl., Ex. B2).

          The January 4, 2022 cover letter also explained other updates to the Amended Agreement

   that are central to the current controversy. First, it explains that the Amended Agreement removed

   the liquidated damages provision and promissory note that were part of the Original Agreement.

   The letter further explained, however: “We have tried to be clear from the beginning that ACS is

   making a significant investment in our nurses, and we only agree to sponsor nurses who are

   committed to providing services to ACS for a three-year term.” (Luy Decl., Ex. B2). With that set

   forth explicitly, the cover letter further explains that the Amended Agreement would permit ACS

   to recover any damages that it could prove, which “might be higher or lower” than the amount

   specified in the Original Agreement. (Luy Decl., Ex. B2). This is not inscrutable legalese; it is a

   straightforward summary of some revisions in the Amended Agreement. Further, it is in no way

   coercive; it simply explains the consequences of disregarding the obligations in the agreement.

          In addition to the changes summarized in the cover letter, the Amended Agreement

   reiterates that ACS will pay in accordance with prevailing wage requirements, provide paid time

   off and other benefits, a one way air fare, a rent subsidy for two months, a gift card for groceries,

   and a monthly MTA card. (Luy Decl., Ex. B6, p. 4, Section 4, p. 5, Sections 7 and 8)). The




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   Amended Agreement also specifies a term of 3 years. (Luy Decl., Ex. B6, p. 6, Section 9). The

   Amended Agreement again sets forth the other costs it was advancing on behalf of or reimbursing

   Plaintiff for, including but not limited to licensing costs, credentialing costs, review course costs,

   nursing exam costs, and visa screening costs. (Luy Decl., Ex. B6, p. 4, Section 4). In that

   connection, the Amended Agreement also states: “Employee acknowledges that Employer is

   incurring Advanced Costs upon the express condition that Employee will complete the Term in

   full. Therefore, Employee shall immediately repay all Advanced Costs in the event that Employee

   fails to complete the Term for any reason.” Id.

          Finally, the Amended Agreement incorporates a revised Dispute Resolution Provision

   (“Revised DRP”). (Luy Decl., Ex. B7, Schedule B). Crucially, it states:

          I agree that any dispute, controversy or claim arising between me and Employer
          (including a dispute, controversy or claim arising out of, in connection with or
          relating to, this Agreement, or the interpretation, performance or breach,
          termination or validity hereof) shall be resolved by arbitration pursuant to this
          dispute resolution provision (the “Provision”). This includes, but is not limited to,
          claims involving an alleged violation of public policy; all statutory claims for
          discrimination and/or harassment and/or retaliation under federal, state, or local
          law; and claims concerning wages or other compensation, whether based on statute
          or any other grounds. . . .

   Id. The Revised DRP further explicitly states: “This agreement to arbitrate shall be governed by

   the Federal Arbitration Act and shall remain in force even after I separate from Employer for any

   reason.” Id. The Revised DRP also states that any arbitration “will be administered by the

   American Arbitration Association (“AAA”) ….” Id. The Revised DRP also explains that, “the

   employer will initially bear all other filing fees, administrative fees, hearing fees, and arbitrator

   compensation.” Id. The Revised DRP also provides that “should there be arbitration proceedings

   in accordance with this Provision, [Mr. Vidal] would be free to pursue all available substantive or

   procedural rights or remedies in such arbitration proceedings.” Id. The Revised DRP expressly




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   provides that Plaintiff understood that “all disputes or claims relating to [his] employment (or

   termination of employment) will instead be decided by an arbitrator.” Id.

          As part of the January 4, 2022 transmittal, ACS also sent a letter to Plaintiff regarding the

   Promissory Note that was part of the Original Agreement. (Luy Decl., Ex. B3). Notwithstanding

   Plaintiff’s efforts to mischaracterize that letter as somehow confusing or coercive, the opposite is

   self-evident. Contrary to any assertions of stultifying legalese, the letter states in plain terms that:

   “ACS Staffing hereby unconditionally waives, cancels, and releases the $20,000 promissory note

   that you made to ACS Staffing, dated May 8, 2019.” (Luy Decl., Ex. B3). Plaintiff was thus clearly

   advised that he was free from the obligation set forth in the promissory note.

          Also contrary to any claim of confusion or coercion, neither the January 4, 2022 cover

   letter nor email set forth a deadline by when Mr. Vidal was required to sign the Amended

   Agreement. (Luy Decl., Ex. B1 and Ex. B2). Instead, the letter concluded by asking Mr. Vidal to

   contact ACS if he had any questions prior to signing the agreement. (Luy Decl., Ex. B2).

          Despite the express invitation to discuss any questions or concerns, Mr. Vidal did not send

   an email to or call anyone at ACS with any questions regarding the revised agreement. (Luy Decl.,

   Ex. D). Instead, Mr. Vidal returned a fully executed revised agreement (the “Agreement”) to ACS

   the same day he received it. (Luy Decl., Ex. C and Ex. D).

          On January 6, 2022, ACS emailed Mr. Vidal an invitation to a call to discuss the Amended

   Agreement. (Luy Decl., Ex. E). He responded to that invitation, but did not ask any questions about

   the Amended Agreement or give any indication that he wished to revoke it. (Luy Decl., Ex. E). On

   January 13, 2022, Plaintiff sent another email to ACS regarding his pending work assignment and

   did not raise any concerns about the Amended Agreement. (Luy Decl., Ex. F). Rather than

   conveying any concerns, Plaintiff made clear he was eager to start work.




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          Mr. Vidal began working for ACS three months later, on March 8, 2022. (Luy Decl., Ex.

   G). As a result, the three-year work term set forth in the Agreement would expire on March 7,

   2025. (Luy Decl., Ex. G).

          While Plaintiff attempts to portray this assignment as some sort of Dickensian workhouse,

   it was at an accredited institution and the duties were consistent with any nurse assigned there.

   Also, contrary to any suggestion of involuntary servitude, when Plaintiff arrived in the United

   States, he requested to work in a different facility from the one to which he was originally assigned,

   and ACS granted him his desired work assignment. (Luy Decl., Ex. F). Finally, ACS, actually paid

   Mr. Vidal more than prevailing wage. (Luy Decl., Ex. G, Ex. C, and Ex. K).

          After only three months of work, part of which was spent on vacation, Mr. Vidal tendered

   his resignation to ACS by email dated June 15, 2022, effective on June 29, 2022. (Luy Decl., Ex.

   G). Contrary to his allegations in this suit, Mr. Vidal never expressed any complaints or

   dissatisfaction to ACS regarding his assigned work location or any other term or condition of his

   employment with ACS prior to submitting his resignation. (Luy Decl., Ex. G). Rather than any

   legitimate concern over his working conditions, Mr. Vidal resigned in order to pursue other

   opportunities. Indeed, once he received all the front-loaded benefits from ACS – including but not

   limited to airfare, rent subsidy, grocery money, and crucial immigration and licensing assistance

   – he ignored his obligations to ACS and “cashed in” by securing a higher paid position. While that

   was his prerogative, there were agreed upon consequences for pursuing that course of action.

   Crucially, he acknowledged them in his resignation email. (Luy Decl., Ex. G).

          Thus, in response to his resignation, ACS reminded Mr. Vidal that he had signed an

   agreement to work for a term of three years and that he had barely even worked for three months.

   (Luy Decl., Ex. G). Mr. Vidal refused to reconsider his resignation. (Luy Decl., Ex. G). ACS thus




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   issued a letter on June 22, 2022, confirming that Plaintiff’s resignation was a breach of the

   Amended Agreement. (Declaration of Sami Asaad (“Asaad Decl.”), Ex. 1). Mr. Vidal’s last day

   of work for ACS was June 29, 2022. (Luy Decl., Ex. G).

          B. Initiation of Arbitration

          Plaintiff initially promised ACS that he would pay the costs it incurred as required by the

   Amended Agreement. (Luy Decl., Ex. G). Shortly thereafter, however, Plaintiff’s original counsel,

   Reuben Seguritan, Esq., contacted ACS’s counsel after which no payment was ever made. (Luy

   Decl., Ex. G; Asaad Dec., Ex. 2).

          As a result, ACS initiated arbitration by filing a Demand for Arbitration with the American

   Arbitration Association (“AAA). (Asaad Dec., Exs. 2-4). On August 1, 2022, Towards Justice

   informed the AAA that they were not representing Mr. Vidal in the arbitration but were

   nevertheless requesting a stay on his behalf. (Asaad Dec. Ex. 5). The Arbitration Manager

   explained that because they were not entering an appearance in the proceeding, she could not

   communicate with Towards Justice about the administration of the arbitration. Id. The AAA denied

   the request for a 60-day stay but granted a shorter extension of time for the parties to respond to

   the upcoming deadlines. Id. Plaintiff continued to request extensions to delay the arbitration.

   (Asaad Dec., Exs. 6 and 7). As such, he engendered delay and additional expense, not ACS.

          On September 16, 2022, Plaintiff filed the complaint to initiate this litigation. (See Doc.

   No. 1). On September 22, 2022, Arbitrator Sara Kula held a Preliminary Conference at which

   Plaintiff again requested the opportunity to argue for a stay, which maneuver would again engender

   delay and additional expense. (Asaad Dec., Ex. 8). On October 6, 2022, Plaintiff, through Towards

   Justice, sent a letter to Arbitrator Kula again setting forth the arguments for why they believed

   Plaintiff was entitled to a stay of the arbitration. (Asaad Dec., Ex. 9). ACS responded by letter




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   dated October 20, 2022. (Asaad Dec., Ex. 10). On October 24, 2022, Arbitrator Kula sent the

   parties an order finding, among other things, that:

          Pursuant to the Parties’ Dispute Resolution Provision and AAA’s rules, as the
          Arbitrator in this matter, I have the authority to rule on my own jurisdiction,
          including with respect to the validity of the arbitration agreement or the arbitrability
          of any claim. Many of the arguments made by Respondent are premature and do
          not support the issuance of a stay. Respondent shall have the opportunity during the
          course of the arbitration to argue that the contract at issue is unenforceable, in whole
          or in part, and to assert counter-claims concerning the Claimant’s alleged unlawful
          conduct.

   (Asaad Dec., Ex. 11).

          On October 28, 2022, Plaintiff sent a letter to the Arbitration Manager requesting that AAA

   determine whether the arbitration should be stayed or, in the alternative, the AAA should decline

   to administer it in its entirety pending judicial resolution. (Asaad Dec., Ex. 12). Plaintiff sought a

   further extension from the AAA on November 1, 2022. (Asaad Dec., Ex. 13). Again, it was the

   Plaintiff increasing the duration and cost of the arbitration, not ACS.

          By letter dated November 10, 2022, Plaintiff submitted arguments to Arbitrator Kula

   regarding his allegation that the Revised DRP was unconscionable. (Asaad Dec., Ex. 14). By letter

   dated November 20, 2022, ACS refuted each of Plaintiff’s arguments. (Asaad Dec., Ex. 15). On

   November 22, 2022, Arbitrator Kula requested further briefing from the parties on the issue of

   whether the AAA’s Commercial or Employment Rules should apply to the proceeding. (Asaad

   Dec., Ex. 16). On December 2, 2022, ACS sent a letter to Arbitrator Kula stipulating to the

   application of the Employment Rules and explaining that regardless of which rules Arbitrator Kula

   applied to the proceeding, Mr. Vidal was not entitled to a stay of this arbitration. (Asaad Dec., Ex.

   17). Plaintiff submitted a letter arguing for the application of the Employment Rules the same day.




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   (Asaad Dec., Ex. 18). In view of the parties’ agreement, there can be no contention about whether

   the AAA’s Employment Rules apply.1

          By order dated December 9, 2022, Arbitrator Kula denied Mr. Vidal’s request for a stay

   explaining that “[n]either Respondent’s initial or supplemental submission provided sufficient

   factual or legal support for the argument that the arbitration agreement is unconscionable….”

   (Asaad Dec., Ex. 20). Moreover, Arbitrator Kula held that: “Based on those submissions and the

   facts related to the execution of the parties’ Arbitration Agreement, the Arbitrator will apply

   AAA’s Employment Arbitration Rules.” As a result of AAA’s Employment Rules, the costs and

   fees associated with the arbitration have been and shall be borne by ACS. (See AAA Employment

   Rules and Employment Fee Schedule at Rule 7.) Any concerns Plaintiff asserts regarding such

   fees and costs are thus unfounded.

          Plaintiff sent an email the same day again arguing that Arbitrator Kula lacked the authority

   to determine the validity and enforceability of the Revised DRP in the Amended Agreement, but

   provided no legal support. (Asaad Dec., Ex. 21). Of course, this bald assertion is belied by both

   the express terms of the Revised DRP, as well as AAA Commercial Rule number 7 and

   Employment Rule number 6, all of which make clear the Arbitrator is empowered to determine

   whether she had the authority to arbitrate the dispute.

          In response to Arbitrator Kula’s order, ACS attempted to move forward with the schedule

   she established and served discovery on Plaintiff. (Asaad Dec., Ex. 22). Further, on January 4,

   2023, ACS sent a letter to Ms. Lesser setting forth why Mr. Vidal’s claims and arguments in

   support of a stay lacked merit. (Asaad Dec., Ex. 23).



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    On December 6, 2022, Plaintiff submitted a request to Ms. Gomez and Ann Lesser, Esq, the AAA’s Vice
   President of Labor, Employment, and Elections, arguing that the AAA has its own authority to stay the
   arbitration outside of Arbitrator Kula. (Asaad Dec., Ex. 19). This went nowhere.


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          Months after filing this matter, and having failed to prevail upon the assigned Arbitrator

   and the AAA to stay an arbitration he obviously wants to avoid at all costs because he has

   undeniably received the benefit of his bargain without reciprocating, he reboots his court claim by

   filing the present motion for preliminary injunction. This effort should also be rebuffed.


   LEGAL ARGUMENT

          A. Legal Standard

   The Second Circuit has made clear that the grant of a preliminary injunction is an extraordinary

   and drastic remedy which should not be routinely granted. General Textile Printing & Processing

   Corp. v. Expromtorg International Corp., 862 F. Supp. 1070, 1074 (S.D.N.Y. 1994) citing Borey

   v. National Union Fire Ins., 934 F.2d 30, 33 (2d Cir. 1991). It is well settled that a court in this

   Circuit will grant a temporary restraining order or a preliminary injunction only if there is proof

   of:

          (a) irreparable harm; and,
          (b) either      (1) likelihood of success on the merits; or,
                          (2) sufficiently serious questions going to the merits to make them a
                          fair ground for litigation and a balance of hardships tipping
                          decidedly toward the party requesting the preliminary relief.

   Polymer Technology Corp. v. Mimran, 37 F.3d 74, 77-78 (2d Cir. 1994) citing Coca Cola Co. v.

   Tropicana Prods. Inc., 690 F.2d 312, 314-315 (2d Cir. 1982). The standards for granting a TRO

   are the same as those governing the granting of preliminary injunctive relief. Schiavone

   Construction Co. v. New York City Transit Authority, 593 F. Supp. 1257, 1260 (S.D.N.Y. 1984).

   Both remedies are extraordinary ones that will be granted only upon a showing that the alleged

   threat of irreparable harm is not remote or speculative, but actual and imminent. Forest City Daly

   Housing, Inc. v. Town of Northhampstead, 175 F.3d 144, 153 (2d Cir. 1999) citing Rodriguez v.

   DeBuono, 162 F.3d 56, 61 (2d Cir. 1998).



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          B. Plaintiff’s Delegation Clause argument is a red herring because Plaintiff does
             not (and cannot) dispute that ACS’s breach of contract claim is arbitrable.

          Plaintiff attempts to misdirect by asking whether the Court or the arbitrator should

   determine whether ACS’s Breach of Contract claim is arbitrable. The real issue, however, is

   whether or not the breach of contract claim is arbitrable, which Plaintiff does not and cannot

   dispute because the Revised DRP is an express agreement to arbitrate that Plaintiff assented to.

          To begin with, the Revised DRP explicitly states: “This agreement to arbitrate shall be

   governed by the Federal Arbitration Act . . . .” (Luy Decl., Ex. B7) “By its terms, the [FAA] leaves

   no place for the exercise of discretion by a district court, but instead mandates that district courts

   shall direct the parties to proceed to arbitration on issues as to which an arbitration agreement has

   been signed.” Daly v. Citigroup Inc., 939 F.3d 415, 421 (2d Cir. 2019), quoting Dean Witter

   Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985) (emphasis in original). See also, Badinelli v.

   Tuxedo Club, 183 F. Supp. 3d 450, 453 (S.D.N.Y. 2016), quoting Jung v. Skadden, Arps, Slate,

   Meagher & Flom, LLP, 434 F.Supp.2d 211, 214–15 (S.D.N.Y. 2006).

          In that connection, the FAA requires courts to order arbitration “in accordance with the

   terms of the agreement.” 9 U.S.C. § 4. In determining whether Plaintiff’s claims are subject to

   arbitration, the threshold inquiry is an analysis of the contractual language. Equal Employment

   Opportunity Commission v. Waffle House, Inc., 534 U.S. 279, 289 (2002)(“Absent some ambiguity

   in the agreement ... it is the language of the contract that defines the scope of disputes subject to

   arbitration.”) See also, Mastrobuono v. Shearson Lehman Hutton, Inc., 514 U.S. 52, 57 (1995).

   Indeed, courts are obligated to “rigorously enforce arbitration agreements according to their

   terms,” United Bhd. of Carpenters & Joiners of Am. v. Tappan Zee Constructors, LLC, 804 F.3d

   270, 274 (2d Cir. 2015). “In doing so, a court is not to rule on the potential merits of the underlying

   claims.” Vittoria Corp. v. New York Hotel & Motel Trades Council, AFL-CIO, 30 F. Supp. 2d 431,



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   436 (S.D.N.Y. 1998), citing Broadcast Arts Productions, Inc. v. Screen Actors Guild, Inc., 673 F.

   Supp. 701, 706

          Moreover, in reviewing the scope of the arbitration agreement, the Court must be guided

   by the principle that arbitration agreements are favored and are to be broadly construed with doubts

   being resolved in favor of coverage. AT&T Technologies v. Communications Workers of America,

   475 U.S. 643, 648-650 (1986); Moses H. Cone Mem'l Hosp., 460 U.S. at 24-25. Indeed, prevailing

   federal precedent directs courts to “construe arbitration clauses as broadly as possible.” Collins &

   Aikman Prods. Co. v. Building Sys., 58 F.3d 16, 19 (2d Cir. 1995) (internal quotations and citations

   omitted). “[A]s a matter of federal law, any doubts concerning the scope of the arbitrable issues

   should be resolved in favor of the arbitration, whether the problem at hand is the construction of

   the contract language itself or an allegation of waiver, delay, or a like defense to arbitrability.”

   Moses H. Cone Mem. Hosp., 460 U.S. at 24-25.

          Further, the “existence of a broad agreement to arbitrate creates a presumption of

   arbitrability which is only overcome if it may be said with positive assurance that the arbitration

   clause is not susceptible of an interpretation that [it] covers the asserted dispute.” Oldroyd v.

   Elmira Savings Bank, FSB, 134 F.3d 72, 76 (2d Cir. 1998); see also, Mehler v. Terminix Int'l Co.,

   205 F.3d 44, 49 (2d Cir. 2000), cert. denied, 533 U.S. 911 (2001) (citing Collins & Aikman Prods.

   Co., 58 F.3d at 19); WorldCrisa Corp. v. Armstrong, 129 F.3d 71, 74 (2d Cir. 1997). In cases

   where the arbitration clause is broad, “only the most forceful evidence of a purpose to exclude the

   claim from arbitration can prevail.” AT & T Technologies v. Communications Workers of America,

   475 U.S. 643, 650 (1986).

          Here the Revised DRP expressly and unequivocally requires that all disputes arising under

   the agreement itself and all other disputes between the parties are to be resolved through




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   arbitration. It states: “I agree that any dispute, controversy or claim arising between me and

   Employer (including a dispute, controversy or claim arising out of, in connection with or relating

   to, this Agreement, or the interpretation, performance or breach, termination or validity hereof)

   shall be resolved by arbitration pursuant to this dispute resolution provision (the “Provision”).”

           The Second Circuit has held that this is “precisely the kind of broad arbitration clause that

   justifies a presumption of arbitrability.” Oldroyd, 134 F.3d at 76 (clause in employment agreement

   requiring arbitration of “any dispute, controversy or claim arising under or in connection with this

   Agreement” creates presumption of arbitrability of employment-related claims). See also, Mehler,

   205 F.3d at 49-50 (clause providing for arbitration of “'any controversy or claim . . . arising out of

   or relating to the agreement is ...’ a classically broad one.”); Collins & Aikman Prods. Co., 58 F.3d

   at 20 (clause requiring arbitration of “'any claim or controversy arising out of or relating to the

   agreement”' is “the paradigm of a broad clause.”). Because Plaintiff’s claims clearly arise out of

   his employment with ACS, any argument that it does not apply to the claims advanced by Plaintiff

   in this case is specious.2

           C. Second Circuit Authority Mandates that any arbitrability questions in this case
              be decided by the arbitrator.

           The issue of whether questions of arbitrability in this case are to be decided by the court or

   arbitrator is controlled by the Second Circuit’s decision in DDK Hotels, LLC v. Williams-Sonoma,

   Inc., in which the court held that “where the arbitration agreement is broad and expresses the intent

   to arbitrate all aspects of all disputes, this – coupled with incorporation of rules that expressly



   2
     Assuming arguendo that the Revised DRP somehow was not operative through some fault in the
   reformation of contract through the Amended Agreement (which is not the case), the arbitration agreement
   incorporated into the Original Agreement would then remain in force. That agreement also requires
   arbitration of all disputes arising out of this Agreement or Employee’s employment, so it, too, would require
   arbitration of this matter. Plaintiff does not (and cannot) contend that the arbitration provision in the
   Original Agreement is invalid. Therefore, it is indisputable that ACS’s breach of contract claim is arbitrable.


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   empower an arbitrator to decide issues of arbitrability – constitutes clear and unmistakable

   evidence of the parties’ intent to delegate the question of arbitrability to the arbitrator.” 6 F.4th

   308, 318-19 (2d Cir. 2021). The Revised DRP also states that any arbitration “will be administered

   by the American Arbitration Association (“AAA”) ….” (Luy Decl., Ex. B7) Coupled with the

   broad arbitrability language in the Revised DRP, the AAA rules applicable to this dispute also

   invest the arbitrator with the authority to determine arbitrability. See Rule 7 of the AAA’s

   Commercial Rules and Rule 6 of the AAA’s Employment Rules.

           Given the terms of the Revised DRP and well-settled law, any argument that the Court

   must rule on the scope or enforceability of the Revised DRP before referral to arbitration must be

   rejected. Indeed, a court should not determine whether an arbitration agreement is enforceable or

   whether a particular claim is covered by the arbitration agreement where the parties have clearly

   and unmistakably delegated that task to an arbitrator. Rent-A-Center, West, Inc. v. Jackson, 561

   U.S. 63, 68 (2010) (“We have recognized that parties can agree to arbitrate 'gateway' questions of

   'arbitrability,' such as whether the parties have agreed to arbitrate or whether their agreement

   covers a particular controversy.”); Moore v. T-Mobile USA, Inc., 10 CV 527 (SLT), 2010 U.S.

   Dist. LEXIS 143874, at *10 (E.D.N.Y. Nov. 8, 2010) (“the question of whether the parties have

   agreed to arbitrate a specific controversy or even agreed to arbitration at all may be delegated to

   the arbitrator to decide”).

           Thus, it is for an arbitrator to decide whether the current claims regarding Plaintiff’s

   employment fall within the scope of the agreement, not this court. That outcome is consistent with

   well-settled law on the issue and further compels the conclusion that the arbitration should not be

   stayed, but instead directed to proceed apace. It is all the more compelling in this instance because

   the assigned Arbitrator has already considered the Plaintiff’s arguments and determined:




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          Pursuant to the Parties’ Dispute Resolution Provision and AAA’s rules, as the
          Arbitrator in this matter, I have the authority to rule on my own jurisdiction,
          including with respect to the validity of the arbitration agreement or the arbitrability
          of any claim. Many of the arguments made by Respondent are premature and do
          not support the issuance of a stay. Respondent shall have the opportunity during the
          course of the arbitration to argue that the contract at issue is unenforceable, in whole
          or in part, and to assert counter-claims concerning the Claimant’s alleged unlawful
          conduct.

   (Asaad Decl., Ex. 11). On the record before the court, the arguments over the delegation clause are

   nothing more than a delay tactic. The motion for an injunction should be denied and the parties

   directed to proceed with the pending arbitration forthwith.

          D. Plaintiff cannot prove irreparable harm.

          A showing of irreparable harm is the single most important prerequisite for the issuance of

   injunctive relief. See Reuters, Ltd. v. United Press International, Inc., 903 F.2d 904, 907 (2d Cir.

   1990). Plaintiff cannot prevail on this issue.

          This Circuit has concluded that forcing a party to participate in an even potentially

   unwarranted arbitration “by itself imposes no [irreparable] injury to the resisting party, except

   perhaps in ‘extraordinarily rare’ circumstances;” “[t]he monetary cost of arbitration certainly does

   not impose such legally recognized irreparable harm.” Emery Air Freight Corp. v. Local Union

   295, 786 F.2d 93, 100 (2d Cir. 1986). Where there is a valid agreement to arbitrate, no irreparable

   harm results from compelling the resisting party to arbitrate. Med. Shoppe Int'l, Inc. v. Mitsopoulos,

   2006 WL 8438209, at *3 (E.D.N.Y. May 5, 2006), report and recommendation adopted, 2006 WL

   8438198 (E.D.N.Y. May 12, 2006), citing Emery Air Freight Corp., supra. If the mere opportunity

   costs or out-of-pocket expenses associated with an order to arbitrate constitutes irreparable harm,

   “every order to arbitrate would be deemed to create irreparable harm, and it would be easy to get

   such orders stayed.” Woodlawn Cemetery v. Loc. 365, Cemetery Workers & Greens Attendants

   Union, 1990 WL 150472, at *3 (S.D.N.Y. Oct. 2, 1990), aff'd, 930 F.2d 154 (2d Cir. 1991), quoting



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   Graphic Communications Union, Chicago Paper Handlers' & Electrotypers' Local No. 2 v.

   Chicago Tribune Co., 779 F.2d 13, 15 (7th Cir. 1985). “Such a harm does not warrant the

   extraordinary relief of a stay since it ‘is no different from the harm of being turned down on a

   motion to dismiss or for summary judgment, thereby being forced to try a case that one does not

   believe should be tried....’” Id.

           In light of the fact that it is well settled that simply being compelled to arbitrate a claim

   that falls within the scope of an agreement to arbitrate does not constitute irreparable harm,

   Plaintiff’s motion should fail on this basis alone.

           E. Plaintiff is unlikely to succeed on the merits

           Plaintiff advances several arguments for the proposition he is likely to succeed on the

   merits. None of them are persuasive.


                   ■The Amended Agreement and Revised DRP are not unconscionable.
           Under New York law, “a contract is unconscionable when it is so grossly unreasonable or

   unconscionable in the light of the mores and business practices of the time and place as to be

   unenforceable according to its literal terms.” Nayal v. HIP Network Servs. IPA, Inc., 620 F.Supp.2d

   566, 571 (S.D.N.Y. 2009) (internal citations and quotations omitted). To prove unconscionability,

   “there must be a showing that such a contract is both procedurally and substantially

   unconscionable. The procedural element of unconscionability concerns the contract formation

   process and the alleged lack of meaningful choice; the substantive element looks to the content of

   the contract, per se.” Id. (internal citations omitted) (emphasis added). Here, there is neither

   procedural nor substantive unconscionability.

           Plaintiff contends that the arbitration agreement is procedurally unconscionable because it

   is an employment contract of adhesion, but this argument has already been considered by courts

   and universally rejected. “A contract or clause is unconscionable when there is an absence of


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   meaningful choice on the part of one of the parties together with contract terms which are

   unreasonably favorable to the other party.” Desiderio v. National Ass'n of Sec. Dealers, Inc., 191

   F.3d 198, 207 (2d Cir. 1999); see also, Isaacs v. OCE Bus. Servs., Inc., 968 F. Supp. 2d 564, 570

   (S.D.N.Y. 2013) (“[I]t is well accepted under New York law that it is not unconscionable to be

   bound by an arbitration agreement in the course of securing employment. Moreover, the fact that

   there is inequality in bargaining power between an employer and a potential employee is not a

   sufficient reason to hold that arbitration agreements are not enforceable in the employment context.

   Therefore, the fact that [the employer] unilaterally drafted the Policy and required the plaintiff to

   sign the Policy as a condition of his employment does not in itself render the Policy

   unconscionable.”) (Internal citations omitted).3 That Plaintiff subjectively believed he would have

   lost his opportunity to work for Claimant if he did not sign the arbitration agreement does not

   support a finding of procedural unconscionability. See Maity v. Tata Consultancy Servs., Ltd.,

   2021 WL 6135939, at *7 (D.N.J. Dec. 29, 2021).

           In addition, contrary to Plaintiff’s assertions, he was not coerced into signing the agreement

   with high-pressure tactics. ACS sent Plaintiff the Amended Agreement on January 4, 2022 “for

   [his] perusal” with a message letting him know that a conference call would be scheduled in the

   following week to go over it. Additionally, the cover letter attached with the agreement expressly

   invited Plaintiff to ask questions by phone or email before signing and to sign only if he had no

   questions. Id. The cover letter to the Amended Agreement also highlighted the key differences



   3
     Even in instances where non-English speakers were told to sign an agreement without providing a
   translation, New York courts have refused to find the agreements procedurally unconscionable. See Suqin
   Zhu v. Hakkasan NYC LLC, 291 F. Supp. 3d 378, 391 (S.D.N.Y. 2017) (“Plaintiffs do not allege that they
   ever tried to negotiate the terms of the Agreement or that Defendants prevented them from doing so; that
   Plaintiffs requested and were denied a translated version of the Agreement or the opportunity to review it;
   or that Defendants used high-pressure or coercive tactics.”). Here, Plaintiff is a fluent English speaker,
   which cuts against any finding of unconscionability.


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   between the original contract and the amended agreement, including the elimination of liquidated

   damages, making clear that in the event of breach, the contract “allows for recovery of whatever

   damages are proven”. Id. Plaintiff chose not to ask any questions or wait for the conference call.

   Instead, Plaintiff signed the agreement on the same day that he received it and emailed it back to

   ACS. Plaintiff’s contention that he had no bargaining power is palpably false. While he elected

   not to engage in those discussions, he was demonstrably able to negotiate the terms of his

   employment because on January 13, 2022, Plaintiff requested that his facility assignment be

   changed to Downtown Brooklyn, New York and ACS granted Plaintiff’s requested assignment.

   (Luy Decl., Ex. F)

          Although the absence of procedural unconscionability is sufficient to reject Plaintiff’s

   claim that the arbitration agreement is unconscionable, see Nayal, 620 F.Supp.2d at 571 (S.D.N.Y.

   2009), Plaintiff also has failed to demonstrate that the arbitration agreement is substantively

   unconscionable. Plaintiff’s assertion that the terms of the agreement are substantively

   unconscionable is without merit, having previously been considered and rejected by courts.

                          a. The fee shifting provisions are not unconscionable.

          Plaintiff’s claim that the arbitration agreement’s prevailing-party (“loser pays”) provision

   violates federal or state wage and hour or trafficking laws are meritless. To begin with, Plaintiff’s

   arguments are premised upon incurring arbitration costs and fees, which is false. Not only has ACS

   paid the filing fee, but the Arbitrator has determined (and ACS had already stipulated) that the

   AAA’s Employment Rules apply. Those rules require the employer to pay the arbitrator’s

   compensation unless the employee or individual, post dispute, voluntarily elects to pay a portion




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   of the arbitrator’s compensation.4 As a result, Plaintiff has not and will not incur fees for the AAA’s

   administration and the arbitrator’s consideration of the case.

             Plaintiff’s arguments premised on the attorney fee shift in the Revised DRP are similarly

   unpersuasive. In fact, controlling authority holds otherwise. NetJets Aviation, Inc. v. LHC

   Commc'ns, LLC, 537 F.3d 168, 175 (2d Cir. 2008)(“Under New York law, a contract that provides

   for an award of reasonable attorneys' fees to the prevailing party in an action to enforce the contract

   is enforceable if the contractual language is sufficiently clear.”); Saizhang Guan v. Uber Techs.,

   Inc., 236 F. Supp. 3d 711, 732 (E.D.N.Y. 2017)(rejecting an attack on arbitration based on fee-

   splitting because the challenge was limited to a review of the potential costs for “the arbitration of

   enforceability”)(quoting Rent–A–Center, West, Inc. v. Jackson, 561 U.S. 63, 74 (2010));

   Eyewonder, Inv. v. Abraham, No. 08 CV 3579 (GBD), 2010 WL 3528882, at *4 (S.D.N.Y. Sept.

   3, 2010) (“The arbitrator was within his power under the Employment Agreement to shift all costs

   and did not exceed his authority by permitting Plaintiff to recover monies it spent on attorneys'

   fees in the arbitration, and arbitration costs and fees.”)

                            b. Wage and Hour laws do not bar ACS’s claim here.

             Plaintiff’s arguments about wage and hour law are without merit. Indeed, New York courts

   have found that even termination fees imposed by employment agreements did not constitute

   illegal kickbacks under the Fair Labor Standards Act (“FLSA”). See Park v. FDM Grp., Inc., 2018

   WL 4100524, at *4 (S.D.N.Y. Aug. 28, 2018).

             None of the cases cited by Plaintiff support his claim that the cost-shifting provision of the

   arbitration agreement violates the Fair Labor Standards Act or New York wage and hour law.

   Indeed, the cases cited by Plaintiff are inapposite to the facts in this case. Unlike the employers in



   4
       See, https://www.adr.org/sites/default/files/Employment_Group_Filing_FeeSchedule.pdf


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   cases cited by Plaintiff, ACS is not trying to deduct costs that are primarily for its benefit from

   Plaintiff’s wages. Instead, ACS is seeking lawful damages, as determined by the Arbitrator, for

   Plaintiff’s breach of contract. Moreover, Plaintiff’s argument that the damages alleged in ACS’s

   breach of contract claim arose from issues that primarily benefitted ACS is specious. The damages

   at issue arise out of ACS’s expenditures pertaining to, among other things, Plaintiff a Green Card

   and license to work as a Registered Professional Nurse in New York. While ACS would benefit

   from Plaintiff being able to work during the circumscribed term of the agreement, Plaintiff would

   benefit from his New York license and the access to the U.S. job market provided by his Green

   Card for the rest of his life.

           Similarly, Plaintiff has not cited a single case that states that a prevailing party fee-shifting

   provision is unenforceable in a breach of contract case involving the employee’s breach. The cases

   Plaintiff cites are, again, inapposite, involving cases initiated by employees to enforce statutory

   rights. For instance, Plaintiff cites to Smith v. AHS Oklahoma Heart, LLC, 2012 WL 3156877, at

   *4 (N.D. Okla. Aug. 3, 2012), which found “the arbitration clause requires Plaintiff to pay

   Defendant's attorneys’ fees if she does not prevail, which is inconsistent with Plaintiff's statutory

   rights under Title VII and the EPA.” Again, this is not the case here because Title VII and the EPA

   aren’t at issue; ACS is seeking to enforce a breach of an employment agreement.5



   5
     Although ACS contends that there is no reason to sever the fee-shifting provision, its presence does not
   render the agreement unconscionable because it can be severed from the arbitration agreement if necessary.
   Courts have found that fee-shifting provisions are not essential to the bargain and that severance is proper
   when warranted. See Smith v. AHS Oklahoma Heart, LLC, No. 11-CV-691-TCK-FHM, 2012 WL 3156877,
   at *4 (N.D. Okla. Aug. 3, 2012) (noting “severance was proper, even in absence of severability clause,
   because “the primary purpose of the arbitration bargain ... was not to regulate costs or attorney's fees” but
   instead “was designed to provide a mechanism to resolve employment-related disputes.”). Just as in Smith,
   the purpose of the arbitration agreement is to set a mechanism to resolve employment disputes. Unlike
   Smith, the Revised DRP contains an express severability clause. Therefore, even if the fee-shifting were
   deemed unenforceable, it would not render the agreement unconscionable because it can readily be severed
   from the rest of the arbitration agreement if the arbitrator deems that appropriate. See Valle v. ATM Nat.,
   LLC, 2015 WL 413449, at *7 (S.D.N.Y. Jan. 30, 2015) (finding the appropriate remedy is to sever the


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                           c. Plaintiff’s TVPA argument does not bar arbitration.

           Plaintiff attempts to vilify ACS by accusing it of engaging in modern-day slavery. His

   arguments are baseless.

           “Forced Labor” is prohibited by 18 U.S.C. § 1589. Through this statute:

           Congress intended to address serious trafficking, or cases where
           traffickers…restrain their victims without physical violence or injury, or
           threaten dire consequences by means other than overt violence. According to the
           statute, the threat, considered from the vantage point of a reasonable person in the
           place of the victim, must be “sufficiently serious” to compel that person to remain.

   United States v. Dann, 652 F.3d 1160, 1170 (9th Cir. 2011) (emphasis added). There are no

   allegations of any threat of violence, so that is no concern here. Instead, Plaintiff argues he was

   coerced through threatened use of the legal process. He fails on that front.

           “Abuse or threatened abuse of law or legal process” is defined as: “[T]he use or threatened

   use of a law or legal process, whether administrative, civil, or criminal, in any manner or for any

   purpose for which the law was not designed, in order to exert pressure on another person to cause

   that person to take some action or refrain from taking some action.” 18 U.S.C. §1589(c)(1)

   (emphasis added). Thus, § 1589(c)(1) prohibits use of the legal system for a reason it is not

   otherwise meant to be used. Dann, 652 F.3d at 1170; see United States v. Toviave, 761 F.3d 623,

   625 (6th Cir. 2014). Thus, Plaintiff’s persistent assertion that ACS is trying to weaponize

   arbitration is unavailing. Using a tool for its intended purpose does not weaponize it. Using a

   hammer to drive a nail or a wrench to turn a bolt does not turn them into weapons. Similarly, using

   a federally authorized and encouraged dispute resolution tool to resolve a contract dispute, which

   is what ACS’s effort to arbitrate its breach of contract claims against Plaintiff involves, does not

   transform that arbitration into an “abuse of process” weapon. See Dann and Toviave, supra.


   improper “loser pays” provision of the arbitration agreement and not to invalidate the entire arbitration
   provision).


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           Panwar v. Access Therapies, Inc., provides a counterpoint to this case. 2015 WL 1396599,

   at *5 (S.D. Ind. Mar. 25, 2015). In Panwar, the plaintiffs signed employment agreements and

   promissory notes requiring them to repay their employer for expenses and lost revenue if they

   resigned before the term of the agreement was completed. See id. at * 2. The court dismissed the

   “forced labor” claims, explaining:

           [The] [p]laintiffs conflate the “use” of legal process with the “abuse” of legal
           process…. [A]buse of legal process requires a finding that the legal process has
           been utilized to achieve an end other than one which the process was designed to
           accomplish. The motive behind such action is irrelevant.

           ***

           …[F]iling lawsuits against employees who breached their employment contracts is
           exactly the end that the legal process at issue was designed to accomplish. It is not
           an abuse of legal process to enforce valid contractual rights against individuals who
           no longer wish to be bound by the terms of an agreement they voluntarily signed.
           By [the] [p]laintiffs' logic, any pursuit of damages for breach of contract would
           constitute an abuse of process, which would be an absurd outcome. Thus, the Court
           concludes that…the enforcement of contract rights [did not] constitute[] an “abuse
           of law or legal process” for purposes of TVPA liability.

   Id. at * 5 (citations omitted).

           Baldia v. RN Express Staffing Registry LLC, also provides a meaningful contrast to the

   current case. 2022 WL 4777836 (S.D.N.Y. Oct. 3, 2022). Similar to this case, the defendant in

   Baldia recruited Filipino nurses to work in New York. 2022 WL 4777836 *1. Applying a vastly

   different standard than the irreparable harm/success on the merits standard here, the Baldia court

   denied the employer’s motion to dismiss on two grounds that are absent in this case. First, the

   employment agreement at issue in Baldia contained both liquidated damages and promissory note,

   which the court found potentially coercive. Id. at *7-9. ACS removed similar provisions when it

   asked Plaintiff to sign the Amended Agreement before starting work in New York. Baldia also

   recognized that the threat of deportation may qualify as abuse of legal process. Id. at *10, citing




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   Adia v. Grandeur Mgmt., Inc., 933 F.3d 89, 93 (2d Cir. 2019); Aguirre v. Best Care Agency, Inc.,

   961 F. Supp. 2d 427, 444 (E.D.N.Y. 2013).There is no evidence of any such threat in this matter.

           Plaintiff’s comparison of this case to Paguirigan v. Prompt Nursing Emp. Agency LLC,

   2019 WL 4647648 (E.D.N.Y. Sept. 24, 2019), is grossly inapposite.6 As a preliminary matter,

   Paguirigan does not even prohibit recovery of liquidated damages from an employee, stating, “of

   course, there is no prohibition against defendants placing a valid liquidated damages provision in

   their contracts.” Id. at *17 (emphasis added). In Paguirigan, the court found that the employer

   violated the Trafficking Victims Protection Act because of multiple actions that together were

   tantamount to holding a proverbial gun to workers’ heads. Those actions included (a) continuing

   to impose a $25,000 contract termination fee after a judge had already ruled against it, (b) forcing

   workers to sign a $25,000 confession of judgment in favor of their employers, (c) filing lawsuits

   against workers claiming damages of $250,000, and (d) criminally prosecuting workers who quit.

   See 286 F. Supp. 3d 430, 435 (E.D.N.Y. 2017). While none of those things is true in this case,

   Plaintiff contends that ACS’s arbitration demand constitutes a more egregious example of human

   trafficking because ACS is seeking an opportunity to prove liability and damages in the arbitration

   hearing. He overstates his case.

           The other trafficking cases cited by Plaintiff involve disproportionate liquidated damages

   and other transgressions that are also easily distinguishable from this case. For example: NY

   Attorney       General         Investigation       of       Albany        Med        Health        System,

   https://ag.ny.gov/sites/default/files/albany_med_aod_no._22-058_-_fully_executed_9.13.22.pdf



   6
     The NYAG’s reference to Paguirigan in its letter to the AAA reveals that the NYAG is accepting
   Plaintiff’s counsel’s representation of the facts at face value without determining whether or not Plaintiff
   was subject to a liquidated damages provision or some other contract termination fee, whether he was sued
   for a large sum certain of money, or whether he was the subject of criminal prosecution like Paguirigan.
   Mr., Vidal was not, so the NYAG’s concerns are not applicable to this case.


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   (“The employment contract provided to these nurse recruits faced mandatory repayment provisions

   that obligated payments between $10,000 to $20,000 and threatened reporting to immigration

   authorities upon non-compliance.” No comparable facts are present here.) Magtoles v. United

   Staffing Registry, Inc., is similarly distinguishable. 2021 WL 6197063, at *1 (E.D.N.Y. Dec. 30,

   2021). Unlike the case before the court, that matter involved a liquidated damages provision that

   required employees to pay up to $90,000 and threats the employer would report a change in

   employment status to immigration authorities and face possible deportation. Id. Again, are no

   comparable facts are present here.7

           F. There is no “serious question” warranting a stay.

           Plaintiff contends that if the court is not able to resolve the question of Likelihood of

   Success on the Merits in his favor, an injunction should still issue because of “serious questions”

   about the arbitrator’s authority warrant an injunction. He is mistaken.

           In this regard, the Plaintiff’s reliance on Citigroup Global Markets v. VCG Special

   Opportunities Master Fund Unlimited, 598 F.3d 30 (2d Cir. 2010), is misplaced. While that case

   sets forth an oft-quoted recitation of the appropriate test for determining whether a preliminary

   injunction is warranted, including support for the “serious question” basis for granting injunctive

   relief, its usefulness is limited because that case is so factually inapposite. Instead of an agreement

   directly between an employee and an employer, that matter dealt with a complex credit default

   swap transaction between a hedge fund, a brokerage service, and a third party that resulted in a



   7
      Interestingly, the presence of a liquidated damages clause should not be considered per se an
   unenforceable penalty. In fact, the opposite is true. Although 20 CFR § 655.731(c)(10)(i) (A) prohibits
   imposition of a “penalty” on H-1B non-immigrant workers, subsection (B) specifically approves of
   liquidated damages in that context, and subsection (C) explains that whether a set sum is an appropriate
   liquidated damages amount vs penalty is to be determined by state law. H-1B non-immigrant workers have
   no lawful permanent status in the United States, so they are more vulnerable to such provisions. By contrast,
   Vidal has a green card (Lawful Permanent Resident status) and is free to work where he wishes.



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   claim for $10,000,000. 598 F.3d at 32. In addition to a suit between the parties to the credit default

   swap agreement, the hedge fund also initiated arbitration against the brokerage service provider

   before FINRA. Id. In response, the brokerage service provider sought an injunction to stay the

   FINRA arbitration pending the outcome of the suit between the parties to the credit default swap.

   Id. In affirming the utility of the “serious question” basis for granting an injunction, the court

   observed: “The value of this circuit’s approach to assessing the merits of a claim at the preliminary

   injunction stage lies in its flexibility in the face of varying factual scenarios and the greater

   uncertainties at the outset of particularly complex litigation.” Id. at 35.

           Clearly this matter is far from that presented to the court in Citigroup Global Markets.

   Instead of two competing suits between three parties before different forums, this matter involves

   the straightforward breach of an employment agreement between two parties in a single forum.

   Plaintiff’s reliance on Trump v. Vance also misses the mark because it is also completely

   inapposite. 941 F.3d 631 (2d Cir. 2019), aff'd and remanded, 207 L. Ed. 2d 907, 140 S. Ct. 2412

   (2020)(matter of first impression regarding presidential immunity and enforcement of grand jury

   subpoena). The same holds true for Gingras v. Think Fin., Inc., 922 F.3d 112 (2d Cir.

   2019)(addressing an issue of first impression regarding tribal sovereign immunity and an

   arbitration agreement designed to avoid federal and state consumer protection laws through

   application of tribal law). The fact that Plaintiff clearly does not want to arbitrate this matter does

   not convert the breach of contract claim into a “serious question” warranting an injunction, even

   if the arbitrator will consider Plaintiff’s other claims in the process.

           G. Balance of Equities

           Plaintiff argues that the balance of the equities weigh in his favor. He is wrong.

           Plaintiff has received the benefit of his bargain. He was assisted and underwritten through

   the visa sponsorship and licensing process. Once that was process was completed, he was flown


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   to the United States, provided grocery money, a transit card, a rent subsidy, and a job paying above

   prevailing wage, as well as other meaningful employment benefits. Rather than comply with his

   part of the bargain to remain employed by ACS for three years, he reneged on his agreement after

   only three months and used the Green Card and New York license ACS helped him secure to find

   another, better paying job. He clearly made a cost-benefit analysis that he could earn more money

   elsewhere and that difference would cover any consequences of his breach because he agreed to

   pay what was due in his resignation. Apparently he now regrets the cost benefit analysis he

   performed. That he does not want to suffer the consequences of that naked breach, however, does

   not tip the balance of equities in his favor. Rather, ACS should be able to advance its claims

   through the agreed-upon arbitration process in a timely fashion.

          H. Public Interest.

          Plaintiff argues that the public interest weighs in favor of granting this requested injunction.

   Again, he misses the mark.

          There is no public interest in preventing ACS from arbitrating its breach of contract claim

   against Plaintiff. To the contrary, the only interest is Plaintiff’s personal interest in avoiding the

   pecuniary consequences of his breach.

          The fact that his attorneys appear to have prevailed on the NYAG to send letters to the

   AAA does not alter this conclusion. As set forth previously, the NYAG was self-evidently

   prompted to send those letters based on the distorted portrayal of the underlying facts. In the

   absence of any action by the NYAG based on a complete understanding of the underlying facts,

   no determination of a public interest in barring arbitration plaintiff’s breach should be found.

   Instead, his personal interest in avoiding the consequences of his breach should give way to the

   well-settled public interest in enforcing arbitration agreements.




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          Contrary to Plaintiff’s arguments, well-settled case law mandates that the public interest

   would be better served by denying the requested injunctive relief and directing the parties to

   proceed through arbitration. To begin with, the Second Circuit has held that employment-related

   civil rights claims are arbitrable. Daly, 939 F.3d at 422; Gilbert v. Indeed, Inc., 513 F. Supp. 3d

   374, 396–97 (S.D.N.Y. 2021). Indeed, Southland Corp. v. Keating, 465 U.S. 1, 16, 104 S.Ct. 852,

   79 L.Ed.2d 1 (1984), foreclosed any such argument. “The Federal Arbitration Act rests on the

   authority of Congress to enact substantive rules under the Commerce Clause” and “[i]n enacting

   § 2 of the federal Act, Congress declared a national policy favoring arbitration and withdrew the

   power of the states to require a judicial forum for the resolution of claims which the contracting

   parties agreed to resolve by arbitration.” Id. at 10-1. Thus, Congress intended to foreclose attempts

   to undercut the enforceability of arbitration agreements.” Id. at 16. See also, White v. WeWork

   Cos., Inc., 2020 WL 3099969, at *5 (S.D.N.Y. June 11, 2020) (holding that CPLR § 7515 was

   preempted by FAA); Latif v. Morgan Stanley & Co. LLC, 2019 WL 2610985 (S.D.N.Y. June 26,

   2019) (same).

          The Supreme Court addressed other challenges to the FAA based on purported statutory

   conflicts in Epic Systems Corp. v. Lewis, 138 S. Ct. 1612, 1619, 200 L. Ed. 2d 889 (2018). There

   the Court squarely addressed the question: “Should employees and employers be allowed to agree

   that any disputes between them will be resolved through one-on-one arbitration?” Id. In the face

   of a variety of asserted statutory conflicts to arbitration, the Court observed: “Not only did

   Congress require courts to respect and enforce agreements to arbitrate; it also specifically directed

   them to respect and enforce the parties' chosen arbitration procedures.” 138 S. Ct. at 1621 It also

   noted, “[i]n many cases over many years, this Court has heard and rejected efforts to conjure

   conflicts between the Arbitration Act and other federal statutes. In fact, this Court has rejected




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   every such effort to date . . . .” 138 S. Ct. at 1627. Against that background, the Court concluded:

   “The policy may be debatable but the law is clear: Congress has instructed that arbitration

   agreements like those before us must be enforced as written.” 138 S. Ct. at 1632.

            In view of the foregoing, Plaintiff’s argument that ACS’s breach of contract claim should

   not be arbitrated because of potential conflicts with the Trafficking Victim Protection Act or

   federal and state wage and hour issues should be rejected. In the absence of an express

   Congressional exception to the arbitrability of Plaintiff’s purported TVPA or wage and hour

   claims, their presence is no impediment to arbitration of Defendant’s breach of contract claim. To

   the contrary, the breadth of the arbitration agreement, especially the express language that “should

   there be arbitration proceedings in accordance with this Provision, [Mr. Vidal] would be free to

   pursue all available substantive or procedural rights or remedies in such arbitration proceedings,”

   weighs against an injunction and in favor of unimpeded arbitration of both ACS’s claims and

   Plaintiff’s purported defenses and counterclaims.8




   8
     As an apparent “Hail Mary” pass, Plaintiff argues that an injunction is warranted under the All Writs Act. This effort
   is out of bounds. The Supreme Court has stated that the All Writs Act empowers courts to issue extraordinary writs
   “as may be necessary or appropriate to effectuate and prevent the frustration of orders it has previously issued.” United
   States v. Int’l Blvd. of Teamsters, Chauffeurs, Warehousemen & Helpers of Am., AFL-CIO, 907 F.2d 277 (2d Cir.
   1990) quoting United States v. New York Tel., 434 U.S. 159, 172 (1977). Unlike Int’l Blvd. of Teamsters, however,
   the District Court does not need to take action pursuant to the All Writs Act here because there are clear alternative
   procedures available for Plaintiff to obtain the relief that he seeks. Specifically, the arbitration to which he agreed to
   submit any such claims. His attempt to avoid the application of a mandatory arbitration provision in an employment
   agreement is not an “exceptional circumstance” under the All Writs Act. The other cases cited by the Plaintiff also
   fail to support resort to the All Writs Act here. In re American Honda Motor Co., Inc., Dealerships Relations
   Litigation, 315 F.3d 417 (4th Cir. 2003)(affirming denial of potential double recovery when the settlement agreement
   remained in the court's exclusive jurisdiction); In re American Express Financial Advisors Securities Litigation, 672
   F.3d 113 (2d Cir. 2011)( the arbitration enjoined because claims barred by the settlement agreement); Allstate Ins. Co.
   v. Elzanaty, 929 F. Supp. 2d 199 (E.D.N.Y. 2013)(“It is no doubt unwise for a Court to simply step in and stay a
   contractually deserved arbitration merely because the Court sees a potentially more efficient use of time and resources
   by litigants, arbitrators, and judges. This is undeniably a slippery slope.”).


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   CONCLUSION

          For the reasons set forth herein and supported by the accompanying evidence, the

   Plaintiff’s motion for a stay of the arbitration should be denied in its entirety and the parties

   directed to complete the pending arbitration in a timely fashion.



    Dated: February 8, 2023                    FordHarrison, LLP

                                               Counsel for Claimant Advanced Care Staffing, LLC


                                               By:                                                 .
                                                          Sami Asaad
                                                          Craig Dickinson
                                                          Marissa Vitolo
                                                          CityPlace II
                                                          185 Asylum Street, Suite 820
                                                          Hartford, CT 06103
                                                          Tel #: 860-740-1357
                                                          Fax #: 860-740-1397
                                                          Email: sasaad@fordharrison.com
                                                                 cdickinson@fordharrioson.com
                                                                 mvitolo@forharrison.com




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                                    CERTIFICATE OF SERVICE

          This is to certify that on the 8th day of February a copy of the foregoing was filed

   electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing

   will be sent by e-mail to all parties by operation of the Court’s CM/ECF electronic filing system.



                                                                 /s/ Sami Asaad
   .                                                             Sami Asaad




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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 Benzor Shem Vidal,

                        Plaintiff,                  Civ. Action. No. 1:22-cv-05535-NRM-MMH
        -against-                                   DECLARATION OF MAUREEN LUY
 Advanced Care Staffing, LLC

                        Defendant.



        I, Maureen Luy, hereby depose and state under oath as follow.

        1.      I am over the age of eighteen and believe in the obligation of an oath.

        2.      I am employed by Advanced Care Staffing, LLC (“Advanced Care”) in the role of

 Director of Recruitment. I have been employed with Advanced Care for twelve years.

        3.      Attached as Exhibit A is a true and accurate copy of the Employment Agreement

 between Benzor Shem R. Vidal and Advanced Care on May 8, 2019 (the “Original Agreement”).

        4.      Attached as Exhibits B1- B7 are true and accurate copies of the email with original

 attachments that Advanced Care sent to Mr. Vidal on January 4, 2022 regarding, among other

 things, the Amended Employment Agreement and cover letter explaining the amendments. The

 individual exhibits are as follows:

                    a. Exhibit B1 is a true and accurate copy of the January 4, 2022 email to Mr.

                        Vidal;

                    b. Exhibit B2 is a true and accurate copy of the January 4, 2022 letter attached

                        to the email that explains some of the amendments in the Amended and

                        Restated Employment Agreement;




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                  c. Exhibit B3 is a true and accurate copy of the January 4, 2022 letter to Mr.

                      Vidal, attached to the email, stating that Advanced Care “unconditionally

                      waives, cancels, and releases” the promissory note the Mr. Vidal made to

                      Advanced Care pursuant to the Prior Agreement;

                  d. Exhibit B4 is a true and accurate copy of Advanced Care’s Quick Guide for

                      Sponsored Nurses, which was attached to the email;

                  e. Exhibit B5 is a true and accurate copy of the Introductory Guide to Skilled

                      Nursing Facilities, which was attached to the email;

                  f. Exhibit B6 is a true and accurate copy of the Amended and Restated

                      Employment Agreement with Schedule A, which was attached to the Email;

                      and

                  g. Exhibit B7 is a true and accurate copy of Schedule B to the Amended and

                      Restated Employment Agreement, titled “Dispute Resolution Provision,”

                      which was attached to the email.

        5.     Attached as Exhibit C is a true and accurate copy of the fully executed Amended

 and Restated Employment Agreement, signed by Mr. Vidal on January 4, 2022.

        6.     Attached as Exhibit D is are true and accurate copies of the email communications

 between Mr. Vidal and Joel Rosalio on January 4, 2022.

        7.     Attached as Exhibit E are true and accurate copies of email communications

 between Mr. Vidal and Advanced Care on January 6, 2022 and January 10, 2022.

        8.     Attached as Exhibit F is a true and accurate copy of Mr. Vidal’s email dated January

 13, 2022.




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                                                                         9.      Attached as Exhibit G are true and accurate copies of Mr. Vidal ' s email

                                                                communications with Advanced Care on June 15, 2022.

                                                                         10.     Attached as Exhibit H is a true and accurate copy of Mr. Vidal' s resume that he

                                                                submitted to Advanced Care.

                                                                         11.     Attached as Exhibit I are true and accurate copies of Mr. Vidal's transcript from
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                                                                CEBU Doctors' University with related diplomas and certificates.

                                                                         12.     Attached as Exhibit J is a true and accurate copy of the Application for Prevailing

                                                                Wage Determination that Advanced Care submitted to the United States Citizenship and

                                                                Immigration Services on behalf of Mr. Vidal with the Immigrant Petition for Alien Worker, Form

                                                                1-140.

                                                                         13.     Attached as Exhibit K is a true and accurate copy of the Wage Statement showing

                                                                the history of compensation that Mr. Vidal earned while employed by Advanced Care prior to his

                                                                resignation.

                                                                         14.    The foregoing documents and email communications were created and maintained

                                                                in the regular course of Advanced Care's business, and the preparation and retention of such

                                                                materials is a regular practice of the company.



                                                                         I declare w1der penalty of perjury that the foregoing is true and correct.

                                                                         Executed on February 8, 2023.




                                                                                                                Maure~




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                                                                    ....
                                                               Advancedcare

                                                                                             0 8 MAY 2019.
  This Employment Agreement (the "Agreement") is hereby made this date _ _ _ _ _ _ __, by and between
  Advanced Care Staffing, LLC, 1000 Gates Avenue, Suite 5B, Brooklyn, NY 11221, United States of America (the
  "Employer"), and S-e r1 ko r ~~ e l'l' R- V, c1o. I                               , a Registered Professional Nurse and current resident
  of '21 l{·,i.a I Avu,~e tzyteru·, or1 Me,,r\'11.?a_l,nj Ce.b"' C'1 1JJ 1 Ct'.' 1::1..A, fh;j . , (the "Employee").

                                                              WITNESSETH:

  WHEREAS, Employer is a healthcare staffing agency in the business of recruiting and deploying healthcare professionals
  to contracted medical facilities;

  WHEREAS, Employer has determined that there is an insufficient number and shortage of Registered P rofessio na I
  Nurses to meet the present and future needs of its contracted medical facility providing skilled nursing and
  rehabilitation to elderly and infirmed residents; and,

  WHEREAS, Employer has determined that as a result of said shortage, it must recruit Registered Professional Nurses
  outside of the United States in order to be properly staffed; and,

  W HEREAS, Employee is a Registered Professional Nurse having received a bachelors degree in nursing from an
  accredited university; and,

  WHEREAS, Employee has promised that he or she will exhaust all means necessary-and in a timely manner-to obtain
  and maintain a Visa Screen certificate from the Commission on Graduates of Foreign Nursing Schools Certification
  Program, and obtain and maintain an unrestricted license to practice Nursing in the State of New York, Connecticut, New Jersey
  or Florida;


  W HEREAS, the Employee hereby confirms and affirms that he or she is not bound by any other employment agreement
  with any other Employer.

  WHEREAS, if the Employee has a pending or approved Form 1-140 petition filed by another employer/petitioner, the
  Employee affirms and confirms that he or she no longer wishes to pursue employment with such employer/petitioner.

  WHEREAS, Employee desires to relocate to the State of New York, Connecticut, New Jersey or Florida in the United
  States of America and desires to become employed and receive remuneration and benefits from Employer;

  WHEREAS, Employee shall accept Employer's assigned contracted medical facility; and

  W HEREAS, Employee shall accept any shift assigned made by the assigned contracted medical facility in accordance
  with the contract between the medical facility and the Employer.

  WHEREAS, Employer will shoulder the following fees and costs: attorney fee, USCIS and NVC filing fees, RN State
  licensing fees, Visa Screen fee, credentialing fee, and medical examination fee, excluding any and all fees for
  dependents.

  WHEREAS, Employee understands that the approval or disapproval of the petition rests solely upon the discretion of
  the USCIS and that, Employer makes no representations and warranties that said petition will be approved by USCIS, or
  that the USCIS will act one way or the other on the petition. WHEREAS, Employee holds the Employer free and harmless
  from liability whatsoever in the event the petition is disapproved by the USCIS or for any reason the Employee is
  prevented from lawfully staying or working in the USA.

  WHEREAS, Employee is able to read, write, and understand English proficiently and with ease, and has read and
  understood this entire Agreement; and,


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                                                                                                             AdvancedCare

  WHEREAS, Employee has been given a reasonable and sufficient opportunity to consider this Agreement and to consult
  with his or her own attorney prior to executing this Agreement; now:

                                       EMPLOYER AND EMPLOYEE DO HEREBY AGREE AS FOLLOWS:

        I.          Job Duties and Requirements

  1.    The Employer agrees to employ the Employee in accordance with the terms of this agreement as a Registered
        Professional Nurse and the Employee agrees to accept such employment.

  2.    Employee shall exhaust all means necessary to obtain and maintain a Visa Screen Certificate from the
        Commission on Graduates of Foreign Nursing Schools (CGFNS) and as soon as practicable obtain and maintain
        an unrestricted license to practice Nursing in the State of New York, Connecticut, New Jersey or Florida.

  3.    The Employee 1s job duties are generally described as follows: Provide general nursing care to patients in a
        rehabilitation and health care center. Administer prescribed medications and treatments in accordance with
        approved nursing techniques. Prepare equipment and aid physician during treatments and examinations of
        patients. Observe patient, record significant conditions and reactions, and notify supervisor or physician of
        patient's condition and reaction to drugs, treatments, and significant incidents. Take temperature, pulse,
        blood pressure, and other vital signs to detect deviations from normal and assess condition of patient.
        Employee may also be required to make beds, bathe, and feed patients and shall perform such other duties
        associated with thejob of a Registered Professional Nurse as may be assigned to him/her by the Employer.

  4.    Employee agrees to devote his/her professional efforts in the full time practice of Nursing exclusively to the
        interest of the Employer. Employee shall devote his/her utmost knowledge and best skill to the care of such
        patients entrusted to him/her. Employee shall conduct himself/ herselfin strict conformance to the principles
        of medical ethics and standards of the healthcare profession and its governing bodies.

  5.    Other than for Employer herein, Employee agrees not to engage in the practice of Nursing, or in any other
        occupation, for any other company, facility, hospital, entity or private individual during the time of his or her
        employment. This exclusivity provision is binding upon the Employee immediately signing this agreement.

  6.    Employee agrees to comply with all policies, standards_, and procedures of Employer and assigned contracted
        medical facility, which shall, from time to time, be reasonably promulgated.

  7.    Employer may mandate additional shifts where the nature of the work requires continuous operation and
        the stoppage of work may result to deficiency in quality of nursing care. Employer will assign the unit that the
        nurse will perform his/her duties in.

  8.    Employer has the right at its sole discretion to transfer this agreement to any of its affiliates.
        II.    Wages, Hours, Work Days, and Benefits

  9.    As of the Commencement Date, Employee will be paid a base salary in accordance with the prevailing wage
        for the geographic area in which the employee is assigned to work, as determined by the National Prevailing
        Wage and Helpdesk Center (NPWC) of the United States Department of Labor.

  10. All compensation paid to Employee by Employer shall be subject to customary withholding and employment
      taxes as required by law.

  11. On or before the beginning of each work week, or as soon as thereafter practical, the Employer, at its
                                                                                       11
      discretion, will schedule the Employee to work on one of the following three (3) daily shifts":

                    7:00 a.m. to 3:00 p.m.
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                                                                                                                   AdvancedCare

                   3:00 p.m. to 11:00 p.m.
                   11:00 p.m. to 7:00 a.m.

       The Employee will be paid the base pay in accordance to item# 9 in one of the following three (3) "daily shift".
       The Employee will be given unpaid meal period during each work shift .

       The Employee shall work on full-time over a fifty-two (52) week year. The Employee shall be required to work
       on an alternate weekend, both Saturday and Sunday. The Employee must render at least five (5) shifts and will
       be given two (2} rest days in a week by the Employer.

  12. Employees will be subject to performance reviews by Employer on a yearly basis. After each performance
       review, the Employer, at its discretion, and subject to Employees performance in his/her job duties, may
       increase the hourly wage described in paragraph 9up to three percent (3%) yearly to cover additional cost of
       living expenses.

  13. Vacation Benefits - All full time employees accrue five (5) days of vacation. Vacation will be granted as approved
      by your supervisor and can be used by the Employee starting from one year work anniversary date.

  14. Holiday Benefits- Employee is entitled to time and a half when they report for work on the designated holidays
      recognized by the Employer and contracted medical facility where they are assigned. Because we provide care 24
       hours per day, 7 days per week, you may be scheduled to work on a holiday based on overtime rate defined
       by the Department of Labor's State of employment.

  15. Sick Pay Benefit -An Employee accrues sick leave at the rate of one (1) hour for every 30 hours
      worked, up to a maximum of 40 hours of sick leave per calendar year. Because Sick Pay is designed to
       be used as income protection in the event of an extended illness or accident, it cannot be cashed out at the
       end of the year or at the time of termination. Medical documentation will be required from a licensed health
       care provider when used for more than three {3) consecutive days.

       Ill.        Employer Responsibilities, Termination of Agreement, and other Miscellaneous Items

  16. Employer is willing to take all necessary steps to sponsor the Employee as a Registered Nurse in order to obtain
       an immigrant visa for the Employee to enter the United States to be employed as contemplated herein.

  17. Employer shall furnish to Employee all of the necessary equipment, facilities, and supplies for Employee to
      practice Nursing, together with appropriate assistance from trained technicians, doctors, or office staff. The
      cost of providing these support services shall be borne solely by Employer. However, it is understood by
      Employee and Employer that, all instruments and equipment furnished to or for Employee by Employer shall
      at all times remain the property of Employer. Employer shall exercise direction over and give support to
      Employee in regard to standards, policies, record keeping, and treatment procedures. During the term of this
      agreement, Employer shall, at Employer's expense, obtain and maintain professional malpractice insurance
      to cover liabilities of both Employer and Employee resulting from the practice of Nursing by Employee on
       behalf of Employer.

  18. The employee agrees to be employed by the Employer under the terms of this contract for three (3) years. This is
       commencing on start of work at the assigned contracted medical facility. The three (3) year employment period
       shall be deemed to have been completed upon rendering an equivalent of 5460 man hours of actual service. If
       Employee is not able to fulfill the required 5460 man hours in three (3) years, this contract is still in full effect until
       the Employee satisfies this condition. If Employee wishes to stay after the contract period, this will be on at-will
       basis.

  19. If Employee voluntarily terminates his/her employment with the Employer prior to the expiration of the term of
      this Employment Agreement, if Employee is terminated for cause, or if Employee otherwise breaches any of the

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        provisions of this Employment Agreement and stops working for the Employer, the Employee agrees that the
        Employer has spent a considerable sum of money in recruiting costs, licensure/certification review and
        credentialing costs, exam costs, Visa Screen costs, attorney's fees, petition filing costs, flight and/or transportation
        costs, housing costs, etc. to enable him/her to work with Employer in the United States, and that some of those
        costs are readily calculable and some of those costs are difficult to calculate.
        As a result, the Employee acknowledges and agrees that the sum of $20,000.00 USO represents a reasonable and
        legitimate attempt by the Employer to calculate the costs incurred on the Employee~s behalf and the amount of
        damages to which the Employer would be entitled to receive in a legal action brought against the Employee for
        breach of contract. The Employee acknowledges and agrees that the sum of $20,000.00 USO is not a penalty and
        is not a buy-out clause. If you breach your contract you will be subject to litigation. This can include but will not be
        limited to any damages, lost profits, direct and indirect costs that the Employer will suffer as a result of your breach
        of contract. Refusal of work assignments and false declaration or any form of misrepresentation related to, but not
        limited to, submission of documents and information to the Employer will constitute a breach of contract.

        The Employer may enforce the liquidated damages provisions contained above of this Employment Agreement
        through any or all of the following:
            •   Enforcing the terms and conditions of the attached promissory note;
            •   To the extent of allowable under New York State, Federal Immigration and Labor Department laws and
                regulations, the Employer at its discretion may deduct any amounts from the Employee's last Pay check{s).
        The Employee agrees that in the event The Employer is obligated to enforce the liquidated damages provisions
        contained above of this Employment Agreement by legal action of any type, the Employer shall also be entitled to
        reimbursement for all reasonable costs and attorney's fees incurred by it.

  20. All disputes arising out of this Agreement or Employee's employment, including but not limited to Employee's
      recruitment, hiring, termination, and/or failure to complete/fully perform paragraph 18 with the Employer, shall
      be resolved exclusively by mandatory arbitration of the dispute, except that Employer may seek injunctive relief
      and other equitable remedies in a court of competent jurisdiction. Arbitration is an alternative dispute resolution
      process that involves submission of disputes to one or more impartial persons for a final and binding
      determination. Employee and Employer both understand and agree that they are knowingly and voluntarily
      waiving, to the extent permitted by law, any rights they might have to a trial by jury on any discrimination,
      contractual, employment, or other claims under federal, state, or local law, except that Employer does not waive
      its right to trial by jury on any claims for injunctive relief. As to any dispute or controversy which is subject to
      arbitration, neither Employer nor Employee may bring any action, proceeding, suit at law or in equity based on
      such dispute or controversy, other than a suit to confirm, enforce, vacate, modify or correct the award of the
      arbitrator as provided by law or for injunctive relief. The parties mutually select, designate and appoint (to be
      determined by both parties) as arbitrator of any and all such disputes, and if he is unavailable due to death,
      disability, conflict of interest, or other good cause, then parties mutually select, designate, and appoint (to be
      determined by both parties). The arbitrator shall have no authority to alter or modify any of the terms and
      conditions of this agreement, and may not enter any award which alters, amends or modifies the terms or
      conditions of th is agreement in any form or manner. The arbitrator is authorized to determine liability and to award
      compensatory damages, if any, together with the highest rate allowable by law, but is not authorized to award
      punitive damages or injunctive relief'. Each party shall be responsible for paying half of all arbitration fees and
      expenses so that such costs are shared equally; provided however that the arbitrator is authorized to determine
      whether and to what extent each party has prevailed and to award a prevailing party its, his, or her own
      attorney's fees, disbursements, expert witness fees, costs, and expenses incurred in connection with the
      dispute. The arbitrator shall provide the parties with a written determination of the outcome of the arbitration
      and an accompanying opinion setting forth the bases for such determination. The Employer and Employee
      agree in advance, on a voluntary basis, that such arbitration shall be final and binding, and both Employer and
      Employee will be bound by its outcome. The award of the arbitrator may be docketed, entered, and enforced
      as a judgment in the applicable State of New York, Connecticut, New Jersey or Florida Supreme Court or any
      other Court of competent jurisdiction.




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              21. Notwithstanding paragraph 19, the Employer at anytime may discharge Employee for cause, or as a result of
                  the death or disability of the Employee, Discharge under this paragraph would automatically terminate the
                  contract herein.

              22. This agreement shall be interpreted, construed and enforced pursuant to and in accordance with the laws of
                   the State of New York, Connecticut, New Jersey or Florida.

              23. Whenever the context hereto requires, the gender of all words shall include the masculine, feminine, and
                  neuter and the number of all words shall include the singular and plural.

              24. This agreement and amendments thereto shall be in writing and executed in multiple copies. Each multiple
                    copy shall be deemed an original, but all multiple copies shall constitute one and .the same instrument.

              25. Any Notice, Demand or Communication required, permitted or desired to be given hereunder shall be deemed
                  effectively given when personally delivered or mailed by prepaid certified mail, return receipt requested,
                    addressed as follows:

                    To Employee:                                                         To Employer:
                                 ;, .,,. ... 9r
                                 o~-,...            Shem          R. 1v,r,de,,f·
                    Name:                                                                ADVANCED CARE STAFFING

                   Address:          27 '<•Z--Ql Avenv..e E,c-•frnti(;"' Ma111ocdi·n_,   1000 Gates Avenue. Suite 58
                                      ce~ C.1:, , Ceou, Phi Ii pp•-"~S                   Brooklyn. NY 11221

                   Either party may designate a new future address in New York/ Connecticut/ New Jersey/ Florida, or to the
                   attention of such other person(s) or officer{s) as either party may designate by written notice to the other
                   party. Further, Employee shall at all times keep Employer notified of his/her home address and home
                   telephone number.

              26. The waiver by either party of a breach or violation of any provision of this agreement shall not operate as, or
                  be construed to be, waiver of any subsequent breach of the same or other provision hereof.

              27. The provisions of this agreement shall be self-operative and shall not require further agreement by the parties;
                  provided however, each party shall, at the request of the other, execute such additional instruments and take
                  such additional acts as may be necessary to effectuate this agreement.

              28. This agreement supersedes all previous employment contacts and constitutes the entire agreement between
                  the parties.

              IN WITNESS WHEREOF, the parties have executed the Agreement in multiple originals as of the date above written.


                               For Employee:                                             For Employer:

              Signature Over Printed Name:---'-_ ___,__ _ __ _                                           Sam Klein
              Title:                       R            rse                                              coo
              Date:                             OS-C~ -( ~




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                                                                TERM OF PROMISSORY NOTE


         Date:   _0_B_M_Av_,n_19_..._
         For value        received,       the     Borrower,   J!,evi-ior   >i,, eW1 Vid {;(/   currently   residing   in (Address)
         11 µ>wt frvfJnue        ex+em,m
                                      Molm!?0ilin_, Ll?':N           D:!J
                                                               ,Lev"' 1 pn;lfppi'ne>          • promises to pay to the order
         of Advanced Care Staffing, LLC {"Creditor") the principal sum of Twenty Thousand US Dollars ($20,000.00}.

         All principal outstanding hereunder, at the option of the Creditor, shall become immediately due and payable without
         notice or demand upon the occurrence of any of the following events of default:

         Upon termination of the Borrowers employment with the Creditor within three (3) years of joining the employ of the
         Creditor or before the Borrower has worked 5460 billable hours for the Creditor, whichever occurs later, either
         voluntary by the Borrower's own action, or by a Just Cause termination by the Creditor and/or a Breach of the
         Employment Agreement by the Borrower.

         The Borrower hereby waives presentment, demand, notice protest and all other demands and notices (including the
         extent allowable under the State of New York, Connecticut, New Jersey or Florida, Service of Process) in connection
         with the delivery acceptance, performance, default, or enforcement hereof and consents that this Promissory Note
         may be extended from time to time and that no such extension or other indulgence shall discharge or otherwise affect
         the liability of the Borrower. No delay or omission on the part of the Creditor in exercising any right hereunder shall
         operate as a waive of any such right or of any other right hereunder and a waiver of any such right on any one occasion
         shall not be construed as a bar to or waiver of any such right on any future occasion.

         The Borrower intends and agrees to pay on demand all costs and expenses (including legal costs and attorney's fees)
         incurred or paid by the Creditor in enforcing the Promissory Note.

         Any notice, consent, request, demand, or other communications required or permitted to be given under this
         agreement by either party shall be in writing.

         This Promissory Note shall inure to the benefit of and shall bind the heirs, executors, administrators, successors, and
         assigns of the parties.

         This Promissory Note shall be governed by and construed under the laws of the State of New York, Connecticut, New
         Jersey or Florida, USA.

         This Promissory Note shall take effect as a sealed instrument as of the date set forth above.



         By: _ - - - - - - , C ' - - - - - ¥ - - - - - -
         Name:
         Borrower




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                                                                                                        1000 Gates Avenue, Suite SB
                                                                                                            Brooklyn, NY 11221
                                                                                                             (T) 718 305 6700
                                                                                                             (F) 718 305 6824
                                                                                                       www.advancedcarestaffing.com



                                                              ADDENDUM A
                                    Timeline for ACS-Sponsored Registered Nurses


  This Sponsorship Agreement (the "Agreement") dated this               O8 MAY 2019            by and between ADVANCED CARE
  STAFFING, LLC with business address at 1000 Gates Avenue, Suite 58, Brooklyn, NY 11221, ("Employer") and
     Se-t\z.orShem R. V1clct\            , a Registered Professional Nurse and a current resident of
   ·21 IZoa\ Av'e,rwe, F:)(h,M\tln N\C-\N\bC\h:9 Ccbv' Cl%\ , Ce\'.Jv fh~\"~n)~'f\e.S- ("Employee") .



  W HEREAS, the Parties wish to modify the original stated contract, as set forth herein.

  NOW THEREFORE, in consideration of the mutual promises herein, the parties, intending to be legally bound, hereby
  agree that the following constitutes conditions of the stated contract. The contract will be modified as follows.



                                                                 WITNESSETH:

  WHEREAS, Employer has recruited and sponsored Employee for EB3 Immigrant Visa petition and, therefore,
  Employee promises to exhaust all means necessary and accomplish the following tasks in a timely manner as
  required in the petition process:


        Task Assignment                       Time Frame                                     Notes
    NCLEX Licensing                      6- 8 months             Employee shall take the exam within 3 months upon receiving
                                                                 authorization to test
    If Applicable:                       4- 5 months             The Employee is given 13 months from the start of the first
    NCLEX re-examination                                         NCLEX processing to pass the NCLEX-RN
    1-140 Filing                         2-4 weeks               All documents are compiled concurrent with NCLEX
                                                                 processing and must be completed 2-4 weeks after passing
                                                                 the NCLEX
    IELTS Certification                  2 -4 months             Ideally, IELTS processing is concurrent with NCLEX processing
    (English Language                                            or upon passing the NCLEX-RN.
    Proficiency Test)
    Visa Screen                          Due prior to            Visa Screen shall be processed on or before 1-140 petition is
    certification                        consular interview      filed.
    Medical Examination                  Due prior to            This shall be done together with the Employee' s
                                         consular interview      dependent(s), if applicable, and costs for the dependent's
                                                                 medical examination shall be shouldered by the Employee.
    NVC Processing                       Due upon approval       All documents shall be compiled upon approval of the 1-140.
                                         of 1-140 and prior to   Employee must complete and submit documents promptly as
                                         consular interview      needed and make himself/herself available to the Employer
                                                                 and US Agencies requesting compliance to the processing.


        (1) The timeline shall commence at the moment the Employee signs this Agreement. The Employee shall
            complete Task Assignments within the Time Frame allotted. Failure to complete all tasks is considered a
              breach of this contract.
        (2) Should the Employee fail to pass the NCLEX-RN and IELTS (English Language Proficiency Test) the first round,
            he/she shall take a re-examination from the last date of examination, which days include processing time,
              within 150 days. Employee shall shoulder all related costs incurred for the re-examination. In cases when
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                                                                                                                 1000 Gates Avenue, Suite 5B
                                                                                                                     Brooklyn, NY 11221
                                                                                                                      (T) 718 305 6700
                                                                                                                      (F) 718 305 6824
                                                                                                               www.advancedcarestaffing. com


                           the Employee fails the NCLEX-RN and/or IELTS, the Employer has the right to terminate the sponsorship at
                           any given time or event and in whatever stages. In such cases, the Employee has the obligation to settle the
                            agreed liquidated damages to the Employer with the substantial expenses spent by the Employer in the
                            petition process as stated in Item 3 below. The liquidation shall be made within 30 days from the
                           determination of the result of either exam. This liquidation shall be made through international bank
                           transfer (information regarding the transfer shall be provided to the Employee upon request).
                       (3) Failure of the Employee to make the proper liquidation shall give rise to the Employer to exercise its right
                           to file a case in court to recover damages for breach of contract. There is failure on the part of the Employee
                           to make payment if on the 31st day from the date of the final determination of the result of the
                           examination, the Employer does not receive the liquidated amount in full; Depending on the outcome of
                           the case, the Employee shall be obligated to indemnify the Employer of the full amount of any and all the
                           damages incurred and/or suffered by the Employer as a result of the breach, as determined by the court
                           including litigation cost.
                       (4) All petition and NVC Immigrant Visa Application requirements shall be completed, obtained and maintained
                           prior to consular interview. Failure to do so will be considered a breach of this contract and will be subject
                           to the financial obligation of Twenty Thousand US Dollars ($20,000) as stated in the initial Employment
                           Agreement signed by the Employer and Employee exclusive of the amount of any and all damages incu rred
                           and suffered by the Employer as a result of the breach plus the litigation cost.



                  This modification shall be made valid and formed part of the original stated contract.

                  The Parties reaffirm no other terms and conditions of the above-mentioned original contract not hereby otherwise
                  modified or amended shall be negated or changed as a result of this here stated addendum.

                  This addendum shall become effective as of     0 8 tJ~V· ?n19


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                 Sam Klein
                 coo                                                    Sig ature over Printed Name
                 Advanced Care Staffing                                  Registered Nurse




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                                                                                         1000 Gates Avenue, Suite SB
                                                                                             Brooklyn, NY 11221
                                                                                              (T) 718 305 6700
                                                                                              (F) 718 305 6824
                                                                                       www.advancedcarestafftng.com



                                       ADDENDUM B
             Provisions for ACS-Sponsored Registered Nurses Based Outside USA


     .                                             . 0 8 MAY 2019
    This Addendum (the "Addendum") dated this _ _ _ _ ____, by and between ADVANCED CARE
    STAFFING with business address at 1000 Gates Avenue, Suite 58, Brooklyn, NY 11221, ("Employer") and
      ~e-rez.or She.,,-,, ~- V i de,(          a Registered Professional Nurse and a current resident of
  '27 lZ,·u\\ f\ve,nv. B~ CA'l~icn Ml-'mboil,·     C.1!-b\A fh1li '\iles ("Employee11 ).


   WHEREAS, the Parties wish to modify the original stated contract, as set forth herein.


   NOW THEREFORE, in consideration of the mutual promises herein, the parties, intending to be legally
   bound, hereby agree that the following constitutes conditions of the stated contract. The contract will be
   modified as follows.

             WITNESSETH:

             WHEREAS, Employer shall shoulder the following provisions for the Employee for the first
             month of deployment in the United States:
                    (1) One (1) one-way airplane ticket for the Employee to the U.S. State where the
                        Employee shall be deployed to. Airfare for the Employee's dependents is not
                         included.
                     (2) $1000 per month housing subsidy for two (2) months.
                     (3) One (1) MTA card valid for one (1) month.
                     (4) Voluntary Health Insurance on pretax basis.



   This modification shall be made valid as if they are included in the original stated contract.

   The Parties reaffirm no other terms and conditions of the above-mentioned original contract not hereby
   otherwise modified or amended shall be negated or changed as a result of this here stated addendum.

                                                    0 8 MAY 2019
   This addendum shall become effective as of _ _ _ _ _ __



   Attest:


                                                                                                                        t!l;;ft.lrll'lllrJ
   Sam Klein                                                                                N'ot corrmis,ion No. 131·15
   Chief Operations Officer                          Si nature over Printed Name        Notary P blic For Cities and Province
   Advanced Care Staffing                            Registered Nurse                           U til December 31. 2020
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Sent:                              Tuesday, January 4, 2022 12:48 PM
To:                                shem15418@gmail.com
Cc:                                Jan Romwel Labro; Kriszaleen Baca
Subject:                           VIDAL, BENZOR SHEM: USEM Interview Initial Instructions
Attachments:                       Cover Letter for Amended Contract -ACS.pdf; Waiver of Promissory Note - PCS.pdf;
                                   Sponsored Nurses Quick Guide.pptx; Intro to SNF - LTC - CH04_HEOC 104.ppsx; Advanced
                                   Care Staffing - Amended and Restated 3-Year Employment Agreement.pdf


Dear Benzor Shem Vidal:

Please refer to the following link for your initial guidance for your upcoming US Embassy Immigrant Visa Application
interview on January 19, 2022 at 9:30AM.

 https://travel.state.gov/content/travel/en/us-visas/immigrate/the-immigrant-visa-process/step-10-prepare-for-the-
interview.html

https://ais.usvisa-info.com/en-gb/iv/information/iv_overview.

Through this link you can see and make reference to the following matter:
    1. Pre-interview checklist of the documents; some documents may not be required of you depending on which
       category you are included.
       Please make sure that you will have the following:
                RN credentials:         NY license and CGFNS visa screen certificate (original and photocopies)
                School Credential:      diploma and transcript of records
                Civil documents:        PSA issued birth cert, marriage cert (if applicable), valid passport, NBI clearance
       and/or police clearance from your present place of residence
    2. Registration of your delivery address;
    3. Interview Guidelines;
    4. Medical Examination Instructions. Please coordinate with the US Embassy for the accredited clinic/hospital. Please
       take note that it may take about 5 days before you get the result and the medical examination result is valid only
       for 6 months. The objective is that you should have a valid medical examination result at the time of the interview.

Further, kindly find the following attachment for your perusal:

            1.   Cover Letter
            2.   Amended Employment Agreement
            3.   Introductory Guide to Skilled-Nursing Facility
            4.   Nurses Quick Guide

Please review this guidelines carefully and prepare your documents. PLEASE make yourself available sometime next
week and we will discuss all these concerns. Briefing and a short lecture will be conducted by one of our Operations
Manager and myself. Please be prepared for a video call using Microsoft Teams. This meeting may take an hour to 1.5
hour the most. We will send you a separate invite on a specific date. We are also hoping that you can provide us with
your contact details for Viber or Skype (if you have one).


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Will call you prior to this date to monitor how things are going. Also for your reference, we will send the original copy of
the Job Offer and Support Letter to the address that you have provided.

Let us know too should you have any questions or clarification.

Thank you,


Joel Rosalio
International Healthcare Manager
Advanced Care Staffing, LLC
P : 718.305.6700 Ext. 210
F : 718.305.6824
E : joel@advancedcarestaffing.com
A : 1000 Gates Avenue, Suite 5B, Brooklyn, NY 11221

CONFIDENTIALITY AND PRIVACY NOTICE: This email and any files transmitted with it are confidential and intended solely for the use of the individual or entity to whom
they are addressed. If you have received this email in error please notify Advanced Care Staffing. This message contains confidential information and is intended only for
the individual named. If you are not the named addressee you should not disseminate, distribute or copy this e-mail. Please notify the sender immediately by e-mail if you
have received this e-mail by mistake and delete this e-mail from your system. If you are not the intended recipient you are notified that disclosing, copying, distributing or
taking any action in reliance on the contents of this information is strictly prohibited. Thank you.




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January 4, 2022                                                                        AdvancedCare
                                                                                                     F
                                                                                     1000 Gates Avenue Suite 5B
                                                                                         Brooklyn, NY 11221
Benzer Shem Vidal                                                                         (T) 718 305 6700
33 Ross Way, London                                                                       (F) 718 305 6824

United Kingdom E14 7GG                                                              We take staffing close to heart.




Re: Your Employment Agreement with Advanced Care Staffing

Dear Benzer Shem Vidal:

I am pleased to present you with our latest version of our Employment Agreement (enclosed)! This latest
version was developed after consulting industry best practices and feedback from our team members.

The following are two key differences between your old agreement and this new version:

   •   Greater Clarity. This new version presents the parties' expectations, obligations, and rights in clearer
       terms to promote greater transparency and fairness. For example, the new agreement makes clear that
       nursing assignments in the US will be in skilled nursing facilities/ nursing homes and lists the various
       types of costs that ACS will advance or reimburse.

   •   No "Liquidated Damages" or Promissory Note. The older version specified a sum of money to be paid
       in the event of a breach and included a promissory note. We received feedback that this was viewed as
       a "buy out", which was never our intention. We have tried to be clear from the beginning that ACS is
       making a significant investment in our nurses, and we only agree to sponsor nurses who are committed
       to providing services to ACS for a three-year term in the United States. This new version eliminates a
       specified sum of damages and allows for recovery of whatever damages are proven (which might be
       higher or lower than the amount specified in the older version). Attached to this letter is a separate letter
       waiving/cancelling any promissory note that you might have signed.

If you have any questions before signing, please contact me as soon as possible at ACS phone 718.305.6700 or
through this email address liz@advancedcarestaffing.com. If you have no questions, please return a signed
copy of the new Employment Agreement to me via email.

Sincerely,

Sam Klein
CEO




                                             Advanced Care Staffing, LLC.
                                           has earned The Joint Commission's
                                                 Gold Seal of Approval


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  January 4, 2022


  Benzor Shem Vidal
  33 Ross Way, London
  United Kingdom E14 7GG



  Re: Release of Promissory Note


  Dear Benzor Shem Vidal,

  Advanced Care Staffing hereby unconditionally waives, cancels, and releases the $20,000 promissory
  note that you made to Advanced Care Staffing, dated May 8, 2019.

  Sincerely,


  Sam Klein
  CEO




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        Advanced Care                                                   Quick Guide ror
                                                                                    for Sponsored    I\Jurses
                                                                                        :,:,ponsorea Nurses

            STAFFING
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                                        About Advanced Care Staffing




A-196
        Check out our website http://advancedcarestaffing.com/




                                                         t
        and learn more by checking out this short clip
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                                                    You are being sponsored as a
                                                  Registered Nurse in USA and you
                                                 will be assigned to work in a Skilled
                                                 Nursing Facility (SNF) also known as
                                                     Long Term Care (LTC)Facility.




A-197
                                                    Before signing the contract, it is
                                                    important that you understand
                                                   your role and the demands of this
                                                                position.
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                                       1. SNFs operate 24/7 as residents need nursing care
                                       round the clock, therefore it is expected that you will
                                       be working on different shifts including holidays and
                                       weekends.
                                       2. You will conduct nursing care to all residents on the
                                       floor and as such, you will work on high patient
        What to                        volume (example nurse-patient ratio 42:1) and
                                       conduct medication and treatment administration,
        expect in an                   family and physician notification as needed, Electronic




A-198
                                       Medical Record (EMR) documentation all within your
        SNF/LTC                        shift. Keep in mind, this is a long-term care setting.
        setting:                       3. You may be asked to participate in an
                                       interdisciplinary care plan team including assisting
                                       physicians and conducting facility programs.
                                       4. It is normal that when the facility is short staffed,
                                                                                                                  I
                                       you may be required to work overtime and or longer
                                       hours as allowed by the Labor department.                              I
                                                                                                         ""
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                                        5. It is critical that you actively and consistently
                                        practice all nursing skills required for the position.
                                        Please refer to this nursing skills checklist.
                                        6. Good attendance and punctuality is a must. In
        What to                         US, we do not have many holidays compared to
                                        the Philippines. We observe around 7 holidays in
        expect in an                    a given year. People up here consistently work




A-199
        SNF/LTC                         and work hard therefore, you are expected to
                                        show up for work at all times.
        setting:                        7. It is expected that you help with other floors if
                                        needed or discretionary by the Supervisor.
                                                                                                                  I
                                                                                                              I
                                                                                                         ""
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        Understanding Skilled Nursing Homes
         Please watch an overview of skilled nursing and long-term care facility below.




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A-202
                                        Chapter 4
                   Aging, Health, and Long-Term
                               Care
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                                           Objectives
         After studying this chapter the student should be able to:
         • List at least three benefits for the elderly provided by Medicaid that
            are not provided by Medicare.
         • Differentiate between skilled nursing and intermediate care
            facilities.
         • Describe the services provided by assisted living facilities.




A-203
         • Describe the services provided by each of the following: (a) home
            health, (b) hospice, and (c) shelter care homes and workshops.
         • Discuss the role of health literacy in delivering quality health care.
         • Explain how shifts in demographics will impact the skills and
            training needs of healthcare workers.
         • Discuss future trends in long-term health care including community-
            based care.


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            The Impact of Future Changes on
                   Healthcare Needs
         • As the population of people over 65 yo increases,
           increases, more services will be required for the
           treatment and management of chronic and
           acute health conditions and disabilities.




A-204
         • Those on Medicare with multiple chronic
           conditions, especially the frail elderly with
           functional or cognitive impairments, in addition
           to chronic medical illness, will need care
           coordination
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           U.S. Census Bureau Projections
         • By 2050 due to increase in life expectancy:
           – people 65 and older will represent 20% of the total
             U.S. population
           – Those that are 85 and older (the “old-old”) are the




A-205
             fastest growing segment of the population
              • 61% are women (mostly widows)
              • The “old-old” are expected to account for 19 million




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                                        The Future
        “Chronic diseases, arising from both emotional and
         physical causes, will be the most important of the
                        future disabilities”




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         Common Health Problems in an Aging
                   Population
         The most prevalent chronic conditions in 2007
         among the elderly were, in order of prevalence:
           •Hypertension (high blood pressure)
           •Arthritis




A-207
           •Heart disease
           •Cancer
           •Diabetes
           • Update 2014 (CMS) that hypertension, high cholesterol,
           heart disease, arthritis and diabetes are the most prevalent
              •Depression was one of the top 7
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         Common Health Problems in an Aging
                   Population
         Limitations associated with aging increase
         dramatically after age 85 years:
           •Hearing impairment (60%)
           •Visual impairment (28%)




A-208
           •The most debilitating conditions:
              •Dementia (accounts for almost half of nursing
              home residents)
              •Stroke
              •Hip fractures

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                   Medicare for the Elderly
         Medicare is divided into four parts:
         • Part A - hospital insurance; all elderly
           beneficiaries are automatically enrolled.
         • Part B - supplemental medical insurance,
           voluntary; the majority of the elderly purchase




A-209
            – does not provide dental, vision, podiatry or routine
              physical exams.
         • Part C – “Medicare advantage”; private
           supplemental hospital and medical insurance
         • Part D - medication insurance

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                   Medicaid for the Elderly
         • Medicaid covers a broad range of services not
           covered by Medicare, acting as a supplemental
           insurance for the elderly and disabled.
         • It also pays their Medicare premiums; includes




A-210
           cost-sharing (out of pockets costs) and covers
           prescription drugs.
         • A large number of the elderly do not take
           advantage of Medicaid because of the inability to
           navigate the system.

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                      Long-term Care Insurance
         • Long-term health care (LTC) - the help needed by
           people of any age who are unable to care for
           themselves because of physical and/or mental
           impairment; almost as many impaired young adults and
           children need LTC as the elderly (4 vs. 6 billion)




A-211
         • LTC is for extended periods, ranging from months to
           years to a lifetime.
         • LTC is provided in nursing homes (70%),
           institutions, rehab hospitals, the community, or it can
           be home based.
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                                 Nursing Homes
         There are two types of recognized homes:
         • Skilled Nursing Facility (SNF)
         • Intermediate Care Facility (ICF)




A-212
         The federal government, through CMS, is
         responsible for nursing home standards
         • Individual states – responsible for monitoring
           facilities to ensure standards are being met.

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                                  Nursing Homes
           A skilled nursing facility (SNF) is a nursing home
           that provides the level of care closest to hospital care:
              • Twenty-four-hour nursing services, medical supervision,
                rehabilitation, physical therapy, pharmacy and dietetic
                services, and occupational and recreational therapy are




A-213
                provided in accordance with federal guidelines.
              • Skilled homes are for convalescents (someone recovering
                from an illness or operation) and patients with long-term
                illnesses.



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                                  Nursing Homes
           An intermediate care facility (ICF) provides less
           extensive care and services:
            – For people that need daily personal care because they are
              not able to care for themselves or live alone, but they do not
              need 24-hour care.




A-214
            – the emphasis is on personal care and social services.
            – Some also employ rehabilitation and occupational
              therapists.
            – These homes must meet federal guidelines to receive
              government funding.


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             Assisted Living Care Facilities
         • Facilities dedicated to providing assistance with
           activities of daily living – dressing, bathing, eating,
           using the bathroom
         • May be part of a retirement community, nursing




A-215
           home, senior housing or a stand-alone facility
         • Residents or the families typically pay the cost, but
           Medicaid finances care for about 12%



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                 Nursing Home Regulation
         An act named OBRA 87 created minimum
         standards of care for nursing homes in response to
         concerns about poor quality of care and
         inadequate regulation; including staffing




A-216
         requirements and rights (p. 47) for residents
           – standards emphasized quality of life issues and the
             prevention of abuse, mistreatment, and neglect,
             including the use of physical and chemical
             restraints.

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                             Community Services

         The Program of All-Inclusive Care for the
         Elderly (PACE)
         • provides comprehensive preventive, primary, acute, and
           long-term care services for older individuals with chronic




A-217
           care needs
         • Eligibility: 55 years or older and certified by their
           state to need nursing home care but don’t need to live
           in a facility
         • PACE receives Medicare and Medicaid capitation
           payments
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              Community Health Agencies
         • Home Health Agencies (HHAs) provide part-
           time nursing and medical care in patients’ homes
            – other services: physical, speech, and occupational
              therapy; social services; some medical supplies and




A-218
              equipment, i.e. wheelchairs, walkers, etc.
         • Meals on Wheels (an HHA variation) - agency
           that supplies one hot meal a day (usually lunch) to
           people who are confined indoors due to a mental
           or physical disability

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                                             Hospice
         • Hospices care for individuals that are dying.
         • Hospice care helps manage pain and other
           symptoms associated with dying when
           conventional treatment is no longer of value




A-219
         • Hospices are operated on the principle that
           the dying have special needs and wants that
           hospital personnel are too busy to handle.
         • This care improves the quality of the
           remaining time in ones’ life.
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                            Supportive Housing
         • The U.S. Department of Housing and Urban
           Development provides supportive housing/shelters for
           the homeless with disabilities, primarily those with
           severe mental illness, or chronic problems with alcohol
           or drug abuse (don’t need nursing home care)




A-220
         • Federal regulations on operations, i.e. diet, sanitation
         • Both shelter care homes and sheltered workshops are
           available to long-term care recipients
            – workshops are where those with physical or mental
              challenges can learn a skill

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          Demographic Trends and Projections
         • By the mid-twenty-first century, the number of
           elderly individuals will triple.
         • Racial and ethnic minority groups will continue to
           increase  we must take a varied approach to meet




A-221
           their health needs (cultural competence) as these
           differ from white individuals
         • The need for LTC (home and nursing home care) and
           the associated costs will increase tenfold.


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                Potential Healthcare Needs
         Interesting to note that more than 90% of elderly
         people continue to live in the community, and
         more than two-thirds of them perceive their
         health to be good to excellent.




A-222
         The authors of the book believe that in the
         future, the majority of older individuals are
         likely to be healthy and able to function
         independently (what do you think?)
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          Health Service Needs for the Elderly
         • Necessary services include prevention, as well as
           primary, acute, post-acute, rehabilitative, long-
           term, and hospice care.
         • Because the “old-old” population is increasing
           most rapidly  services need to focus on




A-223
           maintaining the functional capacities and on
           providing long-term care to the frail elderly.
         • There will also be an expansion in people aged 65
           and older  need more preventive, primary, and
           acute care services.

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                                Personnel Needs
         • We will soon need more personnel specifically
           prepared to serve older people
         • Greatly expanded training programs are required
           to prepare personnel to provide services in homes,
           hospices, nursing homes, and other community




A-224
           settings.
         • To provide responsive care to older persons,
           greater emphasis on the special needs and
           conditions of older persons (geriatrics) should
           be included in the education of all health and
           human service personnel.

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             Future Education for the Health
                      Professions
         • We are currently NOT prepared for the
           projected increase in elder Americans!
         • Curricula must include the requirements and
           care of the elderly population.




A-225
         • We also need to assume an active role in
           developing acceptable health policies.
         • Health professionals must be able to assess
           needs accurately and teach at all levels.
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         Shifts in Training Health Personnel
         • Need to develop a broader understanding and
           competence in geriatrics.
         • Physicians direct the work of other health personnel, and
           therefore will need to develop additional competencies and
           leadership roles for the practice of geriatric medicine.
         • Nurses, Dentists, dental hygienists, and dental assistants




A-226
           will be serving substantially larger numbers of elderly and
           their education should now reflect this.
         • Social work personnel must be prepared to meet the diverse
           social services needs of the elderly. They will require a
           specialized knowledge of the aging process and the
           interpersonal dynamics of the aging and their families.


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                           AMENDED AND RESTATED EMPLOYMENT AGREEMENT

           This Amended and Restated Employment Agreement (“Agreement”), dated as of November ___
  2021, is by and between ADVANCED CARE STAFFING, LLC, located at 1000 Gates Avenue, Suite 5B, Brooklyn,
  New York 11221, (“Employer”) and ____________________ __________________, a natural person residing
  at ___________________, ________________, ______ _______ (the “Employee”).

                                                BACKGROUND

     A. Employer is a healthcare staffing agency that recruits and employs nurses whom Employer deploys
        to contracted long-term care facilities such as nursing homes and skilled nursing facilities (each, a
        “Client”) in the United States.

     B. Based upon the education, training and personal information provided to Employer by Employee,
        Employer desires to hire Employee to work as a Registered Nurse at one or more of its Clients in the
        United States.

     C. Employee is not currently under contract with any person or company that is sponsoring Employee
        to work in the United States other than Employer.

     D. Employee desires to be employed by Employer as a Registered Nurse in the United States and to
        work in a long-term care setting in accordance with the terms and conditions of this Agreement.

     E. Employee and Employer entered into an Employment Agreement on ___________ ____, 20___
        (“Prior Agreement”).

     F. Employer and Employee wish to fully replace the Prior Agreement with this Agreement.

                                                   TERMS

  Employer and Employee hereby agree as follows:

         Section 1.      Employee’s Representations and Obligation to Cooperate and to Provide Documents
                         and Information.

           (a)     Employee represents that Employee is not currently under contract with any other person
  or company that is sponsoring Employee to work in the United States. Employee also represents that
  Employee has not been petitioned by any other agency or facility for employment in the United States.
  Employee agrees that during the Term, Employee shall not contract with any other person or company to file
  a petition/application with USCIS for Employee’s benefit.

          (b)      Employee represents and warrants that Employee has not previously been convicted of a
  criminal offense other than minor traffic violations and that there are no impediments to Employee entering
  into this Agreement. Employee also represents that Employee is in good physical and mental health (in
  accordance with the standards and requirements as regulated by US immigration authorities and the Board
  of Nursing of the state(s)) and neither the execution of this agreement nor the consummation or performance
  of any of the parties’ obligations hereunder will conflict with or result in the breach of any previous



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  agreement entered into by the Employee. Employee further represents and warrants that Employee knows
  of no impediment to Employee receiving an immigrant visa.

           (c)      Upon the execution of this Agreement, and during the term of this Agreement, Employee
  shall deliver to Employer all documents that Employer, in its sole discretion, deems necessary (i) to validate
  personal, educational, professional and any other information pertaining to Employee; and (ii) to obtain
  immigration approvals necessary for Employee to depart Employee’s foreign country and work in the United
  States. Further, during the Term (as defined below), Employee agrees to provide all documents and
  information and to appear for any and all interviews as deemed necessary by Employer, in its sole discretion.

          (d)     Employee promises to promptly schedule and appear for any and all interviews, medical
  exams or the like that may be necessary to secure approval to depart Employee’s foreign country and to
  enter into and work in the United States.

           (e)   Employee agrees to submit to post-offer and pre-employment medical examinations
  (including a negative PPD and/or chest X-Ray), vaccinations, drug screening, fingerprinting, and other
  requirements prior to providing any service, in accordance with United States federal, state, and local
  requirements.

          Section 2.       Authorization and Licensing Requirements.

          (a)    Employee acknowledges and agrees that employment with Employer is contingent on
  Employee becoming authorized to work in the United States and maintaining authorization to work as a
  Registered Nurse in the United States jurisdiction(s) selected by Employer, in its sole discretion.

          (b)      Employee shall use Employee’s best efforts to promptly register for and take all examinations
  required to obtain the necessary authorizations and licenses. Required examinations include, but are not
  limited to the National Council Licensure Examination (“NCLEX”), which Employee shall take within three
  months of the date of this Agreement. If Employee fails to pass any required examination, Employee shall
  take additional steps and shall commit additional time and energy to studying and passing the examination
  at the next available examination session. Employer’s obligations under this Agreement are contingent upon
  Employee passing the NCLEX within six months of the date of this Agreement.

         (c)      Employee shall use Employee’s best efforts to promptly obtain a Visa Screen certificate from
  the Commission on Graduates of Foreign Nursing Schools or a USCIS-approved equivalent independent
  credentialing organization.

          (d)     Employee shall use Employee’s best efforts to apply for licensure as a Registered Nurse in
  the United States jurisdiction(s) selected by Employer, in its sole discretion.

          Section 3.       Petition for Employment Based Immigrant Visa.

           (a)      Upon receipt of proof that Employee (i) is duly licensed and qualified as a Registered Nurse
  in the U.S. State selected by Employer, (ii) has passed the IELTS, and (iii) has obtained a Visa Screen, Employer
  will prepare and submit a petition for an Employment-Based Immigrant Visa (“EB Visa”) on behalf of
  Employee to the United States Citizenship and Immigration Service (“USCIS”). Employer will pay all fees
  associated with the filing of such petitions, including attorneys’ fees. Employee agrees that Employer may


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  arrange for the handling of the EB Visa petition by an immigration attorney of its choice and that all decisions
  regarding the handling and filing of the EB Visa petition, including preference category, shall be in Employer’s
  sole discretion.

           (b)    In the event that the EB Visa petition is not approved by the government for any reason,
  Employer shall have the right (but not the obligation), in its sole discretion, to refile, appeal the denial, and/or
  seek further government review of the petition. If Employer chooses to refile, appeal, or seek further review,
  Employee will continue to cooperate with Employer’s efforts, but the appeal or request for further review
  shall be at Employer’s sole expense.

           (c)    Employee understands and acknowledges that Employer cannot guarantee any government
  approval regarding Employee, including but not limited to, the type of work authorization issued by USCIS (if
  any). Employee further understands that Employer cannot guarantee a specific date by which Employee will
  be sent to the United States or a specific date by which all requirements for employment will have been
  satisfied. Employee understands that any application or petition submitted by or on behalf of Employee with
  the United States or the foreign governments is subject to the sole approval of such government(s), and that
  any such approval is outside of Employer’s control.

          Section 4.       Advanced Costs.

         (a)    Employer agrees to advance (or reimburse) the following costs on behalf of Employee
  (“Advanced Costs”):

              1. The costs of the review courses specified by Employer.
              2. The costs of initial professional licensing fees (costs of renewals may be advanced by
                 Employer in its sole discretion);
              3. The costs of credentialing specified by Employer;
              4. The costs of visa screens, as applicable;
              5. Costs of the NCLEX exam for one attempt; Employer may, in its sole discretion, pay for
                 additional attempts, the costs of which would be included as the Advanced Costs; and
              6. IELTS Certification for one attempt (English Language Proficiency Test).

         Employer reserves the right, in its sole discretion, to pay for or reimburse additional exams, repeat
  exams and related expenses as needed by Employee, all of which shall be regarded as Advanced Costs.

          (b)     Upon Employee’s receipt of USCIS approval to travel to and commence employment in the
  United States, and satisfaction of all other pre-employment obligations under this Agreement, Employer shall
  advance (or reimburse) the following additional costs, all of which shall also be regarded as Advanced Costs:

              1. One one-way airplane ticket (economy airfare) to the U.S. state where Employee will be
                 deployed;
              2. Housing allowance of a minimum of $1,000 per month for two months;
              3. $400 gift cards for groceries; and
              4. One monthly pass for local public transportation (if any) in the city where Employee is
                 deployed.




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          (c)     Employee acknowledges that Employer is incurring Advanced Costs upon the express
  condition that Employee will complete the Term in full. Therefore, Employee shall immediately repay all
  Advanced Costs in the event that Employee fails to complete the Term for any reason.


          Section 5.       Work Schedule and Responsibilities Upon Commencement of Work

           (a)     Upon lawful arrival in the United States, Employee agrees to work as a Registered Nurse
  (including all duties that are customary in providing nursing services) on a full-time basis. Typically,
  Employer’s clients follow one of three daily shifts, 7:00 a.m. to 3:00 p.m., 3:00 p.m. to 11:00 p.m., and
  11:00 p.m. to 7:00 a.m. (with an unpaid meal break during each shift); however, the hours of work and the
  shift schedule shall be determined by the Employer.

         (b)     Employee shall be available to work a full-time work schedule and any overtime required
  by Employer, subject to applicable law. Employee shall not commit to any business activity outside of
  Employee's employment with Employer without Employer’s prior written approval.

          (c)    Employee’s assigned work location shall be determined by Employer in its sole discretion.
  The assignment to any Client may be changed at any time. After completing a minimum of six months at
  Employee’s assigned location, Employee may request a different assignment, but Employee understands and
  agrees that Employer will ultimately determine, in its sole discretion, Employee’s assignment.

          (d)       Upon becoming eligible to commence employment in the United States, Employee agrees to
  abide by all of the rules set forth in Schedule A.

          Section 6.       Confidentiality and Nonsolicitation.

           (a)      Employee acknowledges that during the course of employment with Employer, Employee
  will be privy to confidential information of Employer, including but not limited to Client lists and information,
  placement information, business plan information, marketing information, industry analysis, and business
  development information (“Proprietary Information”). Employee also acknowledges that Employer has
  spent substantial amounts of money, time and effort in developing and maintaining relationships with its
  Clients and employees. Employee agrees that the following restrictions on Employee’s employment and
  work activities are necessary to protect Employer’s legitimate business interests in the education and training
  provided to Employee, its relationships with Clients and employees, and its Proprietary Information:

                  (i)     Employee agrees never to disclose any of Employer’s Proprietary Information to
  anyone outside of Employer except as required in the course of Employees duties for Employer. Employee
  further agrees not to use, or cause or allow another person or entity to use, Proprietary Information in any
  way other than in Employer’s business (as authorized by Employer).

                  (ii)    Throughout the duration of the Term (regardless of whether Employee’s
  employment terminates sooner for any reason), Employee shall not work, directly or through another
  employer, for any Client with whom Employer placed Employee to work at any time.




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                    (iii)    Throughout the duration of the Term (regardless of whether Employee’s
  employment terminates sooner for any reason) and for a period of two years thereafter, Employee will not
  directly or indirectly, solicit, induce, or encourage any of Employer’s employees to separate from Employer.

                    (iv)     Throughout the duration of the Term (regardless of whether Employee’s
  employment terminates sooner for any reason) and for a period of two years thereafter, Employee will not
  directly or indirectly, solicit, induce, or encourage any Clients to stop doing business with Employer.

           (b)      Employee acknowledges that the above restrictions on Employee’s activities do not prevent
  Employee from pursuing a career in nursing or from using skills learned while employed by Employer in any
  business or activity outside the scope of this Section 6. Employee further acknowledges and agrees that the
  restrictions in this Section 6 are narrow, reasonable, legitimate and fair, and are warranted to protect only
  the legitimate business interests of Employer in protecting its Client and employee relationships, ensuring
  that Employee loyally discharges Employee’s duties, and preventing the unauthorized disclosure of its
  Proprietary Information.

          (c)     Employee acknowledges and agrees that if he or she breaches any of the above covenants,
  the damage to Employer would be irreparable and that money damages would not adequately compensate
  Employer for its damages. Accordingly, notwithstanding anything in this Agreement to the contrary,
  Employee agrees that in the event of a breach of the covenants in this Section 6, Employer will be entitled to
  an immediate order from a court of competent jurisdiction commanding Employee to cease violating the
  covenant(s) and enjoining Employee from further violation. Employer shall not be required to post a bond.
  Employer shall be entitled to recover all reasonable attorneys’ fees and costs incurred in seeking such an
  injunction. This injunctive remedy shall not be exclusive of any other remedy to which Employer might be
  entitled.

          (d)     The parties agree that if any of the covenants in this Section 6 is found to be unenforceable
  as drafted, the court interpreting such covenant is expressly authorized to make such modifications as are
  necessary to make it enforceable according to applicable law and to enforce it as modified.

          Section 7.       Compensation.

          (a)    Employee will be paid in accordance with applicable federal and state law (including
  applicable minimum wage and overtime requirements).

        (b)     Employee’s wage rate for the services specified in the USCIS petition pursuant to which
  Employee provides services under this Agreement shall be the prevailing wage rate specified in that petition.

         (c)      Employee shall be required to complete and submit time records in accordance with the
  requirements of Employer and the Client. Payment of compensation, including frequency of payments and
  withholding of taxes and other legally authorized withholdings, will be subject to applicable law and
  Employer’s policies.

          Section 8.       Paid Time Off and Other Benefits.

          Employee shall participate in all benefits applicable to all of Employer’s similarly situated employees,
  including group health insurance, holidays, and paid time off (which includes both sick time and vacation
  time). Employee understands that benefits provided to all similarly-situated employees may be changed



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  from time to time in Employer’s sole discretion. Employee shall also be covered by workers’ compensation
  insurance and all applicable, legally-mandated leave entitlements, such as any applicable family and medical
  leave, subject to applicable eligibility requirements.

          Section 9.      Term.

           (a)    The term of this Agreement (the “Term”) shall continue until Employee has completed three
  years of work as a Registered Nurse for Employer in the United States. The three-year employment period
  shall be deemed to have been completed upon Employee’s completion of 5460 hours worked for Employer
  in the United States.

         (b)    Time off spent by Employee while using authorized accrued paid time off (“PTO”) shall be
  counted towards completion of the Term (e.g., Employee taking one week of PTO will have one week counted
  toward completion of the Term).

          (c)     If Employee fails to report to work for any amount of time during the Term, other than while
  using authorized, accrued PTO, then, at Employer’s option, the Term may be extended by the amount of time
  missed.

          Section 10.     Termination.

          (a)      Each party reserves the right to terminate this Agreement prior to the end of the Term,
  subject to the following conditions:

                  (1)       Employee acknowledges that if Employee fails to fulfill Employee’s obligations under
  this Agreement, Employer will suffer significant harm arising from the significant investment related to the
  recruitment, training, credentialing, and placement in the United States (including fees paid to third-parties)
  and the reasonable expectation that Employee will maintain full-time employment with Employer for the
  maximum amount of time under this Agreement. Such harm includes, but is not limited to, the expenses and
  costs mentioned in Sections 3 and 4 (subject to applicable law). In addition, Employee recognizes that
  Employer will suffer significant loss of profits (reflecting not only loss of anticipated profits under this
  Agreement but also resulting from the impact on Employer’s relationship with its Clients) in the event
  Employee fails to fulfill Employee’s obligations under this Agreement. Therefore, the parties agree that if
  Employee terminates this Agreement without Good Reason (as defined below), or if Employer terminates
  this Agreement for Cause (as defined below), Employer shall be entitled to all damages and other relief to
  redress the harm caused by the failure of Employee to fulfill Employee’s obligations under this Agreement.

                   (2)     For purposes of this Agreement, “Good Reason” for termination by Employee is
  defined as a failure by Employer to correct a material breach of Sections 3 or 7 of this Agreement within 35
  days following Employer’s receipt of written notice by Employee of such material breach. Written notice
  must physically be received at Employer’s office at 1000 Gates Avenue, 5th Floor, Suite 5B, Brooklyn, New
  York 11221.

                 (3)     For purposes of this Agreement, “Cause” includes, without limitation, Employee’s
  loss of Employee’s authorization to work as a Registered Nurse in the jurisdiction(s) assigned by Employer,
  Employee’s failure or refusal to perform any of Employee’s material obligations under this Agreement,
  Employee’s refusal to adhere to the policies or procedures of the Client(s) to which Employee is assigned,
  Employee’s engaging in conduct detrimental to the reputation of Employer or its Client(s), Employee’s



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  commission of an unlawful act, Employee’s unauthorized removal of property of Employer or a Client,
  Employee’s falsification of documents, reports or records, absenteeism or chronic lateness, Employee’s
  failure or refusal to provide patient care consistent with accepted guidelines or to perform the duties of
  employment. Employer may immediately terminate this Agreement for Cause at any time.

          (b)     This Agreement will terminate in the event of Employee’s Disability (as defined below) or
  death. For purposes of this Agreement, “Disability” means incapacitation due to illness, accident or other
  physical or mental disability which renders Employee substantially unable to work for a period of one
  hundred twenty (120) days, and no reasonable accommodation being available which would permit
  Employee to perform the essential functions of Employee’s position. In the event Employee and Employer
  disagree as to the existence of a Disability, the dispute shall be resolved by an independent medical doctor
  selected by Employer.

           (c)     In the event of termination of this Agreement, any outstanding payment obligations shall
  remain in effect until satisfied in full, and the following provisions shall remain in effect in accordance with
  their respective terms: Section 4; Section 13 (including Schedule B), Section 14, and this Section 10.

          Section 11.      Headings.

          The headings of the Sections of this Agreement (including Schedules) are for convenience only and
  shall not control or affect the meaning or construction or limit the scope or intent of any of the provisions of
  this Agreement.

          Section 12.      Entire Agreement; Modification; Waiver.

           This Agreement contains the entire agreement between the parties concerning the subject matter
  hereof and supersedes the Prior Agreement. All obligations under this Agreement which were performed by
  the parties prior to the date of this Agreement (for example, actions performed under the Prior Agreement)
  shall be deemed to have been performed under this Agreement. This Agreement may not be modified or
  amended except in a writing signed by both parties. If any term in this Agreement is held by a tribunal having
  jurisdiction to be overbroad and/or unenforceable, the parties acknowledge and agree that the defective
  terms shall be modified to the extent necessary to comply with applicable law. If it is determined that any of
  the provisions of this Agreement are invalid or unenforceable, the remaining provisions shall survive and be
  given full force and effect. Failure to enforce a provision of this Agreement shall not be construed as a waiver
  of future enforcement of that provision or any other provision in the Agreement.

          Section 13.      Governing Law; Dispute Resolution.

         This Agreement shall be governed by, and construed in accordance with, the laws of the State of New
  York. The parties agree to the dispute resolution provision contained in Schedule B.

          Section 14.      Reimbursement of Employer’s Costs of Enforcement.

        Employee shall reimburse Employer for all reasonable costs, including all attorneys’ fees that
  Employer incurs in enforcing its rights and remedies under this Agreement.

         By signing this Agreement, Employee confirms that Employee (i) has read and understood all the
  terms of this Agreement, and (ii) had an opportunity to consult with an attorney of his or her choosing
  before signing it. By signing this Agreement, Employee also confirms that Employee is committed to


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  working for Employer for at least three years as a Registered Nurse caring for elderly patients in a long-
  term care setting.

         Advanced Care Staffing, LLC

  BY: _____________________________                      ___________________________
                                                         Employee Name (Print)

     ______________________________                      ____________________________
     Signature                                           Signature

    _______________________________                      ______________________________
    Date                                                 Date




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                                           SCHEDULE A
                    TO THE AMENDED AND RESTATED EMPLOYMENT AGREEMENT
               RESPONSIBILITIES OF EMPLOYEE UPON COMMENCEMENT OF EMPLOYMENT

     1. Employee shall devote his/her entire professional time, skill and attention to the performance of
        the nursing services and other activities on behalf of Employer, including but not limited to
        obtaining any certifications required for Employer. Employee shall make every effort to, and shall
        conduct him/herself at all times so as to advance the best interests of Employer and the assigned
        Client(s).

     2. Employee shall not, without the written consent of Employer, practice or render any service of a
        professional nature, except as assigned by Employer.

     3. Employee will report to work at the date, time and location assigned by Employer.

     4. Employee shall notify both Employer and the Client immediately upon discovering that Employee
        will not be able to work at a time or date that Employer has scheduled Employee to work.

     5. Employee shall notify Employer, by telephone, if a Client requests Employee to work more than 40
        hours in any work week. This notification requirement does not relieve Employee of Employee’s
        duty to report to work as scheduled.

     6. If any Client instructs or directs Employee to take action that Employee believes to be improper, or
        if any Client instructs or directs Employee to refrain from taking action that Employee thinks is
        necessary, or if Employee has been subject to any conduct by any Client that he/she believes to be
        improper or unlawful, Employee will immediately notify Employer.

     7. Employee shall abide by Employer’s policies and procedures applicable to similarly situated
        employees, which may be changed from time to time in Employer’s sole discretion.

     8. Employee shall at all times during the Term keep Employee’s license to work as a Registered Nurse
        in good standing, and shall remain immigration compliant. This includes, but is not limited to,
        compliance with health exams, Visa screen, and any continued education as required by state
        licensing boards. Employee shall immediately notify Employer in writing of any investigation or
        inquiry involving Employee by any state or federal regulatory agency, governmental authority, or
        licensing authority.

     9. Employee shall at all times comply with the ethics and professional standards pertaining to
        Registered Nurses as well as all applicable federal, state and local law.

     10. Employee shall in a timely fashion prepare, maintain, and submit necessary or appropriate reports,
         claims, correspondence and records relating to his/her duties performed under this Agreement as
         may be required by Employer, all of which shall be the sole property of Employer.




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     11. Employee will immediately notify Employer in writing of (i) any incident or claim of wrongdoing or
         neglect involving Employee’s provision of services under this Agreement and (ii) any investigation
         or inquiry involving Employee by any state or federal regulatory agency, governmental authority, or
         licensing authority.

     12. Employee shall be held responsible for any legal action taken against Employer due to Employee’s
         misrepresentation of him/herself or his/her qualifications.

     13. Employee understands and agrees that he/she is obligated to work the schedules and shifts
         assigned to him/her and that Employee may be required to work varying shifts and varying hours at
         Employer’s sole discretion.

     14. Employee shall be responsible for providing Employee’s own method of reliable and timely
         transportation to and from any Client, including when necessary travelling between different
         Clients in a single day.

     15. Employee must provide a reliable method for Employer to get into contact with Employee during
         and after work, including a mobile telephone and e-mail address.

     16. Employee shall promptly provide all documents as requested by Employer during Employee’s
         employment.

     17. Employee shall comply with any additional lawful rules and requirements established by Employer.




  Signatures:    ______________________________
                 Employee

                 ______________________________
                 Employer




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                                            SCHEDULE B
                        TO THE AMENDED AND RESTATED EMPLOYMENT AGREEMENT
                                   DISPUTE RESOLUTION PROVISION

          As a condition of my employment with Advanced Care Staffing, LLC (“Employer”), except for
 Employer’s enforcement of restrictive covenants as provided for in Section 6(c) of the Agreement, I agree
 that any dispute, controversy or claim arising between me and Employer (including a dispute, controversy or
 claim arising out of, in connection with or relating to, this Agreement, or the interpretation, performance or
 breach, termination or validity hereof) shall be resolved by arbitration pursuant to this dispute resolution
 provision (the “Provision”). This includes, but is not limited to, claims involving an alleged violation of public
 policy; all statutory claims for discrimination and/or harassment and/or retaliation under federal, state, or
 local law; and claims concerning wages or other compensation, whether based on statute or any other
 grounds. I, therefore, waive my right to sue in court and have a jury trial.

         This agreement to arbitrate shall be governed by the Federal Arbitration Act and shall remain in force
 even after I separate from Employer for any reason.

          For purposes of this Agreement, a claim against any of Employer’s owners, employees, subsidiaries,
 affiliates, or the owners or employees of any such entities, will be considered a claim against Employer.

         I agree that arbitration will be administered by the American Arbitration Association (“AAA”) and
 that the AAA’s Commercial Arbitration Rules in effect at the time of the dispute will govern, except as
 modified by this Provision. I understand that the AAA’s Commercial Arbitration Rules are available online at
 www.adr.org.

          The costs for initiating arbitration will be governed by the AAA’s policy on costs for employment-
 related disputes. For informational purposes, as of January 2021, that policy provides that the initial filing
 fee for an employee will be no more than $300.00 (which may be waived under certain circumstances), and
 that the employer will initially bear all other filing fees, administrative fees, hearing fees, and arbitrator
 compensation. In the event that the AAA’s initial filing fee is higher than the filing fee for a court action in
 the trial court in the jurisdiction where I reside, I will only be required to contribute the cost of what I would
 have paid to file an action in court. I agree that at the conclusion of arbitration, the prevailing party shall be
 entitled (in addition to all other relief available under the Agreement or applicable law) to be reimbursed for
 its reasonable attorney’s fees as well as all costs and fees charged by the AAA and the arbitrator.

          Arbitration proceedings will be conducted by a single arbitrator. The arbitration shall be conducted
 in New York, New York unless the parties otherwise agree. The arbitration proceedings shall be conducted
 in the English language. All submissions shall be made in English or with an English translation. The arbitrator
 shall be bound by the terms of the Agreement and by applicable law. The award of the arbitrator shall be
 final and binding upon Employer and me, and either Employer or I may apply to a court of competent
 jurisdiction for confirmation and enforcement of such award.




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         I agree that any dispute or claim between Employer and me will be resolved on an individual basis
 only. No arbitration shall include any disputes or claims on behalf of any other employees, such as class
 actions or collective actions. The arbitrator shall not have the authority to hear or issue any award
 concerning the claims of a class action or collective action or to consolidate the claims of more than one
 employee or the claims of a class of employees into a single arbitration proceeding, to the maximum extent
 permitted by law. If Employer or I have any disagreement about whether an arbitration can include any
 dispute or claim on behalf of any other employees, that disagreement will be decided by a court, not by an
 arbitrator.

         I agree that in the event of a default by either party in an arbitration proceeding, if the non-defaulting
 party has satisfied the AAA’s rule(s) on serving of notice, the arbitration shall proceed in accordance with
 Rule E-6 of the AAA’s Commercial Arbitration Rules, Expedited Procedures (titled, “Proceedings on
 Documents and Procedures for the Resolution of Disputes Through Document Submission”).

        Employer agrees that should there be arbitration proceedings in accordance with this Provision, I
 would be free to pursue all available substantive or procedural rights or remedies in such arbitration
 proceedings. For example, this Provision does not alter any applicable statute of limitations and does not
 prevent the arbitrator from awarding all types of damages available under the applicable statute(s) or
 common law.

         I agree that in the event that any court of competent jurisdiction shall determine that any portion of
 this Provision exceeds the scope permitted by applicable law, the court shall have the authority to modify or
 “blue pencil” such portion so as to render it enforceable while maintaining the parties’ original intent to the
 maximum extent possible. If a court determines that a legal dispute shall not be resolved by arbitration for
 any reason, the dispute or claim shall be decided by a judge, without a jury.

         I understand that in a lawsuit in court, I would have certain rights to a trial by a jury or a judge. I
 voluntarily and knowingly agree to give up those rights, and I understand that all disputes or claims relating
 to my employment (or termination of employment) will instead be decided by an arbitrator. I understand
 that I have a right to consult with a person of my choosing, including an attorney, before signing this
 Provision.


 Signatures:      ______________________________
                  Employee

                  ______________________________
                  Employer




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                                                                                                                           ~
                                                                                                                        AdvaeudCare




                                                                                                        AMENDED AND RESTATED EMPLOYMENT AGREEMENT
                                                                                                                                                    0
                                                                                                                                                              }, dated as of Novembe r _
                                                                                    This Amended and Restated Employm ent Agreemen t ( Agreemen t''
                                                                                                                                                          Gates  Ave nu e, Suite SB, Brooklyn,
                                                                         202 1, is by and between ADVANCED CARE STAFFING, LLC, located at 1000
                                                                                                                                                 -
                                                                                                                                                V' .cla t            a natural person res iding
                                                                         New York 11221, ("Employe r" ) and ... .. Be    1"'20(     S~<i!W'
                                                                                         lone. "Toviu ?:,'3 12tw;. W~;;f , L~>" t 0 r'I ½:::\4 ~G&(the "Employe e"}.
                                                                         at flt'\i" 102
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                                                                                                                            BACKGROUND

                                                                                                                                                          rse,s whom Employer dep foys
                                                                              A. Employe r is a healthcar e staffing agency that recruits and employs nu
                                                                                 to contracte d long~term  care   facilities such as nursing homes and skilled nursing facilit ies (each, a
                                                                                   " Client'' ) in the United States.

                                                                                                                                                           to Employer by Employee,
                                                                             8.    Based upon th e education , training and personal informatio n provided
                                                                                                                                             Nurse  at one or more •Of its Clients in th e
                                                                                   Employer desires to hire Employee to work as a Registered
                                                                                   United States.

                                                                                                                                                               that is sponsorin g Employee
                                                                             C.    Employee is not currently under contract with any person or company
                                                                                   to work in the United States other than Employer.

                                                                                                                                                          in the United States and to
                                                                             D. Empfoyee desires to be employed by Employer as a Registered Nurse
                                                                                           long- term care setting in accordanc e with the terms and condition s of t his Agreemen t.
                                                                                w ork in a

                                                                             E. Employee and Employer entered .i nto an Employment Agreemen t on
                                                                                                                                                 __                    .....v....
                                                                                                                                                                   M_c:..j   . _    ~      , 20.Jj
                                                                                (uPrior Agreemen t") .

                                                                                  Employer and Employee wish to fully replace the Prior Agreemen t with
                                                                                                                                                               this Agreemen t.
                                                                             f.

                                                                                                                               TERMS

                                                                         Employer and Employee hereby agree as follows:
                                                                                                                                                                                        Documen ts
                                                                                  Section 1.        Employee's Representations and Obligation to Cooperate and to Provide
                                                                                                    and Informatio n.

                                                                                          Employee represents that Employee is not currently under contract
                                                                                                                                                                   with any other person
                                                                                 (a}
                                                                                                                     to  work  in the United    States.   Employee   a lso represent s that
                                                                        or company that is sponsoring Emp•loyee
                                                                                                   petitioned by any other  agency  or facility  fo,r employm   ent in  the United States.
                                                                        Employee has not been
                                                                                                                                                      any other person   or company to file
                                                                        Employee agrees th at during the Term, Employee shall not contract with
                                                                        a petition/a pplication with USCIS for Employee 's benefit.
                                                                                                                                                                                convicted of a
                                                                                  (b)    Employee represent s and warrants that Employee has not previously been
                                                                                                                               and  that there  are  no impedime    nts to Employee   entering
                                                                        criminal offense other than minor traffic violations
                                                                                                           also  represent s that  Employee    is in  good   p.hyskal  and  mental  health (in
                                                                        into this Agreement. Employee
                                                                                                                                                                on authoritie s and the Board
                                                                        accordanc e with the standards and requirem ents as regulated by US immigrati
                                                                                                                                                   t nor the consumm    ation or performa nce
                                                                        of Nursing of the state(s)) and neither the execution of this agreemen
                                                                                                            s hereunde r will   conflict  with  or   result in  the  breach  of any previous
                                                                        of any of the parties' obligation




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                                                                         agreement entered into by the Employee. Employee further repres£nts and warrants that Employee knows
                                                                         of no impediment to Employee receiving an immigrant visa.

                                                                                  {cj      Upon the execution of this Agreement, and during th e term of this Agreement, Employee
                                                                         shall deliver to Employer all documents that Employer, in its sole discretion, deems necessary (i) to validate
                                                                         personal, educational, professional and any other information pertaining to Employee; and (ii) to obtain
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                                                                         immigration approvals necessary for Employee to depart Empk>yee's foreign country and work in the United
                                                                         States. Further, during the Term {as defined below), Emp'loyee agrees to provide all documents and
                                                                         information and to appear for any and all interviews as deem ed necessary by Employer, tn its sol'e discretion.

                                                                                (d)      Employee promises to promptly schedul e and appear for any and all interviews, med ical
                                                                         exams or the like that may be necessary to secure approval to depart Employee's foreign country and to
                                                                         enter into and work in the United States.

                                                                                  (e)   Employee agrees to submit to post-offer and pre-employment medical examinations
                                                                         (including a negative PPD and/or chest X•Ray), vaccinations, drug screening, fingerprinting, and other
                                                                         requirements prior to providing any service, in accordance with United States fe deral, state, and local
                                                                         requiremen ts.

                                                                                 Section   z.     Authorizationand Licensing Requirements.

                                                                                 {a}    Employee acknowledges and agrees that employment with Employer is contingent on
                                                                         Employee becoming authorized to work in the United States and maintaining authori'zation to work as a
                                                                         Registered Nurse in the United States jurisdiction{s) selected by Employer, in its sole dis.cre tion.

                                                                                 (bl     Employe,e shall use Employee's best efforts to promptly register for and take all examinations
                                                                        required to obtain the necessary authorizations and licenses. Required examinations include, but are not
                                                                        limited to the National Council Licensure Examination ("NCLEX"), which Employee shall take within three
                                                                        months of the date of this Agreement. .Jf Employe.e fails to pass any required examination, Employee shall
                                                                        take additional steps and shall commit additional time and energy to studying and passing the examination
                                                                        at the next available examination session . Employer's obligations under this Agreement are contingent upon
                                                                        Employee passing the NC LEX within six months of the date of this Agreement.

                                                                               (c)    Employee shaH use Employee's best efforts. to promptly obtain a Visa Screen certificate from
                                                                        the Commission on Graduates of Foreign Nursing Schools or a USCIS-approved equivalent independent
                                                                        credentlaling organization.

                                                                                (d)       Employee shall use Employee's best efforts to apply for licensure as a Registered Nurse in
                                                                        the United States jurisdiction(s) selected by Employer, in its sole discretion .

                                                                                Section 3.       Petition for Employment Based Immigrant Visa.

                                                                                 (a)      Upon receipt of proof that Employee (i) is duly licensed and qualified as a Re.gistered Nurse
                                                                        in the U.S. State selected by Employer, (ii) has passed the IELTS, and (iii) has obtained a Visa Screen, Employe r
                                                                        will prepare and submit a petition for an Employment-Based Immigrant Visa ("EB Visa" J on behalf of
                                                                        Employee to the United States Citizenship and Immigration Service ("USCIS"}. Employer will pay all fees
                                                                        associated with the filing of such petitions, including attorneys~ fee•s. Employee agrees that Employer may



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                                                                          ¥1 . fli'O fur the handling of th  EBVisa P t.ition by on lmmigr lion attorney of its choice and that .au deci;;ion:s..
                                                                                                                                                                              shall be In £mc,wyer':;
                                                                         fi:'i~rding the handttng and filing of th e EB Vis,a petition, including preference tegory,
                                                                         sck discretion.
                                                                                           In the v:ent that th EB Vi a petition is not approved by the governme
                                                                                                                                                                                  nt fo r any reason,.
                                                                                   (b}
                                                                                                                                                             , to refile, appeal   the denial, and/or
                                                                         E ; 10'! r shall ha . e the right (but not th e obllgation)i In its sole discretion
                                                                                                                                                                   appeal,  o
                                                                                                                                                                            , r seek   further revi~w,
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                                                                         seek further governme n t review ofthe petition      . If Employer    chooses  to refile,
                                                                                                        coop~rate , with  Employer   's efforts,  but the  appeal   or  request   fo r furt her revi.e1,11
                                                                         Employee will continue      to
                                                                         shall be at Employer's sole expense.
                                                                                                                                                                              ny government
                                                                                  (c)   Employee understands and acknowledges that Employer cannot guarante e a
                                                                                            Employee   , including but not limited   to,  the type of work  authoriza tion issue d by USCIS (if
                                                                        appro al regarding
                                                                                                                                                                date by which Employee wm
                                                                        any). Emplo~e fu rther und erst ands that Employer cannot guarantee a specific
                                                                                                                            by which     all requireme nts  for employm   ent wilf have been
                                                                        be sent to the United Sta tes or a specific date
                                                                                                   rstands  that any applicatio n or  petition  submitted  by or on behalf  of Employee with
                                                                        satisfied. Employee unde
                                                                                                                                                            of such govemme    n t{s}, and that
                                                                        the United States or t he foreign governme nts is subject to the sole approval
                                                                        any such appro al is outside of Emplover's control.

                                                                                  Section 4.           Advanced Costs,

                                                                                              Employer agrees to advance (or reimburse) the following costs on
                                                                                                                                                                                  behalf of Employee
                                                                                  (a)
                                                                        {,,,Advance d Co.sts ..):

                                                                                        1. The costs of the review courses specified by Employer.
                                                                                                                                                                               by
                                                                                        2. The costs of initiaf professfonal licensing fees (costs of renewals may be advanced
                                                                                           f mployer in i ts sofe discretion);
                                                                                        3. The costs of credentialing specified by Employer;
                                                                                        4. The costs of visa screens, as applrcable;
                                                                                                                                                                        , pay for
                                                                                        5. Costs of the NCLfXe.xam for one attempt; Employer may1 in its sole discretion
                                                                                                     l attempts, th e costs of which would be included as th Advanced Costs; and
                                                                                           additiona
                                                                                                                                                                              .
                                                                                        6.   JfLTS Certification for on e attempt (English Lan guage Proficiency T st)

                                                                                 Employer reserves the right, in its sole discretion, to pay for or r imburse
                                                                                                                                                                           ddltlon al
                                                                                                                                                            d as Mvan
                                                                        exarffi and related xpen~ as needed by Employee , .. II of which sh II b rce rd
                                                                                                                                                                                     ent in the
                                                                                 {b)     Upon Em ployee' s receipt of U Cl approval to trnvc l to nnd comm nee t>mployf\'1
                                                                                                                                  yment    obligations  under  this Agreemen  t, Employ  r tmll
                                                                        United States, and satisfactio n of all oth r PHH?mplo
                                                                        advance fc,r reimburse} the following     · ddltlonnl costs, all of which   hell olso b  r •g<lrded a Advan   d  c   ts·


                                                                                        1. On e on -way , rplon~ ti k t (rconomy ni rf r .) to th <! U.S. sto ic whe re Empl
                                                                                                                                                                             ye.e              will bt>
                                                                                           d ploy . d;
                                                                                        2. Housirtg aUowan of minimum oF$1,000 per m onth for two manth~;
                                                                                        3. $400 gift     'rds for gro ~rles; ancl
                                                                                                                                                                                mplovt             e s
                                                                                        4. One monthly r,at1!; for local public lrontsportotlon (If any) In th o c ty whe re l;
                                                                                             d pfoy~d.




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                                                                                  (c)     Employee acknowledge s that employer is incurring Advanced Costs upon the -express
                                                                                                                                                                        repay all
                                                                          condition that Employee will complete the Term in full Therefore, Employee shall immlcdiately
                                                                          Advanced Costs in the event that Employee fails to complete the Term for any reason.



                                                                                                   Work Schedule and Responsibilities Upon Commencem ent of Work
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                                                                                  Section S.

                                                                                  (a)      Upon lawful arrival in the United States, Employee agrees to work as a Registered Nurse
                                                                         (including afl duties that are customary in providing nursing services) on a full-tim e basis. Typically,
                                                                                                                                                                                 and
                                                                         Employer's clients follow one of three daily shifts, 7:00 a.m. to 3:00 p.m., 3:00 p.m. to 11:00 p.m .,
                                                                                                                                                                                     the
                                                                         11:00 p.m. to 7:00 a.m. (with an unpaid meal break during each shift); however,, the hours of work and
                                                                         shift schedufe shall be determined by the Employer.

                                                                                 {b)      Employees.hall be available to work a full-time worlc schedule and any overtime required
                                                                         by Employer, subject to applicable law. Employee shall not commit to any business activity outside of
                                                                         Employee's emp(oymen t with Employer without Employer's prior written approval.

                                                                                (c}     Employee's assigned work location shall be determined by Employer in its sole discretion.
                                                                                                                                                                         months at
                                                                        The assignment to any Client may be changed at any time. After completing a minimum of six
                                                                                            location,  Employee  may request   a different assignment, but Employee understands and
                                                                        Employee;s assigned
                                                                        agrees that Employer will ultimately determine, in its sole discretion, Employee's assignment.

                                                                                  (d}       Upon becoming eligible to commence employment in the United States, Employee agrees to
                                                                        ab id-e by aJI of the rules set forth in Schedule A.

                                                                               Section 6.         Confidential ity and Non solicitation.

                                                                                (a)      Employee acknowledg es tha~ during the course of employmen t with Employer, Employee
                                                                       will be privy to confidential information of Employer, including but not limited to dient lists
                                                                                                                                                                           and information,
                                                                       placement information, business plan information,         marketing  information,   industry  analysis,  and business
                                                                                                     ('
                                                                                                       1
                                                                                                         Proprietary Information"   .
                                                                                                                                   ),  Employee  also   acknowledge   s that   Employer     has
                                                                       developmen t information
                                                                                          amounts    of   money,  time  and effort  in developing and   maintaining   relationships    w ith its
                                                                       spent substantial
                                                                                                                                                                                          t and
                                                                       Clients and empfoyees. Employee agrees that the following restrictions on Employee's employmen
                                                                                                                                          business ;jnterests in the education   and  trainin  g
                                                                       work activities are necessary to protect Employer's legitimate
                                                                                                                   with Clients and   employees, and  its Proprietary  Jnformation  :
                                                                       provided to Employee, its relationships

                                                                                       (i}     Employee agrees never to disclose any of Employer's Proprietary Information to
                                                                                                                                                                         Employee
                                                                       anyone outside of Employer except as required in the course of Employees duties for Employer.
                                                                                                                                                     Proprietary Information in any
                                                                       further agrees not to use, or cause or allow another person or entity to use,
                                                                       way other than in Employer;s business   (as authorized by Employer).

                                                                                        (ii)   Throughout the duration of the Term {regardless of whether Employee's
                                                                                                                                                                  another
                                                                       employment terminates sooner for any reason), Employee shall not work, directly or through
                                                                       employer, for any Client with whom Employer placed Employee to work at any time.




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                                                                                           (iii)    Throughout the durtltion of the Term (regardless of wh e ther Employee's
                                                                         empfoyrnent terminates sooner for any reason} and for a period of two years thereafter, Employee will nor
                                                                         directly or indirectly, solicit, induce, or encourage any of Employer's employees to separate from Empfoye r.

                                                                                            (iv)     Throughout the duration of the Term (regardless of whether Employee's
                                                                         employment terminates sooner for any reas-0n) and for a period of two years thereafter, Emp loyee will not
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                                                                         directly or ind irectly, solicit, induce, or encourage any Clients to stop doing business with Empfoyer.

                                                                                 {b}      Employee acknowle dges that the above restrictions on Emp:loyee's activities do not prevent
                                                                        Employee from pursuing a career In nursing or from using skills learned while employed by Employer in any
                                                                        busfness or activity outside the scope of this Se ctlon 6. Employee further acknowledges and agrees that the
                                                                        restrictions in this Section 6 are narrow, reasonable,. legitimate and fair, and a re warranted to protect only
                                                                        the legitimate business interests of Employer in protecting Its Client and employee re lationships, ensuring
                                                                        that Employee 1,oyally discharges Employee's duties, and preventing the unauthorized disclosure o f its
                                                                        Proprietary lntormatio:n.

                                                                                 {cl     Employee acknowledges and agrees that if he or she breaches any of the above covenants,
                                                                        the damage to Employer would be irreparable and that money damages would not adeq uately compensate
                                                                        f mployer for its damages. Accordingly, notwithstanding anything in this Agreement to the contrary,
                                                                        Employee agrees that in the event of a breach of the covenants in this Section 6, Employer will be entitled to
                                                                        an immediate order from a court of competent jurisdiction commanding Employee to cease violating the
                                                                        covenant(s) and e njoining Employee from further violation. Employer shall not be required to post a bond.
                                                                        Employer shaJI be entitled to recover all reasonabfe attorneys' fe,es and costs incurred in seeking such an
                                                                        injunction . This inju nctive remedy shall not be exclusive of any other remedy to which Employer might be
                                                                        entitled.

                                                                                (d)      The parties agree that if any of the covenants in this Section 6 is foun d to be unenforceable
                                                                        as drafted 1 the court interpreting such covenant is expressly authorized to make such modifications as are
                                                                        necessary to make it enforceable according to applicabfe law and to enforce it as modified.

                                                                                Section 7.       Compensation.

                                                                                (a)    Employee wHI be paid in accordance with applicable federal and state law (including
                                                                        applicable minimum wage and overtime requirements).

                                                                              (b)     Employee's wage rate for the services specified in the USC!$ petition pursuant to which
                                                                        Employee provides services under this Agreement shall be the prevailing wage rate specified in that petition .

                                                                                {c)     Employee shall be required to, complete and submit time records in accordance with the
                                                                        requirements of Employer and the Client. Payment of compensation, including frequency of payments and
                                                                        with holding of taxes and other legally authorized withholdings, will be subject to applicable law and
                                                                        Employer's policies.

                                                                                Section 8.      Paid Time Off and Other Benefits,

                                                                               Employee shaH participate in all benefits applicable to all of Employer's similarly situated employees,
                                                                        induding group health insurance, holidays, and paid time off (which includes both sick time and vacation
                                                                        time). Employee understands that benefits provided to all similarly-situated employees may be changed




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                                                                        from time to time in Employe~s sore discretion. Employee shafl a lso be covered by worke rs' compensation
                                                                        ins urance and all applicable, legally-mandated leave entitlements, such as any applicable family a nd medical
                                                                        leave, subject to applica ble eligibility requ irements.

                                                                                Section 9.      Torm..
                                                                                  (a)   The term of th is Agr<?ement (the ''Term"J shall continue until Employee has completed three
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                                                                       years of work as a Regist e red Nurse for Employer in the United States. The three. year emp loyment period
                                                                       s ha ll be deemed to have be,en completed upon Employee's completion of 5460 hours worked for Employer
                                                                       in the United States.

                                                                              {b}     Time off spent by Employee while using authorized accrued paid time off ("PTO") shall be
                                                                       counted towa rds completion of the Term (e.g.1 Em pioyee taking on e week of PTO will have one week counted
                                                                       toward completion of the Term).

                                                                                (c)     tf Employee fails to report to work for any amount of time durin g the Term, other than while
                                                                       usln g authorized, accrued PTO, then, at Employers option, the Term may be extended bytbe a mount oftime
                                                                       missed .

                                                                               Section 10.      Termination.

                                                                                {a)      Each party reserves the right to terminate th is Agreement prior to th e end of the Term,
                                                                       sLJbject to the following conditions:

                                                                                        {1}      Employee a cknowledges that if Employee fails to fulfill Employee's obligations under
                                                                       this Agreement, Empfoyer will suffer significant harm arising from the significant investment related to the
                                                                       recruitment, training, credentialing, and placement in the United States (including fees paid to thi.rd-partres)
                                                                       and the re asona ble expectation that Employee will maintain full-time employment with :Employ,e r for the
                                                                       maximum amount of time under this Agreement. Such harm includes., but is not limited to, the expenses and
                                                                       costs mentioned in Sections 3 and 4 (s.ubject to applicable law). In addition, Employee recognizes that
                                                                       Employer will suffer significant loss of profits {reflecting not only loss of anticipated profits under this
                                                                       Agreeme nt but also resulting from the impact on Employer's relationship with its Clients) rn the event
                                                                       Employee fails to fulfill Employee's obligations under this Agreement. Therefore, the partie s agree that if
                                                                       Employee term inates this Agreement without Good Reason (as defined below), or if Employer terminates
                                                                       this Agreement for Cause (as defined below), Employer shall be entitled to all damages and other relief to
                                                                       red ress the harm caused by the fail ure of Employee to fulfill Employee' s obligations under this Agreem ent.

                                                                                        {2)     For purposes of this Agreement, i/Good Reason" for termination by Employee is
                                                                       defined as a failure by Employer to correct a material breach of Sections 3 or 7 of this Agreement with in 35
                                                                       days following Employer's receipt of written notice by Employee of such material breach. Written not ice
                                                                       must physically be received at Employer's office at 1000 Gates Avenue, 5 Floor, Suite SB, Brooklyn, New
                                                                                                                                                   th


                                                                       York 11221.

                                                                                       (3)      For purposes of this Agreement, "Cause" includes, without limltatio n1 Employee' s
                                                                       loss of Employee's  authorization to work as a Registered Nurse in the jurisdiction{s) assigned by Employer,
                                                                       Employee's faffure or refusal to perform any of Employee' s material obligations under this Agreement,
                                                                       Employee's refusal to adhere to the policies or procedures of the Client(s) to which Employee is assigned,
                                                                       Employee's engaging in conduct detrimental to the reputation of Employer or its Client{s}i Employee's



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                                                                          commission of an unlawful act, Employee' s unauthorized removal of property of Employer or a Client,
                                                                          Employee's falsification of documents, reports or record s, absenteeism or chronic lateness, Employee's
                                                                          fa ilure or refu sal to provide patient care consistent wftf'I acce pted guidelines or to perform th e duties of
                                                                          employment. Employ,e r may immediately terminate this Agreement for Cause at any time ,

                                                                                 {b)      This Agreement w ill terminate in the event of Employee' s Disabtlity (as defined below) or
                                                                         death. For purposes of this Agre e ment, " Disab ility" means incapacitation due to illness, accident or oth er
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                                                                         physical or mental disability which renders Employee substantially unable to wo rk for a period of one
                                                                         hundred twenty (120} days, and no' reasonable acc:ommodation being available which would permit
                                                                         Employee to pe rform th e essential functfons of Employee's position. In the event Employee and Employe r
                                                                         disagree as to the existence of a Disability, the dispute shall be resolved by an independent me dical doctor
                                                                         selected by Employer.

                                                                                  (c)     In the event of term ination of this Agreement, any outstanding payment obligations shall
                                                                         remain in effect until satisfied in full, and the following provisions shall remain in effect in accordance with
                                                                         their respective t erms: Section 4; S~ction 13 (rnduding Schedule B), Section 14, and this Section 10.

                                                                                 Section 11.      Headings.

                                                                                 The headings of t he Sections of tliis Agreement (including 5chedufes) are for convenience only and
                                                                         shall not control or affect the meaning or construction or limit the scope or intent of any of the provisions of
                                                                         this Agreement.

                                                                                 Section 12.      Entire Agreement; Modification: Waiver.

                                                                                  This Agreement' contains the entire agreement between th~ parties concern ing the subject m<1tter
                                                                        hereof and supersedes the Prior Agreement. All obligations under this Agreement which were performed by
                                                                        the parties pri or to the date of this Agreement (for example, actions performed under the Prior Agreement)
                                                                        shall b~ deemed to have been performed under this Agreement. This Agreement m·ay not be rnodifred or
                                                                        amended except in a writing signed by both parties. If any term in this Agreement is held by a tribunal having
                                                                        jurisdiction to be overbroad and/or unenforceable, the parties acknowledge and agree that the defective
                                                                        terms sha1I be modified to the exte·nt necessary to comply with applicable law. If it is determined th::it any of
                                                                        the provisions of this Agreement are invalid or unenforceable,. the remaining provisions shall survive and be
                                                                        given full force and effect. Failure to enforce a provision of this Agreement shall not be construed as a waiver
                                                                        of future enforcement of that provision or any other provision in the Agreement

                                                                                Section 13.      Governing Law; Dispute Resolution ,

                                                                               This Agreement shall be governed by, and construed in accordance with, the laws of the State of New
                                                                        York. The parties agree to the dispute resolution provision contained in Schedufe B.

                                                                                Section 14.      Reimbursement of Employer's Cos ts of Enforcement.

                                                                               Employee shall reimburse Employer for all reasonable costs, including all attorneys' fees th at
                                                                        Employer incurs in enforcing its rights and remedies under this Agreement.

                                                                                By signing this. Agreement, Employee confirms that Employee (i) has read and understood all the
                                                                        terms of this A.g reement, and (ii) had an opportunity ta consult with an attorney of his or her choosing
                                                                        before signing it. 8y signing this Agreement, Employee also confirm$ that Empfayee is committed to



                                                                                                                            Page 7




                                                                                                                               A-245
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                                                                                                             Athllt'tef¼df!lfff




                                                                     workin for Employer for at foHt three Y ~rs s D heslster~d Nur · t:t         ring fo r lderty ,patient in a h::mg..
                                                                     term ai re w.ntt:in1.
                                                                            Adwncoo or Staffln~ Ll.C


                                                                                                                                  Employee N rn e {Print)
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                                                                        Date                                                      Date




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                                                                                             'fO nrn AMtNCHIO AND nr.srA'feO UMPLOVM N r A nr MtiNT
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                                                                               tlY nurslna sorvic llind oth r t vltl ; on bchoH of Employ :r, ntludlng but
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                                                                                 ondu t him/hers If t all tlrrHts so 011 to adv n, th e bc,t In tor .-.t., , of
                                                                                                                                                                3nploy4?r and th ::i1111i nea
                                                                                 II nt(!i).

                                                                               Emptoy ·• sh II not, without th wrltt n consent of Emp loy r, prn tlce
                                                                                                                                                      or n,md r any s rvi e of a
                                                                               profcsslorml natur , xccpt s ossl tl. d by EmploY r.

                                                                          3,   Employee will report to work at th e date, tim e and location asslgMd
                                                                                                                                                              by Employ r.
                                                                          4,   Emtlloyc shalt notify both Employ r nd th Client irnmcdk1l ly upon
                                                                                                                                                          discoverin g th t Empt v e
                                                                               will not b · · abl to work at u time or date t hat Em ployer has ch du led Employee
                                                                                                                                                                     to work,
                                                                          S.   Employ )e s hall notify Emp loyer, by t le phone, if a Clie nt requests Employee
                                                                                                                                                                 to work more than 40
                                                                               hou rs in any work w eek. This notificati on requirem ent does not reliev
                                                                                                                                                            · mploy of Employ '1
                                                                               duly to report to wmk as s.cfluduted.

                                                                          6.   If any di ent instructs or directs Employee to t ake action that Em ployc
                                                                                                                                                                 beliseves to be improper , or
                                                                               if any Client instructs or directs Employee to refrain from takin g action that Employee
                                                                                                                                                                         thinks is
                                                                               necessary , or if Employee has been subject to any conduct by any Client that
                                                                                                                                                                he/ she be h ves to b
                                                                               improper or unlawful, Employee will Immediat ely notify Employer .

                                                                          7.   Employee shall abide by Employer 's polkies and procedure applicable
                                                                                                                                                           to similarly situ ated
                                                                               employee s, which may be changed from time to time in Employer's
                                                                                                                                                sole dis retion.
                                                                          8.   Employee shall at all times during the Term keep Employee's license
                                                                                                                                                   to work as a Registere d Nur "
                                                                               in good standing, and shalt remain immigrat ion com pliant. This Includes,
                                                                                                                                                           but is not limitt::d to,
                                                                               complian ce with health exams, Visa screen, and any continued education
                                                                                                                                                           as requir d by state
                                                                               licensing board s. Employee shall immediat efy notify Employer in
                                                                                                                                                  writing of any investiga tion or
                                                                               inquiry involving Employee by any state or federal regulator y agency,
                                                                                                                                                      governrne ntal authority , or
                                                                               licensing authority .

                                                                          9.   Employee shall at all times comply with the ethics and professional standards
                                                                                                                                                             pertainin g to
                                                                               Registere d Nurses as w ell as all applicable federal, state and local l'aw.

                                                                          10. Employee shall in a timely fashion prepare, maintain, and submit
                                                                                                                                                          n ecessary or appropria te reports,
                                                                               claims, correspondence and records refaUng to his/her duties performed under this
                                                                                                                                                                                Agreeme nt as
                                                                               may be require.d 1::!y Employer, all of which shalt be the sole property
                                                                                                                                                              of Employer .




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                                                                                                                     Advanoodt.arc




                                                                          11. Empioye-e will immediately notify Employer In writing of (i) any incident or claim of wrongdoing or
                                                                              neglect involving Employee's provision of services under this Agreement and {ii} any investigation
                                                                              or inquiry involving Employee by any state or federal regulatory agency, governmental authority, or
                                                                              licensing authority.
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                                                                         12. Employee shall be held responsible for any !egaf action taken against Employer due to Employee' s
                                                                             misrrepresent ation .o f him/herself or his/her qualifications.

                                                                          13. Employee understands and agrees that he/she is ob ligated to work the schedules and shifts
                                                                              assigned to him/her and that Employee may be requ[red to work varying shifts and varying hours at
                                                                              Employers sole discretion.

                                                                         14. Employee shall be responsible for providing Employee's own method of reliable and timely
                                                                             transportati on to and from any Client, including when necessary t ravelling between different
                                                                             Clients in a single day.

                                                                          15. Employee must provide a reliable method for Employer to get into contact with Employee du ring
                                                                              and after work, including a mobile telephone and e-mail address.

                                                                         16. Employee shall promptly provide all documents as requested by Emptoyer during Employee's
                                                                              employment.

                                                                          17. Employee shall comply with any additional lawful rules and requ.irem ents established by Employer.




                                                                      Signatures:          5t1k1/~1  11

                                                                                      Emplolee



                                                                                      Emp foyer




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                                                                                                                       SCHEDULE B
                                                                                                 TO THE AM.Et-mED ANO RESTATED EM~LOYMENT AGREEMENT
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                                                                                                              DISPUTE RESOLUTION PROVISION

                                                                                  As a condition of my employ ment with Advanced Care
                                                                                                                                                Staffing, HC ("£mployer"J, except for
                                                                                                                                       d for in Section 6(c) of t he Agreem ent, I agree
                                                                         Employer's enforcement of restricti ve covenan ts as provide
                                                                         that any d ispute controv ersy or da im arising betwee n me and
                                                                                                                                         Employer (including a dispute, controversy er
                                                                                           1
                                                                                                                                        Agreem ent, or the interpre ta t ion, perform ance or
                                                                         claim arising out of, in connect ion with o r relating to>this
                                                                                                                    shall be  resolw  d by  arbitrat ion pursuan t to this dispute resor ution
                                                                         breach, termina tion or validity he reof)
                                                                                                                                          .to, claims involving an alleged violation of publrc
                                                                         provisio n (the "Provision"). Thi.s in dudes, bot is not lrmited
                                                                                                                                                  and/or retaliation under federal, state, or
                                                                         policy; all statutory claims fo r disaimination a nd/or harassment
                                                                                                                                                   whethe r based on statute or any o her
                                                                         local law; and claims conce rn ing wages or other compen sation,.
                                                                                                                                       have   a jury trial.
                                                                         grounds. I, therefo re, waive my right to sue in court   and

                                                                                                                                                     Arbitrat ion Act and shall r emain in force
                                                                                 This agreem ent to arbitrat e shalt be governe d by the Federal
                                                                         even after I se parate from Employ er for any reason.

                                                                                                                                                         owners, employees,. subsidia ries,
                                                                                   For purposes of th is Agreem ent, a claim against any of Employer's
                                                                                                                                      , will be conside red a claim against Employer.
                                                                         affiliates, or the owners or employees of any such entities
                                                                                                                                                     Arbitrat ion Associ ation ("AAA" ) and
                                                                                  l agree that arbitrat ion will be admi nistered by th e American
                                                                                                                                     at the  time  of the dispute wilt govern, ·e xcept as
                                                                         th at the AAA's Commercial Arbitrat ion Rules in effect
                                                                                                                         the  AAA's Comme   rcial Arbitrat ion Rutes are available online at
                                                                         modified by this Provision. r underst and that
                                                                         www. adr.org,.

                                                                                 The costs fot initiating arbitration will be governe d by the
                                                                                                                                                    AAA's policy on costs for employment-
                                                                                                          tional purpose  s, as of  January  2021, that  policy provid es that the in itial filing
                                                                        related disputes. For informa
                                                                                                                                                  waived under certain circumstances}, a nd
                                                                        fee for an employe'E! will be no more than $300.00 (which may be
                                                                                                                                                  trative fees, hearing fees~ and arbitrat or
                                                                        t.hat the employer will initially bear all other filing fees, adminis
                                                                                                                                       fee is higher than the filing fee for a court action in
                                                                        compensation. In the event that the AAA's initial filing
                                                                                                                             l will only be required  to rnntrib ute the cost o.f what I would
                                                                        the trial court in the jurisdiction where I reside,
                                                                                                                                                 of arbitrat ion, the prevailing party shall be
                                                                        have paid to file an action in court. l agree that at the conclusion
                                                                                                                                                 ent or applicable law) to be reimbursed for
                                                                        entitled {in addition to all other relief available under the Agreem
                                                                        its reasonabl'e attorney's fee.s as well as all costs and fees
                                                                                                                                         charged by the AAA and the arbitrat or.

                                                                                                                                                        The arbitration shall be conducted
                                                                                 Arbitration proceedings will be conducted by a single arbitrator.
                                                                                                                                              arbitrat ion proceedings shall be conduct ed
                                                                        in New York, New York unless. the parties otherwise agree. The
                                                                                                                                    English or with  an  English translation. The arbitrator
                                                                        in the English language. All submiss ions shall 'be made in
                                                                                                                         nt and by applicab le law.  The   award   of the arbitrator shall be
                                                                        shall be bound by the terms of the Agreeme
                                                                                                                                                or l may apply to a court of compet ent
                                                                        final and binding upon Employer and me, and either .Employer
                                                                                                                                    award.
                                                                        Jurisdiction for confirm ation and enforce ment of such




                                                                                                                                   A-249
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                                                                                                                              MHneimCate




                                                                                 l agree that any dispute or claim between Employer and me wi.11 be resolved on an individual basis
                                                                                                                                                                                    as dass
                                                                         only. No arbitration shall include any disputes or claims on behalf of any other employees, such
                                                                                                                                  not  have  the authority  to hear  or   issue any   award
                                                                         actions or coltective actions. The arbitrator shall
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                                                                                                     class actio n or collective action  or to consolidate the claims  of   more  than   one
                                                                         concerning the claims of a
                                                                                                                                                                                     extent
                                                                         employee or the claims of a class of employees into a single arbitration proceeding, to the maximum
                                                                                                                                                                                         any
                                                                         permitted by law. If Employer or I have any disagreemen t about whether an arbitration can include
                                                                                                                               that  disag reement wiU be  decided  by  a  court, not  by an
                                                                         dispute or claim on behalf of any other e mployees,
                                                                         arbitrator.

                                                                                I agree that in the event of a default by either party in an arbitration proceeding, if th e non-defau
                                                                                                                                                                                       lting
                                                                                            the  AAA's rule(s)  on serving  of notice, the  arbitration shall proceed  in  accordance  with
                                                                        party has satisfied
                                                                                                                                                                                      s on
                                                                        Rule f-6 of the AAA's Commercial Arbitration Rules, Expedited Procedures (titled, "Proceeding
                                                                        Documents and Procedures for the Resolution of Disputes Through          Document   Submission"   ).

                                                                                                                                                                                      I
                                                                                Employer agrees that should there be arbitration proceedings in accordance wrth this Provision,
                                                                        w ould be free to pursue all available substantive or procedural    rights or remedies   in such   arbitration
                                                                                                                                                                        and does not
                                                                        proceedings . For example, this Provision does not alter any applicable statute of limitations
                                                                                     arbitrator from awarding   all types of damages  available  under the  a pplicable  statute(s) or
                                                                        prevent the
                                                                        common law.
                                                                                                                                                                                 portion of
                                                                                 l agree that in the event that any court of competent jurisdiction shall determine that any
                                                                        this Provision exceeds the scope permitted by applicable law, the court shall   have   the a uthority to modify or
                                                                                                                                   while maintaining   the  parties' original intent to the
                                                                        "blue pencil" such portion so as to render it enforceable
                                                                                                    If a court determines  that a legal dispute sharl not  be res olved  by arbitration  for
                                                                        maximum extent possible.
                                                                        any reason, the dispute or claim shall be decided by a judge, without a jury,

                                                                                I understand that in a lawsuit in court, ti would have certain rights to a trial by a jury or a judge.
                                                                                                                                                                                 relating
                                                                        voluntarily and knowingly agree to give up those rights, and I understand that all disputes or claims
                                                                        to my employmen t (or termination of employment } will instead be decided      by an  arbitrator.  I understand
                                                                                                                                                                                     this
                                                                        that I have a right to consult with a person of my choosing, including an attorney, before .signing
                                                                        Provision.
                                                                                                     -,       ~

                                                                                                           A


                                                                        Signatures:        Be   f\                 1   Ac.t
                                                                                        Employqe



                                                                                        Employer




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From:                                           Joel Rosalio <IMCEAEX-_O=EXCHANGELABS_OU=EXCHANGE+20ADMINISTRATIVE+
                                                20GROUP+20+28FYDIBOHF23SPDLT+29_CN=RECIPIENTS_CN=
                                                21C50AFDB1B24282BFECD9A67FEAE7EE-JOEL@namprd18.prod.outlook.com>
Sent:                                           Tuesday, January 4, 2022 4:51 PM
To:                                             Benzor Shem Vidal
Cc:                                             Jan Romwel Labro; Kriszaleen Baca
Subject:                                        RE: VIDAL, BENZOR SHEM: USEM Interview Initial Instructions


Hi Benzor,

I already have it signed and notarized, will send it tomorrow. You should have it sometime early next week.

Will send you a separate invite for our meeting.

Thank you,


Joel Rosalio
International Healthcare Manager
Advanced Care Staffing, LLC
P : 718.305.6700 Ext. 210
F : 718.305.6824
E : joel@advancedcarestaffing.com
A : 1000 Gates Avenue, Suite 5B, Brooklyn, NY 11221

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have received this e-mail by mistake and delete this e-mail from your system. If you are not the intended recipient you are notified that disclosing, copying, distributing or
taking any action in reliance on the contents of this information is strictly prohibited. Thank you.




From: Benzor Shem Vidal <shem15418@gmail.com>
Sent: Tuesday, January 4, 2022 4:33 PM
To: Joel Rosalio <joel@advancedcarestaffing.com>
Cc: Jan Romwel Labro <jan@advancedcarestaffing.com>; Kriszaleen Baca <Kriszaleen@advancedcarestaffing.com>
Subject: VIDAL, BENZOR SHEM: USEM Interview Initial Instructions

Hi Sir Joel,

Please see signed contract.

I am available for the video call on Jan 10, 2022 or if we can do it earlier I'm available on Jan 6, 2022.

My viber is +44 7309676345

Also, will the Job Offer and Support Letter be sent to my address this week?

Many Thanks

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                                                                               3 PageID #: 492


Benzor


On Tuesday, January 4, 2022, Joel Rosalio <joel@advancedcarestaffing.com> wrote:

 Dear Benzor Shem Vidal:



 Please refer to the following link for your initial guidance for your upcoming US Embassy Immigrant Visa Application
 interview on January 19, 2022 at 9:30AM.




  https://travel.state.gov/content/travel/en/us-visas/immigrate/the-immigrant-visa-process/step-10-prepare-for-the-
 interview.html



 https://ais.usvisa-info.com/en-gb/iv/information/iv_overview.



 Through this link you can see and make reference to the following matter:

     1. Pre-interview checklist of the documents; some documents may not be required of you depending on which
         category you are included.

         Please make sure that you will have the following:

                 RN credentials:          NY license and CGFNS visa screen certificate (original and photocopies)

                 School Credential:       diploma and transcript of records

                Civil documents:         PSA issued birth cert, marriage cert (if applicable), valid passport, NBI clearance
         and/or police clearance from your present place of residence

     2. Registration of your delivery address;
     3. Interview Guidelines;
     4. Medical Examination Instructions. Please coordinate with the US Embassy for the accredited clinic/hospital. Please
         take note that it may take about 5 days before you get the result and the medical examination result is valid only
         for 6 months. The objective is that you should have a valid medical examination result at the time of the interview.



 Further, kindly find the following attachment for your perusal:



             1. Cover Letter

                                                              2


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                2. Amended Employment Agreement
                3. Introductory Guide to Skilled-Nursing Facility
                4. Nurses Quick Guide



Please review this guidelines carefully and prepare your documents. PLEASE make yourself available sometime next
week and we will discuss all these concerns. Briefing and a short lecture will be conducted by one of our Operations
Manager and myself. Please be prepared for a video call using Microsoft Teams. This meeting may take an hour to 1.5
hour the most. We will send you a separate invite on a specific date. We are also hoping that you can provide us with
your contact details for Viber or Skype (if you have one).



Will call you prior to this date to monitor how things are going. Also for your reference, we will send the original copy of
the Job Offer and Support Letter to the address that you have provided.



Let us know too should you have any questions or clarification.



Thank you,




Joel Rosalio

International Healthcare Manager
Advanced Care Staffing, LLC

P : 718.305.6700 Ext. 210

F : 718.305.6824

E : joel@advancedcarestaffing.com

A : 1000 Gates Avenue, Suite 5B, Brooklyn, NY 11221




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the individual named. If you are not the named addressee you should not disseminate, distribute or copy this e-mail. Please notify the sender immediately by e-mail if
you have received this e-mail by mistake and delete this e-mail from your system. If you are not the intended recipient you are notified that disclosing, copying,
distributing or taking any action in reliance on the contents of this information is strictly prohibited. Thank you.




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From:                              Benzor Shem Vidal <shem15418@gmail.com>
Sent:                              Monday, January 10, 2022 2:36 AM
To:                                USA Petition Priority Care Staffing
Cc:                                Joel Rosalio
Subject:                           Re: VIDAL, BENZOR SHEM: ACS Nurse Sponsorship Agreement and Briefing


Hi Sir Joel,

I would like to double check the scheduled video call later today. What time is it in US time? Is it 3 - 5 PM US
time or UK time?

My viber is +447309676345 for the video call or microsoft teams

Thank you

Regards,

Benzor

On Thursday, January 6, 2022, USA Petition Priority Care Staffing <usapetition@prioritycarestaffing.com> wrote:

 This is video conference call. Please make sure you have access to a camera and headset to connect. We will also have a
 screen sharing presentation therefore advisable that you are in front of a computer or a wide screen to see the content of
 our discussion. We STRONGLY advise to read the email sent by Joel entitled "USEM Interview Initial Instruuction" including
 attachment before attending our conference call.



 Items to discuss:

     1. Amendment in the agreement.
     2. About your assignment with us
     3. Introduction to Skilled Nursing Facility
     4. Interview briefing



 Thank you and we look forward to your attendance.




 ________________________________________________________________________________


 Microsoft Teams meeting

                                                             1


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Join on your computer or mobile app
Click here to join the meeting

Learn More | Meeting options


________________________________________________________________________________




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From:                           Benzor Shem Vidal <shem15418@gmail.com>
Sent:                           Thursday, January 13, 2022 7:18 AM
To:                             Joel Rosalio
Subject:                        Interview Update & Facility Change


Hi Sir Joel,

I've already done my visa interview and it went well. The consular officer said they'll be processing it already.
Hopefully I'll receive my visa sometime next week.

Can I kindly request for a change of facility to Downtown Brooklyn as what we have discussed in the phone?

I'll also start looking for a place so I can come next month by February third or fourth week since I need to leave 6
months before my passport expiry.

Looking forward to your favourable response.

Thank you

Kind Regards,

Benzor




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Marissa Vitolo

From:                           Sami Asaad
Sent:                           Thursday, July 7, 2022 1:57 PM
To:                             Marissa Vitolo
Subject:                        FW: Resignation Letter
Attachments:                    VIDAL -Signed Amended and Restated Employment Agreement.pdf




From: Sam Klein <sam@advancedcarestaffing.com>
Sent: Thursday, June 16, 2022 12:27 PM
To: Sami Asaad <SAsaad@fordharrison.com>
Cc: Maureen Luy <mluy@advancedcarestaffing.com>
Subject: FW: Resignation Letter




From: Maureen Luy <mluy@advancedcarestaffing.com>
Sent: Thursday, June 16, 2022 10:55 AM
To: Sam Klein <sam@advancedcarestaffing.com>
Subject: FW: Resignation Letter

Read below.

From: Maureen Luy
Sent: Wednesday, June 15, 2022 4:01 PM
To: Benzor Shem Vidal <shem15418@gmail.com>; Human Resources <hr@advancedcarestaffing.com>; Tina Tan
<Tina@advancedcarestaffing.com>
Subject: RE: Resignation Letter

Hi Benzor,

You signed a 3 Year contract with Advanced Care Staffing that you need to fulfill. You just started with your
job and have worked for barely 3 mos. since you requested a week vacation after a week of orientation. We
were also clear before you came and even before you signed the contract that the job we are offering you is for
a Long Term Care or Skilled Nursing Facility. At this point, we have delivered our part as your sponsoring
employer, even more than what we have promised.

Please come to our Brooklyn office to discuss further with Mr. Klein.

We will be waiting for your response.

Sincerely,
                                                        1


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Maureen Luy

From: Benzor Shem Vidal <shem15418@gmail.com>
Sent: Wednesday, June 15, 2022 3:45 PM
To: Human Resources <hr@advancedcarestaffing.com>; Maureen Luy <mluy@advancedcarestaffing.com>; Tina Tan
<Tina@advancedcarestaffing.com>
Subject: Resignation Letter

Dear Advanced Care Staffing,

Please accept this letter as my formal notice of resignation for my position as a Registered Nurse. I will be
rendering my two week notice starting today June 15 and my last work day is June 29.

It has been a great honour of working with you but there has been several factors that led me to this moment. It
has been very tough, physically and mentally stressful to work in the nursing home that I always feel burnt out
with no motivation.

Working in a nursing home has been the unsafest practice I have ever experienced in my nursing career. We are
expected to do so much work by ourselves with so much limited staffing resources.

In order to keep my sanity intact, I need to value my physical and mental health.

Please allow me around 6 months to gather the necessary funds to pay for the resignation fee.

I am truly grateful for the guidance you have provided me. I have learned a lot and will always cherish this
opportunity of working with you.

Thank you for the kind understanding.

Kind Regards,

Benzor Shem Vidal




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   BENZOR SHEM R. VIDAL
   # 27 Rizal Avenue Extension, Mambaling, Cebu City, Philippines
   Mobile No.: 09289140514
   Home No.: (032) 4189117
   Email Address: shem15418@gmail.com


   PERSONAL INFORMATION

   Age                  : 24 years old
   Gender               : Male
   Birthdate            :
   Birthplace           : Cebu City
   Civil Status         : Single
   Nationality          : Filipino
   Height               : 167 cm
   Weight               : 62 kgs
   Religion             : Latter-day Saint
   Mother               : Adelia R. Vidal
   Father               : Benicio L. Vidal

   EDUCATION

   College                     Bachelor of Science in Nursing
                               Cebu Doctors’ University, Mandaue City, Philippines
                               Date Graduated: March 2016

   Secondary                   Cebu Eastern College
                               Cebu City, Philippines
                               Date Graduated: March 2012

   Elementary                  Cebu Eastern College
                               Cebu City, Philippines
                               Date Graduated: March 2008


   QUALIFICATIONS

         State of licensure: Illinois
             o License Number: 041466723
             o Valid Until: 05/31/2020

         PH Board of Nursing
            o Rating – 83.40%
            o License Number: 0883458
            o Valid Until: 03/15/2019




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   AWARDS

         Certificate of Recognition as Top 1 – Nursing Theory (Average: 2.1368)
         Certificate of Recognition as Top 1 – Pre-board Examination
         Certificate of Recognition as Top 2 – Cumulative Ranking in Nursing Theory, RLE and
          General Education Subjects (Weighted Average: 1.8288)
         Certificate of Recognition as Top 2 – Overall Ranking in Nursing Theory, RLE,
          Competency Appraisal and Pre-board Examination
         Certificate of Recognition as Top 7 – Related Learning Experience – Average 1.8350
         Certificate of Recognition as member of Nursing Table Tennis Team – 2012 to 2016
          years
         Certificate of Recognition as member of Nursing Volleyball Men’s Team – 2013 to 2016
         Certificate of Recognition as member of Nurses’ Notes – 2013 to 2016
         Math Olympiad – CEC, Cebu City – 2005 (Elementary)
         Best in Math, CEC, Cebu City (High School)
         Best in Social Studies, CEC, Cebu City (High School)
         7th Honorable Mention – CEC, Cebu City (High School)


   WORK EXPERIENCE

          STAFF NURSE                         September 2016 to November 2017

          Employer                           : University of Cebu Medical Center
          Bed capacity/Short description     : 300 - 350 bed capacity, certified by ISO
          Unit/Area                          : Private Rooms (Medical-Surgical,
                                               Pediatrics and Obstetric Cases)

          Job Description:
             o Obtains and records initial assessment and establishes priorities according
                to patient age, symptoms and psychosocial needs.
             o Serves as a coordinator of all services provided by the medical team
             o Develops and implements a measurable individualized plan of care for the
                patient within the time frame established by the Nursing Standards of Care.
             o Participates in patient significant others health education and discharge
                planning.
             o Follows the ten (10) medication rights and reduces the potential for medi-
                cation errors.
             o Recognizes, assesses, and reassesses pain. Utilizes appropriate pain
                management techniques. Educates the patient and family regarding pain
                management.
             o Cooperates with other personnel to achieve departmental objectives; main-
                tains good employee relations and interdepartmental objectives.




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         Private Duty Nurse                  November 2017 to May 2018

         Employer                           : Mr.
         Short description                  : Patient is diagnosed with Alzheimer’s
                                            disease and right-sided paraplegia
                                            secondary to stroke

         Job Description:
            o Assists with patient’s activities of daily living
            o Provides medications and follows the 10 medication rights for proper medi-
               cation administration
            o Involves significant others in health teachings and health planning
            o Develops holistic plan geared towards patient’s optimum level of functioning


         UM USRN Consultant                  May 2018 to Dec 2018

         Employer                           : EXL Service Philippines
         Role                               : Utilization Management Associate

         Job Description
            o Reads clinical information and analyzes patient’s needs
            o Sorts out pertinent clinical documents if the patient does need a particular
              surgery
            o Coordinates with the provider to make a thorough assessment
            o Establishes the patient’s needs and prioritizes goals
            o Documents detailed description to support why the patient needs a particu-
              lar procedure



         USRN Reviewer                      Jan 2019 to Present

         Employer                           : Shearwater Health Inc.
         Role                               : Utilization Management

         Job Description
            o Thoroughly scan and read medical documents and determine patient’s
              needs for SNF admission
            o Determine patient’s capabilities in functioning at his current level of function
              in the skilled nursing facility
            o Coordinates with medical directors to anticipate if patient meets the criteria
              to be admitted in the skilled nursing facility
            o Documents detailed summary of patient’s condition and capabilities to per-
              form at patient’s level of function and necessity for SNF admission




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   SKILLS

         Good interpersonal skills
         Therapeutic application of skills in assessing situations and applying appropriate
          nursing interventions
         Willing to work in a challenging, dynamic and flexible environment
         Computer literate, Optimistic and fast learner

   REFERENCES

         Mr. Rommel P. Merioles – Dean, College of Nursing, Cebu Doctors University, Cebu City
          | (032) 238 - 8333
         Dr. Fe M. Elizalde - 3rd Floor, Ma. Cristina Building, Fuente Osmeña, Cebu City | (032)
          – 256 - 2572
         Agnes Marie F. Austero, Fideleo Tañola, Johanna Kristeen P. de la Torre – Clinical In-
          structors, Cebu Doctors University, Cebu City | (032) 238 - 8333




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                                             Erna1l: reg1strar@cebudoclorsu111vers1ty:edu Web:


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             PE"R.SONAL INFORMATION :

            NAME-OF STUDENT                            VIDAL, BENZOR SHEM RESERVA
            SCHOOL ID NUMBER                           21218629
            DA TE OF BIRTH
            SEX                                        MALE
            CIVIL STATUS                               SINGLE
            NATIONALITY                                FILIPINO
            RELIGION                                   LA TIER-DAY SAINTS
            CEBU CITY ADDRESS                           27 RIZAL A VE. EXT., MAMBALING, CEBU
                                                        CITY
             PARENT/GUARDIAN                           BENICIO L. VIDAL
             HOME ADDRESS                              24 RIZAL AVE. EXT., MAMBALING, CEBU CITY

            TELEPHONE NO.                              418-9117
            EMAIL ADDRESS
            ENTRANCE DATA                              Forrn 137-A
            NAME OF SCHOOL                             CEBU EASTERN COLLEGE
            IF ALIEN, ACR NO.
            PASSPORT NO.
            EXPfRA TION DA TE

                                                             RECORDS OF PRELIMINARY EDUCATION
             PRJMARY                                 CEBU EASTERN COLLEGE                                      YEAR : 2005-2006
             INTERMEDIATE                            CEBU EASTERN COLLEGE                                      YEAR: 2007-2008
             SECONDARY                               CEBU EASTERN COLLEGE                                      YEAR: 2011-2012
             COLLEGE                                                                                           YEAR:
                                                                          GRADING SYSTEM
                    GRADE/RA TING                       LETTER GRADE                  EQUIVALENT         INDICATION/REMARK
                        1.0                                 A+                        95 - 100%          EXCELLENT
                            I.I - 1.2                       A                         93 - 94%
                             1.3 - 1.4                      A-                        91 - 92%       }   VERY GOOD
                             1.5                            B+                        90%
                                                                                      87 - 89%

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                             1.6 - 1.8                      B
                             1.9 - 2.0                      B-                        85 - 86%
                             2. 1 - 2.2                     C+                        83 - 84%
                            2.3 - 2.4                       C                         81 - 82%
                             2.5                            C-                        80%
                                                                                      77 - 79%
                             2.6 - 2.8
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                             3.0                            D-                        75%                PASSED
                             PASSED                            p                      PASSED             PASSED
                             5.0                              F                       BELOW 75%          FAILED
                             NC                                                                          NO CREDIT
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                                                                      SEMESTER HOURS CREDIT
             One unit of academic credit represents one hour of lecture, seminar, or recitation per week or a
             total of 18 hours per semester. For courses with a laboratory component, one unit of academic
             credit represents two to three laboratory hours per week.
             REMARKS : ISSUED FOR BOARD EXAMINATION PURPOSES ONLY.
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             Prepared by: GEMMAL ~ A YOS
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                                                                                          Dean, College of Nursing
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            NAME OF STUDENT : VIDAL, BENZOR SHEM RESER VA                                                  ~




      -     COURSE NO.
                            I                          DESCRIPTIVE TITLE                          \...t          lRATING RE~Exl              CREDITS

                             CEBU DOCTORS' UNIVERSITY

                             FIRST SEMESTER, 2012-2013
                             BACHELOR OF SCIENCE IN NURSING
          CHEM JIN           GENERAL CHEMISTRY (ORGANIC AND INORGANIC)                                              1.4                            5
          ENGL I IN          COMMUNICATION SKILLS I                                                                 1.9                            3
          FIL I IN           KOMUNIKASYON SA AKADEMIKONG FILIPINO                                                   2.0                            3
          MATH!!             COLLEGE ALGEBRA                                                                        1.0                            3
          NIOA               THEORETICAL FOUNDATION IN NURSING                                                      2.3                            3
          NIIA               CHRISTIAN LIVING I                                                                     2.0                            I
          NSTP-CWTS I        NATIONAL SERVICE TRAINING PROGRAM-CIVIC                                                1.6                            3
                             WELFARE TRAINING SERVICE
          PE 11              PHYSICAL FITNESS AND SELF-TESTING ACTIVITIES                                           1.0                            2
          PHILO 12           PHILOSOPHY OF MAN                                                                      1.2                            3
          PSYCH 11           GENERAL PSYCHOLOGY                                                                     2.5                            3

                             SECOND SEMESTER, 2012-2013
          CHEM 15            BIOCHEMISTRY                                                                           1.3                            5
          ENGL 12N           COMMUNICATION SKILLS II                                                                1.2                            3
          FIL 12N            PAGBASA AT PAGSULAT TUNGO SA PANANALIKSIK                                              1.4                            3
          HA JIN             ANATOMY AND PHYSIOLOGY                                                                 2.0                            5
          N 12N              HEAL TH ASSESSMENT                                                                     2.2                            3
          NCM 100            FUNDAMENTALS OF NURSING PRACTICE                                                       2.1                            5
          NSTP-CWTS 2        NATIONAL SERVICE TRAINING PROGRAM-CIVIC                                                I. I                           3
                             WELFARE TRAINING SERVICE
          PE12               RHYTHMIC ACTIVITIES AND DANCING                                                         1.5                           2

                             SUMMER, 2013
          PHILO I I          LOGIC AND CRITICAL THINKING                                                            2.1                            3
          PHYS II            PHYSICS                                                                                I.I                            3
          SPCH 11            ORAL AND AURAL COMMUNICATION                                                           1.2                            3

                             FIRST SEMESTER, 2013-2014
          HEDUC              HEALTH EDUCATION                                                                       2.0                           3
          N 15               PHARMACOLOGY                                                                           2.4                           4
          N 13               COMMUNITY HEALTH NURSING                                                               2.0                           5
          N 14               MICROBIOLOGY AND PARASITOLOGY                                                          1.3                           4
          NCM 101            CARE OF MOTHER, CHILD AND FAMILY                                                       2.1                           8
          PE 13              GAMES AND SPORTS                                                                       I.I                           2
          SO-AN              SOCIOLOGY AND ANTHROPOLOGY                                                             1.6                           3


          REMARKS : more entries on page 2.
          GRADING     1.0 (95-100¾ ) Excellent, I.I (94%). 1.2 (93%), 1.3 (92%), 1.4 (91%), 1.5 (90%) Very Good, 1.6 (89%), 1,7 (88%), 1.8 (87%), 1.9
          SYSTEM      (86%), 2.0 (85%). 2. 1 (84% ), 2.2 (83%), 2.3 (82%), 2.4 (8 1%), 2.5 (80%), 2.6 (79%), 2.7 (78%), 2.8 (77%), 2.9 (76%), 3.0 (75%)
                      Fair/Passed, 5.0.(Below 75%) Failed, DR-Dropped, INC-Incomplete, W-Withdrawn, NC-No Credit, NG-No Grade




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          Prepared by: GEMMAL~ A YOS


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                                                                                    Dean, College of Nursing
                Date : APR 1 1 2016
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         ~ ::> ~        ~ I Dr. P. V. Larrazabal Jr. Avenue, Nonh Reclamation
                                   CII                                                                               College of Nursing
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           \\~ "'1,l;;p,t1""'~           Telephone No. : +63 (32) 23 8-8333 Local 8184 Telefax No. +63 (32) 238-8764
               \\'"'-''....._..$         Email: registrar@cebudoctorsuniversity:edu Web: www.cebudoctorsuniversity.edu


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         NAME OF STUDENT : VIDAL, BENZOR SHEM RES ERV A

         COURSE NO.
                               I                        DESCRIPTIVE TITLE                               - -- --,RATING RE-EX  I             CREDITS
                                                                                                                                                              "'
                                   SECOND SEMESTER, 2013-2014
       ECON II                     HEALTH ECONOMICS WITH TAXATION AND LAND                                              1.9                       3
                                   REFORM
       HISTO 10                    PHILIPPINE HISTORY, GOVERNMENT AND                                                   I.I                       3
                                   CONSTITUTION
       N 16                        NUTRITION AND DIET THERAPY                                                       2.1                          4
       N JIB                       CHRISTIAN LIVING II                                                              1.6                           I
       NCM 102                     CARE OF MOTHER, CHILD, FAMILY AND POPULATION                                     1.9                          11
                                   GROUP AT RISK OR WITH PROBLEMS
       PE 14                       RECREATIONAL ACTIVITIES                                                              LO                        2
       PHILO 13                    HEALTH ETHICS (BIOETHICS)                                                        2.0                           3

                                   SUMMER, 2014
       NCM 103                     CARE OF CLIENTS WITH PROBLEMS IN                                                 2.0                           9
                                   INFLAMMATORY AND IMMUNOLOGIC RESPONSE, AND
                                   IN PERCEPTION COORDINATION

                                   FIRST SEMESTER, 2014-2015
       HIST 12                     LIFE AND WORKS OF RIZAL                                                          1.3                          3
       MATH 14                     BI OSTATIS TICS                                                                  1.3                          3
       NCM 104                     CARE OF PATIENTS WITH PROBLEMS IN                                                2.1                          14
                                   OXYGENATION, FLUID AND ELECTROLYTE BALANCE,
                                   NUTRITION AND METABOLISM, AND ENDOCRINE
                                   FUNCTIONS
       NCM 105                     CARE OF PATIENTS WITH MALADAPTIVE PATTERNS                                       2.2                          6
                                   OF BEHAVIOR

                                   SECOND SEMESTER, 2014-2015
       ELECTIVE 1                  WHOLISTIC CARE ACROSS THE LIFE SPAN                                              2.6                           2
       N 18A                       NURSING RESEARCH 1                                                               2.5                          3
       N20                         INFORMATICS                                                                      2.0                           3
       NCM 106                     CARE OF CLIENTS WITH PROBLEMS IN                                                 1.8                          11
                                   REPRODUCTION AND SEXUALITY, COMMUNICABLE
                                   DISEASES, CELLULAR ABERRATIONS, ACUTE
                                   BIOLOGIC CRISIS, EMERGENCY AND DISASTER
                                   NURSING AND THE DYING
       SPCH 12                     PUBLIC SPEAKING                                                                      1.5                      3

                                   FIRST SEMESTER, 2015-2016
       CA 1                        COMPETENCY APPRAISAL 1                                                           2.1                          3

       REMARKS : more entries on page 3.
       GRADING          1.0 (95-100%) Excellent. I.I (94%), 1.2 (93%). 1.3 (92%), 1.4 (91%), 1.5 (90%) Very Good, 1.6 (89%), 1.7 (88%), 1.8 (87%), 1.9
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                                                                                    Dean, College of Nursing
             Date :          APR 1 1 2016
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          NAME OF STUPENT : VIDAL, BENZOR SHEM RESERVA

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        ELECTIVE 2        CARE OF THE ACUTE AND CHRONICALLY ILL AND                                               2.2                           2
                          OLDER PERSONS OF VARIED CULTURE
        FL                FOREIGN LANGUAGE                                                                        1.7                           3
        HUMAN 12          HUMANITIES (WORLD CIVILIZATION AND                                                      1.6                           3
                          LITERATURE)
        N 188             NURSING RESEARCH 2                                                                     1.7                            2
        N21               LOGOTHERAPY                                                                            1.5                            I
        N 22              SIGN LANGUAGE                                                                          1.2                            I
        NCM 107           NURSING LEADERSHIP AND MANAGEMENT                                                      2.5                            7

                          SECOND SEMESTER, 2015-2016
        CA2               COMPETENCY APPRAISAL 2                                                                 2.2                            3
        INP               INTENSIVE NURSING PRACTICUM                                                            1.9                            8


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                          GRADUATED WITH THE DEGREE OF BACHELOR OF
                          SCIENCE IN NURSING (BSN) AS OF MARCH 31, 2016.

                                          GRANTED AUTONOMOUS STATUS
                                          EXEMPT FROM SPECIAL ORDER




                                                                                                     e-DST/CD U-OR#0970506-03/22/2016


       REMARKS : ISSUED FOR BOARD EXAMINATION PURPOSES ONLY.
       GRADING     1.0 (95-100%) Excellent, I.I (94%), 1.2 (93%), 1.3 (92%), 1.4 (91%), 1.5 (90%) Very Good, 1.6 (89%), 1.7 (88%), 1.8 (87%), 1.9
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                   Fair/Passed, 5.0 (Below 75%) Failed, DR-Dropped, INC-Incomplete, W-Withdrawn, NC-No Credit, NG-No Grade


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       Prepared by : GEMMAL ~ A YOS                                                                     '

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                                                                                 ROMMEL P. MERIOLES, MAN
       Checked by:
                                                                                 Dean, College of Nursing
             Date :   APR 1 1 2016
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        Case 1:22-cv-05535-NRM-MMH         49, 07/05/2023,
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                              Department of Financial and Professional Regulation
                                                    Division of Professional Regulation
           LICENSE NO .              The person, firm, or corporation w hose name appears on this certificate has compli ed with                     EXPIRES:
                                     the provisions of the lllinols Statutes and/or rules and regulations .ind Is hereby authorized
          041.466723                 lo engage In the .ictlvity as Indicated below:                                                                  05/31/2020


                                   REGISTERED PROFESSIONAL NURSE



                                 BENZOR SHEM R VIDAL
                                 27 RIZAL AVENUE EXTENSION MAMBALING
                                 CEBU CITY 6000
                                 PHILIPPINES, PHILIPPINES




                                                              DEBORAH HAGAN
                                                              ACTING SECRETARY




                                                                                                                                                                   Cut on Dotted Line

                          For future reference, IDFPR is now providing each person/business
                          a unique identification number, 'Access ID', which may be used in
                          lieu of a social security number, date of birth or FEIN number when
                          contacting the IDFPR. Your Access ID is: 4148447




                            r-----------------------------------------------------------------
                              LICENSE NO.            Department of Financial and Profes sional Regulation                     ~.,.,
                              041.466723                      Division of Professional Regulation
                                                                                                                             ,.       .         .
                                                      REGISTERED PROFESSIONAL NURSE                                                       "•




                              BENZOR SHEM R VIDAL

                              EXPIRES:

                              05/31/2020
                                                            DEBORAH HAGAN
                                                            ACTING SECRETARY

                                     The official status of this license can be verified at www.idfpr.com
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                                                                                   Certificate No: 0006462564
                                                                                   Expires: Septemberjl27, 2023
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                        The International Commission On Healthcare Professio:hs                             )

                                       a division of CGFNS International, Inc.                              I
                                                        3600 Market Street
                                                             Suite 400                                      I
                                                                                                            ·i
                                                      Philadelphia, PA 19104
                                                          (215) 349-6721                                    r.I

                                                           certifies that
                                                                                                            ~
                                                   BENZOR SHEM RESERV A VIDAL                               I
                                                                                                            I!



                                               Born on                  in Philippines

        has met all of the requirements of section 212(a)(5)(C) of the Immigration and Nationality Act; as specified in




A-269
                           Title 8, Code of Federal Regulations section 212.15(:f) for the Profession of:           ·

                                                         Registered Nurse

                                                    Issued: September 27, 2018




                                                                                                      .     .

        Sister Rosemary Donley , PHD, APRN, FAAN
                                                                                                            j .
                                                                                    Franklin A. Shaffer, EctD, RN, FAAN
        Chair
        Board of Trustees
                                                                                    President and Chief Exl:eru tive Officer
        CGFNS International, Inc.                                                   CGFNS International, J:nc.
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    0MB Approval : 1205-0508
  • Expiration Date: 05/31/2019
                                              Application for Prevailing Wage Determination
                                                              Form ETA-9141
                                                          U.S. Department of Labor


 Please read and review the instructions carefully before completing this form and print legibly. A copy of the instructions can be
 found at http://www.foreignlaborcert.doleta.gov/.


  A. Employment-Based Visa Information

   1. Indicate the type of visa classification supported by this application (Write classification symbol) : *       PERM

  B. Requestor Point-of-Contact Information
   1. Contact's last (family) name *                       2. First (given) name *                      3. Middle name(s) *
  VILLAMOR                                                 CARMEN                                       T.
  4. Contact's job title *
  Attorney
  5. Address 1 *
                  3701 WILSHIRE BOULEVARD
  6. Address 2
                  SUITE 1105
  7. City*                                                                     8. State*                9. Postal code *
            LOS ANGELES                                                                    CA                           90010
   10                                                                           11 . Province (if applicable) N/A
      · Country* UNITED STATES OF AMERICA
   12. Telephone number *                                  13. Extension       14. Fax Number
   323-939-8200                                            N/A                 323-939-8400
   15. E-Mail Address
  carmen@carmenvillamor.com

  C. Employer Information

   1. Legal business name *
  Advanced Care Staffing, LLC
   2. Trade name/Doing Business As (OBA), if applicable§
  N/A
   3. Address 1 *
                  1000 Gates Ave. Suite 58
   4. Address 2
                  N/A
   5. Cit *
         Y Brooklyn
                                                                               6. State * NY                 17. Postal code*
                                                                                                                            11221
   8 · Country* UNITED STATES OF AMERICA                                       9. Province (if applicable) N/A

   10. Telephone number *                                                      11 . Extension
   718-305-6700                                                                N/A
   12. Federal Employer Identification Number (FEIN from IRS) •                13. NAICS code (must be at least 4-digits) *


  D. Wage Processing Information

   1. Is the employer covered by ACWIA? *                           □ Yes IZI No
   2. Is the position covered by a Collective BarQaininQ AQreement (CBA)? *                                         □ Yes    IZI No
   3. Is the employer requesting consideration of Davis-Bacon (OBA) or McNamara Service                             □ Yes IZI No
   Contract (SCA) Acts? *                                                                                           □ OBA □ SCA




   Form ETA-9141                                FOR DEPARTM ENT OF LABOR USE ONLY                                                       Page I of 4

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   Expiration Date: 05/31/2019
                                                Application for Prevailing Wage Determination
                                                                Form ETA-9141
                                                          U.S. Department of Labor

  D. Wage Processing Information (cont.)

   4. Is the employer requesting consideration of a survey in determining the prevailing wage? *                         I □ Yes 0 No
   4a. Survey Name: §
   4b. Survey date of publication: §

  E. Job Offer Information
   a. Job Description:
   1. Job Title *
                    Registered Nurse
   2. Suggested SOC (ONET/OES) code*                                             2a. Suggested SOC (ONET/O~S) occupation title*
                                                     29-1141                     Reg istered Nurses
                                                                             1
   3. Job Title of Supervisor for this Position (if applicable) §
   Administrator
   4. Does this position supervise the work of other employees?*                                14a. If "Yes", number of employees worker §
                                                                             D Yes r.zl No          will supervise: N/A
   4b. If "Yes", please indicate the level of the employees to be supervised : I    D Subordinate       D Peer
   5. Job duties - Please provide a description of the duties to be performed with as much specificity as possible, including
   details regarding the areas/fields and/or products/industries involved. A description of the job duties to be performed MUST
   begin in this space. *
   Under the supervision of an administrator or supervisor, provide general nursing care to patients; administer
   prescribed medications and treatments in accordance with approved nursing techniques; prepare equipment and
   assist physicians during treatment and examinations; monitor all aspects of patient care, including diet and
   physical activity; perform other related duties as ordered .




   6. Will travel be required in order to               6a. If "Yes", please provide details of the travel required, such as the area(s),
   perform the job duties? *                            frequency and nature of the travel. §
                                                        N/A
                                 D Yes    r.zl No


   Form ETA-9141                                    FOR DEPARTMENT OF LABOR USE ONLY                                                       Page 2 of 4

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                                                                Form ETA-9141
                                                          U.S. Department of Labor

   E. Job Offer Information (cont.)
     b. Minimum Job Requirements:

   1. Education: minimum U.S. diploma/degree required *

   □ None □ High School/GED 0 Associate's □ Bachelor's □ Master's □ Doctorate (PhD) □ Other degree (JD, MD, etc.)
   1a. If "Other degree" in question 1, specify Jhe diploma/ 1b. Indicate the major(s) and/or field(s) of study required §
   degree required §                                         (May list more than 6'ne related major and more than one field)
   N/A                                                                      Nursing
   2. Does the employer require a second U.S. diploma/degree? *                                              □ Yes        I
                                                                                                                        GZI No
   2a. If "Yes" in question 2, indicate the second U.S. diploma/degree and the major(s) and/or field(s) of study required §

   N/A

   3. Is training for the job opportunity required? *                                                                         □ Yes
                                                                                                                          I               GZI No
   3a. If "Yes" in question 3, specify the number of                        3b. Indicate the field(s)/name(s) of training required §
   months of training required §                                            (May list more than one related field and more than one type)
   N/A                                                                      N/A
   4. Is employment experience required? *
   4a. If "Yes" in question 4, specify the number of
                                                                                                                         I       □ Yes      GZI No
                                                                            4b. Indicate the occupation required §
   months of experience required §
          N/A                                                               N/A
   5. Special Requirements - List specific skills, licenses/certificates/certifications, and requirements of the
      job opportunity. *

   RN license in New York, or NCLEX, or CGFNS Visa Screen Certificate


     c. Place of Employment Information:
   1. Worksite address 1 * 3400
                                Cannon Place
   2. Address 2
                                  N/A
   3. City *                                                                                            4. County *
                Bronx                                                                                  BRONX
   5. State/District/Territory *                                                                        6. Postal code *
                                     NY                                                                                          10463
   7. Will work be performed in multiple worksites within an area of intended
   employment or a location(s) other than the address listed above? *                   □ Yes        0 No
   7a. If "Yes", identify the geographic place(s) of employment indicating each metropolitan statistical area (MSA) or the
   independent city(ies)/township(s)/county(ies) (borough(s)/parish(es)) and the corresponding state(s) where work will be
   performed. If necessary, submit a second completed ETA Form 9141 with a listing of the additional anticipated worksites.
   Please note that wages cannot be provided for unspecified/unanticipated locations. §

   N/A




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   ' Expiration Date: 05/31/2019
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                                                                        Form ETA-9141
                                                                  U.S. Department of Labor

     F. Prevailing Wage Determination

   I                                                           FOR OFFICIAL GOVERNMENT USE ONLY
                                                                                                                                                                   I
    1. PW tracking number
                                        P-100-18163-861697
                                                                                                I 2.06/12/2018
                                                                                                      Date PW request received

    3. SOC (ONET/OES) code                          I 3a. SOC (ONET/OES) occupation title
       29:..1141                        ·-   -

                                                    I Registered Nurses
    4. Prevailing wage                                                   14a. OES Wage level
                                   $             68058.00                                           01         □ II         □ Ill         □ IV      □   N/A
    5. Per:        (Choose only one)
                                       □ Hour □ Week □ Bi-Weekly □ Month 0 Year □ Piece Rate
    5a . If Piece Rate is indicated in question 5, specify the wage offer requirements :*
    N/A
    6 . Prevailing wage source (Choose only one)
    QI    OES (All Industries)          D        OES (ACWIA - Higher Education)             D     CBA     D     OBA     D     SCA     D     Other/Alternate
                                                                                                                                            Survey

    6a. If "Other/Alternate Survey" in question 6 , specify
    N/A
    7. Additional Notes Regarding Wage Determination

    N/A




    8. Determination date                                                         , 9. Expiration date
                09/20/2018                                                                   06/30/2019

   G.     0MB Paperwork Reduction Act (1205-0508)
    Persons are not required to respond to this collection of information unless it displays a currently valid 0MB control number. Respondent's
    reply to these reporting requirements is mandatory to obtain the benefits of temporary employment certification (Immigration and Nationality
    Act, Section 101 ). Public reporting burden for this collection of information is estimated to average 55 minutes per response, including the
    time for reviewing instructions, searching existing data sources, .gathering and maintaining the data needed, and completing.and reviewing
    the collection of information. Send comments rega rding this burden estimate to the Office of Foreign Labor Certification * U.S. Department
    of Labor* Box 12 - 200 * 200 Constitution Ave. , NW, * Washington, DC * 20210. Do NOT send the completed application to this
    address.




    Form ETA-9141                                        FOR DEPARTM ENT OF LABOR USE ONLY                                                               Page 4 of 4

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Wage Statement



                                                                                   -
Employer:
         Advanced Care Staffing, LLC                                       FEIN:
         1000 Gates Ave, Suite 5B                                          Phone: (718) 305-6700
         Brooklyn, NY 11221                                                Fax:


Employee:
         Vidal, Benzor Shem                                                SSN:
         1353 Saint Marks Ave.                                             Pay/Hour:       $38.00
         Brooklyn, NY 11233
         Phone: (917) 660-3153                                             Fed Exemption: 0


  Check Date           Accounting    Check No.        Hours Worked      Gross Wages Total Taxes Non-Tax Adjs.                  Net Pay
                           Period

     04/21/22            04/17/22         304616             40.75         $1,480.50      $435.05            $400.00           $645.45

      04/21/22           04/17/22           304712           29.00         $1,044.00      $259.73            $392.14           $392.13

      04/21/22           04/17/22           304972           31.50         $1,134.00      $295.03            $400.00           $438.97

      04/21/22           04/17/22           305000           39.25         $1,413.00      $407.27            $400.00           $605.73

      04/21/22           04/17/22           305001           28.75         $1,035.00      $257.02            $388.99           $388.99

      04/21/22           04/17/22           305002           16.50           $594.00      $124.01            $235.00           $234.99

      04/21/22           04/17/22           305003             0.00            $0.00          $0.00       ($5,165.04)        $5,165.04

      04/28/22           04/24/22           305413           37.00         $1,332.00      $375.25            $183.87           $772.88

      05/05/22           05/01/22           305862           36.00         $1,296.00      $360.75              $0.00           $935.25

      05/12/22           05/08/22           305960             0.00        $1,008.00      $249.48              $0.00           $758.52

      05/12/22           05/08/22           306302             7.00          $252.00       $28.46              $0.00           $223.54

      05/19/22           05/15/22           306739           36.53         $1,315.08      $368.44              $0.00           $946.64

      05/26/22           05/22/22           307172           28.44         $1,023.84      $254.25              $0.00           $769.59

      06/02/22           05/29/22           307495           36.54         $1,315.44      $368.58              $0.00           $946.86

      06/09/22           06/05/22           307947           36.73         $1,322.28      $371.33              $0.00           $950.95

      06/16/22           06/12/22           308535           35.87         $1,363.06      $387.76              $0.00           $975.30

      06/23/22           06/19/22           308974           28.85         $1,096.30      $280.50            $218.50           $597.30

      06/30/22           06/26/22           309089             0.00          $684.00      $104.14              $0.00           $579.86

      06/30/22           06/26/22           309447           21.72           $825.36      $193.80              $0.00           $631.56

      07/07/22           07/03/22           309888           22.08           $839.04      $198.53              $0.00           $640.51

                                            Totals:         512.51        $20,372.90    $5,319.38         ($2,546.54)       $17,600.06




Employer's Signature                                        Title                                  Date




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